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BNK01160                                                                                                                10-Feb-12         1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                  09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                          Last Date to File Claims:       11/30/09
                                Creditor Name: GENERAL KINEMATICS CORP
                                                                                                          Last Date to File (govt):       04/06/10
                                c/o CLAIMS RECOVERY GROUP LLC
        Claim No: 1             92 UNION AVENUE                                                           Filing Status:
                                CRESSKILL, NJ 07626                                                       Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         10/16/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                           Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                     $2,228.05
            Priority
               Total                                                     $2,228.05
Description:
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:       11/30/09
                                Creditor Name: GENERAL KINEMATICS CORP
                                                                                                          Last Date to File (govt):       04/06/10
                                C/O CLAIMS RECOVERY GROUP LLC
        Claim No: 2             92 UNION AVENUE                                                           Filing Status:
                                CRESSKILL, NJ 07626                                                       Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         10/16/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                           Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                 $17,570.00
            Priority
               Total                                                 $17,570.00
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                          Last Date to File Claims:       11/30/09
                                Creditor Name: ARCH INSURANCE COMPANY
                                                                                                          Last Date to File (govt):       04/06/10
                                300 PLAZA THREE 3RD FLOOR
        Claim No: 3             JERSEY CITY, NJ 07311-1107                                                Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         10/13/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                           Amount Claimed                                          Amount Allowed
            Secured                                                         $0.00
           Unsecured
            Priority                                                        $0.00
               Total                                                        $0.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:
                       Case 09-13449-BLS             Doc 1321-1         Filed 02/14/12   Page 2 of 374


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BNK01160                                                                                                   10-Feb-12             1:04 PM
                                U.S. Bankruptcy Court - District of Delaware
                                          Claims Register Report
                                        09-13449 ACCURIDE CORPORATION, ET AL.
                                                  Judge Hon. Brendan Linehan Shannon
                       Debtor Name: Gunite Corporation
                                                                                             Last Date to File Claims:           11/30/09
                       Creditor Name: CON-WAY FREIGHT INC
                                                                                             Last Date to File (govt):           04/06/10
                       C/O RMS BANKRUPTCY RECOVERY SERVICES
        Claim No: 4    PO BOX 5126                                                           Filing Status:
                       TIMONIUM, MD 21094                                                    Docket Status:
                                                                                             Late:

        Claim Date:    Amends Claim No:                                                      Duplicates Claim No:
        10/19/2009     Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                 Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $726.90
            Priority
               Total                                         $726.90
Description:
Remarks:

                       Debtor Name: Bostrom Seating, Inc.
                                                                                             Last Date to File Claims:           11/30/09
                       Creditor Name: CON-WAY FREIGHT INC
                                                                                             Last Date to File (govt):           04/06/10
                       C/O RMS BANKRUPTCY RECOVERY SERVICES
        Claim No: 5    PO BOX 5126                                                           Filing Status:
                       TIMONIUM, MD 21094                                                    Docket Status:
                                                                                             Late:

        Claim Date:    Amends Claim No:                                                      Duplicates Claim No:
        10/19/2009     Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                 Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                        $2,707.44
            Priority
               Total                                        $2,707.44
Description:
Remarks:

                       Debtor Name: Accuride Corporation
                                                                                             Last Date to File Claims:           11/30/09
                       Creditor Name: CON-WAY FREIGHT INC
                                                                                             Last Date to File (govt):           04/06/10
                       C/O RMS BANKRUPTCY RECOVERY SERVICES
        Claim No: 6    PO BOX 5126                                                           Filing Status:
                       TIMONIUM, MD 21094                                                    Docket Status:
                                                                                             Late:

        Claim Date:    Amends Claim No:                                                      Duplicates Claim No:
        10/19/2009     Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                 Amount Claimed                                       Amount Allowed
            Secured                                                                                                      $0.00
           Unsecured                                        $1,287.55                                                    $0.00
            Priority                                                                                                     $0.00
               Total                                        $1,287.55                                                    $0.00
Description:
Remarks:
                               Case 09-13449-BLS              Doc 1321-1          Filed 02/14/12   Page 3 of 374


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BNK01160                                                                                                             10-Feb-12         1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                 09-13449 ACCURIDE CORPORATION, ET AL.
                                                          Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:       11/30/09
                                Creditor Name: WORTHINGTON STEEL COMPANY
                                                                                                       Last Date to File (govt):       04/06/10
                                C/O TIMOTHY J DONEY
        Claim No: 7             200 OLD WILSON BRIDGE ROAD                                             Filing Status:
                                COLUMBUS, OH 43085                                                     Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         10/22/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                          Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                $90,403.44
            Priority
               Total                                                $90,403.44
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:       11/30/09
                                Creditor Name: ML INDUSTRIES INC
                                                                                                       Last Date to File (govt):       04/06/10
                                1300 W SHARM AVE
        Claim No: 8             PHARR, TX 78577                                                        Filing Status:
                                                                                                       Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         10/22/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                          Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                $15,890.59
            Priority
               Total                                                $15,890.59
Description:
Remarks:

                                Debtor Name: Imperial Group, L.P.
                                                                                                       Last Date to File Claims:       11/30/09
                                Creditor Name: WISE COUNTY
                                                                                                       Last Date to File (govt):       04/06/10
                                ATTN ELIZABETH WELLER
        Claim No: 9             LINEBARGER GOGGAN BLAIR & SAMPSON LLP                                  Filing Status:
                                2323 BRYAN ST SUITE 1600                                               Docket Status:
                                DALLAS, TX 75201                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         10/26/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                          Amount Claimed                                        Amount Allowed
            Secured                                                 $39,162.08
           Unsecured                                                     $0.00
            Priority                                                     $0.00
               Total                                                $39,162.08 (Unliquidated)
Description: Please see claim for detail.
Remarks:
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BNK01160                                                                                                                   10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group, L.P.
                                                                                                             Last Date to File Claims:           11/30/09
                                Creditor Name: WISE CAD
                                                                                                             Last Date to File (govt):           04/06/10
                                ATTN ELIZABETH WELLER
        Claim No: 10            LINEBARGER GOGGAN BLAIR & SAMPSON LLP                                        Filing Status:
                                2323 BRYAN ST SUITE 1600                                                     Docket Status:
                                DALLAS, TX 75201                                                             Late:

         Claim Date:            Amends Claim No:                                                             Duplicates Claim No:
         10/26/2009             Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                              Amount Claimed                                          Amount Allowed
            Secured                                                     $116,941.60
           Unsecured                                                          $0.00
            Priority                                                          $0.00
               Total                                                    $116,941.60 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                             Last Date to File Claims:           11/30/09
                                Creditor Name: IKON FINANCIAL SERVICES
                                                                                                             Last Date to File (govt):           04/06/10
                                BANKRUPTCY ADMINISTRATION
        Claim No: 11            PO BOX 13708                                                                 Filing Status:
                                MACON, GA 31208-3708                                                         Docket Status:
                                                                                                             Late:

         Claim Date:            Amends Claim No:                                                             Duplicates Claim No:
         10/26/2009             Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                              Amount Claimed                                          Amount Allowed
            Secured                                                                                                                      $0.00
           Unsecured                                                      $6,433.99                                               $2,312.68
            Priority                                                                                                                     $0.00
               Total                                                      $6,433.99 (Unliquidated)                                $2,312.68
Description: Please see claim for detail.
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                             Last Date to File Claims:           11/30/09
                                Creditor Name: WEIMER BEARING AND TRANSMISSION INC
                                                                                                             Last Date to File (govt):           04/06/10
                                PO BOX 667
        Claim No: 12            MENOMONEE FALLS, WI 53052                                                    Filing Status:
                                                                                                             Docket Status:
                                                                                                             Late:

         Claim Date:            Amends Claim No:                                                             Duplicates Claim No:
         10/26/2009             Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                              Amount Claimed                                          Amount Allowed
            Secured                                                                                                                      $0.00
           Unsecured                                                     $37,691.42                                             $21,881.53
            Priority                                                                                                                     $0.00
               Total                                                     $37,691.42                                             $21,881.53
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)
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BNK01160                                                                                                                         10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                   Last Date to File Claims:           11/30/09
                                 Creditor Name: WASHINGTON INTERNATIONAL INSURANCE CO
                                                                                                                   Last Date to File (govt):           04/06/10
                                 C/O EULER HERMES UMA
        Claim No: 13             ATTN R STIEGEL                                                                    Filing Status:
                                 3333 WARRENVILLE RD STE 160                                                       Docket Status:
                                 LISLE, IL 60532                                                                   Late:

         Claim Date:             Amends Claim No:                                                                  Duplicates Claim No:
         10/26/2009              Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                                Amount Claimed                                              Amount Allowed
            Secured                                                                                                                            $0.00
           Unsecured                                                      $350,000.00                                                          $0.00
            Priority                                                                                                                           $0.00
               Total                                                      $350,000.00 (Unliquidated)                                           $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)

                                 Debtor Name: Fabco Automotive
                                                                                                                   Last Date to File Claims:           11/30/09
                                 Creditor Name: MCMASTER CARR
                                                                                                                   Last Date to File (govt):           04/06/10
                                 9630 NORWALK BLVD
        Claim No: 14             SANTA FE SPRINGS, CA 90670-2932                                                   Filing Status:
                                                                                                                   Docket Status:
                                                                                                                   Late:

         Claim Date:             Amends Claim No:                                                                  Duplicates Claim No:
         10/26/2009              Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                                Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                        $2,338.24
            Priority
               Total                                                        $2,338.24
Description:
Remarks:

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                   Last Date to File Claims:           11/30/09
                                 Creditor Name: WHEELABRATOR GROUP
                                                                                                                   Last Date to File (govt):           04/06/10
                                 1606 EXECUTIVE DR
        Claim No: 15             LAGRANGE, GA 30240                                                                Filing Status:
                                                                                                                   Docket Status:
                                                                                                                   Late:

         Claim Date:             Amends Claim No:                                                                  Duplicates Claim No:
         10/27/2009              Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                                Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                        $1,923.00
            Priority
               Total                                                        $1,923.00
Description:
Remarks:
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BNK01160                                                                                                  10-Feb-12         1:04 PM
                                U.S. Bankruptcy Court - District of Delaware
                                          Claims Register Report
                                        09-13449 ACCURIDE CORPORATION, ET AL.
                                                 Judge Hon. Brendan Linehan Shannon
                       Debtor Name: Gunite Div
                                                                                            Last Date to File Claims:       11/30/09
                       Creditor Name: WHEELABRATOR GROUP
                                                                                            Last Date to File (govt):       04/06/10
                       1606 EXECUTIVE DR
       Claim No: 16    LAGRANGE, GA 30240                                                   Filing Status:
                                                                                            Docket Status:
                                                                                            Late:

        Claim Date:    Amends Claim No:                                                     Duplicates Claim No:
        10/27/2009     Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                 Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                       $2,952.66
            Priority
               Total                                       $2,952.66
Description:
Remarks:

                       Debtor Name: Accuride Erie L.P.
                                                                                            Last Date to File Claims:       11/30/09
                       Creditor Name: COVNE TEXTILE SERVICES
                                                                                            Last Date to File (govt):       04/06/10
                       140 CORTLAND AVENUE
       Claim No: 17    SYRACUSE, NY 13202                                                   Filing Status:
                                                                                            Docket Status:
                                                                                            Late:

        Claim Date:    Amends Claim No:                                                     Duplicates Claim No:
        11/02/2009     Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                 Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                        $714.15
            Priority
               Total                                        $714.15
Description:
Remarks:

                       Debtor Name: Imperial Group, L.P.
                                                                                            Last Date to File Claims:       11/30/09
                       Creditor Name: COYNE TEXTILE SERVICES
                                                                                            Last Date to File (govt):       04/06/10
                       140 CORTLAND AVE
       Claim No: 18    SYRACUSE, NY 13202                                                   Filing Status:
                                                                                            Docket Status:
                                                                                            Late:

        Claim Date:    Amends Claim No:                                                     Duplicates Claim No:
        11/02/2009     Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                 Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                       $1,730.27
            Priority
               Total                                       $1,730.27
Description:
Remarks:
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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: THOMAS & BETTS CORPORATION
                                                                                                                Last Date to File (govt):           04/06/10
                                 ATTN DIANE SCOTT, CREDIT REP
        Claim No: 19             UTILITY DIVISION                                                               Filing Status:
                                 8155 T&B BLVD 3D-40                                                            Docket Status:
                                 MEMPHIS, TN 38125                                                              Late:

         Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
         11/03/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                        $7,884.32
            Priority
               Total                                                        $7,884.32
Description:
Remarks:        Survives Claim #60

                                 Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: TENNESSEE DEPARTMENT OF REVENUE
                                                                                                                Last Date to File (govt):           04/06/10
                                 C/O ATTORNEY GENERAL
        Claim No: 20             PO BOX 20207                                                                   Filing Status:
                                 NASHVILLE, TN 37202-0207                                                       Docket Status:
                                                                                                                Late:

         Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
         10/30/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                Amount Claimed                                           Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                       $41,430.64                                                       $0.00
               Total                                                       $41,430.64 (Unliquidated)                                        $0.00
Description: Please see claim for detail.
Remarks:        Claim withdrawn per the Order approving Stipulation filed 7/22/2010 (Dkt 1119).

                                 Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: THE COMMISSIONER OF REVENUE, STATE OF TN
                                                                                                                Last Date to File (govt):           04/06/10
                                 C/O ATTORNEY GENERAL
        Claim No: 21             ATTN WILBUR E HOOKS-TAX ENFORCEMENT DIV                                        Filing Status:
                                 PO BOX 20207                                                                   Docket Status:
                                 NASHVILLE, TN 37202-0207                                                       Late:

         Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
         10/30/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                Amount Claimed                                           Amount Allowed
            Secured
           Unsecured
            Priority                                                       $12,384.96
               Total                                                       $12,384.96 (Unliquidated)
Description: Administrative - Please See Claim For Details.
Remarks:
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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: PASCAL ENGINEERING INC
                                                                                                                Last Date to File (govt):           04/06/10
                                 C/O RMS BANKRUPTCY RECOVERY SERVICES
        Claim No: 22             PO BOX 5126                                                                    Filing Status:
                                 TIMONIUM, MD 21094                                                             Docket Status:
                                                                                                                Late:

         Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
         11/02/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                        $2,077.60
            Priority
               Total                                                        $2,077.60
Description:
Remarks:        Survives Claim #152

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: TENNESSEE DEPT OF REVENUE
                                                                                                                Last Date to File (govt):           04/06/10
                                 C/O ATTORNEY GENERAL
        Claim No: 23             PO BOX 20207                                                                   Filing Status:
                                 NASHVILLE, TN 37202-0207                                                       Docket Status:
                                                                                                                Late:

         Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
         10/30/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                Amount Claimed                                           Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                        $4,307.73                                                       $0.00
               Total                                                        $4,307.73 (Unliquidated)                                        $0.00
Description: Please see claim for detail.
Remarks:        Claim withdrawn per the Order approving Stipulation filed 7/22/2010 (Dkt 1119).

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: THE COMMISSIONER OF REVENUE OF THE STATE
                                                                                                                Last Date to File (govt):           04/06/10
                                 OF TENNESSEE - ATTN WILBUR E HOOKS
        Claim No: 24             TAX ENFORCEMENT DIVISION                                                       Filing Status:
                                 C/O ATTY GENERAL PO BOX 20207                                                  Docket Status:
                                 NASHVILLE, TN 37202-0207                                                       Late:

         Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
         10/30/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                Amount Claimed                                           Amount Allowed
            Secured
           Unsecured
            Priority                                                        $1,287.72
               Total                                                        $1,287.72 (Unliquidated)
Description: Administrative - Please See Claim For Details.
Remarks:        Amended by CC# 1099
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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group, L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                Creditor Name: TENNESSEE DEPARTMENT OF REVENUE
                                                                                                               Last Date to File (govt):           04/06/10
                                C/O ATTORNEY GENERAL
        Claim No: 25            PO BOX 20207                                                                   Filing Status:
                                NASHVILLE, TN 37202-0207                                                       Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         10/30/2009             Amended By Claim No:                                                           Duplicated By Claim No:
             Class                                                 Amount Claimed                                           Amount Allowed
            Secured
           Unsecured
            Priority                                                     $159,215.49
             Total                                                       $159,215.49 (Unliquidated)
Description: Please see claim for detail.
Remarks:       Amended by Claim # 1097

                                Debtor Name: Imperial Group, L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                Creditor Name: THE COMMISSIONER OF REVENUE OF THE STATE
                                                                                                               Last Date to File (govt):           04/06/10
                                OF TENNESSEE
        Claim No: 26            ATTN WILBUR E HOOKS, DIRECTOR                                                  Filing Status:
                                PO BOX 20207                                                                   Docket Status:
                                NASHVILLE, TN 37242-0207                                                       Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         10/30/2009             Amended By Claim No:                                                           Duplicated By Claim No:
             Class                                                 Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                      $15,180.98
            Priority                                                           $0.00
             Total                                                        $15,180.98 (Unliquidated)
Description: Administrative - Please See Claim For Details.
Remarks:       Amended by Claim # 1098

                                Debtor Name: Gunite Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                Creditor Name: TENNESSEE DEPARTMENT OF REVENUE
                                                                                                               Last Date to File (govt):           04/06/10
                                C/O ATTORNEY GENERAL
        Claim No: 27            PO BOX 20207                                                                   Filing Status:
                                NASHVILLE, TN 37202-0207                                                       Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         10/30/2009             Amended By Claim No:                                                           Duplicated By Claim No:
             Class                                                 Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                       $3,846.89                                                       $0.00
             Total                                                         $3,846.89 (Unliquidated)                                        $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per the Order approving Stipulation filed 7/22/2010 (Dkt 1119).
                              Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12           Page 10 of 374


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BNK01160                                                                                                                         10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                                   Last Date to File Claims:           11/30/09
                                 Creditor Name: THE COMMISSIONER OF REVENUE OF THE STATE
                                                                                                                   Last Date to File (govt):           04/06/10
                                 OF TENNESSEE- ATTN WILBUR E. HOOKS
        Claim No: 28             TAX ENFORCEMENT DIVISION                                                          Filing Status:
                                 C/O ATTORNEY GENERAL PO BOX 20207                                                 Docket Status:
                                 NASHVILLE, TX 37202-0207                                                          Late:

         Claim Date:            Amends Claim No:                                                                   Duplicates Claim No:
         10/30/2009             Amended By Claim No:                                                               Duplicated By Claim No:
               Class                                              Amount Claimed                                                Amount Allowed
            Secured
           Unsecured
            Priority                                                     $1,149.96
               Total                                                     $1,149.96 (Unliquidated)
Description: Administrative - Please See Claim For Details.
Remarks:        Amended by Claim # 1103

                                 Debtor Name: Accuride Corporation
                                                                                                                   Last Date to File Claims:           11/30/09
                                 Creditor Name: FLORENCE FILTER CORPORATION
                                                                                                                   Last Date to File (govt):           04/06/10
                                 530 W MANVILLE ST
        Claim No: 29             COMPTON, CA 90220                                                                 Filing Status:
                                                                                                                   Docket Status:
                                                                                                                   Late:

         Claim Date:            Amends Claim No:                                                                   Duplicates Claim No:
         10/30/2009             Amended By Claim No:                                                               Duplicated By Claim No:
               Class                                              Amount Claimed                                                Amount Allowed
            Secured                                                                                                                            $0.00
           Unsecured                                                       $149.26                                                             $0.00
            Priority                                                                                                                           $0.00
               Total                                                       $149.26                                                             $0.00
Description:
Remarks:        Amended by Claim # 1084; Disallowed per Omni 1 Order - No Supp Doc Clms filed 04.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                   Last Date to File Claims:           11/30/09
                                 Creditor Name: ARROWOOD INDEMNITY COMPANY
                                                                                                                   Last Date to File (govt):           04/06/10
                                 F/K/A ROYAL INDEMNITY COMPANY
        Claim No: 30             C/O CARRUTHERS & ROTH PA- JOHN M FLYNN                                            Filing Status:
                                 235 N EDGEWORTH ST                                                                Docket Status:
                                 GREENSBORO, NC 27401                                                              Late:

         Claim Date:            Amends Claim No:                                                                   Duplicates Claim No:
         11/04/2009             Amended By Claim No:                                                               Duplicated By Claim No:
               Class                                              Amount Claimed                                                Amount Allowed
            Secured                                                    $187,000.00                                                             $0.00
           Unsecured                                                                                                                           $0.00
            Priority                                                                                                                           $0.00
               Total                                                   $187,000.00                                                             $0.00
Description:
Remarks:        Claim withdrawn per Dkt 1140 filed 9/2/2010.
                              Case 09-13449-BLS                     Doc 1321-1        Filed 02/14/12    Page 11 of 374


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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group, L.P.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: DEPT OF THE TREASURY - IRS
                                                                                                            Last Date to File (govt):           04/06/10
                                CENTRALIZED INSOLVENCY OPERATION
        Claim No: 31            PO BOX 7346                                                                 Filing Status:
                                PHILADELPHIA, PA 19101-7346                                                 Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/05/2009             Amended By Claim No:                                                        Duplicated By Claim No:
             Class                                                  Amount Claimed                                       Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                     $10,577.47                                                     $0.00
            Priority                                                     $22,342.36                                                     $0.00
             Total                                                       $32,919.83 (Unliquidated)                                      $0.00
Description: Please see claim for detail.
Remarks:       Disall per Omni 1 Order-Amend & Suprsd Clms-filed 4.13.10 (Dkt 989); Amend by Clm 887.

                                Debtor Name: Gunite Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: DEPARTMENT OF THE TREASURY - IRS
                                                                                                            Last Date to File (govt):           04/06/10
                                CENTRALIZED INSOLVENCY UNIT
        Claim No: 32            PO BOX 7346                                                                 Filing Status:
                                PHILADELPHIA, PA 19101-7346                                                 Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/05/2009             Amended By Claim No:                                                        Duplicated By Claim No:
             Class                                                  Amount Claimed                                       Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                                                                                    $0.00
            Priority                                                      $5,000.00                                                     $0.00
             Total                                                        $5,000.00 (Unliquidated)                                      $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per letter dated November 30, 2009

                                Debtor Name: Fabco Automotive Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: DEPARTMENT OF THE TREASURY - IRS
                                                                                                            Last Date to File (govt):           04/06/10
                                CENTRALIZED INSOLVENCY OPERATION
        Claim No: 33            PO BOX 7346                                                                 Filing Status:
                                PHILADELPHIA, PA 19101-7346                                                 Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/05/2009             Amended By Claim No:                                                        Duplicated By Claim No:
             Class                                                  Amount Claimed                                       Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                     $59,044.85                                                     $0.00
            Priority                                                     $84,633.67                                                     $0.00
             Total                                                      $143,678.52 (Unliquidated)                                      $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per letter dated November 20, 2009
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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: DEPARTMENT OF THE TREASURY - IRS
                                                                                                            Last Date to File (govt):           04/06/10
                                CENTRALIZED INSOLVENCY OPERATION
        Claim No: 34            PO BOX 7346                                                                 Filing Status:
                                PHILADELPHIA, PA 19101-7346                                                 Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/05/2009             Amended By Claim No:                                                        Duplicated By Claim No:
             Class                                                   Amount Claimed                                      Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                                                                                    $0.00
            Priority                                                       $5,000.00                                                    $0.00
             Total                                                         $5,000.00 (Unliquidated)                                     $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per letter dated November 30, 2009

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: DEPARTMENT OF THE TREASURY - IRS
                                                                                                            Last Date to File (govt):           04/06/10
                                CENTRALIZED INSOLVENCY OPERATION
        Claim No: 35            PO BOX 7346                                                                 Filing Status:
                                PHILADELPHIA, PA 19101-7346                                                 Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/05/2009             Amended By Claim No:                                                        Duplicated By Claim No:
             Class                                                   Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                                       $4,440.30
            Priority                                                      $13,915.73
             Total                                                        $18,356.03 (Unliquidated)
Description: Please see claim for detail.
Remarks:       Amended by Claim # 1102

                                Debtor Name: AOT Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: DEPARTMENT OF THE TREASURY - IRS
                                                                                                            Last Date to File (govt):           04/06/10
                                CENTRALIZED INSOLVENCY OPERATION
        Claim No: 36            PO BOX 7346                                                                 Filing Status:
                                PHILADELPHIA, PA 19101-7346                                                 Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/05/2009             Amended By Claim No:                                                        Duplicated By Claim No:
             Class                                                   Amount Claimed                                      Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                                                                                    $0.00
            Priority                                                      $11,517.51                                                    $0.00
             Total                                                        $11,517.51 (Unliquidated)                                     $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per letter dated November 30, 2009.
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BNK01160                                                                                                                 10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Erie L.P.
                                                                                                           Last Date to File Claims:           11/30/09
                                Creditor Name: DEPARTMENT OF THE TREASURY - IRS
                                                                                                           Last Date to File (govt):           04/06/10
                                CENTRALIZED INSOLVENCY OPERATION
        Claim No: 37            PO BOX 7346                                                                Filing Status:
                                PHILADELPHIA, PA 19101-7346                                                Docket Status:
                                                                                                           Late:

         Claim Date:            Amends Claim No:                                                           Duplicates Claim No:
         11/05/2009             Amended By Claim No:                                                       Duplicated By Claim No:
             Class                                                  Amount Claimed                                      Amount Allowed
            Secured                                                                                                                    $0.00
           Unsecured                                                                                                                   $0.00
            Priority                                                      $5,000.00                                                    $0.00
             Total                                                        $5,000.00 (Unliquidated)                                     $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per letter dated November 20, 2009

                                Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                           Last Date to File Claims:           11/30/09
                                Creditor Name: DEPARTMENT OF THE TREASURY - IRS
                                                                                                           Last Date to File (govt):           04/06/10
                                CENTRALIZED INSOLVENCY OPERATION
        Claim No: 38            PO BOX 7346                                                                Filing Status:
                                PHILADELPHIA, PA 19101-7346                                                Docket Status:
                                                                                                           Late:

         Claim Date:            Amends Claim No:                                                           Duplicates Claim No:
         11/05/2009             Amended By Claim No:                                                       Duplicated By Claim No:
             Class                                                  Amount Claimed                                      Amount Allowed
            Secured                                                                                                                    $0.00
           Unsecured                                                                                                                   $0.00
            Priority                                                     $58,849.47                                                    $0.00
             Total                                                       $58,849.47 (Unliquidated)                                     $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per letter dated November 30, 2009

                                Debtor Name: Accuride Corporation
                                                                                                           Last Date to File Claims:           11/30/09
                                Creditor Name: DEPARTMENT OF THE TREASURY - IRS
                                                                                                           Last Date to File (govt):           04/06/10
                                CENTRALIZED INSOLVENCY OPERATION
        Claim No: 39            PO BOX 7346                                                                Filing Status:
                                PHILADELPHIA, PA 19101-7346                                                Docket Status:
                                                                                                           Late:

         Claim Date:            Amends Claim No:                                                           Duplicates Claim No:
         11/05/2009             Amended By Claim No:                                                       Duplicated By Claim No:
             Class                                                  Amount Claimed                                      Amount Allowed
            Secured                                                                                                                    $0.00
           Unsecured                                                                                                                   $0.00
            Priority                                                     $65,126.05                                                    $0.00
             Total                                                       $65,126.05 (Unliquidated)                                     $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per letter November 30, 2009
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BNK01160                                                                                                              10-Feb-12       1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                        Last Date to File Claims:     11/30/09
                                 Creditor Name: AMERICAN ELECTRIC POWER
                                                                                                        Last Date to File (govt):     04/06/10
                                 PO BOX 2021
       Claim No: 40              ROANOKE, VA 24022-2121                                                 Filing Status:
                                                                                                        Docket Status:
                                                                                                        Late:

        Claim Date:             Amends Claim No:                                                        Duplicates Claim No:
        11/09/2009              Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                           Amount Claimed                                        Amount Allowed
            Secured                                                        $0.00
           Unsecured                                                 $131,305.36
            Priority                                                       $0.00
               Total                                                 $131,305.36
Description:
Remarks:

                                 Debtor Name: Imperial Group, L.P.
                                                                                                        Last Date to File Claims:     11/30/09
                                 Creditor Name: COUNTY OF DENTON
                                                                                                        Last Date to File (govt):     04/06/10
                                 C/O MCCREARY VESELKA BRAGG & ALLEN PC
       Claim No: 41              ATTN MICHAEL REED                                                      Filing Status:
                                 700 JEFFREY WAY SUITE 100, PO BOX 1269                                 Docket Status:
                                 ROUND ROCK, TX 78680                                                   Late:

        Claim Date:             Amends Claim No:                                                        Duplicates Claim No:
        11/09/2009              Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                           Amount Claimed                                        Amount Allowed
            Secured                                                    $6,176.44
           Unsecured
            Priority
               Total                                                   $6,176.44
Description:
Remarks:        Survives Claim #'s 52,78 & 1034.

                                 Debtor Name: Imperial Group, L.P.
                                                                                                        Last Date to File Claims:     11/30/09
                                 Creditor Name: LEWIS COUNTY WASHINGTON
                                                                                                        Last Date to File (govt):     04/06/10
                                 LEWIS COUNTY TREASURER
       Claim No: 42              351 NW NORTH STREET                                                    Filing Status:
                                 CHEHALIS, WA 98532                                                     Docket Status:
                                                                                                        Late:

        Claim Date:             Amends Claim No:                                                        Duplicates Claim No:
        11/02/2009              Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                           Amount Claimed                                        Amount Allowed
            Secured                                                     $747.97
           Unsecured
            Priority
               Total                                                    $747.97
Description:
Remarks:
                               Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 15 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: WELLS FARGO FINANCIAL LEASING INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 800 WALNUT STREET
        Claim No: 43             DES MOINES, IA 50309                                                          Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/03/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                        $9,883.57                                                      $0.00
            Priority                                                                                                                       $0.00
               Total                                                        $9,883.57                                                      $0.00
Description:
Remarks:        Disallowed per Omni 4 Order - No Liability Claims - filed 4.13.10 (Dkt 991)

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: SBC GLOBAL SERVICES INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 C/O JAMES GRUDUS ESQ
        Claim No: 44             AT&T SERVICES INC                                                             Filing Status:
                                 ONE AT&T WAY ROOM 3A218                                                       Docket Status:
                                 BEDMINISTER, NJ 07921                                                         Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/04/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                             $0.00
           Unsecured                                                        $2,023.47
            Priority                                                            $0.00
               Total                                                        $2,023.47
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: JANE MCDANIEL
                                                                                                               Last Date to File (govt):           04/06/10
                                 C/O DONALD R RHEA
        Claim No: 45             930 FORREST AVENUE                                                            Filing Status:
                                 GADSDEN, AL 35901                                                             Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/10/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                      $483,391.75
            Priority
               Total                                                      $483,391.75 (Unliquidated)
Description: Please see claim for detail.
Remarks:
                              Case 09-13449-BLS              Doc 1321-1           Filed 02/14/12   Page 16 of 374


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BNK01160                                                                                                             10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                 09-13449 ACCURIDE CORPORATION, ET AL.
                                                         Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: LENA WILSON
                                                                                                       Last Date to File (govt):     04/06/10
                                C/O DONALD R RHEA
        Claim No: 46            930 FORREST AVENUE                                                     Filing Status:
                                GADSDEN, AL 35901                                                      Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/10/2009             Amended By Claim No:                                                   Duplicated By Claim No:
             Class                                           Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                $424,131.47
            Priority
             Total                                                  $424,131.47 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: SHERRY FAGAN
                                                                                                       Last Date to File (govt):     04/06/10
                                C/O DONALD R RHEA
        Claim No: 47            930 FORREST AVENUE                                                     Filing Status:
                                GADSDEN, AL 35901                                                      Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/10/2009             Amended By Claim No:                                                   Duplicated By Claim No:
             Class                                           Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                $390,557.48
            Priority
             Total                                                  $390,557.48 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: GERRI MOON
                                                                                                       Last Date to File (govt):     04/06/10
                                C/O DONALD R RHEA
        Claim No: 48            930 FORREST AVENUE                                                     Filing Status:
                                GADSDEN, AL 35901                                                      Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/10/2009             Amended By Claim No:                                                   Duplicated By Claim No:
             Class                                           Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                $472,968.86
            Priority
             Total                                                  $472,968.86 (Unliquidated)
Description: Please see claim for detail.
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1        Filed 02/14/12   Page 17 of 374


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BNK01160                                                                                                               10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: DIANN PRUITT
                                                                                                         Last Date to File (govt):     04/06/10
                                C/O DONALD R RHEA
        Claim No: 49            930 FORREST AVENUE                                                       Filing Status:
                                GADSDEN, AL 35901                                                        Docket Status:
                                                                                                         Late:

         Claim Date:            Amends Claim No:                                                         Duplicates Claim No:
         11/10/2009             Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                              Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                                  $128,520.00
            Priority
               Total                                                  $128,520.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: MGA RESEARCH CORPORATION
                                                                                                         Last Date to File (govt):     04/06/10
                                ATTN SETH A DRUCKER ESQ
        Claim No: 50            HONIGMAN MILLER SCHWARTZ AND COHN LLP                                    Filing Status:
                                2290 FIRST NAT'L BLDG 660 WOODWARD AVE                                   Docket Status:
                                DETROIT, MI 48226                                                        Late:

         Claim Date:            Amends Claim No:                                                         Duplicates Claim No:
         11/10/2009             Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                              Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                                   $20,155.00
            Priority
               Total                                                   $20,155.00
Description:
Remarks:        Obection withdrawn per Order (Dkt 990) 04.13.10

                                Debtor Name: Imperial Group, L.P.
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: HERITAGE CRYSTAL CLEAN LLC
                                                                                                         Last Date to File (govt):     04/06/10
                                C/O GARY M VANEK ATTORNEY AT LAW
        Claim No: 51            1250 LARKIN AVE SUITE 100                                                Filing Status:
                                ELGIN, IL 60123                                                          Docket Status:
                                                                                                         Late:

         Claim Date:            Amends Claim No:                                                         Duplicates Claim No:
         11/10/2009             Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                              Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                                    $8,658.16
            Priority
               Total                                                    $8,658.16
Description:
Remarks:
                               Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12     Page 18 of 374


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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Imperial Group, L.P.
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: COUNTY OF DENTON
                                                                                                                Last Date to File (govt):           04/06/10
                                 C/O MCCREARY VESELKA BRAGG & ALLEN PC
        Claim No: 52             ATTN MICHAEL REED                                                              Filing Status:
                                 700 JEFFREY WAY STE 100, PO BOX 1269                                           Docket Status:
                                 ROUND ROCK, TX 78680                                                           Late:

         Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
         11/10/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                            Amount Allowed
            Secured                                                        $6,176.44                                                        $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                                                                                        $0.00
               Total                                                       $6,176.44                                                        $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Surviving Claim #41

                                 Debtor Name: ACCURIDE HENDERSON KY 42419
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: MAXON A HONEYWELL COMANY
                                                                                                                Last Date to File (govt):           04/06/10
                                 ATTN CATHY COON
        Claim No: 53             201 E 18TH STREET                                                              Filing Status:
                                 MUNCIE, IN 47302-4121                                                          Docket Status:
                                                                                                                Late:

         Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
         11/09/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                            Amount Allowed
            Secured
           Unsecured                                                       $6,469.82
            Priority
               Total                                                       $6,469.82
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: METROPOLITAN DEPARTMENT OF LAW
                                                                                                                Last Date to File (govt):           04/06/10
                                 PO BOX 196300
        Claim No: 54             NASHVILLE, TN 37219-6300                                                       Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
         11/09/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                            Amount Allowed
            Secured                                                          $249.14
           Unsecured
            Priority                                                         $249.14
               Total                                                         $498.28
Description: Please see claim for detail.
Remarks:
                              Case 09-13449-BLS                 Doc 1321-1          Filed 02/14/12   Page 19 of 374


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BNK01160                                                                                                               10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group, L.P.
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: LINDE LLC
                                                                                                         Last Date to File (govt):     04/06/10
                                ATTN ED HYLAND - REV MGT - 1E
        Claim No: 55            575 MOUNTAIN AVE                                                         Filing Status:
                                MURRAY HILL, NJ 07974                                                    Docket Status:
                                                                                                         Late:

         Claim Date:            Amends Claim No:                                                         Duplicates Claim No:
         11/09/2009             Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured
            Priority                                                   $11,083.93
               Total                                                   $11,083.93
Description: Administrative - Please See Claim For Details.
Remarks:

                                Debtor Name: Accuride Erie L.P.
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: SIEMENS WATER TECHNOLOGIES CORP
                                                                                                         Last Date to File (govt):     04/06/10
                                10 TECHNOLOGY DRIVE
        Claim No: 56            LOWELL, MA 01851                                                         Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:            Amends Claim No:                                                         Duplicates Claim No:
         11/02/2009             Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                   $10,673.05
            Priority
               Total                                                   $10,673.05
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: ATMOS ENERGY MID-STATES DIVISION
                                                                                                         Last Date to File (govt):     04/06/10
                                A DIVISION OF ATMOS ENERGY CORPORATION
        Claim No: 57            ATTN BANKRUPTCY GROUP                                                    Filing Status:
                                PO BOX 650205                                                            Docket Status:
                                DALLAS, TX 75265-0205                                                    Late:

         Claim Date:            Amends Claim No:                                                         Duplicates Claim No:
         11/06/2009             Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                   $11,098.35
            Priority
               Total                                                   $11,098.35
Description:
Remarks:        Survives Claim #839
                               Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 20 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: STEMCOR USA INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 EULER HERMES ACI
       Claim No: 58              AGENT OF STEMCOR USA INC                                                      Filing Status:
                                 800 RED BROOK BLVD                                                            Docket Status:
                                 OWINGS MILLS, MD 21117                                                        Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/09/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                       $60,281.20                                                      $0.00
            Priority                                                                                                                       $0.00
               Total                                                       $60,281.20                                                      $0.00
Description:
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: SIEMENS WATER TECHNOLOGIES CORP
                                                                                                               Last Date to File (govt):           04/06/10
                                 10 TECHNOLOGY DRIVE
       Claim No: 59              LOWELL, MA 01851                                                              Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/02/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                          $647.39
            Priority
               Total                                                          $647.39
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: THOMAS & BETTS CORPORATION
                                                                                                               Last Date to File (govt):           04/06/10
                                 ATTN ROBERT JOHNSTON
       Claim No: 60              8155 T&B BLVD                                                                 Filing Status:
                                 MEMPHIS, TN 38125                                                             Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/03/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                        $7,884.32                                                      $0.00
            Priority                                                                                                                       $0.00
               Total                                                        $7,884.32                                                      $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Survives Claim #19
                              Case 09-13449-BLS                  Doc 1321-1            Filed 02/14/12   Page 21 of 374


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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: NORTHERN INDIANA PUBLIC SERVICE COMPANY
                                                                                                            Last Date to File (govt):           04/06/10
                                ATTN REVENUE ASSURANCE & RECOVERY
       Claim No: 61             801 E 86TH AVENUE                                                           Filing Status:
                                MERRILLVILLE, IN 46410                                                      Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/03/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                      $9,429.48
            Priority
               Total                                                      $9,429.48
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: ALABAMA POWER COMPANY
                                                                                                            Last Date to File (govt):           04/06/10
                                ATTN ERIC T RAY
       Claim No: 62             BALCH & BINGHAM LLP                                                         Filing Status:
                                PO BOX 306                                                                  Docket Status:
                                BIRMINGHAM, AL 35201                                                        Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/04/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                     $58,154.97
            Priority                                                          $0.00
               Total                                                     $58,154.97
Description:
Remarks:        Obection withdrawn per Omni 1 & 3 Orders (Dkts 989&990) 04.13.10

                                Debtor Name: Accuride Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: CIT TECHNOLOGY FINANCING SERVICES INC
                                                                                                            Last Date to File (govt):           04/06/10
                                BANKRUPTCY PROCESSING
       Claim No: 63             800 E SONTERRA BLVD SUITE 240                                               Filing Status:
                                SAN ANTONIO, TX 78258                                                       Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/06/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                     $23,172.46                                               $438.49
            Priority                                                                                                                    $0.00
               Total                                                     $23,172.46                                               $438.49
Description:
Remarks:        Claim amt modified and allowed per Omni 4 Order - Mod. Clms filed 4.13.10 (Dkt 991)
                              Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12       Page 22 of 374


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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: SECURITAS SECURITY SERVICES USA
                                                                                                                Last Date to File (govt):           04/06/10
                                C/O TR CAPITAL, LLC
       Claim No: 64             ATTN: TERREL ROSS                                                               Filing Status:
                                265 SUNRISE HIGHWAY, SUITE 42                                                   Docket Status:
                                ROCKVILLE CENTRE, NY 11570                                                      Late:

        Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
        10/26/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                           $0.00                                                         $0.00
           Unsecured                                                     $13,721.86                                                         $0.00
            Priority                                                          $0.00                                                         $0.00
               Total                                                     $13,721.86                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: GEOMAGIC
                                                                                                                Last Date to File (govt):           04/06/10
                                PO BOX 12219
       Claim No: 65             RESEARCH TRIANGLE PA, NC 27709-2219                                             Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
        11/16/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                      $5,487.00
            Priority
               Total                                                      $5,487.00
Description:
Remarks:

                                Debtor Name: Accuride Erie L.P.
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: OIL SERVICE, INC
                                                                                                                Last Date to File (govt):           04/06/10
                                2899 GRAND AVE
       Claim No: 66             PITTSBURGH, PA 15225-1612                                                       Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
        11/16/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                     $23,419.00
            Priority
               Total                                                     $23,419.00
Description:
Remarks:
                       Case 09-13449-BLS             Doc 1321-1         Filed 02/14/12   Page 23 of 374


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BNK01160                                                                                                   10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                  Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Brillion Iron Works
                                                                                             Last Date to File Claims:     11/30/09
                        Creditor Name: CHARLESTON/ORWIG INC
                                                                                             Last Date to File (govt):     04/06/10
                        ATTN NANCY WEGNER
       Claim No: 67     515 W NORTH SHORE DR                                                 Filing Status:
                        HARTLAND, WI 53029                                                   Docket Status:
                                                                                             Late:

        Claim Date:     Amends Claim No:                                                     Duplicates Claim No:
        11/16/2009      Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                  Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                       $28,271.90
            Priority
               Total                                       $28,271.90
Description:
Remarks:

                        Debtor Name: Gunite Corporation
                                                                                             Last Date to File Claims:     11/30/09
                        Creditor Name: UNITED RIBTYPE COMPANY
                                                                                             Last Date to File (govt):     04/06/10
                        PO BOX 8887
       Claim No: 68     FORT WAYNE, IN 46898-8887                                            Filing Status:
                                                                                             Docket Status:
                                                                                             Late:

        Claim Date:     Amends Claim No:                                                     Duplicates Claim No:
        11/16/2009      Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                  Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                         $799.50
            Priority
               Total                                         $799.50
Description:
Remarks:

                        Debtor Name: Fabco Automotive Corporation
                                                                                             Last Date to File Claims:     11/30/09
                        Creditor Name: THERMO-FUSION
                                                                                             Last Date to File (govt):     04/06/10
                        ATTN DAVE BUTTNER
       Claim No: 69     2342 AMERICAN AVE                                                    Filing Status:
                        HAYWARD, CA 94545-1808                                               Docket Status:
                                                                                             Late:

        Claim Date:     Amends Claim No:                                                     Duplicates Claim No:
        11/16/2009      Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                  Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                        $8,153.60
            Priority
               Total                                        $8,153.60
Description:
Remarks:
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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: ONOX INC
                                                                                                                 Last Date to File (govt):           04/06/10
                                 44382 S GRIMMER BLVD
        Claim No: 70             FREMONT, CA 94538-6385                                                          Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/16/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $218.92
            Priority
               Total                                                        $218.92
Description:
Remarks:

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: STAEHLE PRECISION CORP
                                                                                                                 Last Date to File (govt):           04/06/10
                                 W4129 N POINT RD
        Claim No: 71             BROWNSVILLE, WI 53006-1214                                                      Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/16/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                         $24.09
            Priority                                                       $2,714.37
               Total                                                       $2,738.46
Description: Administrative - Please See Claim For Details.
Remarks:

                                 Debtor Name:
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: DANA CORPORATION
                                                                                                                 Last Date to File (govt):           04/06/10
                                 DANA HEAVY VEHICLE TECHNOLOGY &
        Claim No: 72             SERVICE DIVISION                                                                Filing Status:
                                 6201 TRUST DR                                                                   Docket Status:
                                 HOLLAND, OH 43528-8427                                                          Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/16/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                       $1,630.06                                                   $183.37
            Priority                                                       $9,752.20                                                    $287.12
               Total                                                     $11,382.26                                                    $470.49
Description: Administrative - Please See Claim For Details.
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. & Recl. Clms filed 4.13.10 (Dkt 990)
                              Case 09-13449-BLS               Doc 1321-1          Filed 02/14/12   Page 25 of 374


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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                  09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: WEASLER ENGINEERING INC
                                                                                                       Last Date to File (govt):     04/06/10
                                PO BOX 558
        Claim No: 73            WEST BEND, WI 53095-0558                                               Filing Status:
                                                                                                       Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/16/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                           Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                 $11,138.41
            Priority
               Total                                                 $11,138.41
Description:
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: APPLETON PACKING & GASKET INC
                                                                                                       Last Date to File (govt):     04/06/10
                                PO BOX 1953
        Claim No: 74            APPLETON, WI 54912-1953                                                Filing Status:
                                                                                                       Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/16/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                           Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                     $65.32
            Priority
               Total                                                     $65.32
Description:
Remarks:

                                Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: LARRY BIDDINGS
                                                                                                       Last Date to File (govt):     04/06/10
                                1365 FREDERICK BLVD
        Claim No: 75            #65                                                                    Filing Status:
                                AKRON, OH 44320-3356                                                   Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/16/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                           Amount Claimed                                       Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                               Unliquidated
Description: Please see claim for detail.
Remarks:
                               Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12     Page 26 of 374


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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: BADGER MILL SUPPLY
                                                                                                                Last Date to File (govt):           04/06/10
                                 PO BOX 2488
       Claim No: 76              OSHKOSH, WI 54903-2488                                                         Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:              Amends Claim No:                                                               Duplicates Claim No:
        11/16/2009               Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                            Amount Allowed
            Secured
           Unsecured                                                       $1,733.00
            Priority
               Total                                                       $1,733.00
Description:
Remarks:

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: APL INC
                                                                                                                Last Date to File (govt):           04/06/10
                                 C/O UNITED STATES DEBT RECOVERY III, LP
       Claim No: 77              940 SOUTHWOOD BI, SUITE 101                                                    Filing Status:
                                 INCLINE VILLAGE, NV 89451                                                      Docket Status:
                                                                                                                Late:

        Claim Date:              Amends Claim No:                                                               Duplicates Claim No:
        11/16/2009               Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                            Amount Allowed
            Secured
           Unsecured                                                         $289.00
            Priority
               Total                                                         $289.00
Description:
Remarks:

                                 Debtor Name: Imperial Group, L.P.
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: COUNTY OF DENTON
                                                                                                                Last Date to File (govt):           04/06/10
                                 ATTN MICHAEL REED
       Claim No: 78              MCCREARY VESELKA BRAGG & ALLEN P C                                             Filing Status:
                                 700 JEFFREY WAY SUITE 100 PO BOX 1269                                          Docket Status:
                                 ROUND ROCK, TX 78680                                                           Late:

        Claim Date:              Amends Claim No:                                                               Duplicates Claim No:
        11/16/2009               Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                            Amount Allowed
            Secured                                                        $6,176.44                                                        $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                                                                                        $0.00
               Total                                                       $6,176.44                                                        $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Surviving Claim #41
                              Case 09-13449-BLS                  Doc 1321-1            Filed 02/14/12   Page 27 of 374


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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: OSHKOSH COIL SPRING CO
                                                                                                            Last Date to File (govt):           04/06/10
                                PO BOX 337
        Claim No: 79            OSHKOSH, WI 54903-0337                                                      Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/16/2009             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured
            Priority                                                      $6,336.20
               Total                                                      $6,336.20
Description: Administrative - Please See Claim For Details.
Remarks:

                                Debtor Name:
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: RAVEN ROCK WORKWEAR INC
                                                                                                            Last Date to File (govt):           04/06/10
                                7610 MCEWEN RD
        Claim No: 80            DAYTON, OH 45459-3908                                                       Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/16/2009             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                      $1,336.59
            Priority
               Total                                                      $1,336.59
Description:
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: ALLIED MINERAL PROD INC
                                                                                                            Last Date to File (govt):           04/06/10
                                2700 SCIOTO PKWY
        Claim No: 81            COLUMBUS, OH 43221-4657                                                     Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/16/2009             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                                                                           $19,878.26
            Priority                                                     $28,111.54                                                     $0.00
               Total                                                     $28,111.54                                            $19,878.26
Description: Administrative - Please See Claim For Details.
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)
                             Case 09-13449-BLS                  Doc 1321-1          Filed 02/14/12   Page 28 of 374


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BNK01160                                                                                                               10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Accuride Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: CANTEEN SERVICE COMPANY
                                                                                                         Last Date to File (govt):     04/06/10
                               PO BOX 1785
        Claim No: 82           OWENSBORO, KY 42302-1785                                                  Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/16/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                     $161.65
            Priority
               Total                                                     $161.65
Description:
Remarks:

                               Debtor Name: Accuride Erie L.P.
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: MOBILCOM INC
                                                                                                         Last Date to File (govt):     04/06/10
                               ATTN LINDA PIATT
        Claim No: 83           PO BOX 1234                                                               Filing Status:
                               MEADVILLE, PA 16335-0734                                                  Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/16/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured
            Priority                                                    $1,595.09
               Total                                                    $1,595.09
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: LAKE COUNTRY CORPORATION
                                                                                                         Last Date to File (govt):     04/06/10
                               PO BOX 231
        Claim No: 84           MAYVILLE, WI 53050-0231                                                   Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/16/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                    $2,910.65
            Priority
               Total                                                    $2,910.65
Description:
Remarks:
                               Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 29 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: SPOONER INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 28605 RANNEY PKWY
       Claim No: 85              WESTLAKE, OH 44145-1163                                                       Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/16/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                             $0.00
            Priority
               Total                                                             $0.00
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: RUNFLAT AMERICA CORPORATION
                                                                                                               Last Date to File (govt):           04/06/10
                                 10061 RIVERSIDE DR
       Claim No: 86              N HOLLYWOOD, CA 91602-2560                                                    Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/17/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                       $476,454.61
            Priority
               Total                                                       $476,454.61
Description:
Remarks:        Objection adjourned per Omni 3 Order (Dkt 990) 04.13.10.

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: WELLS FARGO FINANCIAL CAPITAL FINANCE A
                                                                                                               Last Date to File (govt):           04/06/10
                                 DIVISION OF WELLS FARGO BANK NA
       Claim No: 87              300 TRI STATE INTERNATIONAL STE 400                                           Filing Status:
                                 LINCOLNSHIRE, IL 60069-4417                                                   Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/17/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                        $157,238.51                                                     $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                                                                                       $0.00
               Total                                                       $157,238.51                                                     $0.00
Description:
Remarks:        Disallowed per Omni 4 Order - No Liability Claims - filed 4.13.10 (Dkt 991)
                              Case 09-13449-BLS                  Doc 1321-1             Filed 02/14/12         Page 30 of 374


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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: COPPINGER EXHIBITS, INC.
                                                                                                                       Last Date to File (govt):           04/06/10
                                9955 WESTPOINT DR STE 150
        Claim No: 88            INDIANAPOLIS, IN 46256-3394                                                            Filing Status:
                                                                                                                       Docket Status:
                                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                                       Duplicates Claim No:
         11/17/2009             Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                              Amount Claimed                                                    Amount Allowed
            Secured
           Unsecured                                                       $15,652.41
            Priority
               Total                                                       $15,652.41
Description:
Remarks:

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: MESHELL, JOHN
                                                                                                                       Last Date to File (govt):           04/06/10
                                MICHAEL J MESTAYER
        Claim No: 89            601 POYDRAS STREET                                                                     Filing Status:
                                SUITE 2750                                                                             Docket Status:
                                NEW ORLEANS, LA 70130-6029                                                             Late:

         Claim Date:            Amends Claim No:                                                                       Duplicates Claim No:
         11/17/2009             Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                              Amount Claimed                                                    Amount Allowed
            Secured                                                                                                                                $0.00
           Unsecured                                                 $10,000,000.00                                                                $0.00
            Priority                                                                                                                               $0.00
               Total                                                 $10,000,000.00                                                                $0.00
Description:
Remarks:        Amended by Claim # 1101- Disallowed per Omni 1 Order - No Supp Docum Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: ERIE INDUSTRIAL TRUCKS, INC
                                                                                                                       Last Date to File (govt):           04/06/10
                                2419 W 15TH ST
        Claim No: 90            ERIE, PA 16505-4513                                                                    Filing Status:
                                                                                                                       Docket Status:
                                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                                       Duplicates Claim No:
         11/17/2009             Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                              Amount Claimed                                                    Amount Allowed
            Secured
           Unsecured                                                       $18,501.55
            Priority                                                        $1,140.00
               Total                                                       $19,641.55
Description: Administrative - Please See Claim For Details.
Remarks:        Objection withdrawn per Omni 1 Order (Dkt 989) 04.13.10.
                              Case 09-13449-BLS                  Doc 1321-1            Filed 02/14/12   Page 31 of 374


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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: ERIE INDUSTRIAL TRUCKS INC
                                                                                                            Last Date to File (govt):           04/06/10
                                2419 W 15TH ST
       Claim No: 91             ERIE, PA 16505-4513                                                         Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                     $18,501.55
            Priority                                                      $1,140.00
               Total                                                     $19,641.55
Description:
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: TOOL SERVICE CORP
                                                                                                            Last Date to File (govt):           04/06/10
                                C/O UNITED STATES DEBT RECOVERY III, LP
       Claim No: 92             940 SOUTHWOOD BI, SUITE 101                                                 Filing Status:
                                INCLINE VILLAGE, NV 89451                                                   Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                        $219.95
            Priority
               Total                                                        $219.95
Description:
Remarks:

                                Debtor Name: Accuride Erie L.P.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: WINKLE ELECTRIC COMPANY INC
                                                                                                            Last Date to File (govt):           04/06/10
                                PO BOX 1685
       Claim No: 93             YOUNGSTOWN, OH 44501-1685                                                   Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                      $8,193.71                                              $5,944.72
            Priority                                                                                                                    $0.00
               Total                                                      $8,193.71                                              $5,944.72
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)
                              Case 09-13449-BLS                   Doc 1321-1         Filed 02/14/12   Page 32 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: ROCKFORD ELECTRIC EQUIPMENT
                                                                                                          Last Date to File (govt):     04/06/10
                                2010 HARRISON AVE
       Claim No: 94             ROCKFORD, IL 61104-7343                                                   Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

        Claim Date:             Amends Claim No:                                                          Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                              Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                     $7,482.27
            Priority
               Total                                                     $7,482.27
Description:
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: MADDEN MACHINE CORP
                                                                                                          Last Date to File (govt):     04/06/10
                                N3888 HWY 55
       Claim No: 95             KAUKAUNA, WI 54130                                                        Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

        Claim Date:             Amends Claim No:                                                          Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                              Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                     $1,284.00
            Priority
               Total                                                     $1,284.00
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: INDUSTRIAL PACKAGING CORP
                                                                                                          Last Date to File (govt):     04/06/10
                                12871 WESTWOOD ST
       Claim No: 96             DETROIT, MI 48223-3435                                                    Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

        Claim Date:             Amends Claim No:                                                          Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                              Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                   $18,136.40
            Priority
               Total                                                   $18,136.40
Description:
Remarks:        Obection withdrawn per Order (Dkt 990) 04.13.10
                             Case 09-13449-BLS                  Doc 1321-1          Filed 02/14/12   Page 33 of 374


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BNK01160                                                                                                               10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Bostrom Seating, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: RCO ENGINEERING INC
                                                                                                         Last Date to File (govt):     04/06/10
                               PO BOX 198
        Claim No: 97           ROSEVILLE, MI 48066-0198                                                  Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/17/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                   $22,555.00
            Priority
               Total                                                   $22,555.00
Description:
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: KUNDINGER FLUID POWER
                                                                                                         Last Date to File (govt):     04/06/10
                               2441 PROGRESS COURT
        Claim No: 98           NEENAH, WI 54956-4891                                                     Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/17/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                     $236.84
            Priority                                                      $86.82
               Total                                                     $323.66
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: OSMUNDSON MFG CO
                                                                                                         Last Date to File (govt):     04/06/10
                               PO BOX 158
        Claim No: 99           PERRY, IA 50220-0158                                                      Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/17/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured
            Priority                                                     $393.00
               Total                                                     $393.00
Description: Administrative - Please See Claim For Details.
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12       Page 34 of 374


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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: MERRILL COMMUNICATIONS
                                                                                                                 Last Date to File (govt):           04/06/10
                                 ONE MERRILL CIRCLE
       Claim No: 100             ST PAUL, MN 55108                                                               Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/17/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                       $8,665.50
            Priority
               Total                                                       $8,665.50
Description:
Remarks:

                                 Debtor Name: Accuride Erie L.P.
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: ERIE PRESS SERVICES
                                                                                                                 Last Date to File (govt):           04/06/10
                                 ATTN: MGR OF CUSTOMER SERVICES
       Claim No: 101             1253 W 12TH ST                                                                  Filing Status:
                                 ERIE, PA 16501-1518                                                             Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/17/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                       $7,400.00                                                  $4,563.38
            Priority                                                       $3,700.00                                                         $0.00
               Total                                                     $11,100.00                                                   $4,563.38
Description: Administrative - Please See Claim For Details.
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. & Recl. Clms filed 4.13.10 (Dkt 990)

                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: SUMNER COUNTY TRUSTEE
                                                                                                                 Last Date to File (govt):           04/06/10
                                 355 BELVEDERE DRIVE N ROOM #107
       Claim No: 102             GALLATIN, TN 37066                                                              Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/17/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured
           Unsecured
            Priority                                                         $30.15
               Total                                                         $30.15 (Unliquidated)
Description: Please see claim for detail.
Remarks:
                               Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 35 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Imperial Group, L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: SUMNER COUNTY TRUSTEE
                                                                                                               Last Date to File (govt):           04/06/10
                                 355 BELVEDERE DRIVE N ROOM #107
       Claim No: 103             GALLATIN, TN 37066                                                            Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/17/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                       $40,019.88                                                      $0.00
               Total                                                       $40,019.88 (Unliquidated)                                       $0.00
Description: Please see claim for detail.
Remarks:        Disall per Omni 1 Order-Amend & Suprsd Clms-filed 4.13.10 (Dkt 989); Amend by Clm 902.

                                 Debtor Name: Imperial Group, L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: ACTION BOLT & SCREW CORP
                                                                                                               Last Date to File (govt):           04/06/10
                                 1019 S SIXTH ST
       Claim No: 104             PO BOX 60569                                                                  Filing Status:
                                 NASHVILLE, TN 37206-0569                                                      Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/17/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured
            Priority                                                          $640.44
               Total                                                          $640.44
Description: Administrative - Please See Claim For Details.
Remarks:

                                 Debtor Name:
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: PROFIT FINDERS
                                                                                                               Last Date to File (govt):           04/06/10
                                 20338 PROGRESS DR
       Claim No: 105             STRONGSVILLE, OH 44149-3220                                                   Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/17/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                        $3,750.00                                                      $0.00
            Priority                                                                                                                       $0.00
               Total                                                        $3,750.00                                                      $0.00
Description:
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)
                              Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12       Page 36 of 374


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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: SIMON'S INC
                                                                                                                Last Date to File (govt):           04/06/10
                                PO BOX 518
       Claim No: 106            HENDERSON, KY 42420-0518                                                        Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/17/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $379.49
            Priority
               Total                                                        $379.49
Description:
Remarks:

                                Debtor Name: Accuride Erie L.P.
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: SCOTT ELECTRIC
                                                                                                                Last Date to File (govt):           04/06/10
                                PO BOX S
       Claim No: 107            GREENSBURG, PA 15601-0899                                                       Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/17/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                      $5,299.11
            Priority
               Total                                                      $5,299.11
Description:
Remarks:

                                Debtor Name:
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: FELIPE D ACOSTA
                                                                                                                Last Date to File (govt):           04/06/10
                                131 MEADOWBROOK CIR
       Claim No: 108            BOWLING GREEN, KY 42101-3918                                                    Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/17/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                                                                                        $0.00
               Total                                                  Unliquidated                                                          $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12       Page 37 of 374


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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name:
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: TRACY BRADLEY
                                                                                                                Last Date to File (govt):           04/06/10
                                1276 VALLEY AVE
       Claim No: 109            BARBERTON, OH 44203-7407                                                        Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                        $500.00                                                         $0.00
               Total                                                        $500.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Imperial Group, L.P.
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: L H CORPORATION
                                                                                                                Last Date to File (govt):           04/06/10
                                4945 STEPP PLACE
       Claim No: 110            DUBLIN, VA 24084-3833                                                           Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                      $2,581.83
            Priority
               Total                                                      $2,581.83
Description:
Remarks:

                                Debtor Name: Imperial Group Holding Corp. - 1
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: HAROLD HALL
                                                                                                                Last Date to File (govt):           04/06/10
                                314 AB WADE RD
       Claim No: 111            PORTLAND, TN 37148-4905                                                         Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $226.00
            Priority
               Total                                                        $226.00
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12       Page 38 of 374


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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group Holding Corp. - 1
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: LEE ELECTRIC SUPPLY
                                                                                                                Last Date to File (govt):           04/06/10
                                1761 AIRPORT RD
       Claim No: 112            GALLATIN, TN 37066-3740                                                         Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                      $3,752.40
            Priority
               Total                                                      $3,752.40
Description:
Remarks:

                                Debtor Name:
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: BILL BLACKWOOD
                                                                                                                Last Date to File (govt):           04/06/10
                                216 CLIFTON TER
       Claim No: 113            CARROLLTON, GA 30117-3914                                                       Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                      $1,300.00                                                         $0.00
               Total                                                      $1,300.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: EAGER PLASTICS INC
                                                                                                                Last Date to File (govt):           04/06/10
                                3350 W 48TH ST
       Claim No: 114            CHICAGO, IL 60632-3000                                                          Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $710.50
            Priority
               Total                                                        $710.50
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12       Page 39 of 374


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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: GERALD SWIGGUM
                                                                                                                Last Date to File (govt):           04/06/10
                                3504 BLACKSTONE AVE
       Claim No: 115            ROCKFORD, IL 61101-3219                                                         Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/17/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                         $50.00
            Priority
               Total                                                         $50.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: AMERICAN ANALYTICAL LABORATORI
                                                                                                                Last Date to File (govt):           04/06/10
                                840 S MAIN ST
       Claim No: 116            AKRON, OH 44311-2043                                                            Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/17/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                        $564.12                                                         $0.00
            Priority                                                                                                                        $0.00
               Total                                                        $564.12                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Gunite Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: ZENAR CORPORATION
                                                                                                                Last Date to File (govt):           04/06/10
                                C/O UNITED STATES DEBT RECOVERY III, LP
       Claim No: 117            940 SOUTHWOOD BI, SUITE 101                                                     Filing Status:
                                INCLINE VILLAGE, NV 89451                                                       Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/17/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $316.00
            Priority
               Total                                                        $316.00
Description:
Remarks:
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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Bostrom Seating, Inc.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: MEASURING SOLUTIONS
                                                                                              Last Date to File (govt):     04/06/10
                        PO BOX 7160
       Claim No: 118    OXFORD, AL 36203-7160                                                 Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                          $916.14
            Priority
               Total                                          $916.14
Description:
Remarks:

                        Debtor Name:
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: STEVE FAY, INC.
                                                                                              Last Date to File (govt):     04/06/10
                        42685 ISLE ROYAL ST
       Claim No: 119    FREMONT, CA 94538-3940                                                Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $1,142.40
            Priority
               Total                                         $1,142.40
Description:
Remarks:

                        Debtor Name:
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: BAYVIEW TRUCK & AUTO SERVICES INC.
                                                                                              Last Date to File (govt):     04/06/10
                        6053 18 3 ROAD
       Claim No: 120    GALADSTONE, MI 49837-2548                                             Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                            $0.00
            Priority
               Total                                            $0.00
Description:
Remarks:
                             Case 09-13449-BLS                  Doc 1321-1         Filed 02/14/12   Page 41 of 374


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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Fabco Automotive Corporation
                                                                                                        Last Date to File Claims:     11/30/09
                               Creditor Name: EAST BAY TRUCK CENTER
                                                                                                        Last Date to File (govt):     04/06/10
                               333 FILBERT ST
       Claim No: 121           OAKLAND, CA 94607-2529                                                   Filing Status:
                                                                                                        Docket Status:
                                                                                                        Late:

         Claim Date:           Amends Claim No:                                                         Duplicates Claim No:
         11/17/2009            Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                             Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                                      $69.92
            Priority
               Total                                                      $69.92
Description:
Remarks:

                               Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                        Last Date to File Claims:     11/30/09
                               Creditor Name: AUTOMATED OFFICE SOLUTION
                                                                                                        Last Date to File (govt):     04/06/10
                               2100 N CULLEN AVE
       Claim No: 122           EVANSVILLE, IN 47715-2111                                                Filing Status:
                                                                                                        Docket Status:
                                                                                                        Late:

         Claim Date:           Amends Claim No:                                                         Duplicates Claim No:
         11/17/2009            Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                             Amount Claimed                                      Amount Allowed
            Secured
           Unsecured
            Priority                                                     $367.01
               Total                                                     $367.01
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Accuride Erie L.P.
                                                                                                        Last Date to File Claims:     11/30/09
                               Creditor Name: ERIE PETROLEUM INC.
                                                                                                        Last Date to File (govt):     04/06/10
                               CHRIS
       Claim No: 123           1502 GREENGARDEN RD                                                      Filing Status:
                               ERIE, PA 16501-1581                                                      Docket Status:
                                                                                                        Late:

         Claim Date:           Amends Claim No:                                                         Duplicates Claim No:
         11/17/2009            Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                             Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                                     $251.10
            Priority
               Total                                                     $251.10
Description:
Remarks:
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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: MIDVALE FOUNDRY PRODUCTS
                                                                                                  Last Date to File (govt):     04/06/10
                        6310 KNOX INDUSTRIAL DR
       Claim No: 124    SAINT LOUIS, MO 63139-3025                                                Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                              $400.00
            Priority
               Total                                              $400.00
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: LEVENHAGEN OIL CO
                                                                                                  Last Date to File (govt):     04/06/10
                        PO BOX 1
       Claim No: 125    NEENAH, WI 54957-0001                                                     Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                             $1,283.35
            Priority
               Total                                             $1,283.35
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: NEFF ENGINEERING OF WISCONSIN
                                                                                                  Last Date to File (govt):     04/06/10
                        PO BOX 80196
       Claim No: 126    FORT WAYNE, IN 46898-0196                                                 Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                             $1,455.02
            Priority
               Total                                             $1,455.02
Description:
Remarks:
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BNK01160                                                                                                        10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Gunite Corporation
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: DAVID H GARMAN
                                                                                                  Last Date to File (govt):     04/06/10
                        22 BAALTON ST
       Claim No: 127    GERMAN VALLEY, IL 61039-9503                                              Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                               $69.00
            Priority
               Total                                               $69.00
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: OVERHEAD MATERIAL HDLG INC
                                                                                                  Last Date to File (govt):     04/06/10
                        7747 S 6TH ST
       Claim No: 128    OAK CREEK, WI 53154-2021                                                  Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                              $391.46
            Priority
               Total                                              $391.46
Description:
Remarks:

                        Debtor Name:
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: COAST TOOL COMPANY
                                                                                                  Last Date to File (govt):     04/06/10
                        2099 EDISON AVE
       Claim No: 129    SAN LEANDRO, CA 94577-1103                                                Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                             $1,922.96
            Priority
               Total                                             $1,922.96
Description:
Remarks:
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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Imperial Group, L.P.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: BOBBY WATTS EXCAVATING INC
                                                                                                  Last Date to File (govt):     04/06/10
                        1703 S COLLEGE
       Claim No: 130    DECATUR, TX 76234-2822                                                    Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                             $1,980.00
            Priority
               Total                                             $1,980.00
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: VORPAHL, WA INC
                                                                                                  Last Date to File (govt):     04/06/10
                        526 LAMBEAU ST
       Claim No: 131    PO BOX 12175                                                              Filing Status:
                        GREEN BAY, WI 54307-2175                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                              $159.51
            Priority
               Total                                              $159.51
Description:
Remarks:

                        Debtor Name: Gunite Corporation
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: LECO CORPORATION
                                                                                                  Last Date to File (govt):     04/06/10
                        3000 LAKEVIEW AVE
       Claim No: 132    SAINT JOSEPH, MI 49085-2319                                               Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                             $1,572.93
            Priority
               Total                                             $1,572.93
Description:
Remarks:
                             Case 09-13449-BLS                  Doc 1321-1          Filed 02/14/12   Page 45 of 374


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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: TITAN TOOL SUPPLY INC
                                                                                                         Last Date to File (govt):     04/06/10
                               68 COMET ST
       Claim No: 133           BUFFALO, NY 14216-1711                                                    Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/17/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                     $231.60
            Priority
               Total                                                     $231.60
Description:
Remarks:

                               Debtor Name:
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: DVC INC
                                                                                                         Last Date to File (govt):     04/06/10
                               7301 E 46TH ST
       Claim No: 134           INDIANAPOLIS, IN 46226-3836                                               Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/17/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured
            Priority                                                    $2,033.00
               Total                                                    $2,033.00
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: C&W TECHNICAL SALES
                                                                                                         Last Date to File (govt):     04/06/10
                               3555 HILLSIDE RD
       Claim No: 135           SLINGER, WI 53086-9778                                                    Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/17/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                     $141.47
            Priority
               Total                                                     $141.47
Description:
Remarks:
                              Case 09-13449-BLS                 Doc 1321-1         Filed 02/14/12   Page 46 of 374


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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                        Last Date to File Claims:     11/30/09
                                Creditor Name: JIM'S GOLF CARS INC
                                                                                                        Last Date to File (govt):     04/06/10
                                C/O UNITED STATES DEBT RECOVERY III, LP
       Claim No: 136            940 SOUTHWOOD BI, SUITE 101                                             Filing Status:
                                INCLINE VILLAGE, NV 89451                                               Docket Status:
                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                        Duplicates Claim No:
         11/17/2009             Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                             Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                                     $236.65
            Priority                                                     $236.65
               Total                                                     $473.30
Description: Administrative - Please See Claim For Details.
Remarks:

                                Debtor Name: Imperial Group, L.P.
                                                                                                        Last Date to File Claims:     11/30/09
                                Creditor Name: ENDERBY GAS INC
                                                                                                        Last Date to File (govt):     04/06/10
                                PO BOX 717
       Claim No: 137            GAINSVILLE, TX 76241-0717                                               Filing Status:
                                                                                                        Docket Status:
                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                        Duplicates Claim No:
         11/17/2009             Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                             Amount Claimed                                      Amount Allowed
            Secured                                                        $5.69
           Unsecured                                                     $697.63
            Priority
               Total                                                     $703.32
Description: Please see claim for detail.
Remarks:

                                Debtor Name:
                                                                                                        Last Date to File Claims:     11/30/09
                                Creditor Name: KNOLL AMERICA, INC
                                                                                                        Last Date to File (govt):     04/06/10
                                303-313 W GIRARD
       Claim No: 138            MADISON HEIGHTS, MI 48071-1843                                          Filing Status:
                                                                                                        Docket Status:
                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                        Duplicates Claim No:
         11/17/2009             Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                             Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                                     $140.77
            Priority
               Total                                                     $140.77
Description:
Remarks:
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BNK01160                                                                                                        10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Gunite Corporation
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: MODERN EQUIPMENT
                                                                                                  Last Date to File (govt):     04/06/10
                        336 S SPRING ST
       Claim No: 139    PORT WASHINGTON, WI 53074-2326                                            Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                              $303.00
            Priority
               Total                                              $303.00
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: ADVANCED WASTE SERVICES
                                                                                                  Last Date to File (govt):     04/06/10
                        1126 S 70TH ST STE N408B
       Claim No: 140    WEST ALLIS, WI 53214-3161                                                 Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                             $1,517.50
            Priority
               Total                                             $1,517.50
Description:
Remarks:

                        Debtor Name: Accuride Erie L.P.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: ENVIROSERVE
                                                                                                  Last Date to File (govt):     04/06/10
                        5502 SCHAAF RD
       Claim No: 141    CLEVELAND, OH 44131-1304                                                  Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                             $7,977.32
            Priority
               Total                                             $7,977.32
Description:
Remarks:
                       Case 09-13449-BLS              Doc 1321-1           Filed 02/14/12   Page 48 of 374


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BNK01160                                                                                                      10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Gunite Corporation
                                                                                                Last Date to File Claims:     11/30/09
                        Creditor Name: TRI NOBLE CORPORATION
                                                                                                Last Date to File (govt):     04/06/10
                        PO BOX 763
       Claim No: 142    MAUMEE, OH 43537-0763                                                   Filing Status:
                                                                                                Docket Status:
                                                                                                Late:

        Claim Date:     Amends Claim No:                                                        Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                   Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                              $40.00
            Priority
               Total                                              $40.00
Description:
Remarks:

                        Debtor Name: Gunite Corporation
                                                                                                Last Date to File Claims:     11/30/09
                        Creditor Name: TRAVERS TOOL CO., INC
                                                                                                Last Date to File (govt):     04/06/10
                        12815 26TH AVE
       Claim No: 143    FLUSHING, NY 11354-1147                                                 Filing Status:
                                                                                                Docket Status:
                                                                                                Late:

        Claim Date:     Amends Claim No:                                                        Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                   Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                             $263.01
            Priority
               Total                                             $263.01
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                Last Date to File Claims:     11/30/09
                        Creditor Name: CHRISTENSEN MACHINERY & SUPPLY
                                                                                                Last Date to File (govt):     04/06/10
                        1101 56TH AVE
       Claim No: 144    MENOMINEE, MI 49858-1027                                                Filing Status:
                                                                                                Docket Status:
                                                                                                Late:

        Claim Date:     Amends Claim No:                                                        Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                   Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                             $297.43
            Priority
               Total                                             $297.43
Description:
Remarks:
                              Case 09-13449-BLS                  Doc 1321-1            Filed 02/14/12   Page 49 of 374


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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group, L.P.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: ROGERS MACHINERY COMPANY INC
                                                                                                            Last Date to File (govt):           04/06/10
                                PO BOX 230429
       Claim No: 145            PORTLAND, OR 97281-0429                                                     Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                        $784.00
            Priority
               Total                                                        $784.00
Description:
Remarks:

                                Debtor Name: Imperial Group, L.P.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: SAPA
                                                                                                            Last Date to File (govt):           04/06/10
                                7933 NE 21ST AVE
       Claim No: 146            PORTLAND, OR 97211-1909                                                     Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                        $878.06
            Priority
               Total                                                        $878.06
Description:
Remarks:

                                Debtor Name: Imperial Group, L.P.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: PACIFIC TESTING & INSPECTION
                                                                                                            Last Date to File (govt):           04/06/10
                                2417 HARRISON AVE
       Claim No: 147            CENTRALIA, WA 98531-9387                                                    Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                     $10,463.85                                            $10,203.85
            Priority                                                                                                                    $0.00
               Total                                                     $10,463.85                                            $10,203.85
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)
                       Case 09-13449-BLS             Doc 1321-1         Filed 02/14/12   Page 50 of 374


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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                  Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Imperial Group, L.P.
                                                                                             Last Date to File Claims:     11/30/09
                        Creditor Name: LEWIS CO PUBLIC UTILITY DIST
                                                                                             Last Date to File (govt):     04/06/10
                        PO BOX 239
       Claim No: 148    CHEHALIS, WA 98532-0239                                              Filing Status:
                                                                                             Docket Status:
                                                                                             Late:

        Claim Date:     Amends Claim No:                                                     Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                  Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                        $8,006.19
            Priority
               Total                                        $8,006.19
Description:
Remarks:

                        Debtor Name: Fabco Automotive Corporation
                                                                                             Last Date to File Claims:     11/30/09
                        Creditor Name: NORTH AMERICAN TRANSPORTATION
                                                                                             Last Date to File (govt):     04/06/10
                        26535 DANTI CT
       Claim No: 149    HAYWARD, CA 94545-3917                                               Filing Status:
                                                                                             Docket Status:
                                                                                             Late:

        Claim Date:     Amends Claim No:                                                     Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                  Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                        $2,004.20
            Priority
               Total                                        $2,004.20
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                             Last Date to File Claims:     11/30/09
                        Creditor Name: TECHNOLOGY COMPONENTS
                                                                                             Last Date to File (govt):     04/06/10
                        PO BOX 174629
       Claim No: 150    ARLINGTON, TX 76003-4629                                             Filing Status:
                                                                                             Docket Status:
                                                                                             Late:

        Claim Date:     Amends Claim No:                                                     Duplicates Claim No:
        11/17/2009      Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                  Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                          $69.50
            Priority
               Total                                          $69.50
Description:
Remarks:
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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: RENCO MACHINE COMPANY INC
                                                                                                                Last Date to File (govt):           04/06/10
                                 1421 EASTMAN AVENUE
       Claim No: 151             GREEN BAY, WI 54302                                                            Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:              Amends Claim No:                                                               Duplicates Claim No:
        11/17/2009               Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                            Amount Allowed
            Secured
           Unsecured                                                      $27,651.50
            Priority
               Total                                                      $27,651.50
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: PASCAL ENGINEERING INC
                                                                                                                Last Date to File (govt):           04/06/10
                                 C/O RMS BANKRUPTCY RECOVERY SERVICES
       Claim No: 152             PO BOX 5126                                                                    Filing Status:
                                 TIMONIUM, MD 21094                                                             Docket Status:
                                                                                                                Late:

        Claim Date:              Amends Claim No:                                                               Duplicates Claim No:
        11/12/2009               Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                            Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                       $2,077.60                                                        $0.00
            Priority                                                                                                                        $0.00
               Total                                                       $2,077.60                                                        $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Surviving Claim #22

                                 Debtor Name: Gunite Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: AVAYA INC
                                                                                                                Last Date to File (govt):           04/06/10
                                 C/O RMS BANKRUPTCY RECOVERY SERVICES
       Claim No: 153             PO BOX 5126                                                                    Filing Status:
                                 TIMONIUM, MD 21094                                                             Docket Status:
                                                                                                                Late:

        Claim Date:              Amends Claim No:                                                               Duplicates Claim No:
        11/12/2009               Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                            Amount Allowed
            Secured
           Unsecured                                                         $286.08
            Priority                                                         $282.82
               Total                                                         $568.90
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12   Page 52 of 374


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BNK01160                                                                                                                   10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                             Last Date to File Claims:           11/30/09
                                 Creditor Name: AVAYA INC
                                                                                                             Last Date to File (govt):           04/06/10
                                 C/O RMS BANKRUPTCY RECOVERY SERVICES
       Claim No: 154             PO BOX 5126                                                                 Filing Status:
                                 TIMONIUM, MD 21094                                                          Docket Status:
                                                                                                             Late:

        Claim Date:             Amends Claim No:                                                             Duplicates Claim No:
        11/12/2009              Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                  Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                                        $1,982.31
            Priority                                                         $457.24
               Total                                                        $2,439.55
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                             Last Date to File Claims:           11/30/09
                                 Creditor Name: AVAYA INC
                                                                                                             Last Date to File (govt):           04/06/10
                                 C/O RMS BANKRUPTCY RECOVERY SERVICES
       Claim No: 155             PO BOX 5126                                                                 Filing Status:
                                 TIMONIUM, MD 21094                                                          Docket Status:
                                                                                                             Late:

        Claim Date:             Amends Claim No:                                                             Duplicates Claim No:
        11/12/2009              Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                  Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                                        $2,963.54
            Priority                                                        $1,426.90
               Total                                                        $4,390.44
Description:
Remarks:        Obection withdrawn per Order (Dkt 990) 04.13.10

                                 Debtor Name:
                                                                                                             Last Date to File Claims:           11/30/09
                                 Creditor Name: DEMING IMPLT CO INC
                                                                                                             Last Date to File (govt):           04/06/10
                                 COLUMBUS HWY S
       Claim No: 156             PO BOX 819                                                                  Filing Status:
                                 DEMING, NM 88031-0819                                                       Docket Status:
                                                                                                             Late:

        Claim Date:             Amends Claim No:                                                             Duplicates Claim No:
        11/17/2009              Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                  Amount Claimed                                      Amount Allowed
            Secured                                                                                                                      $0.00
           Unsecured                                                       $11,086.87                                                    $0.00
            Priority                                                                                                                     $0.00
               Total                                                       $11,086.87                                                    $0.00
Description:
Remarks:        Claim Expungered Per Order filed 5/12/10 (Dkt 1068)
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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: WILLIE L LEWIS
                                                                                                                Last Date to File (govt):           04/06/10
                                6292 BALBOA ST
       Claim No: 157            ROCKFORD, IL 61109-4462                                                         Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                         $50.00
            Priority
               Total                                                         $50.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: CHICAGO TUBE & IRON CO
                                                                                                                Last Date to File (govt):           04/06/10
                                PO BOX 18069
       Claim No: 158            MILWAUKEE, WI 53268-0075                                                        Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                     $13,793.07
            Priority
               Total                                                     $13,793.07
Description:
Remarks:

                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: BARBARA WATKINS
                                                                                                                Last Date to File (govt):           04/06/10
                                622 BARRETT BLVD APT 306
       Claim No: 159            HENDERSON, KY 42420-2608                                                        Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                                                                                        $0.00
               Total                                                  Unliquidated                                                          $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                             Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Transportation Technologies Industries, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                Creditor Name: DONALD KLINE
                                                                                                               Last Date to File (govt):           04/06/10
                                1269 DUTCH RD
       Claim No: 160            LORETTO, PA 15940-8901                                                         Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                           Duplicated By Claim No:
             Class                                               Amount Claimed                                             Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                                                                                       $0.00
             Total                                                   Unliquidated                                                          $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                Creditor Name: PAUL RUSSIN
                                                                                                               Last Date to File (govt):           04/06/10
                                3337 WINDING TRAIL DR
       Claim No: 161            ROBARDS, KY 42452-9787                                                         Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                           Duplicated By Claim No:
             Class                                               Amount Claimed                                             Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                         $0.00                                                         $0.00
             Total                                                           $0.00 (Unliquidated)                                          $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name:
                                                                                                               Last Date to File Claims:           11/30/09
                                Creditor Name: LARRY TIPTON
                                                                                                               Last Date to File (govt):           04/06/10
                                3838 STATE ROUTE 416 W
       Claim No: 162            HENDERSON, KY 42420-9522                                                       Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                           Duplicated By Claim No:
             Class                                               Amount Claimed                                             Amount Allowed
            Secured                                                          $0.00                                                         $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                                                                                       $0.00
             Total                                                           $0.00 (Unliquidated)                                          $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12       Page 55 of 374


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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: BRUCE WALBRUN
                                                                                                                Last Date to File (govt):           04/06/10
                                344 OAK ST
       Claim No: 163            MENASHA, WI 54952-3336                                                          Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                                                                                        $0.00
               Total                                                  Unliquidated                                                          $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride EMI, LLC
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: LILLIAN FIELD
                                                                                                                Last Date to File (govt):           04/06/10
                                1185 GUNTON DR
       Claim No: 164            FAIRVIEW, PA 16415-1414                                                         Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                          $0.00                                                         $0.00
               Total                                                          $0.00 (Unliquidated)                                          $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: BUSCH ENTERPRISES
                                                                                                                Last Date to File (govt):           04/06/10
                                908 COCHRAN ST
       Claim No: 165            STATESVILLE, NC 28677-5655                                                      Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                      $2,313.15                                                         $0.00
            Priority                                                                                                                        $0.00
               Total                                                      $2,313.15                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12       Page 56 of 374


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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: BUSCH ENTERPRISES, INC
                                                                                                                Last Date to File (govt):           04/06/10
                                908 COCHRAN ST
       Claim No: 166            STATESVILLE, NC 28677-5655                                                      Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
        11/18/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                        $156.65                                                         $0.00
            Priority                                                                                                                        $0.00
               Total                                                        $156.65                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: BUSCH ENTERPRISES INC
                                                                                                                Last Date to File (govt):           04/06/10
                                ATTN: TED BUSCH
       Claim No: 167            908 COCHRAN ST                                                                  Filing Status:
                                STATESVILLE, NC 28677-5655                                                      Docket Status:
                                                                                                                Late:

        Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
        11/18/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                      $1,288.25
            Priority
               Total                                                      $1,288.25
Description:
Remarks:

                                Debtor Name: Imperial Group, L.P.
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: INDUSTRIAL CHEMICALS INC
                                                                                                                Last Date to File (govt):           04/06/10
                                2042 MONTREAT DR
       Claim No: 168            BIRMINGHAM, AL 35216-4002                                                       Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
        11/18/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                     $16,450.23
            Priority
               Total                                                     $16,450.23
Description:
Remarks:        Amended by Claim # 974
                       Case 09-13449-BLS             Doc 1321-1          Filed 02/14/12   Page 57 of 374


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BNK01160                                                                                                    10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Gunite Corporation
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: SMITH OIL CORPORATION
                                                                                              Last Date to File (govt):     04/06/10
                        2120 16TH ST
       Claim No: 169    ROCKFORD, IL 61104-7349                                               Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $4,394.94
            Priority
               Total                                         $4,394.94
Description:
Remarks:

                        Debtor Name: Accuride Erie L.P.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: AUTOMATED CONCEPTS & TOOLING
                                                                                              Last Date to File (govt):     04/06/10
                        14500 WILLY RD
       Claim No: 170    WATERFORD, PA 16441-3746                                              Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $1,896.45
            Priority
               Total                                         $1,896.45
Description:
Remarks:

                        Debtor Name: Bostrom Seating, Inc.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: MCCULLOUGH ELECTRIC MOTOR SERV
                                                                                              Last Date to File (govt):     04/06/10
                        521 EDGEWOOD AVE SE
       Claim No: 171    ATLANTA, GA 30312-1930                                                Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                          $280.00
            Priority
               Total                                          $280.00
Description:
Remarks:
                              Case 09-13449-BLS                Doc 1321-1          Filed 02/14/12   Page 58 of 374


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BNK01160                                                                                                              10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                  09-13449 ACCURIDE CORPORATION, ET AL.
                                                            Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Erie L.P.
                                                                                                        Last Date to File Claims:     11/30/09
                                Creditor Name: TOOLING COMPONENTS INC
                                                                                                        Last Date to File (govt):     04/06/10
                                ATTN: DIANE BOWES
       Claim No: 172            8349 WEST HIGH ST                                                       Filing Status:
                                UNION CITY, PA 16438-7639                                               Docket Status:
                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                        Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                            Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                   $4,168.66
            Priority
               Total                                                   $4,168.66
Description:
Remarks:

                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                        Last Date to File Claims:     11/30/09
                                Creditor Name: DJM INDUSTRIAL INC
                                                                                                        Last Date to File (govt):     04/06/10
                                13661 STABLEGATE DR
       Claim No: 173            WALTON, KY 41094-8147                                                   Filing Status:
                                                                                                        Docket Status:
                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                        Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                            Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                   $6,996.00
            Priority
               Total                                                   $6,996.00
Description:
Remarks:

                                Debtor Name: Transportation Technologies Industries, Inc.
                                                                                                        Last Date to File Claims:     11/30/09
                                Creditor Name: CHRISTINE G SANDUSKY
                                                                                                        Last Date to File (govt):     04/06/10
                                1712 FERN AVE
       Claim No: 174            WINDBER, PA 15963-2415                                                  Filing Status:
                                                                                                        Docket Status:
                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                        Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                            Amount Claimed                                       Amount Allowed
            Secured                                                        $0.00
           Unsecured
            Priority                                                       $0.00
               Total                                                       $0.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:
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BNK01160                                                                                                    10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                  Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Accuride Erie L.P.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: WM T SPAEDER CO , INC
                                                                                              Last Date to File (govt):     04/06/10
                        1602 E 18TH ST
       Claim No: 175    POBOX 10066                                                           Filing Status:
                        ERIE, PA 16514-0066                                                   Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                        $27,076.98
            Priority
               Total                                        $27,076.98
Description:
Remarks:

                        Debtor Name: Gunite Corporation
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: AIR FILTER ENGINEERS INC
                                                                                              Last Date to File (govt):     04/06/10
                        C/O UNITED STATES DEBT RECOVERY III, LP
       Claim No: 176    940 SOUTHWOOD BI, SUITE 101                                           Filing Status:
                        INCLINE VILLAGE, NV 89451                                             Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                          $331.20
            Priority
               Total                                          $331.20
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: HUFF PETROLEUM CO INC
                                                                                              Last Date to File (govt):     04/06/10
                        PO BOX 621
       Claim No: 177    PULASKI, VA 24301-0621                                                Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                          $522.50
            Priority
               Total                                          $522.50
Description:
Remarks:
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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Gunite Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: RMH CONTROLS
                                                                                                         Last Date to File (govt):     04/06/10
                               1300 W MAIN ST
       Claim No: 178           LAKE GENEVA, WI 53147-1715                                                Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/18/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                    $1,575.85
            Priority
               Total                                                    $1,575.85
Description:
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: CPR SERVICES INC
                                                                                                         Last Date to File (govt):     04/06/10
                               1260 W MAIN AVE
       Claim No: 179           DE PERE, WI 54115-9534                                                    Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/18/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured
            Priority                                                    $2,232.30
               Total                                                    $2,232.30
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: COUNTRY HORIZONS COOPERATIVE
                                                                                                         Last Date to File (govt):     04/06/10
                               C/O COUNTRY VISIONS COOPERATIVE
       Claim No: 180           PO BOX 460                                                                Filing Status:
                               REEDSVILLE, WI 54230-0460                                                 Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/18/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                    $8,525.72
            Priority                                                    $6,221.93
               Total                                                   $14,747.65
Description: Administrative - Please See Claim For Details.
Remarks:
                              Case 09-13449-BLS                Doc 1321-1            Filed 02/14/12   Page 61 of 374


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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                  09-13449 ACCURIDE CORPORATION, ET AL.
                                                            Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: FAGAN ASSOCIATES
                                                                                                          Last Date to File (govt):     04/06/10
                                118 GREEN BAY RD SUITE 6
       Claim No: 181            THIENSVILLE, WI 53092-1823                                                Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                            Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                     $7,750.00
            Priority
               Total                                                     $7,750.00
Description:
Remarks:

                                Debtor Name: Transportation Technologies Industries, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: PATRICIA A TYBURSKI
                                                                                                          Last Date to File (govt):     04/06/10
                                362 BEATRICE AVE
       Claim No: 182            JOHNSTOWN, PA 15906-1602                                                  Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                            Amount Claimed                                         Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                               Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Accuride Erie L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: ERIE TIMES-NEWS
                                                                                                          Last Date to File (govt):     04/06/10
                                PO BOX 6137
       Claim No: 183            ERIE, PA 16512-6137                                                       Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                            Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                     $1,446.08
            Priority
               Total                                                     $1,446.08
Description:
Remarks:
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BNK01160                                                                                                        10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Accuride Erie L.P.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: TRUMBULL INDUSTRIES
                                                                                                  Last Date to File (govt):     04/06/10
                        ATTN: EARL
       Claim No: 184    PO BOX 200                                                                Filing Status:
                        WARREN, OH 44482-0200                                                     Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                              $344.80
            Priority
               Total                                              $344.80
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: ALCO SPRING
                                                                                                  Last Date to File (govt):     04/06/10
                        2300 EUCLID AVE
       Claim No: 185    CHICAGO HEIGHTS, IL 60411-4018                                            Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                              $900.00
            Priority
               Total                                              $900.00
Description:
Remarks:

                        Debtor Name: Accuride Corporation
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: CENTRAL TRANSPORT INTL INC
                                                                                                  Last Date to File (govt):     04/06/10
                        12225 STEPHENS RD
       Claim No: 186    WARREN, MI 48089                                                          Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured                                                 $0.00
           Unsecured                                             $1,289.01
            Priority                                                $0.00
               Total                                             $1,289.01
Description:
Remarks:
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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                  Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Gunite Corporation
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: MATERIALS RESOURCES
                                                                                              Last Date to File (govt):     04/06/10
                        815 LESTER AVE
       Claim No: 187    ST JOSEPH, MI 49085-2520                                              Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                          $403.01
            Priority
               Total                                          $403.01
Description:
Remarks:

                        Debtor Name:
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: RICHARD L VESTER
                                                                                              Last Date to File (govt):     04/06/10
                        5104 N 850 E
       Claim No: 188    NORTH WEBSTER, IN 46555-9580                                          Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                        $28,295.80
            Priority
               Total                                        $28,295.80
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: WAUSEON MACHINE
                                                                                              Last Date to File (govt):     04/06/10
                        995 ENTERPRISE
       Claim No: 189    WAUSEON, OH 43567-9333                                                Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $3,150.00
            Priority
               Total                                         $3,150.00
Description:
Remarks:
                               Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 64 of 374


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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: AKW General Partner L.L.C.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: MODERN INDUSTRIES INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 613 WEST 11TH ST
       Claim No: 190             ERIE, PA 01651-1503                                                           Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/18/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                          $650.02
            Priority
               Total                                                          $650.02
Description:
Remarks:

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: FREEARK, HARVEY, MENDILLO
                                                                                                               Last Date to File (govt):           04/06/10
                                 115 W WASHINGTON ST
       Claim No: 191             PO BOX 546                                                                    Filing Status:
                                 BELLEVILLE, IL 62220-0546                                                     Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/18/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                        $4,173.00                                                      $0.00
            Priority                                                                                                                       $0.00
               Total                                                        $4,173.00                                                      $0.00
Description:
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)

                                 Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: GATEWAY CONVEYOR & DESIGN
                                                                                                               Last Date to File (govt):           04/06/10
                                 524 ENTERPRISE DR
       Claim No: 192             ERLANGER, KY 41017-1526                                                       Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/18/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured
            Priority                                                       $10,750.26
               Total                                                       $10,750.26
Description: Administrative - Please See Claim For Details.
Remarks:
                       Case 09-13449-BLS              Doc 1321-1          Filed 02/14/12   Page 65 of 374


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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Imperial Group, L.P.
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: PROFORMA CORNERSTONE CONCEPTS
                                                                                               Last Date to File (govt):     04/06/10
                        111 OAK POINTE CT
       Claim No: 193    BOWLING GREEN, KY 42103-7084                                           Filing Status:
                                                                                               Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                   Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $2,253.00
            Priority
               Total                                         $2,253.00
Description:
Remarks:

                        Debtor Name:
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: BUTZEL LONG
                                                                                               Last Date to File (govt):     04/06/10
                        SUITE 100
       Claim No: 194    150 WEST JEFFERSON                                                     Filing Status:
                        DETROIT, MI 48226-4452                                                 Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                   Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $2,853.50
            Priority
               Total                                         $2,853.50
Description:
Remarks:

                        Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: SOUTHERN WATER TREATMENT CO
                                                                                               Last Date to File (govt):     04/06/10
                        PO BOX 32397
       Claim No: 195    LOUISVILLE, KY 40232-2397                                              Filing Status:
                                                                                               Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                   Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $7,076.26
            Priority
               Total                                         $7,076.26
Description:
Remarks:
                       Case 09-13449-BLS             Doc 1321-1          Filed 02/14/12   Page 66 of 374


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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Imperial Group, L.P.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: TIMBER PRODUCTS INSPECTION
                                                                                              Last Date to File (govt):     04/06/10
                        PO BOX 919
       Claim No: 196    CONYERS, GA 30012-0919                                                Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                          $600.00
            Priority
               Total                                          $600.00
Description:
Remarks:

                        Debtor Name: Bostrom Seating, Inc.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: JANET FORTENBERRY
                                                                                              Last Date to File (govt):     04/06/10
                        2191 PRICKETT TRL
       Claim No: 197    JACKSONVILLE, AL 36265-7956                                           Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured
            Priority                                         $1,091.05
               Total                                         $1,091.05
Description:
Remarks:

                        Debtor Name: Accuride Corporation
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: ADVANCED FIRE & SAFETY
                                                                                              Last Date to File (govt):     04/06/10
                        PO BOX 281
       Claim No: 198    CALHOUN, KY 42327-0281                                                Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                          $381.10
            Priority
               Total                                          $381.10
Description:
Remarks:
                             Case 09-13449-BLS                  Doc 1321-1          Filed 02/14/12   Page 67 of 374


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BNK01160                                                                                                               10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: BUEHLER LTD
                                                                                                         Last Date to File (govt):     04/06/10
                               PO BOX 1
       Claim No: 199           LAKE BLUFF, IL 60044-0001                                                 Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/18/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                     $147.00
            Priority
               Total                                                     $147.00
Description:
Remarks:

                               Debtor Name: Gunite Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: ADEC INDUSTRIES
                                                                                                         Last Date to File (govt):     04/06/10
                               2700 INDUSTRIAL PKWY
       Claim No: 200           ELKHART, IN 46516-5401                                                    Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/18/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                    $1,830.49
            Priority                                                    $5,496.54
               Total                                                    $7,327.03
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Accuride Erie L.P.
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: WORLDWIDE CHUCK SERVICES INC
                                                                                                         Last Date to File (govt):     04/06/10
                               1430 DANNER DRIVE
       Claim No: 201           AURORA, OH 44202-9285                                                     Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/18/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                     $300.00
            Priority
               Total                                                     $300.00
Description:
Remarks:
                              Case 09-13449-BLS                 Doc 1321-1          Filed 02/14/12   Page 68 of 374


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BNK01160                                                                                                               10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: TEAM INDUSTRIAL SERVICES INC
                                                                                                         Last Date to File (govt):     04/06/10
                                ATTN RANDY ROBINSON
       Claim No: 202            200 HERMANN DR                                                           Filing Status:
                                ALVIN, TX 77551                                                          Docket Status:
                                                                                                         Late:

         Claim Date:            Amends Claim No:                                                         Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                    $1,250.00
            Priority
               Total                                                    $1,250.00
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: JOSEPH T RYERSON & SON INC
                                                                                                         Last Date to File (govt):     04/06/10
                                RYERSON
       Claim No: 203            ATTN KYMBERLI LYLES                                                      Filing Status:
                                4400 PEACHTREE INDUSTRIAL BLVD                                           Docket Status:
                                NORCROSS, GA 30071                                                       Late:

         Claim Date:            Amends Claim No:                                                         Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured
            Priority                                                $2,506,046.97
               Total                                                $2,506,046.97
Description: Administrative - Please See Claim For Details.
Remarks:        Survives Claim #249

                                Debtor Name: Gunite Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: NORTHERN ELECTRIC COMPANY INC
                                                                                                         Last Date to File (govt):     04/06/10
                                C/O ASM CAPITAL LP
       Claim No: 204            7600 JERICHO TURNPIKE                                                    Filing Status:
                                SUITE 302                                                                Docket Status:
                                WOODBURY, NY 11797                                                       Late:

         Claim Date:            Amends Claim No:                                                         Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                    $3,798.25
            Priority
               Total                                                    $3,798.25
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1         Filed 02/14/12   Page 69 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: NIELSON COMMUNICATIONS INC
                                                                                                          Last Date to File (govt):     04/06/10
                                645 POTTS AVE
       Claim No: 205            GREEN BAY, WI 54304-4531                                                  Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                              Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                      $706.13
            Priority                                                      $588.33
               Total                                                     $1,294.46
Description: Administrative - Please See Claim For Details.
Remarks:

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: OXCO INC
                                                                                                          Last Date to File (govt):     04/06/10
                                500 GULF DR
       Claim No: 206            CHARLOTTE, NC 28208-1310                                                  Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                              Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                      $767.04
            Priority
               Total                                                      $767.04
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: ULMER & BERNE LLP
                                                                                                          Last Date to File (govt):     04/06/10
                                ATTN BARBARA WHERLEY
       Claim No: 207            1660 W 2ND ST SUITE 1100                                                  Filing Status:
                                CLEVELAND, OH 44113-1448                                                  Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                              Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                   $92,452.70
            Priority
               Total                                                   $92,452.70
Description:
Remarks:        Obection withdrawn per Order (Dkt 990) 04.13.10
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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                  Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Gunite Corporation
                                                                                             Last Date to File Claims:     11/30/09
                        Creditor Name: H-O-H CHEMICALS, INC
                                                                                             Last Date to File (govt):     04/06/10
                        PO BOX 487
       Claim No: 208    PALATINE, IL 60078-0487                                              Filing Status:
                                                                                             Docket Status:
                                                                                             Late:

        Claim Date:     Amends Claim No:                                                     Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                  Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                        $3,013.20
            Priority
               Total                                        $3,013.20
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                             Last Date to File Claims:     11/30/09
                        Creditor Name: SCIENTIFIC CONTROL LABORATORIE
                                                                                             Last Date to File (govt):     04/06/10
                        3158 S KOLIN AVE
       Claim No: 209    CHICAGO, IL 60623-4831                                               Filing Status:
                                                                                             Docket Status:
                                                                                             Late:

        Claim Date:     Amends Claim No:                                                     Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                  Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                          $989.50
            Priority
               Total                                          $989.50
Description:
Remarks:

                        Debtor Name: Imperial Group
                                                                                             Last Date to File Claims:     11/30/09
                        Creditor Name: OC TANNER RECOGNITION COMPANY
                                                                                             Last Date to File (govt):     04/06/10
                        LESIA HARMON
       Claim No: 210    1930 S STATE ST                                                      Filing Status:
                        SALT LAKE CITY, UT 84115                                             Docket Status:
                                                                                             Late:

        Claim Date:     Amends Claim No:                                                     Duplicates Claim No:
        11/18/2009      Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                  Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                          $259.65
            Priority
               Total                                          $259.65
Description:
Remarks:
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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: WASTE MANAGEMENT
                                                                                                            Last Date to File (govt):           04/06/10
                                C/O JACQUOLYN E MILLS
       Claim No: 211            1001 FANNIN ST, STE 4000                                                    Filing Status:
                                HOUSTON, TX 77002                                                           Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/18/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                     $70,703.12                                            $69,162.86
            Priority                                                                                                                    $0.00
               Total                                                     $70,703.12                                            $69,162.86
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)

                                Debtor Name: Imperial Group, L.P.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: T-DRILL INDUSTRIES INC
                                                                                                            Last Date to File (govt):           04/06/10
                                1740 CORPORATE DR STE 820
       Claim No: 212            NORCROSS, GA 30093-2910                                                     Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/19/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                      $5,000.00
            Priority
               Total                                                      $5,000.00
Description:
Remarks:

                                Debtor Name: Accuride Erie L.P.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: SPRINGHILL SUITES BY MARRIOTT
                                                                                                            Last Date to File (govt):           04/06/10
                                2087 INTERCHANGE RD
       Claim No: 213            ERIE, PA 16509-8315                                                         Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/19/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                      $2,264.40
            Priority
               Total                                                      $2,264.40
Description:
Remarks:
                             Case 09-13449-BLS                  Doc 1321-1          Filed 02/14/12   Page 72 of 374


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BNK01160                                                                                                               10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Accuride Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: AMERICAN SUPERIOR COMPOUNDS, INC
                                                                                                         Last Date to File (govt):     04/06/10
                               C/O PHILLIPS LYTLE LLP
       Claim No: 214           ATTN ANGELA Z MILLER, ESQ                                                 Filing Status:
                               3400 HSBC CENTER                                                          Docket Status:
                               BUFFALO, NY 14203                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/19/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                   $40,780.00
            Priority
               Total                                                   $40,780.00
Description:
Remarks:

                               Debtor Name: Accuride Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: CONTINENTAL CARBIDE
                                                                                                         Last Date to File (govt):     04/06/10
                               23545 REYNOLDS CT
       Claim No: 215           CLINTON TOWNSHIP, MI 48036-1269                                           Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/19/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                    $2,985.11
            Priority
               Total                                                    $2,985.11
Description:
Remarks:

                               Debtor Name: Fabco Automotive Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: ZF LEMFORDER CORPORATION
                                                                                                         Last Date to File (govt):     04/06/10
                               HEAVY TRUCK DIVISION
       Claim No: 216           1261 PALMOUR DR                                                           Filing Status:
                               GAINSVILLE, GA 30501-6860                                                 Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/19/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                    $1,902.00
            Priority                                                    $2,026.00
               Total                                                    $3,928.00
Description: Administrative - Please See Claim For Details.
Remarks:
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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Bostrom Seating, Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: AIRGAS SOUTH INC
                                                                                                            Last Date to File (govt):           04/06/10
                                125 TOWNPARK DR NW STE 400
       Claim No: 217            KENNESAW, GA 30144                                                          Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/19/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                      $2,236.85
            Priority
               Total                                                      $2,236.85
Description:
Remarks:

                                Debtor Name: Accuride Erie L.P.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: MACDONALD, ILLIG, JONES & BRITTON LLP
                                                                                                            Last Date to File (govt):           04/06/10
                                ATTN JAMES R WALCZAK, ESQ
       Claim No: 218            100 STATE ST, STE 700                                                       Filing Status:
                                ERIE, PA 16507-1459                                                         Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/19/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                      $4,308.70                                              $4,096.70
            Priority                                                                                                                    $0.00
               Total                                                      $4,308.70                                              $4,096.70
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)

                                Debtor Name: Gunite Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: ABSORBTECH
                                                                                                            Last Date to File (govt):           04/06/10
                                LOCKBOX 88396
       Claim No: 219            NEW BERLIN, WI 53288-9188                                                   Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/19/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                      $2,935.86
            Priority
               Total                                                      $2,935.86
Description:
Remarks:
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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: RICHMARK PATTERNS
                                                                                                         Last Date to File (govt):     04/06/10
                               N1721 GREENWOOD RD
       Claim No: 220           GREENVILLE, WI 54942-9094                                                 Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/19/2009            Amended By Claim No:                                                      Duplicated By Claim No:
             Class                                               Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                    $2,205.00
            Priority                                                   $72,755.00
             Total                                                     $74,960.00
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: AUTO WHEEL & RIM INC
                                                                                                         Last Date to File (govt):     04/06/10
                               PO BOX 4220
       Claim No: 221           EVANSVILLE, IN 47724-0220                                                 Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/19/2009            Amended By Claim No:                                                      Duplicated By Claim No:
             Class                                               Amount Claimed                                       Amount Allowed
            Secured
           Unsecured
            Priority                                                    $1,723.04
             Total                                                      $1,723.04
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Gunite Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: UNITED REFRACTORIES CO
                                                                                                         Last Date to File (govt):     04/06/10
                               MAHNKE
       Claim No: 222           264 VALLEYBROOK RD                                                        Filing Status:
                               MCMURRAY, PA 15317-3256                                                   Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/19/2009            Amended By Claim No:                                                      Duplicated By Claim No:
             Class                                               Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                    $6,380.00
            Priority                                                    $9,348.00
             Total                                                     $15,728.00
Description: Administrative - Please See Claim For Details.
Remarks:
                               Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 75 of 374


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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Fabco Automotive Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: GKN ROCKFORD INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 1200 WINDSOR RD
       Claim No: 223             LOVES PARK, IL 61111-4234                                                     Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/19/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                        $6,416.50                                                      $0.00
            Priority                                                        $3,908.81                                                      $0.00
               Total                                                       $10,325.31                                                      $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: M&H REPAIR
                                                                                                               Last Date to File (govt):           04/06/10
                                 W2265 KELLER RD
       Claim No: 224             PO BOX 113                                                                    Filing Status:
                                 FOREST JUNCTION, WI 54123-0113                                                Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/20/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $1,305.79
            Priority
               Total                                                        $1,305.79
Description:
Remarks:

                                 Debtor Name: Imperial Group, L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: CONTINENTAL MACHINERY MOVERS
                                                                                                               Last Date to File (govt):           04/06/10
                                 PO BOX 10090
       Claim No: 225             BOWLING GREEN, KY 42102-4890                                                  Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/20/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $2,806.00
            Priority
               Total                                                        $2,806.00
Description:
Remarks:
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name:
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: VICTOR PENA
                                                                                                                Last Date to File (govt):           04/06/10
                                3449 STONE BRIAR ST
       Claim No: 226            BOWLING GREEN, KY 42104-5587                                                    Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                                                                                        $0.00
               Total                                                                                                                        $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Gunite Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: MUSKEGON TOOL INDUSTRIES
                                                                                                                Last Date to File (govt):           04/06/10
                                1000 EAST BARNEY AVE
       Claim No: 227            MUSKEGON, MI 49444-1709                                                         Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $100.00
            Priority
               Total                                                        $100.00
Description:
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: WADLER MFG CO INC
                                                                                                                Last Date to File (govt):           04/06/10
                                1909 E 12TH ST
       Claim No: 228            GALENA, KS 66739                                                                Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $511.16
            Priority
               Total                                                        $511.16
Description:
Remarks:
                             Case 09-13449-BLS                  Doc 1321-1          Filed 02/14/12   Page 77 of 374


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BNK01160                                                                                                               10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Accuride Erie L.P.
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: EXCLUSIVE SEARCH CONSULTANTS
                                                                                                         Last Date to File (govt):     04/06/10
                               ATTN: DOUG MCKINNEY
       Claim No: 229           781 BETA DRIVE                                                            Filing Status:
                               SUITE N                                                                   Docket Status:
                               MAYFIELD VILLAGE, OH 44143-2356                                           Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/20/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                   $30,777.00
            Priority
               Total                                                   $30,777.00
Description:
Remarks:

                               Debtor Name: Bostrom Seating, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: ARCONA LEATHER TECH LLC
                                                                                                         Last Date to File (govt):     04/06/10
                               10299 E GRAND RIVER AVE
       Claim No: 230           SUITE M                                                                   Filing Status:
                               BRIGHTON, MI 48116-9558                                                   Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/20/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured
            Priority                                                    $1,489.75
               Total                                                    $1,489.75
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Imperial Group, L.P.
                                                                                                         Last Date to File Claims:     11/30/09
                               Creditor Name: EARLE M JORGENSEN
                                                                                                         Last Date to File (govt):     04/06/10
                               2030 WEST COMMERCE ST
       Claim No: 231           DALLAS, TX 75205                                                          Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:           Amends Claim No:                                                          Duplicates Claim No:
         11/20/2009            Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                    $8,172.47
            Priority
               Total                                                    $8,172.47
Description:
Remarks:
                              Case 09-13449-BLS                 Doc 1321-1         Filed 02/14/12   Page 78 of 374


BNK01                                                                                                                 Page 78         of     374
BNK01160                                                                                                              10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Erie L.P.
                                                                                                        Last Date to File Claims:     11/30/09
                                Creditor Name: INDUSTRIAL AUTOMATION & MOTION
                                                                                                        Last Date to File (govt):     04/06/10
                                c/o UNITED STATES DEBT RECOVERY III, LP
       Claim No: 232            940 SOUTHWOOD BI, SUITE 101                                             Filing Status:
                                INCLINE VILLAGE, NV 89451                                               Docket Status:
                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                        Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                    Duplicated By Claim No:
             Class                                               Amount Claimed                                      Amount Allowed
            Secured                                                      $398.99
           Unsecured
            Priority                                                       $0.00
             Total                                                       $398.99
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Fabco Automotive Corporation
                                                                                                        Last Date to File Claims:     11/30/09
                                Creditor Name: B2B INDUSTRIAL PRODUCT LLC
                                                                                                        Last Date to File (govt):     04/06/10
                                313 S ROHLWING RD
       Claim No: 233            ADDISON, IL 60101-3029                                                  Filing Status:
                                                                                                        Docket Status:
                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                        Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                    Duplicated By Claim No:
             Class                                               Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                                     $384.72
            Priority                                                     $135.07
             Total                                                       $519.79
Description: Administrative - Please See Claim For Details.
Remarks:

                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                        Last Date to File Claims:     11/30/09
                                Creditor Name: CHARLES M DELANO
                                                                                                        Last Date to File (govt):     04/06/10
                                560 LAUREL RD
       Claim No: 234            NEBO, KY 42441-9523                                                     Filing Status:
                                                                                                        Docket Status:
                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                        Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                    Duplicated By Claim No:
             Class                                               Amount Claimed                                      Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                  Unliquidated
Description: Please see claim for detail.
Remarks:
                              Case 09-13449-BLS               Doc 1321-1          Filed 02/14/12   Page 79 of 374


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BNK01160                                                                                                             10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                 09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: O'BRYAN BARREL CO
                                                                                                       Last Date to File (govt):     04/06/10
                                5501 OLD BOONVILLE HWY
       Claim No: 235            EVANSVILLE, IN 47715-2130                                              Filing Status:
                                                                                                       Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                           Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                 $1,182.87
            Priority
               Total                                                 $1,182.87
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: VERIFICATION SERVICES INC
                                                                                                       Last Date to File (govt):     04/06/10
                                PO BOX 4047
       Claim No: 236            EVANSVILLE, IN 47724-0047                                              Filing Status:
                                                                                                       Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                           Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                   $157.25
            Priority
               Total                                                   $157.25
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: VICKI ROACH
                                                                                                       Last Date to File (govt):     04/06/10
                                2740 BROWNS DR
       Claim No: 237            HENDERSON, KY 45420-2170                                               Filing Status:
                                                                                                       Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                           Amount Claimed                                       Amount Allowed
            Secured
           Unsecured
            Priority                                                     $0.00
               Total                                                     $0.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:
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BNK01160                                                                                                   10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Gunite Corporation
                                                                                             Last Date to File Claims:     11/30/09
                        Creditor Name: ROCK RIVER SERVICE CO
                                                                                             Last Date to File (govt):     04/06/10
                        2222 CHARLES ST
       Claim No: 238    ROCKFORD, IL 61104-1549                                              Filing Status:
                                                                                             Docket Status:
                                                                                             Late:

        Claim Date:     Amends Claim No:                                                     Duplicates Claim No:
        11/20/2009      Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                  Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                          $324.00
            Priority
               Total                                          $324.00
Description:
Remarks:

                        Debtor Name: Bostrom Seating, Inc.
                                                                                             Last Date to File Claims:     11/30/09
                        Creditor Name: ROCKFORD MOLDED PRODUCTS
                                                                                             Last Date to File (govt):     04/06/10
                        5600 PIKE RD
       Claim No: 239    ROCKFORD, IL 61111-4711                                              Filing Status:
                                                                                             Docket Status:
                                                                                             Late:

        Claim Date:     Amends Claim No:                                                     Duplicates Claim No:
        11/20/2009      Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                  Amount Claimed                                      Amount Allowed
            Secured
           Unsecured
            Priority                                          $187.20
               Total                                          $187.20
Description:
Remarks:

                        Debtor Name:
                                                                                             Last Date to File Claims:     11/30/09
                        Creditor Name: ACTION CONTROLS
                                                                                             Last Date to File (govt):     04/06/10
                        3878 HUDSON DR
       Claim No: 240    STOW, OH 44224-2913                                                  Filing Status:
                                                                                             Docket Status:
                                                                                             Late:

        Claim Date:     Amends Claim No:                                                     Duplicates Claim No:
        11/20/2009      Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                  Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                          $188.50
            Priority
               Total                                          $188.50
Description:
Remarks:
                              Case 09-13449-BLS                 Doc 1321-1           Filed 02/14/12   Page 81 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: KISER CONTROLS
                                                                                                          Last Date to File (govt):     04/06/10
                                7045 HIGH GROVE BLVD
       Claim No: 241            BURR RIDGE, IL 60527-7593                                                 Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                      $420.00
            Priority
               Total                                                      $420.00
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: JOANNA ALEXANDER
                                                                                                          Last Date to File (govt):     04/06/10
                                1806 DALTON DR
       Claim No: 242            THE VILLAGES, FL 32162-7542                                               Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                                Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: M&J MFG INC
                                                                                                          Last Date to File (govt):     04/06/10
                                TODD MILLER OR JIM NORTON
       Claim No: 243            951 B S DULUTH AVE                                                        Filing Status:
                                STURGEON BAY, WI 54235-3810                                               Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                     $1,715.00
               Total                                                     $1,715.00
Description: Administrative - Please See Claim For Details.
Remarks:
                       Case 09-13449-BLS             Doc 1321-1          Filed 02/14/12   Page 82 of 374


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BNK01160                                                                                                    10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Bostrom Seating, Inc.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: THOMPSON TRACTOR CO INC
                                                                                              Last Date to File (govt):     04/06/10
                        2258 PINSON VALLEY PKWY
       Claim No: 244    BIRMINGHAM, AL 35173-2009                                             Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/20/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $1,424.97
            Priority
               Total                                         $1,424.97
Description:
Remarks:

                        Debtor Name: Bostrom Seating, Inc.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: BOBO ENGINEERING
                                                                                              Last Date to File (govt):     04/06/10
                        248 NORTH MAIN ST
       Claim No: 245    ARAB, AL 35016-1233                                                   Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/20/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                          $637.60
            Priority
               Total                                          $637.60
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: SERVICE MASTER BY AFW
                                                                                              Last Date to File (govt):     04/06/10
                        4305 LACEY BLVD SE
       Claim No: 246    LACEY, WA 98503-2352                                                  Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/20/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                          $809.67
            Priority
               Total                                          $809.67
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12      Page 83 of 374


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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: HURON CASTING, INC.
                                                                                                                 Last Date to File (govt):           04/06/10
                                 7050 HARTLEY ST
       Claim No: 247             PIGEON, MI 48755-5190                                                           Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
         11/20/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                      $15,830.73
            Priority
               Total                                                      $15,830.73
Description:
Remarks:

                                 Debtor Name: Accuride Erie L.P.
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: GEORGINO INDUSTRIAL SUPPLY INC
                                                                                                                 Last Date to File (govt):           04/06/10
                                 PO BOX 700
       Claim No: 248             INDIANA, PA 15701-0700                                                          Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
         11/20/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                      $32,807.67
            Priority
               Total                                                      $32,807.67
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: JOSPH T RYERSON & SON INC
                                                                                                                 Last Date to File (govt):           04/06/10
                                 RYERSON
       Claim No: 249             ATTN KYMBERLI LYLES                                                             Filing Status:
                                 4400 PEACHTREE INDUSTRIAL BLVD                                                  Docket Status:
                                 NORCROSS, GA 30071                                                              Late:

         Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
         11/20/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                   $2,506,046.97                                                         $0.00
               Total                                                   $2,506,046.97                                                         $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Surviving Claim #203
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BNK01160                                                                                                      10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                Last Date to File Claims:     11/30/09
                        Creditor Name: US SLING AND SUPPLY
                                                                                                Last Date to File (govt):     04/06/10
                        1377 KIMBERLY DR
       Claim No: 250    NEENAH, WI 54956-1642                                                   Filing Status:
                                                                                                Docket Status:
                                                                                                Late:

        Claim Date:     Amends Claim No:                                                        Duplicates Claim No:
        11/20/2009      Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                   Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                             $514.70
            Priority
               Total                                             $514.70
Description:
Remarks:

                        Debtor Name: Accuride Erie L.P.
                                                                                                Last Date to File Claims:     11/30/09
                        Creditor Name: POWER DRIVES INC
                                                                                                Last Date to File (govt):     04/06/10
                        PO BOX 10
       Claim No: 251    BUFFALO, NY 14220-0010                                                  Filing Status:
                                                                                                Docket Status:
                                                                                                Late:

        Claim Date:     Amends Claim No:                                                        Duplicates Claim No:
        11/20/2009      Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                   Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                             $204.87
            Priority
               Total                                             $204.87
Description:
Remarks:

                        Debtor Name: Accuride Corporation
                                                                                                Last Date to File Claims:     11/30/09
                        Creditor Name: ARMADA OPTICAL SERVICES
                                                                                                Last Date to File (govt):     04/06/10
                        701 N WEINBACH
       Claim No: 252    SUITE 410                                                               Filing Status:
                        EVANSVILLE, IN 47711-5990                                               Docket Status:
                                                                                                Late:

        Claim Date:     Amends Claim No:                                                        Duplicates Claim No:
        11/20/2009      Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                   Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                              $67.74
            Priority
               Total                                              $67.74
Description:
Remarks:
                              Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12       Page 85 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                Creditor Name: LOREN CHADWICK
                                                                                                               Last Date to File (govt):           04/06/10
                                1200 DREXEL BLVD
       Claim No: 253            MACHESNEY PARK, IL 61115-3816                                                  Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                           Duplicated By Claim No:
             Class                                               Amount Claimed                                             Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                         $0.00                                                         $0.00
             Total                                                           $0.00 (Unliquidated)                                          $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Gunite Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                Creditor Name: BROWN DEIDRE
                                                                                                               Last Date to File (govt):           04/06/10
                                69205 GARVER LAKE RD LOT 28
       Claim No: 254            EDWARDSBURG, MI 49112-9460                                                     Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                           Duplicated By Claim No:
             Class                                               Amount Claimed                                             Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                         $0.00                                                         $0.00
             Total                                                           $0.00 (Unliquidated)                                          $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                Creditor Name: NEW HOPE CENTER INC
                                                                                                               Last Date to File (govt):           04/06/10
                                443 MANHATTAN STREET
       Claim No: 255            CHILTON, WI 53014-1565                                                         Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                           Duplicated By Claim No:
             Class                                               Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                     $1,084.35
            Priority                                                       $972.36
             Total                                                       $2,056.71
Description: Administrative - Please See Claim For Details.
Remarks:
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BNK01160                                                                                                               10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: NEW HOPE CENTER INC
                                                                                                         Last Date to File (govt):     04/06/10
                                443 MANHATTAN STREET
       Claim No: 256            PO BOX 189                                                               Filing Status:
                                CHILTON, WI 53014-0189                                                   Docket Status:
                                                                                                         Late:

        Claim Date:             Amends Claim No:                                                         Duplicates Claim No:
        11/20/2009              Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                              Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                                     $319.00
            Priority
               Total                                                     $319.00
Description:
Remarks:

                                Debtor Name: Accuride Erie L.P.
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: NATIONAL FUEL RESOURCES INC
                                                                                                         Last Date to File (govt):     04/06/10
                                C/O PHILLIPS LYTLE LLP
       Claim No: 257            ATTN ANGELA Z MILLER ESQ                                                 Filing Status:
                                3400 HSBC CENTER                                                         Docket Status:
                                BUFFALO, NY 14203                                                        Late:

        Claim Date:             Amends Claim No:                                                         Duplicates Claim No:
        11/20/2009              Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                              Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                                   $51,189.90
            Priority
               Total                                                   $51,189.90
Description:
Remarks:        Obection withdrawn per Order (Dkt 990) 04.13.10

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: PRO ONE JANITORIAL INC
                                                                                                         Last Date to File (govt):     04/06/10
                                1101 ASHWAUBENON ST
       Claim No: 258            GREEN BAY, WI 54304-5658                                                 Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

        Claim Date:             Amends Claim No:                                                         Duplicates Claim No:
        11/20/2009              Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                              Amount Claimed                                      Amount Allowed
            Secured
           Unsecured                                                   $17,197.42
            Priority
               Total                                                   $17,197.42
Description:
Remarks:
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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: PRO ONE JANITORIAL INC
                                                                                                  Last Date to File (govt):     04/06/10
                        1101 ASHWAUBENON ST
       Claim No: 259    GREEN BAY, WI 54304-5658                                                  Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/20/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                             $3,599.40
            Priority
               Total                                             $3,599.40
Description:
Remarks:

                        Debtor Name: Accuride Corporation
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: JOHN DILLINGHAM
                                                                                                  Last Date to File (govt):     04/06/10
                        PO BOX 9407
       Claim No: 260    EVANSVILLE, IN 47724-7407                                                 Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/20/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                             $9,125.69
            Priority
               Total                                             $9,125.69
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: PRO STAINLESS INC
                                                                                                  Last Date to File (govt):     04/06/10
                        333 EAST BROKAW RD
       Claim No: 261    SAN JOSE, CA 95112-4208                                                   Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/20/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                              $690.83
            Priority
               Total                                              $690.83
Description:
Remarks:
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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: WINAMAC COIL SPRING INC
                                                                                                  Last Date to File (govt):     04/06/10
                        PO BOX 278
       Claim No: 262    512 N SMITH ST                                                            Filing Status:
                        KEWANNA, IN 46939                                                         Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/20/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                             $1,761.20
            Priority
               Total                                             $1,761.20
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: RICHWAY INDUSTRIES LTD
                                                                                                  Last Date to File (govt):     04/06/10
                        504 N MAPLE ST
       Claim No: 263    JANESVILLE, IA 50647-7704                                                 Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/20/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                              $575.00
            Priority
               Total                                              $575.00
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: CHICAGO METAL ROLLED PRODUCTS
                                                                                                  Last Date to File (govt):     04/06/10
                        3715 S ROCKWELL
       Claim No: 264    CHICAGO, IL 60632-1030                                                    Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/20/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                             $4,732.18
            Priority
               Total                                             $4,732.18
Description:
Remarks:
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: HOWARD PRECISION METALS
                                                                                                               Last Date to File (govt):           04/06/10
                                 PO BOX 1650
       Claim No: 265             MILWAUKEE, WI 53201-1650                                                      Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/20/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                          $634.10
            Priority
               Total                                                          $634.10
Description:
Remarks:

                                 Debtor Name: Imperial Group, L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: MCDOWELL MACHINERY AND SUPPL
                                                                                                               Last Date to File (govt):           04/06/10
                                 2960 BLYSTONE
       Claim No: 266             DALLAS, TX 75220-1504                                                         Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/20/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $2,870.82
            Priority
               Total                                                        $2,870.82
Description:
Remarks:

                                 Debtor Name: Fabco Automotive Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: SISU AXLES INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 ATTN MR ARI HAARISTO
       Claim No: 267             PL 189                                                                        Filing Status:
                                 13101 HAMEENLINNA FINLAND                                                     Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/20/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                       $91,681.32                                                      $0.00
            Priority                                                      $307,854.07                                                      $0.00
               Total                                                      $399,535.39                                                      $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Disallowed per Omni 4 Order - No Liability Claims - filed 4.13.10 (Dkt 991)
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name:
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: EDWARD C KULESZA
                                                                                                                Last Date to File (govt):           04/06/10
                                5020 CATAWBA DR
       Claim No: 268            ERIE, PA 16506-5209                                                             Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/20/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                          $0.00                                                         $0.00
               Total                                                          $0.00 (Unliquidated)                                          $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: TERRY TURCZYNSKI
                                                                                                                Last Date to File (govt):           04/06/10
                                1007 17TH ST
       Claim No: 269            TWO RIVERS, WI 54241-3108                                                       Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                     $35,000.00                                                         $0.00
               Total                                                     $35,000.00 (Unliquidated)                                          $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: DAVID GALVIN
                                                                                                                Last Date to File (govt):           04/06/10
                                1672 W 13TH ST
       Claim No: 270            ERIE, PA 16505-5104                                                             Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                      $32,357.32                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                                                                                        $0.00
               Total                                                     $32,357.32                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
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BNK01160                                                                                                    10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Gunite Corporation
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: RAYMOND KNUTSEN
                                                                                              Last Date to File (govt):     04/06/10
                        1014 OTTO RD
       Claim No: 271    MACHESNEY PARK, IL 61115-1139                                         Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured
            Priority                                            $50.00
               Total                                            $50.00
Description:
Remarks:

                        Debtor Name: Accuride Corporation
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: DELTA INDUSTRIES INC
                                                                                              Last Date to File (govt):     04/06/10
                        C/O FAIR HARBOR CAPITAL, LLC
       Claim No: 272    875 AVENUE OF THE AMERICAS, SUITE 2305                                Filing Status:
                        NEW YORK, NY 10001                                                    Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $2,761.30
            Priority
               Total                                         $2,761.30
Description:
Remarks:

                        Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: SUP-R-DIE
                                                                                              Last Date to File (govt):     04/06/10
                        10003 MEMPHIS AVE
       Claim No: 273    CLEVELAND, OH 44144-2031                                              Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                             $0.00
            Priority
               Total                                             $0.00
Description:
Remarks:
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: ACCU-MOLD INC
                                                                                                                Last Date to File (govt):           04/06/10
                                7622 S SPRINKLE RD
       Claim No: 274            PORTAGE, MI 49002-9014                                                          Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $124.63
            Priority
               Total                                                        $124.63
Description:
Remarks:

                                Debtor Name:
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: WILLIAM LUNDWALL
                                                                                                                Last Date to File (govt):           04/06/10
                                120 PIN OAK TRL
       Claim No: 275            SEVILLE, OH 44273-9143                                                          Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                                                                                        $0.00
               Total                                                  Unliquidated                                                          $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: LIFT INC
                                                                                                                Last Date to File (govt):           04/06/10
                                6667 W MILL RD
       Claim No: 276            MILWAUKEE, WI 53218-1238                                                        Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                         $64.36
            Priority
               Total                                                         $64.36
Description:
Remarks:
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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: BRISTOL MUNICIPAL UTILITIES
                                                                                                                Last Date to File (govt):           04/06/10
                                PO BOX 305
       Claim No: 277            BRISTOL, IN 46507-0305                                                          Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
        11/23/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                         $53.04                                                         $0.00
            Priority                                                                                                                        $0.00
               Total                                                         $53.04                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: ELKA OF AMERICA
                                                                                                                Last Date to File (govt):           04/06/10
                                3715 NORTHCOST RD, SUITE 10
       Claim No: 278            ATLANTA, GA 30340                                                               Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
        11/23/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $265.96
            Priority
               Total                                                        $265.96
Description:
Remarks:

                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: INNOVATIVE TECHNICAL SYSTEMS
                                                                                                                Last Date to File (govt):           04/06/10
                                37434 MEADOWHILL
       Claim No: 279            NORTHVILLE, MI 48167-9018                                                       Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
        11/23/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                              Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                     $14,250.00
            Priority
               Total                                                     $14,250.00
Description:
Remarks:
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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                       Last Date to File Claims:           11/30/09
                                 Creditor Name: APPLE RIDGE FUNDING LLC
                                                                                                                       Last Date to File (govt):           04/06/10
                                 CARTUS CORPORATION
       Claim No: 280             WAYNE RIGIE                                                                           Filing Status:
                                 40 APPLE RIDGE RD                                                                     Docket Status:
                                 DANBURY, CT 06810                                                                     Late:

        Claim Date:             Amends Claim No:                                                                       Duplicates Claim No:
        11/23/2009              Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                               Amount Claimed                                                   Amount Allowed
            Secured                                                      $26,958.94                                                                $0.00
           Unsecured                                                    $155,013.58                                                      $181,421.59
            Priority                                                                                                                               $0.00
               Total                                                    $181,972.52                                                      $181,421.59
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. & Recl. Clms filed 4.13.10 (Dkt 990)

                                 Debtor Name: Gunite Corporation
                                                                                                                       Last Date to File Claims:           11/30/09
                                 Creditor Name: SHERMAN-SHRADER ENTERPRISES II
                                                                                                                       Last Date to File (govt):           04/06/10
                                 4030 BATRIAS COURT
       Claim No: 281             CALABASAS, CA 91302-1872                                                              Filing Status:
                                                                                                                       Docket Status:
                                                                                                                       Late:

        Claim Date:             Amends Claim No:                                                                       Duplicates Claim No:
        11/23/2009              Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                               Amount Claimed                                                   Amount Allowed
            Secured                                                                                                                                $0.00
           Unsecured                                                    $722,594.22                                                                $0.00
            Priority                                                                                                                               $0.00
               Total                                                    $722,594.22                                                                $0.00
Description:
Remarks:        Survives Claim #s 282&283 Omni Order #1 (Dkt 989) 04.13.10; claim withdrawn per letter dated 7/20/10

                                 Debtor Name: Transportation Technologies Industries, Inc.
                                                                                                                       Last Date to File Claims:           11/30/09
                                 Creditor Name: SHERMAN-SHRADER ENTERPRISES II
                                                                                                                       Last Date to File (govt):           04/06/10
                                 4030 BATRIAS COURT
       Claim No: 282             CALABASAS, CA 91302-1872                                                              Filing Status:
                                                                                                                       Docket Status:
                                                                                                                       Late:

        Claim Date:             Amends Claim No:                                                                       Duplicates Claim No:
        11/23/2009              Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                               Amount Claimed                                                   Amount Allowed
            Secured                                                                                                                                $0.00
           Unsecured                                                    $722,594.22                                                                $0.00
            Priority                                                                                                                               $0.00
               Total                                                    $722,594.22                                                                $0.00
Description:
Remarks:        Disallowed Cross Debtor Dup. Claims Omni 1 (Dkt 989); Surviving Claim #281
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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: SHERMAN-SHRADER ENTERPRISES II
                                                                                                                 Last Date to File (govt):           04/06/10
                                 4030 BATRIAS COURT
       Claim No: 283             CALABASAS, CA 91302-1872                                                        Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                    $722,594.22                                                          $0.00
            Priority                                                                                                                         $0.00
               Total                                                    $722,594.22                                                          $0.00
Description:
Remarks:        Disallowed Cross Debtor Dup. Claims Omni 1 (Dkt 989); Surviving Claim #281

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: RMT INC
                                                                                                                 Last Date to File (govt):           04/06/10
                                 C/O LIQUIDITY SOLUTIONS, INC
       Claim No: 284             ONE UNIVERSITY PLAZA                                                            Filing Status:
                                 SUITE 312                                                                       Docket Status:
                                 HACKENSACK, NJ 07601                                                            Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                       $1,435.24
            Priority
               Total                                                       $1,435.24
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: TRUE-TECH CORPORATION
                                                                                                                 Last Date to File (govt):           04/06/10
                                 4050 TECHNOLOGY PL
       Claim No: 285             FREMONT, CA 94538-6362                                                          Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                       $2,909.96                                                  $2,909.96
            Priority                                                       $1,466.55                                                         $0.00
               Total                                                       $4,376.51                                                  $2,909.96
Description: Administrative - Please See Claim For Details.
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. & Recl. Clms filed 4.13.10 (Dkt 990)
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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: LINK TESTING LABS INC
                                                                                                            Last Date to File (govt):           04/06/10
                                43855 PLYMOUTH OAKS BLVD
       Claim No: 286            PLYMOUTH, MI 48170                                                          Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/23/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                     $77,632.92
            Priority
               Total                                                     $77,632.92
Description:
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: HOOSIER CRANE SERVICE CO
                                                                                                            Last Date to File (govt):           04/06/10
                                58144 CHARLOTTE AVE
       Claim No: 287            ELKHART, IN 46517-1100                                                      Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/23/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                      $5,218.09                                              $4,283.84
            Priority                                                                                                                    $0.00
               Total                                                      $5,218.09                                              $4,283.84
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)

                                Debtor Name: Accuride Erie L.P.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: SCHAFFNER MFG CO INC
                                                                                                            Last Date to File (govt):           04/06/10
                                SCHAFFNER CENTER
       Claim No: 288            EMSWORTH                                                                    Filing Status:
                                PITTSBURGH, PA 15202                                                        Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/23/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                     $12,227.80
            Priority
               Total                                                     $12,227.80
Description:
Remarks:
                       Case 09-13449-BLS              Doc 1321-1             Filed 02/14/12   Page 97 of 374


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BNK01160                                                                                                        10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Imperial Group, L.P.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: REI CONSULTANTS INC
                                                                                                  Last Date to File (govt):     04/06/10
                        C/O CREDITOR LIQUIDITY, L.P.
       Claim No: 289    200 BUSINESS PARK DRIVE, SUITE 200                                        Filing Status:
                        ARMONK, NY 10504                                                          Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                             $1,158.71
            Priority
               Total                                             $1,158.71
Description:
Remarks:

                        Debtor Name: Gunite Corporation
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: FREEMAN MFG & SUPPLY CO
                                                                                                  Last Date to File (govt):     04/06/10
                        PO BOX 931234
       Claim No: 290    CLEVELAND, OH 44193-1358                                                  Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                             $1,842.63
            Priority
               Total                                             $1,842.63
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                  Last Date to File Claims:     11/30/09
                        Creditor Name: FREEMAN MANUFACTURING
                                                                                                  Last Date to File (govt):     04/06/10
                        16910 W CLEVELAND AVE
       Claim No: 291    NEW BERLIN, WI 53151-3535                                                 Filing Status:
                                                                                                  Docket Status:
                                                                                                  Late:

        Claim Date:     Amends Claim No:                                                          Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                   Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                             $2,909.25
            Priority
               Total                                             $2,909.25
Description:
Remarks:
                              Case 09-13449-BLS                  Doc 1321-1            Filed 02/14/12          Page 98 of 374


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BNK01160                                                                                                                             10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: TECPRO CORP
                                                                                                                       Last Date to File (govt):           04/06/10
                                ACCTS RECEIVABLE
       Claim No: 292            3555 ATLANTA INDUSTRIAL PARK                                                           Filing Status:
                                ATLANTA, GA 30331                                                                      Docket Status:
                                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                                       Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                              Amount Claimed                                                    Amount Allowed
            Secured                                                                                                                                $0.00
           Unsecured                                                    $133,641.50                                                       $71,171.44
            Priority                                                                                                                               $0.00
               Total                                                    $133,641.50                                                       $71,171.44
Description:
Remarks:        Amended by Claim #292 -Claim amt reduced & allowed per Omni 3 Ord- Mod. Clms filed 4.13.10 (Dkt 990)

                                Debtor Name: Accuride Corporation
                                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: I-65 CORRIDOR 1 LLC
                                                                                                                       Last Date to File (govt):           04/06/10
                                ATTN ANN MARIE WALDRON
       Claim No: 293            ROBINSON WOLENTY & YOUNG LLP                                                           Filing Status:
                                8415 ALLISON POINTE BLVD SUITE 210                                                     Docket Status:
                                INDIANAPOLIS, IN 46250                                                                 Late:

         Claim Date:            Amends Claim No:                                                                       Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                              Amount Claimed                                                    Amount Allowed
            Secured                                                                                                                                $0.00
           Unsecured                                                  $1,721,720.03                                                       $20,910.01
            Priority                                                                                                                               $0.00
               Total                                                  $1,721,720.03                                                       $20,910.01
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)

                                Debtor Name: Accuride Corporation
                                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: FANUC AMERICA CORPORATION
                                                                                                                       Last Date to File (govt):           04/06/10
                                DEPARTMENT 77-7986
       Claim No: 294            CHICAGO, IL 60678-0001                                                                 Filing Status:
                                                                                                                       Docket Status:
                                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                                       Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                              Amount Claimed                                                    Amount Allowed
            Secured                                                           $0.00
           Unsecured                                                          $0.00
            Priority                                                     $33,914.49
               Total                                                     $33,914.49
Description: Administrative - Please See Claim For Details.
Remarks:
                               Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 99 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: CNC SYSTEMS INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 ATTN LYNN CHEN
       Claim No: 295             14452 CHAMBERS RD                                                             Filing Status:
                                 TUSTIN, CA 92780-6914                                                         Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/23/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                       $227,200.00                                                      $0.00
           Unsecured                                                       $44,000.00                                                      $0.00
            Priority                                                      $227,200.00                                                      $0.00
               Total                                                      $498,400.00                                                      $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)

                                 Debtor Name:
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: MICHAEL BEST & FRIEDRICH LLP
                                                                                                               Last Date to File (govt):           04/06/10
                                 100 E WISCONSIN AVE
       Claim No: 296             MILWAUKEE, WI 53202-4108                                                      Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/23/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $3,897.00
            Priority
               Total                                                        $3,897.00
Description:
Remarks:

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: WARREN, DANNY
                                                                                                               Last Date to File (govt):           04/06/10
                                 PITTMAN, GERMANY, ROBERTS AND WELSH
       Claim No: 297             410 SOUTH PRESIDENT STREET                                                    Filing Status:
                                 JACKSON, MS 39201-5007                                                        Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/23/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                    $1,000,000.00
            Priority
               Total                                                    $1,000,000.00
Description:
Remarks:
                       Case 09-13449-BLS            Doc 1321-1           Filed 02/14/12   Page 100 of 374


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BNK01160                                                                                                     10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                  Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Accuride Corporation
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: LITTLER MENDELSON PC
                                                                                               Last Date to File (govt):     04/06/10
                        650 CALIFORNIA ST 20TH FLOOR
       Claim No: 298    SAN FRANCISCO, CA 94108                                                Filing Status:
                                                                                               Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                        $11,724.08
            Priority
               Total                                        $11,724.08
Description:
Remarks:

                        Debtor Name: Accuride Erie L.P.
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: SPRINGCO METAL COATING
                                                                                               Last Date to File (govt):     04/06/10
                        12500 ELMWOOD AVE
       Claim No: 299    CLEVELAND, OH 44111-5910                                               Filing Status:
                                                                                               Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                         $2,548.50
            Priority
               Total                                         $2,548.50
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: PRINCE MANUFACTURING
                                                                                               Last Date to File (govt):     04/06/10
                        320 N TAYLOR RD
       Claim No: 300    GARRETT, IN 46738-1844                                                 Filing Status:
                                                                                               Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                          $282.84
            Priority
               Total                                          $282.84
Description:
Remarks:
                       Case 09-13449-BLS             Doc 1321-1              Filed 02/14/12   Page 101 of 374


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BNK01160                                                                                                         10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: RUMAR MFG CORP
                                                                                                   Last Date to File (govt):     04/06/10
                        925 SOUTH ST
       Claim No: 301    PO BOX 193                                                                 Filing Status:
                        MAYVILLE, WI 53050-0193                                                    Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                         $24,943.62
            Priority
               Total                                         $24,943.62
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: FERGUSON ENTERPRISES, INC. #448
                                                                                                   Last Date to File (govt):     04/06/10
                        2300 N. SANDRA STREET
       Claim No: 302    APPLETON, WI 54911                                                         Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $1,790.40
            Priority                                              $706.63
               Total                                             $2,497.03
Description:
Remarks:

                        Debtor Name: Accuride Corporation
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: HUDSON, POTTS BERNSTEIN
                                                                                                   Last Date to File (govt):     04/06/10
                        1800 HUDSON LANE
       Claim No: 303    SUITE 3000                                                                 Filing Status:
                        MONROE, LA 71201-5746                                                      Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $4,267.70
            Priority
               Total                                             $4,267.70
Description:
Remarks:
                              Case 09-13449-BLS               Doc 1321-1           Filed 02/14/12   Page 102 of 374


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BNK01160                                                                                                               10-Feb-12       1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                             Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                                 Creditor Name: COLUMBIA MARKING TOOLS
                                                                                                         Last Date to File (govt):     04/06/10
                                 27430 LUCKINO DR
       Claim No: 304             CHESTERFIELD, MI 48047-5270                                             Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

        Claim Date:              Amends Claim No:                                                        Duplicates Claim No:
        11/23/2009               Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                            Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                     $62.10
            Priority
               Total                                                     $62.10
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                                 Creditor Name: MIKE ALBERT LEASING INC
                                                                                                         Last Date to File (govt):     04/06/10
                                 C/O EDWARD C LANTER
       Claim No: 305             3384 MADISON PIKE                                                       Filing Status:
                                 FT WRIGHT, KY 41017                                                     Docket Status:
                                                                                                         Late:

        Claim Date:              Amends Claim No:                                                        Duplicates Claim No:
        11/23/2009               Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                            Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                  $18,305.55
            Priority
               Total                                                  $18,305.55
Description:
Remarks:        Claim obj w/d per order 5/12/10 (Dkt 1068)

                                 Debtor Name: Accuride Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                                 Creditor Name: TRY GROUP PACKAGING LLC
                                                                                                         Last Date to File (govt):     04/06/10
                                 PO BOX 5152
       Claim No: 306             ALOHA, OR 97006-0152                                                    Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

        Claim Date:              Amends Claim No:                                                        Duplicates Claim No:
        11/23/2009               Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                            Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $2,911.14
            Priority
               Total                                                   $2,911.14
Description:
Remarks:
                             Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12        Page 103 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: HERAEUS ELECTRONITE CO
                                                                                                                  Last Date to File (govt):           04/06/10
                                 88736 EXPEDITE WAY
       Claim No: 307             CHICAGO, IL 60695-0001                                                           Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                       $5,349.00
            Priority
               Total                                                       $5,349.00
Description:
Remarks:

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: HERAEUS ELECTRO-NITE CO
                                                                                                                  Last Date to File (govt):           04/06/10
                                 88736 EXPEDITE WAY
       Claim No: 308             LANGHORNEE, IL 60695                                                             Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                       $2,835.00
            Priority
               Total                                                       $2,835.00
Description:
Remarks:

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: GREAT LAKES PALLET COMPANY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 166 W WASHINGTON ST SUITE 300
       Claim No: 309             LOVES PARK, IL 60602-2390                                                        Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                 $18,430.00
            Priority                                                     $23,615.00                                                           $0.00
               Total                                                     $23,615.00                                                  $18,430.00
Description: Administrative - Please See Claim For Details.
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. & Recl. Clms filed 4.13.10 (Dkt 990)
                       Case 09-13449-BLS             Doc 1321-1          Filed 02/14/12   Page 104 of 374


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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Accuride Corporation
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: CAMBRIDGE TRANSPORTATION
                                                                                               Last Date to File (govt):     04/06/10
                        36392 TREASURY CTR
       Claim No: 310    CHICAGO, IL 60694-6300                                                 Filing Status:
                                                                                               Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                          $413.03
            Priority
               Total                                          $413.03
Description:
Remarks:

                        Debtor Name: Bostrom Seating, Inc.
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: WRICO STAMPING CO OF NC
                                                                                               Last Date to File (govt):     04/06/10
                        10134 INDUSTRIAL DR
       Claim No: 311    CHARLOTTE, NC 28134-6516                                               Filing Status:
                                                                                               Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                          $585.93
            Priority
               Total                                          $585.93
Description:
Remarks:

                        Debtor Name: Accuride Erie L.P.
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: CERWIN CONSTRUCTION CO
                                                                                               Last Date to File (govt):     04/06/10
                        ATTN: DAVE CZERWINSKI
       Claim No: 312    PO BOX 10576                                                           Filing Status:
                        ERIE, PA 16514-0576                                                    Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                         $5,197.75
            Priority
               Total                                         $5,197.75
Description:
Remarks:
                            Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12   Page 105 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: MORRISON PALLET INC
                                                                                                          Last Date to File (govt):     04/06/10
                               3238 HILL RD
       Claim No: 313           GREENLEAF, WI 54126-9446                                                   Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $9,756.36
            Priority
               Total                                                    $9,756.36
Description:
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: HENSCHEL ANDROMAT INC
                                                                                                          Last Date to File (govt):     04/06/10
                               941 G ASHWAUBENON ST
       Claim No: 314           GREEN BAY, WI 54304                                                        Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $2,084.00
            Priority
               Total                                                    $2,084.00
Description:
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: ZANDER PRESS INC
                                                                                                          Last Date to File (govt):     04/06/10
                               425 W RYAN ST
       Claim No: 315           BRILLION, WI 54110-1037                                                    Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $4,767.56
            Priority                                                    $1,804.71
               Total                                                    $6,572.27
Description: Administrative - Please See Claim For Details.
Remarks:
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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: THE HOME INSURANCE CO IN LIQUIDATION
                                                                                                            Last Date to File (govt):           04/06/10
                                55 S COMMERCIAL ST
       Claim No: 316            MANCHESTER, NH 03101                                                        Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                                  Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: ACCURIDE
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: FERRELLGAS
                                                                                                            Last Date to File (govt):           04/06/10
                                ONE LIBERTY PLAZA
       Claim No: 317            LIBERTY, MO 64068                                                           Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                      $6,485.08                                              $3,652.23
            Priority                                                                                                                    $0.00
               Total                                                      $6,485.08                                              $3,652.23
Description:
Remarks:        Claim amt modified and allowed per Omni 4 Order - Mod. Clms filed 4.13.10 (Dkt 991)

                                Debtor Name: Accuride Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: NOTT-ATWATER COMPANY
                                                                                                            Last Date to File (govt):           04/06/10
                                1309 NORTH BRADLEY RD
       Claim No: 318            SPOKANE, WA 99212-3787                                                      Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                        $167.32
            Priority
               Total                                                        $167.32
Description:
Remarks:
                            Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12   Page 107 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: PRINCE MANUFACTURING CORP
                                                                                                          Last Date to File (govt):     04/06/10
                               612 N DERBY LANE
       Claim No: 319           PO BOX 7000                                                                Filing Status:
                               NORTH SIOUX CITY, SD 57049-7000                                            Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $1,173.40
            Priority                                                    $1,820.65
               Total                                                    $2,994.05
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: FAIL SAFE INC
                                                                                                          Last Date to File (govt):     04/06/10
                               C/O UNITED STATES DEBT RECOVERY III, LP
       Claim No: 320           940 SOUTHWOOD BI, SUITE 101                                                Filing Status:
                               INCLINE VILLAGE, NV 89451                                                  Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                     $975.81
            Priority
               Total                                                     $975.81
Description:
Remarks:

                               Debtor Name: Gunite Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: MIDWEST INDUSTRIAL SERVICES, INC
                                                                                                          Last Date to File (govt):     04/06/10
                               PO BOX 714
       Claim No: 321           BRIGHTON, MI 48116-0714                                                    Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $13,320.00
            Priority
               Total                                                   $13,320.00
Description:
Remarks:
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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Accuride Erie L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: BERRINGTON PUMPS
                                                                                                          Last Date to File (govt):     04/06/10
                               1316 LEAR INDUSTRIAL PKWY
       Claim No: 322           AVON, OH 44011-1368                                                        Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                     $372.00
            Priority
               Total                                                     $372.00
Description:
Remarks:

                               Debtor Name: Bostrom Seating, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: INMOTION ROBOTICS LLC
                                                                                                          Last Date to File (govt):     04/06/10
                               180 HARVESTER AVE
       Claim No: 323           LAWRENCEBURG, TN 38464-6960                                                Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                     $832.16
               Total                                                     $832.16
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Imperial Group, L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: LINK ELECTRIC & SAFETY CONTROL
                                                                                                          Last Date to File (govt):     04/06/10
                               444 MCNALLY DR
       Claim No: 324           NASHVILLE, TN 37211                                                        Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $3,979.83
            Priority
               Total                                                    $3,979.83
Description:
Remarks:
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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                  Judge Hon. Brendan Linehan Shannon
                        Debtor Name:
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: GLENWOOD FARM EQUIP , CO
                                                                                              Last Date to File (govt):     04/06/10
                        209 COOLIDGE ST
       Claim No: 325    GLENWOOD, IA 51534-1745                                               Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                        $1,880.89
            Priority
               Total                                        $1,880.89
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: AUTOMOTIVE FASTENERS INC
                                                                                              Last Date to File (govt):     04/06/10
                        1009 PATTERSON AVE SW
       Claim No: 326    ROANOKE, VA 24016-3405                                                Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $542.50
            Priority
               Total                                         $542.50
Description:
Remarks:

                        Debtor Name: Accuride Corporation
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: SLOAN FLUID ACCESSORIES
                                                                                              Last Date to File (govt):     04/06/10
                        312 WILHAGEN RD
       Claim No: 327    NASHVILLE, TN 37212                                                   Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $246.68
            Priority
               Total                                         $246.68
Description:
Remarks:
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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Gunite Corporation
                                                                                                Last Date to File Claims:     11/30/09
                        Creditor Name: FREE FLOW TECHNOLOGIES LTD
                                                                                                Last Date to File (govt):     04/06/10
                        9918 NORTH ALPINE RD
       Claim No: 328    MACHESNEY PARK, IL 61115-8211                                           Filing Status:
                                                                                                Docket Status:
                                                                                                Late:

        Claim Date:     Amends Claim No:                                                        Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                  Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                          $7,480.00
            Priority                                          $1,851.30
               Total                                          $9,331.30
Description:
Remarks:

                        Debtor Name: Fabco Automotive Corporation
                                                                                                Last Date to File Claims:     11/30/09
                        Creditor Name: MAKINO INC.
                                                                                                Last Date to File (govt):     04/06/10
                        7680 INNOVATION WAY
       Claim No: 329    MASON, OH 45040-9695                                                    Filing Status:
                                                                                                Docket Status:
                                                                                                Late:

        Claim Date:     Amends Claim No:                                                        Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                  Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                          $1,905.17
            Priority
               Total                                          $1,905.17
Description:
Remarks:

                        Debtor Name: Bostrom Seating, Inc.
                                                                                                Last Date to File Claims:     11/30/09
                        Creditor Name: TOP VALUE FABRICS
                                                                                                Last Date to File (govt):     04/06/10
                        21023 MAIN ST
       Claim No: 330    UNIT B                                                                  Filing Status:
                        CARSON, CA 90745-1246                                                   Docket Status:
                                                                                                Late:

        Claim Date:     Amends Claim No:                                                        Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                  Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                         $12,765.80
            Priority
               Total                                         $12,765.80
Description:
Remarks:
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BNK01160                                                                                                                 10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                  09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                           Last Date to File Claims:     11/30/09
                                Creditor Name: NELLIE PATTON
                                                                                                           Last Date to File (govt):     04/06/10
                                PO BOX 846
       Claim No: 331            MUNFORD, AL 36268-0846                                                     Filing Status:
                                                                                                           Docket Status:
                                                                                                           Late:

         Claim Date:            Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                           Amount Claimed                                           Amount Allowed
            Secured
           Unsecured
            Priority                                                        $0.00
               Total                                                        $0.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                           Last Date to File Claims:     11/30/09
                                Creditor Name: CAROLINE CURRY
                                                                                                           Last Date to File (govt):     04/06/10
                                1012 WATSON LN
       Claim No: 332            HENDERSON, KY 42420-2256                                                   Filing Status:
                                                                                                           Docket Status:
                                                                                                           Late:

         Claim Date:            Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                           Amount Claimed                                           Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                               Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                           Last Date to File Claims:     11/30/09
                                Creditor Name: TELEDYNE ISCO INC
                                                                                                           Last Date to File (govt):     04/06/10
                                4700 SUPERIOR ST
       Claim No: 333            LINCOLN, NE 68504-1328                                                     Filing Status:
                                                                                                           Docket Status:
                                                                                                           Late:

         Claim Date:            Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                           Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                     $3,637.20
            Priority
               Total                                                     $3,637.20
Description:
Remarks:
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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Imperial Group, L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: LYDEN'S SPECIALTY MACHINE LLC
                                                                                                          Last Date to File (govt):     04/06/10
                               161 HAMILTON RD NORTH
       Claim No: 334           CHEHALIS, WA 98532-8803                                                    Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                   $11,489.80
               Total                                                   $11,489.80
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Bostrom Seating, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: ALABAMA LABELS & GRAPHICS
                                                                                                          Last Date to File (govt):     04/06/10
                               3005 4TH AVE SOUTH
       Claim No: 335           BIRMINGHAM, AL 35233-3026                                                  Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $1,188.00
            Priority
               Total                                                    $1,188.00
Description:
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: DEPENDABLE FOUNDRY
                                                                                                          Last Date to File (govt):     04/06/10
                               PO BOX 953
       Claim No: 336           SPOKANE, WA 99210-0953                                                     Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $1,002.00
            Priority
               Total                                                    $1,002.00
Description:
Remarks:
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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: MAYVILLE ENGINEERING CO INC
                                                                                                          Last Date to File (govt):     04/06/10
                               715 SOUTH ST
       Claim No: 337           MAYVILLE, WI 53050                                                         Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $17,052.50
            Priority
               Total                                                   $17,052.50
Description:
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: SHANAFELT MFG CO
                                                                                                          Last Date to File (govt):     04/06/10
                               PO BOX 74047
       Claim No: 338           CLEVELAND, OH 44194-4047                                                   Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $2,719.22
            Priority
               Total                                                    $2,719.22
Description:
Remarks:

                               Debtor Name: Fabco Automotive Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: GASKET SPECIALTIES INC
                                                                                                          Last Date to File (govt):     04/06/10
                               ATTN: PINKY HAYER
       Claim No: 339           6200 HOLLIS ST                                                             Filing Status:
                               EMERYVILLE, CA 94608-2024                                                  Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                    $1,252.50
               Total                                                    $1,252.50
Description: Administrative - Please See Claim For Details.
Remarks:
                             Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12           Page 114 of 374


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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name:
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: NIGHTHAWK SECURITY, LLC
                                                                                                                     Last Date to File (govt):           04/06/10
                                3156 COMMONWEALTH CT
       Claim No: 340            OWENSBORO, KY 42303-2258                                                             Filing Status:
                                                                                                                     Docket Status:
                                                                                                                     Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
               Class                                             Amount Claimed                                                   Amount Allowed
            Secured
           Unsecured
            Priority                                                    $10,665.12
               Total                                                    $10,665.12
Description:
Remarks:

                                Debtor Name: Imperial Group, L.P.
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: GASKET SPECIALTIES INC.
                                                                                                                     Last Date to File (govt):           04/06/10
                                6200 HOLLIS ST
       Claim No: 341            EMERYVILLE, CA 94608-2024                                                            Filing Status:
                                                                                                                     Docket Status:
                                                                                                                     Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
               Class                                             Amount Claimed                                                   Amount Allowed
            Secured
           Unsecured
            Priority                                                       $610.60
               Total                                                       $610.60
Description: Administrative - Please See Claim For Details.
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: MIRON CONSTRUCTION CO INC
                                                                                                                     Last Date to File (govt):           04/06/10
                                BOX 23910
       Claim No: 342            GREEN BAY, WI 54305-3910                                                             Filing Status:
                                                                                                                     Docket Status:
                                                                                                                     Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
               Class                                             Amount Claimed                                                   Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                   $150,979.11                                                      $91,735.73
            Priority                                                                                                                             $0.00
               Total                                                   $150,979.11                                                      $91,735.73
Description:
Remarks:        Amended by Claim #1096; Clm amt red.and allowed per Omni 3 Order-Mod. Clms filed 4.13.10 (Dkt 990)
                            Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12   Page 115 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Fabco Automotive Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: OIL-RITE CORPORATION
                                                                                                          Last Date to File (govt):     04/06/10
                               4325 CLIPPER DR
       Claim No: 343           MANITOWOC, WI 54220-4117                                                   Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                     $170.53
               Total                                                     $170.53
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Imperial Group, L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: RAGO AND SON
                                                                                                          Last Date to File (govt):     04/06/10
                               1029 51ST AVE
       Claim No: 344           PO BOX 7309                                                                Filing Status:
                               OAKLAND, CA 94601-0309                                                     Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                     $668.00
            Priority
               Total                                                     $668.00
Description:
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: VALLEY PLANING MILL INC
                                                                                                          Last Date to File (govt):     04/06/10
                               2601 W WISCONSIN AVE
       Claim No: 345           APPLETON, WI 54914-1715                                                    Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                      $27.72
            Priority                                                    $1,848.00
               Total                                                    $1,875.72
Description: Administrative - Please See Claim For Details.
Remarks:
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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: GLOBAL FAB INC
                                                                                                          Last Date to File (govt):     04/06/10
                               331 INDUSTRIAL PARK AVE
       Claim No: 346           HORTONVILLE, WI 54944-9341                                                 Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                    $8,101.70
               Total                                                    $8,101.70
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Imperial Group, L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: PATRICK ENTERPRISES CORP
                                                                                                          Last Date to File (govt):     04/06/10
                               PO BOX 10
       Claim No: 347           RT 460 EAST                                                                Filing Status:
                               PEMBROKE, VA 24136                                                         Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $1,876.32
            Priority
               Total                                                    $1,876.32
Description:
Remarks:

                               Debtor Name: Fabco Automotive Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: VANCOUVER IRON & STEEL, INC.
                                                                                                          Last Date to File (govt):     04/06/10
                               866 N COLUMBIA BLVD
       Claim No: 348           PORTLAND, OR 97217-1104                                                    Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                       $0.00
            Priority
               Total                                                       $0.00
Description:
Remarks:
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BNK01160                                                                                                       10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                 Last Date to File Claims:     11/30/09
                        Creditor Name: D E SMITH INC
                                                                                                 Last Date to File (govt):     04/06/10
                        c/o SIERRA LIQUIDITY FUND
       Claim No: 349    2699 WHITE ROAD, SUITE 255                                               Filing Status:
                        IRVINE, CA 92614                                                         Docket Status:
                                                                                                 Late:

        Claim Date:     Amends Claim No:                                                         Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                   Amount Claimed                                         Amount Allowed
            Secured                                                $0.00
           Unsecured                                             $766.56
            Priority
               Total                                             $766.56
Description:
Remarks:

                        Debtor Name: Bostrom Seating, Inc.
                                                                                                 Last Date to File Claims:     11/30/09
                        Creditor Name: SOUTHERN TOOL STEEL INC
                                                                                                 Last Date to File (govt):     04/06/10
                        PO BOX 699
       Claim No: 350    HIXSON, TN 37343-0699                                                    Filing Status:
                                                                                                 Docket Status:
                                                                                                 Late:

        Claim Date:     Amends Claim No:                                                         Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                   Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                             $126.81
            Priority
               Total                                             $126.81
Description:
Remarks:

                        Debtor Name: Gunite Corporation
                                                                                                 Last Date to File Claims:     11/30/09
                        Creditor Name: PRECISION DRIVE & CONTROL INC
                                                                                                 Last Date to File (govt):     04/06/10
                        504 11TH ST
       Claim No: 351    PO BOX 537                                                               Filing Status:
                        MONROE, WI 53566-1343                                                    Docket Status:
                                                                                                 Late:

        Claim Date:     Amends Claim No:                                                         Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                   Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                             $608.08
            Priority
               Total                                             $608.08
Description:
Remarks:
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BNK01160                                                                                                       10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Gunite Corporation
                                                                                                 Last Date to File Claims:     11/30/09
                        Creditor Name: INDUSTRIAL TOWEL & UNIFORM INC (ITU)
                                                                                                 Last Date to File (govt):     04/06/10
                        PO BOX 88479
       Claim No: 352    NEW BERLIN, WI 53288                                                     Filing Status:
                                                                                                 Docket Status:
                                                                                                 Late:

        Claim Date:     Amends Claim No:                                                         Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                   Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                             $352.65
            Priority
               Total                                             $352.65
Description:
Remarks:

                        Debtor Name:
                                                                                                 Last Date to File Claims:     11/30/09
                        Creditor Name: TECH TOOL AKRON, INC
                                                                                                 Last Date to File (govt):     04/06/10
                        PO BOX 709
       Claim No: 353    GREEN, OH 44232-0709                                                     Filing Status:
                                                                                                 Docket Status:
                                                                                                 Late:

        Claim Date:     Amends Claim No:                                                         Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                   Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                             $706.25
            Priority
               Total                                             $706.25
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                 Last Date to File Claims:     11/30/09
                        Creditor Name: BELLIN HOSPITAL DBA FMC
                                                                                                 Last Date to File (govt):     04/06/10
                        BRILLION CLINIC
       Claim No: 354    GREEN BAY, WI 54305                                                      Filing Status:
                                                                                                 Docket Status:
                                                                                                 Late:

        Claim Date:     Amends Claim No:                                                         Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                   Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                             $171.00
            Priority
               Total                                             $171.00
Description:
Remarks:
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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: BELLIN PROVIDER BILLING
                                                                                                          Last Date to File (govt):     04/06/10
                               PO BOX 22487
       Claim No: 355           GREEN BAY, WI 54305-2487                                                   Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                     $606.70
            Priority
               Total                                                     $606.70
Description:
Remarks:

                               Debtor Name: Imperial Group, L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: FLOWDRILL INC
                                                                                                          Last Date to File (govt):     04/06/10
                               2820A BRECKENRIDGE IND CT
       Claim No: 356           ST LOUIS, MO 63144-2811                                                    Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                     $460.00
            Priority
               Total                                                     $460.00
Description:
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: CHAMPION CHISEL WORKS INC
                                                                                                          Last Date to File (govt):     04/06/10
                               804 E 18TH ST
       Claim No: 357           ROCK FALLS, IL 61071-2128                                                  Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/23/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $1,361.28
            Priority                                                    $3,275.21
               Total                                                    $4,636.49
Description: Administrative - Please See Claim For Details.
Remarks:
                             Case 09-13449-BLS               Doc 1321-1          Filed 02/14/12   Page 120 of 374


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BNK01160                                                                                                             10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                 09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name:
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: PAUL FRANZ
                                                                                                       Last Date to File (govt):     04/06/10
                                3305 HEMPTON LAKE RD
       Claim No: 358            REEDSVILLE, WI 54230-8593                                              Filing Status:
                                                                                                       Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                           Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                 $1,453.50
            Priority
               Total                                                 $1,453.50 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: AT&T CORP
                                                                                                       Last Date to File (govt):     04/06/10
                                C/O JAMES GRUDUS ESQ
       Claim No: 359            AT&T SERVICES INC                                                      Filing Status:
                                ONE AT&T WAY ROOM 3A218                                                Docket Status:
                                BEDMINSTER, NJ 07921                                                   Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                           Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                $34,722.73
            Priority
               Total                                                $34,722.73
Description:
Remarks:

                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: LINK SYSTEMS
                                                                                                       Last Date to File (govt):     04/06/10
                                444 MCNALLY DR
       Claim No: 360            NASHVILLE, TN 37211-3319                                               Filing Status:
                                                                                                       Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                           Amount Claimed                                       Amount Allowed
            Secured                                                    $585.00
           Unsecured
            Priority
               Total                                                   $585.00
Description:
Remarks:
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BNK01160                                                                                                         10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Accuride Erie L.P.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: AIRLINE HYDRAULICS CORPORATION
                                                                                                   Last Date to File (govt):     04/06/10
                        PO BOX 8500 S-2275
       Claim No: 361    PHILADELPHIA, PA 19178-8500                                                Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $4,410.48
            Priority
               Total                                             $4,410.48
Description:
Remarks:

                        Debtor Name:
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: BEARING ENGINEERING
                                                                                                   Last Date to File (govt):     04/06/10
                        667 MCCORMICK ST
       Claim No: 362    SAN LEANDRO, CA 94577-1109                                                 Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                              $231.45
            Priority
               Total                                              $231.45
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: USI INC
                                                                                                   Last Date to File (govt):     04/06/10
                        PO BOX 92
       Claim No: 363    BRATTLEBORO, VT 05302-0092                                                 Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                              $127.89
            Priority
               Total                                              $127.89
Description:
Remarks:
                             Case 09-13449-BLS              Doc 1321-1          Filed 02/14/12   Page 122 of 374


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BNK01160                                                                                                            10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                 09-13449 ACCURIDE CORPORATION, ET AL.
                                                          Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                      Last Date to File Claims:     11/30/09
                                Creditor Name: KENNETH L STEPHENS
                                                                                                      Last Date to File (govt):     04/06/10
                                71222 M-103
       Claim No: 364            WHITE PIGEON, MI 49099-9441                                           Filing Status:
                                                                                                      Docket Status:
                                                                                                      Late:

         Claim Date:            Amends Claim No:                                                      Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                          Amount Claimed                                       Amount Allowed
            Secured
           Unsecured
            Priority                                                   $0.00
               Total                                                   $0.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Accuride Erie L.P.
                                                                                                      Last Date to File Claims:     11/30/09
                                Creditor Name: RITTER ENGINEERING COMPANY
                                                                                                      Last Date to File (govt):     04/06/10
                                100 WILLIAMS DR
       Claim No: 365            ZELIENOPLE, PA 16063-2602                                             Filing Status:
                                                                                                      Docket Status:
                                                                                                      Late:

         Claim Date:            Amends Claim No:                                                      Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                          Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                 $498.59
            Priority
               Total                                                 $498.59
Description:
Remarks:

                                Debtor Name: Fabco Automotive Corporation
                                                                                                      Last Date to File Claims:     11/30/09
                                Creditor Name: INDUSTRIAL NUT CORPORATION
                                                                                                      Last Date to File (govt):     04/06/10
                                1425 TIFFIN AVE
       Claim No: 366            SANDUSKY, OH 44870-2040                                               Filing Status:
                                                                                                      Docket Status:
                                                                                                      Late:

         Claim Date:            Amends Claim No:                                                      Duplicates Claim No:
         11/23/2009             Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                          Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                $3,190.31
            Priority
               Total                                                $3,190.31
Description:
Remarks:
                       Case 09-13449-BLS            Doc 1321-1          Filed 02/14/12   Page 123 of 374


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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                  Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Imperial Group, L.P.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: MADISON CHEMICAL CO INC
                                                                                              Last Date to File (govt):     04/06/10
                        3141 CLIFTY DR
       Claim No: 367    GAIL                                                                  Filing Status:
                        MADISON, IN 47250                                                     Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                        $2,945.71
            Priority
               Total                                        $2,945.71
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: WISE COUNTY MESSENGER
                                                                                              Last Date to File (govt):     04/06/10
                        PO BOX 149 SAND
       Claim No: 368    DECATUR, TX 76234-0149                                                Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $340.51
            Priority
               Total                                         $340.51
Description:
Remarks:

                        Debtor Name: Accuride Erie L.P.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: ONEX INC
                                                                                              Last Date to File (govt):     04/06/10
                        ATTN JENNIFER JOINT
       Claim No: 369    PO BOX 644382                                                         Filing Status:
                        PITTSBURGH, PA 15264-4382                                             Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                        $3,682.00
            Priority
               Total                                        $3,682.00
Description:
Remarks:
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12   Page 124 of 374


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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: EL SIMETH CO INC
                                                                                                            Last Date to File (govt):           04/06/10
                                403 S HAWLEY RD
       Claim No: 370            MILWAUKEE, WI 53214-1906                                                    Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/23/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                        $948.48
            Priority
               Total                                                        $948.48
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: SIGNODE SERVICE BUSINESS-PARTS
                                                                                                            Last Date to File (govt):           04/06/10
                                PO BOX 71057
       Claim No: 371            ARLINGTON HEIGHTS, IL 60694-1057                                            Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/23/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                        $633.62
            Priority
               Total                                                        $633.62
Description:
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: D & B ENVIRONMENTAL SERVICES
                                                                                                            Last Date to File (govt):           04/06/10
                                401 LINCOLN WAY WEST
       Claim No: 372            OSCEOLA, IN 46561-2637                                                      Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/23/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                     $62,917.57                                            $56,160.06
            Priority                                                                                                                    $0.00
               Total                                                     $62,917.57                                            $56,160.06
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)
                              Case 09-13449-BLS                  Doc 1321-1             Filed 02/14/12       Page 125 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Erie L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: SPEEDGRIP CHUCK INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: JAMSE RUNYON
       Claim No: 373             PO BOX 596                                                                       Filing Status:
                                 ELKHART, IN 46515-0596                                                           Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        11/23/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                       $7,860.00
            Priority
               Total                                                       $7,860.00
Description:
Remarks:

                                 Debtor Name: Imperial Group, L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: SARGENT METAL FABRICATORS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 2705
       Claim No: 374             ANDERSON, SC 29622-2705                                                          Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        11/23/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                       $4,579.20
            Priority
               Total                                                       $4,579.20
Description:
Remarks:

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: PACIFIC ALLOY CASTINGS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 5900 FIRESTONE BLVD
       Claim No: 375             SOUTH GATE, CA 90280-3797                                                        Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        11/23/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $3,066.00                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $3,066.00                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Surviving Claim #376
                             Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12      Page 126 of 374


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BNK01160                                                                                                                    10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                Creditor Name: PACIFIC ALLOY CASTINGS
                                                                                                              Last Date to File (govt):           04/06/10
                                5900 E FIRESTONE BLVD
       Claim No: 376            SOUTH GATE, CA 90280-3708                                                     Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
        11/23/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                             Amount Claimed                                            Amount Allowed
            Secured
           Unsecured                                                     $3,066.00
            Priority
               Total                                                     $3,066.00
Description:
Remarks:        Survives Claim #375

                                Debtor Name: Accuride Corporation
                                                                                                              Last Date to File Claims:           11/30/09
                                Creditor Name: EVANSVILLE ELECTRIC & MFG
                                                                                                              Last Date to File (govt):           04/06/10
                                PO BOX 4717
       Claim No: 377            EVANSVILLE, IN 47724-0717                                                     Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
        11/23/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                             Amount Claimed                                            Amount Allowed
            Secured
           Unsecured                                                     $2,028.90
            Priority
               Total                                                     $2,028.90
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                              Last Date to File Claims:           11/30/09
                                Creditor Name: RABEN TIRE
                                                                                                              Last Date to File (govt):           04/06/10
                                PO BOX 4835
       Claim No: 378            EVANSVILLE, IN 47711-0835                                                     Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
        11/23/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                             Amount Claimed                                            Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                     $9,209.91                                                        $0.00
            Priority                                                                                                                      $0.00
               Total                                                     $9,209.91                                                        $0.00
Description:
Remarks:        Disall per Omni 1 Order-Amend & Suprsd Clms-filed 4.13.10 (Dkt 989); Amend by Clm 919.
                             Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12        Page 127 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Erie L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: FANUC ROBOTICS AMERICA INC.
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: LEGAL
       Claim No: 379             3900 WEST HAMLIN RD.                                                             Filing Status:
                                 ROCHESTER HILLS, MI 48903-3253                                                   Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                   $5,951.80
            Priority                                                     $11,362.40                                                           $0.00
               Total                                                     $11,362.40                                                    $5,951.80
Description: Administrative - Please See Claim For Details.
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. & Recl. Clms filed 4.13.10 (Dkt 990)

                                 Debtor Name: Accuride Erie L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: FANUX ROBOTICS AMERICA, INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: GENERAL COUNSEL
       Claim No: 380             3900 W HAMLIN RD                                                                 Filing Status:
                                 ROCHESTER HILLS, MI 48309-3253                                                   Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                       $5,951.80
            Priority
               Total                                                       $5,951.80
Description:
Remarks:

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: AMERICAN EXCELSIOR COMPANY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 3127 SOUTH 31ST ST
       Claim No: 381             SHEBOYGAN, WI 53081-6431                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                     $61,512.35
            Priority
               Total                                                     $61,512.35
Description:
Remarks:
                             Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12            Page 128 of 374


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BNK01160                                                                                                                            10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                 Creditor Name: DAYTON STEEL SERVICE INC
                                                                                                                      Last Date to File (govt):           04/06/10
                                 3911 DAYTON PARK DR
       Claim No: 382             DAYTON, OH 45414-4411                                                                Filing Status:
                                                                                                                      Docket Status:
                                                                                                                      Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
               Class                                               Amount Claimed                                                  Amount Allowed
            Secured
           Unsecured                                                       $1,223.11
            Priority                                                     $14,534.63
               Total                                                     $15,757.74
Description: Administrative - Please See Claim For Details.
Remarks:

                                 Debtor Name: Gunite Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                 Creditor Name: ELKHART SHARPENING SERVICES INC
                                                                                                                      Last Date to File (govt):           04/06/10
                                 58033 STATE RD 19 SOUTH
       Claim No: 383             ELKHART, IN 46517-1207                                                               Filing Status:
                                                                                                                      Docket Status:
                                                                                                                      Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
               Class                                               Amount Claimed                                                  Amount Allowed
            Secured
           Unsecured                                                        $849.00
            Priority
               Total                                                        $849.00
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                 Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                 ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 384             436 WALNUT ST, 4TH FL                                                                Filing Status:
                                 WA04K                                                                                Docket Status:
                                 PHILADELPHIA, PA 19106                                                               Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
               Class                                               Amount Claimed                                                  Amount Allowed
            Secured                                                            $0.00                                                              $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
               Total                                                 $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152)
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BNK01160                                                                                                                            10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 385            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152)

                                Debtor Name: Accuride Distributing, LLC
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 386            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152)

                                Debtor Name: Accuride EMI, LLC
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C
       Claim No: 387            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).
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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Erie L.P.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C
       Claim No: 388            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 389            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: AKW General Partner L.L.C.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 390            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).
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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: AOT Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 391            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Bostrom Holdings, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 392            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 393            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).
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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Bostrom Specialty Seating, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 394            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 395            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Erie Land Holding, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 396            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).
                            Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12             Page 133 of 374


BNK01                                                                                                                               Page 133              of     374
BNK01160                                                                                                                            10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Fabco Automotive Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 397            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Gunite Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 398            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Imperial Group Holding Corp. - 1
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 399            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).
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BNK01                                                                                                                               Page 134              of     374
BNK01160                                                                                                                            10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group Holding Corp. - 2
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 400            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Imperial Group, L.P.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 401            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: JAII Management Company
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 402            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).
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BNK01160                                                                                                                            10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Transportation Technologies Industries, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 403            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Truck Components, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: ACE AMERICAN INSURANCE CO (ACE USA)
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN: PAUL B. BECH, ESQ., ASSISTANT G.C.
       Claim No: 404            436 WALNUT ST, 4TH FL                                                                 Filing Status:
                                WA04K                                                                                 Docket Status:
                                PHILADELPHIA, PA 19106                                                                Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Gunite Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: SUSAN K TURNER
                                                                                                                      Last Date to File (govt):           04/06/10
                                58422 WALTER CT
       Claim No: 405            GOSHEN, IN 46528-8923                                                                 Filing Status:
                                                                                                                      Docket Status:
                                                                                                                      Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured
           Unsecured
            Priority                                                          $0.00
             Total                                                            $0.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:
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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Bostrom Seating, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: DIAMOND INTERNATIONAL
                                                                                                          Last Date to File (govt):     04/06/10
                               c/o UNITED STATES DEBT RECOVERY III, LP
       Claim No: 406           940 SOUTHWOOD BI, SUITE 101                                                Filing Status:
                               INCLINE VILLAGE, NV 89451                                                  Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                     $209.66
            Priority
               Total                                                     $209.66
Description:
Remarks:

                               Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: PROPANE SERVICES
                                                                                                          Last Date to File (govt):     04/06/10
                               PO BOX 35
       Claim No: 407           TAYLOR, MI 48180-0035                                                      Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                     $895.92
            Priority
               Total                                                     $895.92
Description:
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: VANDE HEY'S SHOES
                                                                                                          Last Date to File (govt):     04/06/10
                               N366 HAEN RD
       Claim No: 408           KAUKAUNA, WI 54130-8808                                                    Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                    $1,438.65
               Total                                                    $1,438.65
Description: Administrative - Please See Claim For Details.
Remarks:
                            Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12   Page 137 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: WILLMAN INDUSTRIES INC
                                                                                                          Last Date to File (govt):     04/06/10
                               338 S MAIN ST
       Claim No: 409           CEDAR GROVE, WI 53013-1611                                                 Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $3,857.75
            Priority                                                    $2,622.13
               Total                                                    $6,479.88
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: CROSS MANUFACTURING INC
                                                                                                          Last Date to File (govt):     04/06/10
                               PO BOX 803318
       Claim No: 410           KANSAS CITY, MO 64180-3318                                                 Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $6,791.30
            Priority
               Total                                                    $6,791.30
Description:
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: ICAFE INC
                                                                                                          Last Date to File (govt):     04/06/10
                               C/O LIQUIDITY SOLUTIONS, INC
       Claim No: 411           ONE UNIVERSITY PLAZA                                                       Filing Status:
                               SUITE 312                                                                  Docket Status:
                               HACKENSACK, NJ 07601                                                       Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $1,598.40
            Priority
               Total                                                    $1,598.40
Description:
Remarks:
                             Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12             Page 138 of 374


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BNK01160                                                                                                                             10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                       Last Date to File Claims:           11/30/09
                                 Creditor Name: A DUIE PYLE, INC
                                                                                                                       Last Date to File (govt):           04/06/10
                                 PO BOX 564
       Claim No: 412             WEST CHESTER, PA 19381-0564                                                           Filing Status:
                                                                                                                       Docket Status:
                                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                               Amount Claimed                                                   Amount Allowed
            Secured
           Unsecured                                                       $1,600.28
            Priority
               Total                                                       $1,600.28
Description:
Remarks:

                                 Debtor Name: Gunite Corporation
                                                                                                                       Last Date to File Claims:           11/30/09
                                 Creditor Name: ROCKFORD FORMS & GRAPHICS
                                                                                                                       Last Date to File (govt):           04/06/10
                                 C/O ASM CAPITAL LP
       Claim No: 413             7600 JERICHO TURNPIKE                                                                 Filing Status:
                                 SUITE 302                                                                             Docket Status:
                                 WOODBURY, NY 11797                                                                    Late:

         Claim Date:            Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                               Amount Claimed                                                   Amount Allowed
            Secured
           Unsecured                                                       $2,619.28
            Priority
               Total                                                       $2,619.28
Description:
Remarks:

                                 Debtor Name: Truck Components, Inc.
                                                                                                                       Last Date to File Claims:           11/30/09
                                 Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                       Last Date to File (govt):           04/06/10
                                 ATTN MARGERY N REED ESQ
       Claim No: 414             DUANE MORRIS LLP                                                                      Filing Status:
                                 30 SOUTH 17TH STREET                                                                  Docket Status:
                                 PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:            Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                               Amount Claimed                                                   Amount Allowed
            Secured                                                            $0.00                                                               $0.00
           Unsecured                                                                                                                               $0.00
            Priority                                                  $11,329,095.00                                                               $0.00
               Total                                                  $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).
                            Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12             Page 139 of 374


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BNK01160                                                                                                                            10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Transportation Technologies Industries, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 415            DUANE MORRIS LLP                                                                      Filing Status:
                                30 SOUTH 17TH STREET                                                                  Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: JAII Management Company
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 416            DUANE MORRIS LLP                                                                      Filing Status:
                                30 SOUTH 17TH STREET                                                                  Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Imperial Group, L.P.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 417            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).
                            Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12             Page 140 of 374


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BNK01160                                                                                                                            10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group Holding Corp. - 2
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 418            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Imperial Group Holding Corp. - 1
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 419            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Gunite Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 420            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).
                            Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12             Page 141 of 374


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BNK01160                                                                                                                            10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Fabco Automotive Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 421            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Erie Land Holding, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 422            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 423            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).
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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Bostrom Specialty Seating, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 424            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 425            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Bostrom Holdings, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 426            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).
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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                      09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: AOT Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 427            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Objection adjourned until 05.12.2010

                                Debtor Name: AKW General Partner L.L.C.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 428            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 429            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).
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BNK01160                                                                                                                            10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Erie L.P.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 430            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Accuride EMI, LLC
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 431            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                Debtor Name: Accuride Distributing, LLC
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARGERY N REED ESQ
       Claim No: 432            DUANE MORRIS LLP                                                                      Filing Status:
                                30 S 17TH STREET                                                                      Docket Status:
                                PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                                Amount Claimed                                                   Amount Allowed
            Secured                                                           $0.00                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                 $11,329,095.00                                                               $0.00
             Total                                                   $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152)
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BNK01160                                                                                                                             10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                                       Last Date to File Claims:           11/30/09
                                 Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                       Last Date to File (govt):           04/06/10
                                 ATTN MARGERY N REED ESQ
       Claim No: 433             DUANE MORRIS LLP                                                                      Filing Status:
                                 30 S 17TH STREET                                                                      Docket Status:
                                 PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:            Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                               Amount Claimed                                                   Amount Allowed
            Secured                                                            $0.00                                                               $0.00
           Unsecured                                                                                                                               $0.00
            Priority                                                  $11,329,095.00                                                               $0.00
               Total                                                  $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                 Debtor Name: Accuride Corporation
                                                                                                                       Last Date to File Claims:           11/30/09
                                 Creditor Name: WESTCHESTER SURPLUS LINES INSURANCE CO
                                                                                                                       Last Date to File (govt):           04/06/10
                                 ATTN MARGERY N REED ESQ
       Claim No: 434             DUANE MORRIS LLP                                                                      Filing Status:
                                 30 S 17TH STREET                                                                      Docket Status:
                                 PHILADELPHIA, PA 19103-4196                                                           Late:

         Claim Date:            Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                               Amount Claimed                                                   Amount Allowed
            Secured                                                            $0.00                                                               $0.00
           Unsecured                                                                                                                               $0.00
            Priority                                                  $11,329,095.00                                                               $0.00
               Total                                                  $11,329,095.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Claim and 1st Omni Obj withdrawn, agreed payment of outstanding amounts per stipulation (Dkt #1152).

                                 Debtor Name: Imperial Group, L.P.
                                                                                                                       Last Date to File Claims:           11/30/09
                                 Creditor Name: PRAXAIR DISTRIBUTION INC
                                                                                                                       Last Date to File (govt):           04/06/10
                                 39 OLD RIDGEBURY RD
       Claim No: 435             DANBUY, CT 06810                                                                      Filing Status:
                                                                                                                       Docket Status:
                                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                                       Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                               Amount Claimed                                                   Amount Allowed
            Secured
           Unsecured                                                      $36,235.77
            Priority
               Total                                                      $36,235.77
Description:
Remarks:
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12   Page 146 of 374


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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: DE LAGE LANDEN FINANCIAL SERVICES INC
                                                                                                            Last Date to File (govt):           04/06/10
                                1111 OLD EAGLE SCHOOL RD
       Claim No: 436            WAYNE, PA 19087                                                             Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/24/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                           $0.00                                                     $0.00
           Unsecured                                                    $205,383.92                                              $4,615.13
            Priority                                                                                                                    $0.00
               Total                                                    $205,383.92                                              $4,615.13
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: LMS NORTH AMERICA INC
                                                                                                            Last Date to File (govt):           04/06/10
                                PO BOX 758657
       Claim No: 437            BALTIMORE, MD 21275-8657                                                    Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/24/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                     $12,850.00
            Priority
               Total                                                     $12,850.00
Description:
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: ROCKFORD DIESEL
                                                                                                            Last Date to File (govt):           04/06/10
                                C/O ASM CAPITAL LP
       Claim No: 438            7600 JERICHO TURNPIKE                                                       Filing Status:
                                SUITE 302                                                                   Docket Status:
                                WOODBURY, NY 11797                                                          Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/24/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                      $3,075.44
            Priority
               Total                                                      $3,075.44
Description:
Remarks:
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12   Page 147 of 374


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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: VOSS PATTERN COMPANY
                                                                                                            Last Date to File (govt):           04/06/10
                                PO BOX 3987
       Claim No: 439            DAVENPORT, IA 52808-3987                                                    Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/24/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                     $38,365.00
            Priority
               Total                                                     $38,365.00
Description:
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: SYSTEM CLEAN, INC
                                                                                                            Last Date to File (govt):           04/06/10
                                50602 MICHIGAN RD
       Claim No: 440            SOUTH BEND, IN 46637-1532                                                   Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/24/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                     $13,000.68                                              $8,747.43
            Priority                                                                                                                    $0.00
               Total                                                     $13,000.68                                              $8,747.43
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: CEQUENT PERFORMANCE PRODUCTS
                                                                                                            Last Date to File (govt):           04/06/10
                                47774 ANCHOR CT W
       Claim No: 441            PLYMOUTH, MI 48170-2456                                                     Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/24/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                      $7,555.45                                              $5,062.15
            Priority                                                                                                                    $0.00
               Total                                                      $7,555.45                                              $5,062.15
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)
                              Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 148 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: CROWE HORWATH LLP
                                                                                                               Last Date to File (govt):           04/06/10
                                 ATTN LEGAL DEPT
       Claim No: 442             PO BOX 3697                                                                   Filing Status:
                                 OAK BROOK, IL 60522-3697                                                      Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/24/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $7,500.00
            Priority
               Total                                                        $7,500.00
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: PRIME, INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 2740 N MAYFAIR AVE
       Claim No: 443             SPRINGFIELD, MO 65803-5084                                                    Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/24/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                        $4,600.00                                                      $0.00
            Priority                                                                                                                       $0.00
               Total                                                        $4,600.00                                                      $0.00
Description:
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: ORACLE USA INC ("ORACLE")
                                                                                                               Last Date to File (govt):           04/06/10
                                 ATTN SHAWN CHRISTIANSON ESQ
       Claim No: 444             BUCHALTER NEMER PC                                                            Filing Status:
                                 333 MARKET ST 25TH FLOOR                                                      Docket Status:
                                 SAN FRANCISCO, CA 94105                                                       Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/24/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $1,402.35
            Priority
               Total                                                        $1,402.35
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 149 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: JERVIS B WEBB WORLDWIDE CO
                                                                                                               Last Date to File (govt):           04/06/10
                                 34375 WEST 12 MILE ROA
       Claim No: 445             FARMINGTON HILLS, MI 48331-3375                                               Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/24/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                       $65,745.00                                                      $0.00
            Priority                                                                                                                       $0.00
               Total                                                       $65,745.00                                                      $0.00
Description:
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)

                                 Debtor Name: Imperial Group, L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: SUNBELT INDUSTRIAL TRUCK
                                                                                                               Last Date to File (govt):           04/06/10
                                 1617 TERRE COLONY CT
       Claim No: 446             DALLAS, TX 75212-6222                                                         Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/24/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $6,815.41
            Priority
               Total                                                        $6,815.41
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: MIRACLE MAINTENANCE INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 1717 PEDERSON RD
       Claim No: 447             COMMERCE TOWNSHIP, MI 48390-2718                                              Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/24/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                          $693.00
            Priority
               Total                                                          $693.00
Description:
Remarks:
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12   Page 150 of 374


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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Erie L.P.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: MORRIS GREAT LAKES
                                                                                                            Last Date to File (govt):           04/06/10
                                NW 7968-10
       Claim No: 448            PO BOX 1450                                                                 Filing Status:
                                MINNEAPOLIS, MN 55485-1450                                                  Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/24/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                      $1,940.00
            Priority
               Total                                                      $1,940.00
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: CITY OF HENDERSON
                                                                                                            Last Date to File (govt):           04/06/10
                                PO BOX 716
       Claim No: 449            HENDERSON, KY 42419-0716                                                    Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/24/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                     $63,174.12                                            $44,615.70
            Priority                                                                                                                    $0.00
               Total                                                     $63,174.12                                            $44,615.70
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)

                                Debtor Name: Fabco Automotive Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: INDEX SENSORS & CONTROLS INC
                                                                                                            Last Date to File (govt):           04/06/10
                                ATTN CINDY MCGRAW
       Claim No: 450            7112 265TH ST NW                                                            Filing Status:
                                STANWOOD, WA 98292-6293                                                     Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/24/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                        $516.00
            Priority
               Total                                                        $516.00
Description:
Remarks:
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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Fabco Automotive Corporation
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: PACIFIC BOLT COMPANY INC
                                                                                              Last Date to File (govt):     04/06/10
                        ATTN: JAG NARAYAN
       Claim No: 451    1943 FAIRWAY DR                                                       Filing Status:
                        SAN LEANDRO, CA 94577-5634                                            Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/24/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                          $172.00
            Priority
               Total                                          $172.00
Description:
Remarks:

                        Debtor Name: Bostrom Seating, Inc.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: BRADFORD INDUSTRIES INC
                                                                                              Last Date to File (govt):     04/06/10
                        1857 MIDDLESEX ST
       Claim No: 452    LOWELL, MA 01851-1123                                                 Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/24/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                          $341.55
            Priority
               Total                                          $341.55
Description:
Remarks:

                        Debtor Name: Gunite Corporation
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: KDK INC
                                                                                              Last Date to File (govt):     04/06/10
                        1000 EAST BUTLER AVE
       Claim No: 453    SUITE 102                                                             Filing Status:
                        FLAGSTAFF, AZ 86001-5900                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/24/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                          $776.00
            Priority
               Total                                          $776.00
Description:
Remarks:
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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                  Judge Hon. Brendan Linehan Shannon
                        Debtor Name:
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: MARGARET WILLIAMS
                                                                                               Last Date to File (govt):     04/06/10
                        7570 S HURON RIVER DR
       Claim No: 454    SOUTH ROCKWOOD, MI 48179-9611                                          Filing Status:
                                                                                               Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        11/24/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                        $25,188.91
            Priority
               Total                                        $25,188.91
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: COLUMBIA MACHINE WORKS
                                                                                               Last Date to File (govt):     04/06/10
                        919 N JAMES CAMPBELL BLVD
       Claim No: 455    PO BOX 1018                                                            Filing Status:
                        COLUMBIA, TN 38402-1018                                                Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        11/24/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                        $41,184.00
            Priority
               Total                                        $41,184.00
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: NASHVILLE ELECTRIC SERVICE
                                                                                               Last Date to File (govt):     04/06/10
                        1214 CHURCH ST
       Claim No: 456    NASHVILLE, TN 37246-0090                                               Filing Status:
                                                                                               Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        11/24/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                          $278.24
            Priority
               Total                                          $278.24
Description:
Remarks:
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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Gunite Corporation
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: SRI QUALITY SYSTEMS REGIS
                                                                                               Last Date to File (govt):     04/06/10
                        300 NORTHPOINTE CIR STE 304
       Claim No: 457    SEVEN FIELDS, PA 16046-7862                                            Filing Status:
                                                                                               Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        11/24/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                         $4,251.59
            Priority
               Total                                         $4,251.59
Description:
Remarks:

                        Debtor Name: Bostrom Seating, Inc.
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: HUNT COUNTRY COMPONENTS
                                                                                               Last Date to File (govt):     04/06/10
                        1120 TRINITY ST
       Claim No: 458    THOMASVILLE, NC 27360-8818                                             Filing Status:
                                                                                               Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        11/24/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                         $2,015.00
            Priority
               Total                                         $2,015.00
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: DALLAS RECYCLING
                                                                                               Last Date to File (govt):     04/06/10
                        3303 PLUTO ST
       Claim No: 459    DALLAS, TX 75212-3430                                                  Filing Status:
                                                                                               Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        11/24/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                         $8,261.26
            Priority
               Total                                         $8,261.26
Description:
Remarks:
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: ERIE WATER WORKS
                                                                                                                 Last Date to File (govt):           04/06/10
                                PO BOX 6179
       Claim No: 460            ERIE, PA 16512-6179                                                              Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                      $49,053.63                                                          $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                                                                                         $0.00
               Total                                                     $49,053.63                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name:
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: ROBERT ROSS
                                                                                                                 Last Date to File (govt):           04/06/10
                                133 E 22ND ST
       Claim No: 461            ERIE, PA 16503-1814                                                              Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                                                                                         $0.00
               Total                                                  Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name:
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: DON E CORN
                                                                                                                 Last Date to File (govt):           04/06/10
                                27115 GOPHER HILL RD
       Claim No: 462            MYAKKA CITY, FL 34251-9321                                                       Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                                                                                         $0.00
               Total                                                  Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                Debtor Name:
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: CHARLES R TAVERNESE
                                                                                                                     Last Date to File (govt):           04/06/10
                                1638 W 41ST ST
       Claim No: 463            ERIE, PA 16509-1140                                                                  Filing Status:
                                                                                                                     Docket Status:
                                                                                                                     Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                 Amount Claimed                                                 Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                     Unliquidated                                                              $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                AS INDENTURE TRUSTEE
       Claim No: 464            C/O RIKER DANZIG ET AL                                                               Filing Status:
                                1 SPEEDWELL AVE HQ PLAZA PO BOX 1981                                                 Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                 Amount Claimed                                                 Amount Allowed
            Secured
           Unsecured                                                $291,222,736.98
            Priority                                                           $0.00
             Total                                                  $291,222,736.98 (Unliquidated)
Description: Please see claim for detail.
Remarks:       Survives Claim #'s 465-484 pursuant to Omni Order 2 filed 4.13.10 (Dkt 992)

                                Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                AS INDENTURE TRUSTEE
       Claim No: 465            C/O RIKER DANZIG ET AL                                                               Filing Status:
                                1 SPEEDWELL AVE HQ PLAZA PO BOX 1981                                                 Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                 Amount Claimed                                                 Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                $291,222,736.98                                                              $0.00
            Priority                                                           $0.00                                                             $0.00
             Total                                                  $291,222,736.98 (Unliquidated)                                               $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464
                             Case 09-13449-BLS                  Doc 1321-1            Filed 02/14/12            Page 156 of 374


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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Distributing, LLC
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 466            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464

                                Debtor Name: Accuride EMI, LLC
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 467            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464

                                Debtor Name: Accuride Erie L.P.
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 468            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464
                             Case 09-13449-BLS                  Doc 1321-1            Filed 02/14/12            Page 157 of 374


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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 469            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464

                                Debtor Name: AKW General Partner L.L.C.
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 470            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464

                                Debtor Name: AOT Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 471            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464
                             Case 09-13449-BLS                  Doc 1321-1            Filed 02/14/12            Page 158 of 374


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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Bostrom Holdings, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 472            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 473            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464

                                Debtor Name: Bostrom Specialty Seating, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 474            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464
                             Case 09-13449-BLS                  Doc 1321-1            Filed 02/14/12            Page 159 of 374


BNK01                                                                                                                              Page 159              of     374
BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 475            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464

                                Debtor Name: Erie Land Holding, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA
       Claim No: 476            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464

                                Debtor Name: Fabco Automotive Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 477            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464
                             Case 09-13449-BLS                  Doc 1321-1            Filed 02/14/12            Page 160 of 374


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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 478            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464

                                Debtor Name: Imperial Group Holding Corp. - 1
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 479            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464

                                Debtor Name: Imperial Group Holding Corp. - 2
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 480            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464
                             Case 09-13449-BLS                  Doc 1321-1            Filed 02/14/12            Page 161 of 374


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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group, L.P.
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 481            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464

                                Debtor Name: JAII Management Company
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 482            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464

                                Debtor Name: Transportation Technologies Industries, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 483            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464
                             Case 09-13449-BLS                  Doc 1321-1            Filed 02/14/12            Page 162 of 374


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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Truck Components, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 484            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                               $291,222,736.98                                                               $0.00
            Priority                                                         $0.00                                                               $0.00
             Total                                                 $291,222,736.98 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #464

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: THE BANK OF NEW YORK MELLON TRUST CO, NA
                                                                                                                     Last Date to File (govt):           04/06/10
                                C/O CURTIS M PLAZA, ESQ
       Claim No: 485            RIKER DANZIG SCHERER HYLAND & PERRETTI                                               Filing Status:
                                1 SPEEDWELL AVE, HQ PLAZA, PO BOX 1981                                               Docket Status:
                                MORRISTOWN, NJ 07962-1981                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured
           Unsecured
            Priority                                                 $3,100,000.00
             Total                                                   $3,100,000.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: TYSON ROLLER BEARINGS INC DBA RBC TYSO
                                                                                                                     Last Date to File (govt):           04/06/10
                                RBC LUBRON BEARING SYSTEMS INC DBA ET AL
       Claim No: 486            C/O WIGGIN AND DANA LLP                                                              Filing Status:
                                185 ASYLUM STREET                                                                    Docket Status:
                                HARTFORD, CT 06103                                                                   Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/24/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                    Unliquidated                                                               $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #487
                              Case 09-13449-BLS                  Doc 1321-1             Filed 02/14/12   Page 163 of 374


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BNK01160                                                                                                                    10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: TYSON ROLLER BEARINGS INC DBA RBC TYSO
                                                                                                              Last Date to File (govt):           04/06/10
                                 C/O SHARYN B ZUCH
       Claim No: 487             WIGGIN AND DANA LLP                                                          Filing Status:
                                 CITYPLACE I, 185 ASYLUM STREET                                               Docket Status:
                                 HARTFORD, CT 06103                                                           Late:

         Claim Date:             Amends Claim No:                                                             Duplicates Claim No:
         11/24/2009              Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                               Amount Claimed                                          Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                                   Unliquidated
Description: Please see claim for detail.
Remarks:        Survives Claim #486 pursuant to Omni Order #2 filed 4.13.10 (Dkt 992)

                                 Debtor Name: Gunite Corporation
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: FOREMAN, ROBIN R
                                                                                                              Last Date to File (govt):           04/06/10
                                 WILLIAM T CACCIATORE
       Claim No: 488             321 W STATE STREET                                                           Filing Status:
                                 SUITE 900                                                                    Docket Status:
                                 ROCKFORD, IL 61101-1137                                                      Late:

         Claim Date:             Amends Claim No:                                                             Duplicates Claim No:
         11/25/2009              Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                               Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                   $1,000,000.00
            Priority
               Total                                                   $1,000,000.00
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: COZEN O'CONNOR
                                                                                                              Last Date to File (govt):           04/06/10
                                 ATTN: TIA C GHATTAS
       Claim No: 489             222 S RIVERSIDE PLZ STE 1500                                                 Filing Status:
                                 CHICAGO, IL 60606-6000                                                       Docket Status:
                                                                                                              Late:

         Claim Date:             Amends Claim No:                                                             Duplicates Claim No:
         11/25/2009              Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                               Amount Claimed                                          Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                      $62,432.94                                                      $0.00
            Priority                                                                                                                      $0.00
               Total                                                      $62,432.94                                                      $0.00
Description:
Remarks:        Claim satisfied per Dkt 1096 filed 06.04.2010
                             Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12        Page 164 of 374


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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                             Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: SUSAN CATES
                                                                                                                Last Date to File (govt):           04/06/10
                                301 RUNYAN RD
       Claim No: 490            MARION, KY 42064-7108                                                           Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                            Duplicated By Claim No:
             Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                         $0.00                                                          $0.00
             Total                                                           $0.00 (Unliquidated)                                           $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: CHARLES WAGNER
                                                                                                                Last Date to File (govt):           04/06/10
                                2818 E 29TH ST
       Claim No: 491            ERIE, PA 16510-2828                                                             Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                            Duplicated By Claim No:
             Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                      Unknown                                                            $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                     Unknown                                                            $0.00
             Total                                                   Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: MELTON TURNER
                                                                                                                Last Date to File (govt):           04/06/10
                                9395 WILDMAN RD
       Claim No: 492            ERIE, PA 16510-5628                                                             Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                            Duplicated By Claim No:
             Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                      Unknown                                                            $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                     Unknown                                                            $0.00
             Total                                                   Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: JOVADE L ARMSTEAD WILSON
                                                                                                                 Last Date to File (govt):           04/06/10
                                 827 POWELL ST
       Claim No: 493             HENDERSON, KY 42420-3770                                                        Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                                                                                         $0.00
               Total                                                   Unliquidated                                                          $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                 Debtor Name:
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: CHRISTOPHER R BLAHA
                                                                                                                 Last Date to File (govt):           04/06/10
                                 1302 MAIN ST
       Claim No: 494             PO BOX 84                                                                       Filing Status:
                                 KELLNERSVILLE, WI 54215                                                         Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                         $291.78                                                         $0.00
            Priority                                                                                                                         $0.00
               Total                                                         $291.78                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: ARCH INSURANCE COMPANY
                                                                                                                 Last Date to File (govt):           04/06/10
                                 300 PLAZA THREE 3RD FL
       Claim No: 495             JERSEY CITY, NJ 07311-1107                                                      Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured                                                            $0.00                                                         $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                           $0.00                                                         $0.00
               Total                                                           $0.00 (Unliquidated)                                          $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Disallowed per Omni 2 Order - Duplicate Clms filed 4.13.10 (Dkt 992); survived by Clm #3
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: ENERGIS HIGH VOLTAGE RESOURCES, INC
                                                                                                            Last Date to File (govt):           04/06/10
                                1361 GLORY RD
       Claim No: 496            GREEN BAY, WI 54304-5640                                                    Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                      $9,996.25                                            $10,779.75
            Priority                                                      $1,158.50                                                     $0.00
               Total                                                     $11,154.75                                            $10,779.75
Description: Administrative - Please See Claim For Details.
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)

                                Debtor Name: Transportation Technologies Industries, Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: INDUSTRIAL REALTY PARTNERS LLC
                                                                                                            Last Date to File (govt):           04/06/10
                                ATTN: JOE HICKS
       Claim No: 497            5206 HARPETH RIDGE DR                                                       Filing Status:
                                BRENTWOOD, TN 37027-6542                                                    Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                                  Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: RYLEY CARLOCK & APPLEWHITE, P A
                                                                                                            Last Date to File (govt):           04/06/10
                                ATTN: NATHAN NIEMUTH
       Claim No: 498            1 N CENTRAL AVE STE 1200                                                    Filing Status:
                                PHOENIX, AZ 85004-4417                                                      Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                     $45,384.63
            Priority
               Total                                                     $45,384.63
Description:
Remarks:
                       Case 09-13449-BLS             Doc 1321-1              Filed 02/14/12   Page 167 of 374


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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: RYLEY CARLOCK & APPLEWHITE PA
                                                                                                   Last Date to File (govt):     04/06/10
                        ATTN: NATHAN NIEMUTH
       Claim No: 499    1 N CENTRAL AVE STE 1200                                                   Filing Status:
                        PHOENIX, AZ 85004-4417                                                     Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/25/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $7,400.30
            Priority
               Total                                             $7,400.30
Description:
Remarks:

                        Debtor Name: Accuride Corporation
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: RYLEY CARLOCK & APPLEWHITE PA
                                                                                                   Last Date to File (govt):     04/06/10
                        ATTN: NATHAN NIEMUTH
       Claim No: 500    1 N CENTRAL AVE STE 1200                                                   Filing Status:
                        PHOENIX, AZ 85004-4417                                                     Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/25/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                         $10,000.00
            Priority
               Total                                         $10,000.00
Description:
Remarks:

                        Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: KENERGY
                                                                                                   Last Date to File (govt):     04/06/10
                        PO BOX 18
       Claim No: 501    HENDERSON, KY 42419-0018                                                   Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/25/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                         $34,189.77
            Priority
               Total                                         $34,189.77
Description:
Remarks:
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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: TERENCE KABAT
                                                                                                              Last Date to File (govt):           04/06/10
                                 1120 JORDAN RD
       Claim No: 502             DE PERE, WI 54115-4001                                                       Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $5,570.20                                                     $0.00
            Priority                                                        $2,199.60                                                     $0.00
               Total                                                        $7,769.80                                                     $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010

                                 Debtor Name: Brillion Iron Works
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: INTL ASSOCIATION OF MACHINISTS AND
                                                                                                              Last Date to File (govt):           04/06/10
                                 AEROSPACE WORKERS DIST 10
       Claim No: 503             1650 S 38TH ST                                                               Filing Status:
                                 MILWAUKEE, WI 53216-1726                                                     Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $3,144.96                                                     $0.00
            Priority                                                        $1,680.00                                                     $0.00
               Total                                                        $4,824.96                                                     $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: WILLIAM SAENGER
                                                                                                              Last Date to File (govt):           04/06/10
                                 435 SUNRISE CIR
       Claim No: 504             BRILLION, WI 54110-1416                                                      Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $1,671.64                                                     $0.00
            Priority                                                        $1,090.20                                                     $0.00
               Total                                                        $2,761.84                                                     $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010
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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: THOMAS PETERS
                                                                                                              Last Date to File (govt):           04/06/10
                                 348 VALLEY VIEW DR
       Claim No: 505             BRILLION, WI 54110-1422                                                      Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $2,907.20                                                     $0.00
            Priority                                                        $1,896.00                                                     $0.00
               Total                                                        $4,803.20                                                     $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: RICHARD FREIMUTH
                                                                                                              Last Date to File (govt):           04/06/10
                                 22930 W HILLCREST RD
       Claim No: 506             BRILLION, WI 54110-9000                                                      Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $3,949.74                                                     $0.00
            Priority                                                        $1,692.26                                                     $0.00
               Total                                                        $5,642.00                                                     $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: STEVEN SMITH
                                                                                                              Last Date to File (govt):           04/06/10
                                 W277 E HILLS RD
       Claim No: 507             BRILLION, WI 54110-9449                                                      Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $5,478.38                                                     $0.00
            Priority                                                        $1,775.62                                                     $0.00
               Total                                                        $7,254.00                                                     $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010
                              Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12   Page 170 of 374


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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: RONALD SCHAEFER
                                                                                                              Last Date to File (govt):           04/06/10
                                 344 RIDGEWAY DR
       Claim No: 508             BRILLION, WI 54110-1615                                                      Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $4,841.00                                                     $0.00
            Priority                                                        $1,911.00                                                     $0.00
               Total                                                        $6,752.00                                                     $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: WILLIAM KONWAL
                                                                                                              Last Date to File (govt):           04/06/10
                                 432 ELM ST
       Claim No: 509             REEDSVILLE, WI 54230-9770                                                    Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $2,882.00                                                     $0.00
            Priority                                                        $1,501.00                                                     $0.00
               Total                                                        $4,383.00                                                     $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: MARK PETERS
                                                                                                              Last Date to File (govt):           04/06/10
                                 N8729 PETERS RD
       Claim No: 510             MENASHA, WI 54952-9616                                                       Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $3,054.46                                                     $0.00
            Priority                                                        $1,657.54                                                     $0.00
               Total                                                        $4,712.00                                                     $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010
                              Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12   Page 171 of 374


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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: JOHN SLOMA
                                                                                                              Last Date to File (govt):           04/06/10
                                 PO BOX 208
       Claim No: 511             503 PARK STR                                                                 Filing Status:
                                 REEDSVILLE, WI 54230-9757                                                    Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $3,173.16                                                     $0.00
            Priority                                                        $1,535.40                                                     $0.00
               Total                                                        $4,708.56                                                     $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: MICHAEL KREPLINE
                                                                                                              Last Date to File (govt):           04/06/10
                                 625 COLUMBUS AVE
       Claim No: 512             BRILLION, WI 54110-1004                                                      Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $3,956.07                                                     $0.00
            Priority                                                        $1,685.93                                                     $0.00
               Total                                                        $5,642.00                                                     $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: RANDALL ANHALT
                                                                                                              Last Date to File (govt):           04/06/10
                                 227 BIRCH LANE
       Claim No: 513             REEDSVILLE, WI 54230-8804                                                    Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $3,436.98                                                     $0.00
            Priority                                                        $2,008.02                                                     $0.00
               Total                                                        $5,445.00                                                     $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010
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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: ROBBY BEHNKE
                                                                                                                Last Date to File (govt):           04/06/10
                                 17815 TAUS RD
       Claim No: 514             REEDSVILLE, WI 54230-9042                                                      Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:              Amends Claim No:                                                               Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                Amount Claimed                                           Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                            $904.50                                                     $0.00
            Priority                                                        $1,510.50                                                       $0.00
               Total                                                        $2,415.00                                                       $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: BRIAN KUCHENBECKER
                                                                                                                Last Date to File (govt):           04/06/10
                                 999 NEUMEYER LN
       Claim No: 515             BRILLION, WI 54110-9313                                                        Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:              Amends Claim No:                                                               Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                Amount Claimed                                           Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                        $3,298.00                                                       $0.00
            Priority                                                        $1,502.00                                                       $0.00
               Total                                                        $4,800.00                                                       $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: DAVID GIESE
                                                                                                                Last Date to File (govt):           04/06/10
                                 N4742 MCHUGH RD
       Claim No: 516             CHILTON, WI 53014-9705                                                         Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:              Amends Claim No:                                                               Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                Amount Claimed                                           Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                        $2,459.07                                                       $0.00
            Priority                                                        $1,381.50                                                       $0.00
               Total                                                        $3,840.57                                                       $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010
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BNK01160                                                                                                                    10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: ROBERT SENGBUSCH
                                                                                                              Last Date to File (govt):           04/06/10
                                 W219 GRASSHOPPER RD
       Claim No: 517             BRILLION, WI 54110-9442                                                      Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $4,398.95                                                     $0.00
            Priority                                                        $1,571.05                                                     $0.00
               Total                                                        $5,970.00                                                     $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: ALLAN MUEHLBAUER
                                                                                                              Last Date to File (govt):           04/06/10
                                 236 E NATIONAL AVE
       Claim No: 518             BRILLION, WI 54110-1539                                                      Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $4,116.00                                                     $0.00
            Priority                                                        $1,200.00                                                     $0.00
               Total                                                        $5,316.00                                                     $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: PATRICK KREPLINE
                                                                                                              Last Date to File (govt):           04/06/10
                                 N8303 CTY TRK PP
       Claim No: 519             BRILLION, WI 54110                                                           Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $3,325.00                                                     $0.00
            Priority                                                        $1,500.00                                                     $0.00
               Total                                                        $4,825.00                                                     $0.00
Description:
Remarks:        Claim withdrawn per stipulation per Dkt 1096 filed 06.04.2010
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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Accuride Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: HANGLEY ARONCHICK SEGAL & PUDLIN
                                                                                                          Last Date to File (govt):     04/06/10
                               ATTN: N MENDLSOHN & M HANGLEY
       Claim No: 520           20 BRACE RD STE 201                                                        Filing Status:
                               CHERRY HILL, NJ 08034-2634                                                 Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                     $747.02
            Priority
               Total                                                     $747.02
Description:
Remarks:

                               Debtor Name: Accuride Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: HERITAGE CRYSTAL CLEAN LLC
                                                                                                          Last Date to File (govt):     04/06/10
                               C/O GARY M VANEK, ATTORNEY AT LAW
       Claim No: 521           1250 LARKIN AVE STE 100                                                    Filing Status:
                               ELGIN, IL 60123                                                            Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $1,945.04
            Priority
               Total                                                    $1,945.04
Description:
Remarks:

                               Debtor Name: Accuride Erie L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: JILCO PRECISION MOLD & MACHINE
                                                                                                          Last Date to File (govt):     04/06/10
                               807 BEATRICE DRIVE
       Claim No: 522           AKRON, OH 44310-2532                                                       Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $3,115.00
            Priority                                                    $5,346.30
               Total                                                    $8,461.30
Description: Administrative - Please See Claim For Details.
Remarks:
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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: JILCO PRECISION MOLD & MACHINE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 807 BEATRICE DRIVE
       Claim No: 523             AKRON, OH 04431-2532                                                             Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                        $674.25
            Priority
               Total                                                        $674.25
Description:
Remarks:

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: COLUMBIA PIPE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: JIM WELSER
       Claim No: 524             1803 MOEN AVE                                                                    Filing Status:
                                 ROCKDALE, IL 60436                                                               Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                     $39,959.64                                                  $17,969.59
            Priority                                                     $13,917.93                                                      $172.40
               Total                                                     $53,877.57                                                  $18,141.99
Description: Administrative - Please See Claim For Details.
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. & Recl. Clms filed 4.13.10 (Dkt 990)

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: EVANS TOOL & DIE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 157 N SALEM RD
       Claim No: 525             CONYERS, GA 30013-1554                                                           Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                       $5,650.53
            Priority
               Total                                                       $5,650.53
Description:
Remarks:
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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: BANCO INDUSTRIES
                                                                                                                  Last Date to File (govt):           04/06/10
                                 11542 NORTH STATE RD 3
       Claim No: 526             PO BOX 5191                                                                      Filing Status:
                                 KENDALLVILLE, IN 46755-5191                                                      Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         11/25/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                          $640.00
           Unsecured
            Priority
               Total                                                         $640.00
Description: Administrative - Please See Claim For Details.
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: DAY AUTO REPAIR LLC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 530 N MAIN ST
       Claim No: 527             BRILLION, WI 54110-1107                                                          Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         11/25/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                       $2,040.80
            Priority
               Total                                                       $2,040.80
Description:
Remarks:        Survives Claim #528

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: DAY AUTO REPAIR
                                                                                                                  Last Date to File (govt):           04/06/10
                                 530 N MAIN ST
       Claim No: 528             BRILLION, WI 54110-1107                                                          Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         11/25/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $2,040.80                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $2,040.80                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Surviving Claim #527
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                                         U.S. Bankruptcy Court - District of Delaware
                                                   Claims Register Report
                                                  09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                           Last Date to File Claims:     11/30/09
                                Creditor Name: SMITH & BUTTERFIELD
                                                                                                           Last Date to File (govt):     04/06/10
                                2800 LYNCH RD
       Claim No: 529            POBOX 3446                                                                 Filing Status:
                                EVANSVILLE, IN 47733-3446                                                  Docket Status:
                                                                                                           Late:

        Claim Date:             Amends Claim No:                                                           Duplicates Claim No:
        11/25/2009              Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                           Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                     $1,787.80
            Priority
               Total                                                     $1,787.80
Description:
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                           Last Date to File Claims:     11/30/09
                                Creditor Name: JOHN JOHANN
                                                                                                           Last Date to File (govt):     04/06/10
                                1014 E SYLVAN AVE
       Claim No: 530            APPLETON, WI 54915-2613                                                    Filing Status:
                                                                                                           Docket Status:
                                                                                                           Late:

        Claim Date:             Amends Claim No:                                                           Duplicates Claim No:
        11/25/2009              Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                           Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                 $41,544.45
            Priority
               Total                                                 $41,544.45
Description:
Remarks:        Survives Claim #583

                                Debtor Name: Accuride Corporation
                                                                                                           Last Date to File Claims:     11/30/09
                                Creditor Name: ABRAHAMSON, REED, & BILSE
                                                                                                           Last Date to File (govt):     04/06/10
                                200 RUSSELL ST
       Claim No: 531            HAMMOND, IN 46320-1815                                                     Filing Status:
                                                                                                           Docket Status:
                                                                                                           Late:

        Claim Date:             Amends Claim No:                                                           Duplicates Claim No:
        11/25/2009              Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                           Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                      $747.00
            Priority
               Total                                                      $747.00
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 178 of 374


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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: ELK GROVE RUBBER PLASTIC
                                                                                                               Last Date to File (govt):           04/06/10
                                 99 W COMMERCIAL AVE
       Claim No: 532             ADDISON, IL 60101-4501                                                        Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $2,940.00
            Priority
               Total                                                        $2,940.00
Description:
Remarks:

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: R&R ENGINEERING CO INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 801 S MAIN ST
       Claim No: 533             PO BOX 428                                                                    Filing Status:
                                 SUMMITVILLE, IN 46070-0428                                                    Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $2,911.76
            Priority
               Total                                                        $2,911.76
Description:
Remarks:

                                 Debtor Name:
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: BARNES INTERNATIONAL, INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 PO BOX 1203
       Claim No: 534             ROCKFORD, IL 61105-1203                                                       Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                        $5,988.00                                                      $0.00
            Priority                                                                                                                       $0.00
               Total                                                        $5,988.00                                                      $0.00
Description:
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                 09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: JH SAFE / LOCK & KEY
                                                                                                          Last Date to File (govt):     04/06/10
                                PO BOX 4682
       Claim No: 535            ROCKFORD, IL 61110-4682                                                   Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                          Amount Claimed                                           Amount Allowed
            Secured
           Unsecured
            Priority                                                     $136.15
               Total                                                     $136.15
Description:
Remarks:

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: WALTER DANCZAK
                                                                                                          Last Date to File (govt):     04/06/10
                                12549 S KEELER AVE
       Claim No: 536            ALSIP, IL 60803-1904                                                      Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                          Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                   $10,000.00
            Priority
               Total                                                   $10,000.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: DIANNE DANCZAK
                                                                                                          Last Date to File (govt):     04/06/10
                                12549 S KEELER AVE
       Claim No: 537            ALSIP, IL 60803-1904                                                      Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                          Amount Claimed                                           Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                                 Unliquidated
Description: Please see claim for detail.
Remarks:
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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Gunite Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: NEW CENTURY
                                                                                                          Last Date to File (govt):     04/06/10
                               10187 JACKSON RD
       Claim No: 538           OSCEOLA, IN 46561-9202                                                     Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $2,082.09
            Priority
               Total                                                    $2,082.09
Description:
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: CENTERLINE MACHINING
                                                                                                          Last Date to File (govt):     04/06/10
                               ATTN: GREG DIETZEN
       Claim No: 539           990 TONY CANADEO RUN                                                       Filing Status:
                               PO BOX 28465                                                               Docket Status:
                               GREEN BAY, WI 54324-0465                                                   Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                    $1,386.25
               Total                                                    $1,386.25
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Accuride EMI, LLC
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: J D CLARK ELECTRIC
                                                                                                          Last Date to File (govt):     04/06/10
                               C/O UNITED STATES DEBT RECOVERY III, LP
       Claim No: 540           940 SOUTHWOOD BI, SUITE 101                                                Filing Status:
                               INCLINE VILLAGE, NV 89451                                                  Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                     $684.77
            Priority
               Total                                                     $684.77
Description:
Remarks:
                            Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12   Page 181 of 374


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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: INGENUITY FIRST EAP
                                                                                                          Last Date to File (govt):     04/06/10
                               ATTN JESSE RICKERT
       Claim No: 541           444 N WESTHILL BLVD                                                        Filing Status:
                               APPLETON, WI 54914-5715                                                    Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $1,565.39
            Priority
               Total                                                    $1,565.39
Description:
Remarks:

                               Debtor Name:
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: CITY OF SPRINGFIELD OHIO
                                                                                                          Last Date to File (govt):     04/06/10
                               INCOME TAX DIVISION
       Claim No: 542           PO BOX 5200                                                                Filing Status:
                               SPRINGFIELD, OH 45501-5200                                                 Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                     $260.22
            Priority
               Total                                                     $260.22
Description:
Remarks:

                               Debtor Name: Accuride Erie L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: MOTION INDUSTRIES INC
                                                                                                          Last Date to File (govt):     04/06/10
                               C/O KIMBERLY J ROBINSON
       Claim No: 543           BARACK FERRAZZANO KIRSCHBAUM ET AL                                         Filing Status:
                               200 W MADISON ST STE 3900                                                  Docket Status:
                               CHICAGO, IL 60606                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $24,138.30
            Priority                                                   $11,973.53
               Total                                                   $36,111.83
Description: Administrative - Please See Claim For Details.
Remarks:
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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: MOTION INDUSTRIES INC
                                                                                                          Last Date to File (govt):     04/06/10
                               C/O KIMBERLY J ROBINSON
       Claim No: 544           BARACK FERRAZZANO KIRSCHBAUM ET AL                                         Filing Status:
                               200 W MADISON ST STE 3900                                                  Docket Status:
                               CHICAGO, IL 60606                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $30,926.60
            Priority                                                   $35,005.16
               Total                                                   $65,931.76
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Bostrom Seating, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: MOTION INDUSTRIES INC
                                                                                                          Last Date to File (govt):     04/06/10
                               C/O KIMBERLY J ROBINSON
       Claim No: 545           BARACK FERRAZZANO KIRSCHBAUM ET AL                                         Filing Status:
                               200 W MADISON ST STE 3900                                                  Docket Status:
                               CHICAGO, IL 60606                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                     $449.04
            Priority
               Total                                                     $449.04
Description:
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: MOTION INDUSTRIES INC
                                                                                                          Last Date to File (govt):     04/06/10
                               C/O KIMBERLY J ROBINSON
       Claim No: 546           BARACK FERRAZZANO KIRSCHBAUM ET AL                                         Filing Status:
                               200 W MADISON ST STE 3900                                                  Docket Status:
                               CHICAGO, IL 60606                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $18,539.35
            Priority                                                    $5,293.92
               Total                                                   $23,833.27
Description: Administrative - Please See Claim For Details.
Remarks:
                            Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12   Page 183 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Gunite Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: MOTION INDUSTRIES INC
                                                                                                          Last Date to File (govt):     04/06/10
                               C/O KIMBERLY J ROBINSON
       Claim No: 547           BARACK FERRAZZANO KIRSCHBAUM ET AL                                         Filing Status:
                               200 W MADISON ST STE 3900                                                  Docket Status:
                               CHICAGO, IL 60606                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                  $108,267.79
            Priority                                                   $52,398.31
               Total                                                  $160,666.10
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Imperial Group, L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: MOTION INDUSTRIES INC
                                                                                                          Last Date to File (govt):     04/06/10
                               C/O KIMBERLY J ROBINSON
       Claim No: 548           BARACK FERRAZZANO KIRSCHBAUM ET AL                                         Filing Status:
                               200 W MADISON ST STE 3900                                                  Docket Status:
                               CHICAGO, IL 60606                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $5,083.22
            Priority                                                    $1,349.72
               Total                                                    $6,432.94
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Gunite Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: FEDEX FREIGHT INC
                                                                                                          Last Date to File (govt):     04/06/10
                               PO BOX 840
       Claim No: 549           HARRISON, AR 72602-0840                                                    Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                     $154.68
            Priority
               Total                                                     $154.68
Description:
Remarks:
                       Case 09-13449-BLS             Doc 1321-1              Filed 02/14/12   Page 184 of 374


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BNK01160                                                                                                         10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Fabco Automotive Corporation
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: FEDEX FREIGHT INC
                                                                                                   Last Date to File (govt):     04/06/10
                        PO BOX 840
       Claim No: 550    HARRISON, AR 72602-0840                                                    Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/25/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $1,361.65
            Priority
               Total                                             $1,361.65
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: FEDEX FREIGHT INC
                                                                                                   Last Date to File (govt):     04/06/10
                        PO BOX 840
       Claim No: 551    HARRISON, AR 72502-0840                                                    Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/25/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $2,985.83
            Priority
               Total                                             $2,985.83
Description:
Remarks:

                        Debtor Name: Bostrom Seating, Inc.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: FEDEX FREIGHT INC
                                                                                                   Last Date to File (govt):     04/06/10
                        PO BOX 840
       Claim No: 552    HARRISON, AR 72602-0840                                                    Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/25/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                              $174.43
            Priority
               Total                                              $174.43
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 185 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Distributing, LLC
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: FEDEX FREIGHT INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 PO BOX 840
       Claim No: 553             HARRISON, AR 72602-0840                                                       Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                        $4,519.17                                                      $0.00
            Priority                                                                                                                       $0.00
               Total                                                        $4,519.17                                                      $0.00
Description:
Remarks:        Disallowed per Omni 4 Order - No Liability Claims - filed 4.13.10 (Dkt 991)

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: FEDEX FREIGHT INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 PO BOX 840
       Claim No: 554             HARRISON, AR 72602-0840                                                       Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $1,121.97
            Priority
               Total                                                        $1,121.97
Description:
Remarks:

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: FOX VALLEY TOOL & DIE
                                                                                                               Last Date to File (govt):           04/06/10
                                 2310 E MAIN ST - HWY 96
       Claim No: 555             PO BOX 380                                                                    Filing Status:
                                 ATTN: JULIE HERMSEN                                                           Docket Status:
                                 KAUKAUNA, WI 54130                                                            Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $3,212.50
            Priority
               Total                                                        $3,212.50
Description:
Remarks:
                            Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12   Page 186 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Accuride Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: SPIRIT SERVICES CO
                                                                                                          Last Date to File (govt):     04/06/10
                               PO BOX 28506
       Claim No: 556           COLUMBUS, OH 43228-0506                                                    Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $6,311.84
            Priority
               Total                                                    $6,311.84
Description:
Remarks:

                               Debtor Name: Gunite Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: CS AMERICAN LIFTING LLC
                                                                                                          Last Date to File (govt):     04/06/10
                               21825 DORAL RD
       Claim No: 557           WAUKESHA, WI 53186                                                         Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                     $346.97
            Priority
               Total                                                     $346.97
Description:
Remarks:

                               Debtor Name: Accuride Erie L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: GANZER EQUIPMENT COMPANY
                                                                                                          Last Date to File (govt):     04/06/10
                               5045 BUFFALO RD
       Claim No: 558           ERIE, PA 16510-2305                                                        Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/25/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $3,483.40
            Priority                                                     $238.50
               Total                                                    $3,721.90
Description: Administrative - Please See Claim For Details.
Remarks:
                             Case 09-13449-BLS                 Doc 1321-1           Filed 02/14/12   Page 187 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: GENERAL MOTORS LLC AND ITS AFFILIATES
                                                                                                          Last Date to File (govt):     04/06/10
                                AND SUBSIDIARIES, C/O FRANK L GORMAN ESQ
       Claim No: 559            HONIGMAN MILLER SCHWARTZ AND COHN LLP                                     Filing Status:
                                660 WOODWARD AVE STE 2290                                                 Docket Status:
                                DETROIT, MI 48226                                                         Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                                Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: L & M SHEET METAL CO
                                                                                                          Last Date to File (govt):     04/06/10
                                6727 ELM AVE
       Claim No: 560            ROCKFORD, IL 61111-3817                                                   Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $5,333.00
            Priority
               Total                                                    $5,333.00
Description:
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: MECS, INC
                                                                                                          Last Date to File (govt):     04/06/10
                                ATTN MICHAEL A FEUER, GENERAL COUNSEL
       Claim No: 561            14522 S OUTER FORTY DR                                                    Filing Status:
                                CHESTERFIELD, MI 63017                                                    Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                    $9,960.00
               Total                                                    $9,960.00
Description: Administrative - Please See Claim For Details.
Remarks:
                              Case 09-13449-BLS                     Doc 1321-1           Filed 02/14/12   Page 188 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                      09-13449 ACCURIDE CORPORATION, ET AL.
                                                                   Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Fabco Automotive Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: VECTOR TRUCK DESIGNS INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 ATTN: MARLIN TOEWS
       Claim No: 562             255 MAIL RD                                                                   Filing Status:
                                 KELOWNA BC V1V-2G6 CANADA                                                     Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/25/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                         $3,380.00
               Total                                                         $3,380.00
Description: Administrative - Please See Claim For Details.
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: PACCAR INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 C/O JEFFREY R FINE ESQ
       Claim No: 563             K&L GATES LLP                                                                 Filing Status:
                                 1717 MAIN ST STE 2800                                                         Docket Status:
                                 DALLAS, TX 75201                                                              Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/25/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                       $576,384.32
            Priority
               Total                                                       $576,384.32
Description:
Remarks:

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: THE HUNTINGTON NATIONAL BANK NA
                                                                                                               Last Date to File (govt):           04/06/10
                                 105 E 4TH ST STE 275
       Claim No: 564             CINCINNATI, OH 45202                                                          Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/25/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                  Amount Claimed                                        Amount Allowed
            Secured                                                        $259,323.25                                                     $0.00
           Unsecured                                                             $0.00                                                     $0.00
            Priority                                                         $7,031.48                                                     $0.00
               Total                                                       $266,354.73 (Unliquidated)                                      $0.00
Description: Please see claim for detail.
Remarks:        Claim withdrawn per letter dated April 14, 2010.
                             Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12        Page 189 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Transportation Technologies Industries, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: VERICLAIM INC.
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: ROBERT B. HAAS
       Claim No: 565             1833 CENTRE POINT CIR., STE. 139                                                 Filing Status:
                                 NAPERVILLE, IL 60563-4976                                                        Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                                   Unliquidated
Description: Please see claim for detail.
Remarks:

                                 Debtor Name: Imperial Group, L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: SOUTHERN FASTENING SYSTEMS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 650 SANDEN BLVD
       Claim No: 566             WYLIE, TX 75098-4922                                                             Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                        $208.00
            Priority
               Total                                                        $208.00
Description:
Remarks:

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: CERAMTEC NORTH AMERICA CORPORATION
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: KELLY DELP, CUSTOMER SERVICE
       Claim No: 567             1 TECHNOLOGY PL                                                                  Filing Status:
                                 LAURENS, SC 29360-1669                                                           Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                     $21,230.82                                                  $18,403.63
            Priority                                                     $10,935.09                                                           $0.00
               Total                                                     $32,165.91                                                  $18,403.63
Description: Administrative - Please See Claim For Details.
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. & Recl. Clms filed 4.13.10 (Dkt 990)
                             Case 09-13449-BLS               Doc 1321-1             Filed 02/14/12   Page 190 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                 09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: MICHAEL MILLS
                                                                                                          Last Date to File (govt):     04/06/10
                                722 E 2ND ST
       Claim No: 568            DIXON, IL 61021-3204                                                      Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                          Amount Claimed                                           Amount Allowed
            Secured
           Unsecured
            Priority                                                    Unknown
               Total                                                 Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: PACCAR INC
                                                                                                          Last Date to File (govt):     04/06/10
                                C/O JEFFREY R FINE ESQ
       Claim No: 569            K&L GATES LLP                                                             Filing Status:
                                1717 MAIN ST STE 2800                                                     Docket Status:
                                DALLAS, TX 75201                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                          Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                   $72,004.68
            Priority
               Total                                                   $72,004.68
Description:
Remarks:

                                Debtor Name: Imperial Group, L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: BODYCOTE THERMAL PROCESSING
                                                                                                          Last Date to File (govt):     04/06/10
                                ATTN: KATHY DONAHOE
       Claim No: 570            12700 PARK CENTRAL DR STE 700                                             Filing Status:
                                DALLAS, TX 75251-1518                                                     Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/25/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                          Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                     $492.50
            Priority
               Total                                                     $492.50
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 191 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: PACCAR INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 C/O JEFFREY R FINE ESQ
       Claim No: 571             K&L GATES LLP                                                                 Filing Status:
                                 1717 MAIN ST STE 2800                                                         Docket Status:
                                 DALLAS, TX 75201                                                              Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                      $554,235.72
            Priority
               Total                                                      $554,235.72
Description:
Remarks:

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: RONTEX AMERICA INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 1 CALDWELL DR
       Claim No: 572             AMHERST, NH 03031-2310                                                        Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $2,570.43
            Priority
               Total                                                        $2,570.43
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: SPRAYLAT CORPORATION
                                                                                                               Last Date to File (govt):           04/06/10
                                 NORTH INTERSTATE 35 NO 3333
       Claim No: 573             GAINESVILLE, TX 76240                                                         Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                        $4,600.00                                                      $0.00
            Priority                                                                                                                       $0.00
               Total                                                        $4,600.00                                                      $0.00
Description:
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12        Page 192 of 374


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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group, L.P.
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: PACCAR INC
                                                                                                                 Last Date to File (govt):           04/06/10
                                C/O JEFFREY R FINE ESQ
       Claim No: 574            K&L GATES LLP                                                                    Filing Status:
                                1717 MAIN ST STE 2800                                                            Docket Status:
                                DALLAS, TX 75201                                                                 Late:

        Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
        11/25/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                    $161,383.18
            Priority
               Total                                                    $161,383.18
Description:
Remarks:

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: ALABAMA POWER COMPANY
                                                                                                                 Last Date to File (govt):           04/06/10
                                ATTN: ERIC T RAY
       Claim No: 575            BALCH & BINGHAM LLP                                                              Filing Status:
                                PO BOX 306                                                                       Docket Status:
                                BIRMINGHAM, AL 35201                                                             Late:

        Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
        11/25/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                     $58,154.97
            Priority                                                          $0.00
               Total                                                     $58,154.97
Description:
Remarks:

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: BROWN, DOROTHY
                                                                                                                 Last Date to File (govt):           04/06/10
                                C/O MIKE ROBERTS OR JASON KNOWLES
       Claim No: 576            153 S 9TH ST                                                                     Filing Status:
                                GADSDEN, AL 35901                                                                Docket Status:
                                                                                                                 Late:

        Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
        11/25/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                    $150,000.00                                                          $0.00
            Priority                                                                                                                         $0.00
               Total                                                    $150,000.00                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
                            Case 09-13449-BLS                   Doc 1321-1              Filed 02/14/12   Page 193 of 374


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BNK01160                                                                                                                    10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                              Last Date to File Claims:     11/30/09
                                Creditor Name: INTERNATIONAL UNION UAW
                                                                                                              Last Date to File (govt):     04/06/10
                                ATTN NIRAJ R GANATRA
       Claim No: 577            8000 EAST JEFFERSON AVE                                                       Filing Status:
                                DETROIT, MI 48214                                                             Docket Status:
                                                                                                              Late:

         Claim Date:           Amends Claim No:                                                               Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                           Duplicated By Claim No:
             Class                                                Amount Claimed                                           Amount Allowed
            Secured
           Unsecured
            Priority                                                      $228,141.24
             Total                                                        $228,141.24 (Unliquidated)
Description: Administrative - Please See Claim For Details.
Remarks:       Objection adjourned per Omni 3 Order (Dkt 990) 04.13.10.

                                Debtor Name: Accuride Erie L.P.
                                                                                                              Last Date to File Claims:     11/30/09
                                Creditor Name: INTERNATIONAL UNION UAW
                                                                                                              Last Date to File (govt):     04/06/10
                                ATTN NIRAJ G GANATRA
       Claim No: 578            8000 EAST JEFFERSON AVE                                                       Filing Status:
                                DETROIT, MI 48214                                                             Docket Status:
                                                                                                              Late:

         Claim Date:           Amends Claim No:                                                               Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                           Duplicated By Claim No:
             Class                                                Amount Claimed                                           Amount Allowed
            Secured
           Unsecured
            Priority                                                      $152,000.00
             Total                                                        $152,000.00 (Unliquidated)
Description: Administrative - Please See Claim For Details.
Remarks:       Objection adjourned per Omni 3 Order (Dkt 990) 04.13.10.

                                Debtor Name: Gunite Corporation
                                                                                                              Last Date to File Claims:     11/30/09
                                Creditor Name: INTERNATIONAL UNION UAW
                                                                                                              Last Date to File (govt):     04/06/10
                                ATTN NIRAJ R GANATRA
       Claim No: 579            8000 EAST JEFFERSON AVE                                                       Filing Status:
                                DETROIT, MI 48214                                                             Docket Status:
                                                                                                              Late:

         Claim Date:           Amends Claim No:                                                               Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                           Duplicated By Claim No:
             Class                                                Amount Claimed                                           Amount Allowed
            Secured
           Unsecured
            Priority                                                       $76,141.24
             Total                                                         $76,141.24 (Unliquidated)
Description: Administrative - Please See Claim For Details.
Remarks:
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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: INTERNATIONAL UNION UAW
                                                                                                          Last Date to File (govt):     04/06/10
                               ATTN NIRAJ R GANATRA
       Claim No: 580           8000 EAST JEFFERSON AVE                                                    Filing Status:
                               DETROIT, MI 48214                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                        $0.00
               Total                                                        $0.00 (Unliquidated)
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Imperial Group Holding Corp. - 1
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: AIRGAS - CHEHALIS
                                                                                                          Last Date to File (govt):     04/06/10
                               615 W MAIN
       Claim No: 581           CHEHALIS, WA 98532-1510                                                    Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $15,173.90
            Priority
               Total                                                   $15,173.90
Description:
Remarks:

                               Debtor Name:
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: STANDARD JIG BORING SERVICE
                                                                                                          Last Date to File (govt):     04/06/10
                               35 BLACKJACK RD EXT
       Claim No: 582           MOUNT VERNON, OH 43050                                                     Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                     $900.00
            Priority
               Total                                                     $900.00
Description:
Remarks:
                              Case 09-13449-BLS                  Doc 1321-1             Filed 02/14/12       Page 195 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: JOHN JOHANN
                                                                                                                  Last Date to File (govt):           04/06/10
                                 1014 E SYLVAN AVE
       Claim No: 583             APPLETON, WI 54915                                                               Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                   Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Surviving Claim #530

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: VERSEVO INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 1055 COTTONWOOD AVE STE 400
       Claim No: 584             HARTLAND, WI 53029-8309                                                          Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                      $20,388.13
            Priority
               Total                                                      $20,388.13
Description:
Remarks:

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: VESUVIUS USA CORPORATION
                                                                                                                  Last Date to File (govt):           04/06/10
                                 FOSECO DIVISION
       Claim No: 585             ATTN STEVEN DEL COTTO                                                            Filing Status:
                                 250 PARK WEST DRIVE                                                              Docket Status:
                                 PITTSBURGH, PA 15275                                                             Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                      $16,007.46                                                   $5,094.00
            Priority                                                      $79,074.96                                                          $0.00
               Total                                                      $95,082.42                                                   $5,094.00
Description: Administrative - Please See Claim For Details.
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)
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BNK01160                                                                                                                    10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: EARNEST DWAYNE BLANKENSHIP
                                                                                                              Last Date to File (govt):           04/06/10
                                 649 6TH ST NE
       Claim No: 586             PULASKI, VA 24301-4817                                                       Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

         Claim Date:            Amends Claim No:                                                              Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                               Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                           $24.66
            Priority
               Total                                                           $24.66
Description:
Remarks:

                                 Debtor Name: Bostrom Holdings, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: GRAHAM, MARK
                                                                                                              Last Date to File (govt):           04/06/10
                                 WENDLER LAW P C
       Claim No: 587             900 HILLSBORO                                                                Filing Status:
                                 SUITE 10                                                                     Docket Status:
                                 EDWARDSVILLE, IL 62025-1202                                                  Late:

         Claim Date:            Amends Claim No:                                                              Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                               Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                  $2,000,000.00
            Priority
               Total                                                  $2,000,000.00
Description:
Remarks:        Survives Claim #588.

                                 Debtor Name: Bostrom Holdings, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: WENDLER LAW, P C
                                                                                                              Last Date to File (govt):           04/06/10
                                 ATTN: B WENDLER
       Claim No: 588             900 HILLSBORO AVE STE 10                                                     Filing Status:
                                 EDWARDSVILLE, IL 62025-1202                                                  Docket Status:
                                                                                                              Late:

         Claim Date:            Amends Claim No:                                                              Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                               Amount Claimed                                          Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                  $1,000,000.00                                                       $0.00
            Priority                                                                                                                      $0.00
               Total                                                  $1,000,000.00 (Unliquidated)                                        $0.00
Description: Please see claim for detail.
Remarks:        Claim exp per order 5/12/10 (Dkt 1069); Surviving Claim #587
                              Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 197 of 374


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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: ELIO ENGINEERING INC.
                                                                                                               Last Date to File (govt):           04/06/10
                                 DBA ESG ENGINEERING
       Claim No: 589             2130 S. INDUSTRIAL PARK AVE. 2ND FL                                           Filing Status:
                                 TEMPE, AZ 85282-1920                                                          Docket Status:
                                                                                                               Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/27/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                      $133,322.53                                                      $0.00
            Priority                                                                                                                       $0.00
               Total                                                      $133,322.53                                                      $0.00
Description:
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)

                                 Debtor Name: Accuride Erie L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: D&R INDUSTRIES INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 C/O TR CAPITAL, LLC
       Claim No: 590             ATTN: TERREL ROSS                                                             Filing Status:
                                 265 SUNRISE HIGHWAY, SUITE 42                                                 Docket Status:
                                 ROCKVILLE CENTRE, NY 11570                                                    Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/27/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                       $62,519.00
            Priority
               Total                                                       $62,519.00
Description:
Remarks:

                                 Debtor Name: ACCURIDE CORPORATION AND SUPPLYONE WEYERS CAVE INC
                                                                                                Last Date to File Claims:                          11/30/09
                                 Creditor Name: AIG LIFE INS CO ET AL
                                                                                                Last Date to File (govt):                          04/06/10
                                 CHARTIS US
       Claim No: 591             MICHELLE A LEVITT                                              Filing Status:
                                 175 WATER STREET 18TH FLOOR                                    Docket Status:
                                 NEW YORK, NY 10038                                             Late:

         Claim Date:             Amends Claim No:                                                              Duplicates Claim No:
         11/27/2009              Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                             $0.00
           Unsecured
            Priority
               Total                                                            $0.00 (Unliquidated)
Description: Administrative - Please See Claim For Details.
Remarks:        Survives Duplicate Claim #'s 592-611 pursuant to Omni Order 2 filed 4.13.10 (Dkt 992)
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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INS CO ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 592           MICHELLE A LEVITT                                                                     Filing Status:
                               175 WATER STREET 18TH FL                                                              Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591

                                Debtor Name: Accuride Distributing, LLC
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INS CO ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 593           MICHELLE A LEVITT                                                                     Filing Status:
                               175 WATER STREET, 18TH FL                                                             Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591

                                Debtor Name: AKW General Partner L.L.C.
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INSURANCE CO ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 594           MICHELLE A LEVITT                                                                     Filing Status:
                               175 WATER STREET 18TH FL                                                              Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591
                            Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12            Page 199 of 374


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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INSURANCE COMPANY ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 595           ATTN MICHELLE A LEVITT AUTHORIZED REP                                                 Filing Status:
                               175 WATER ST 18TH FLOOR                                                               Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591

                                Debtor Name: Accuride Erie L.P.
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INSURANCE COMPANY ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 596           ATTN MICHELLE A LEVITT AUTHORIZED REP                                                 Filing Status:
                               175 WATER ST 18TH FLOOR                                                               Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591

                                Debtor Name: Accuride EMI, LLC
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INSURANCE COMPANY ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 597           ATTN MICHELLE A LEVITT AUTHORIZED REP                                                 Filing Status:
                               175 WATER ST 18TH FLOOR                                                               Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591
                            Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12            Page 200 of 374


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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: AOT Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INSURANCE COMPANY ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 598           ATTN MICHELLE A LEVITT AUTHORIZED REP                                                 Filing Status:
                               175 WATER ST 18TH FLOOR                                                               Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591

                                Debtor Name: Bostrom Holdings, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INSURANCE COMPANY ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 599           ATTN MICHELLE A LEVITT AUTHORIZED REP                                                 Filing Status:
                               175 WATER ST 18TH FLOOR                                                               Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591

                                Debtor Name: Bostrom Specialty Seating, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INSURANCE CO ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 600           MICHELLE A LEVITT                                                                     Filing Status:
                               175 WATER STREET 18TH FLOOR                                                           Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591
                            Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12            Page 201 of 374


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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Bostrom Seating, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INSURANCE CO ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 601           MICHELLE A LEVITT AUTHORIZED REP                                                      Filing Status:
                               175 WATER STREET 18TH FLOOR                                                           Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591

                                Debtor Name: Truck Components, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INSURANCE CO ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 602           MICHELLE A LEVITT AUTHORIZED REP                                                      Filing Status:
                               175 WATER STREET 18TH FLOOR                                                           Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591

                                Debtor Name: Transportation Technologies Industries, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INSURANCE COMPANY
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 603           MICHELLE A LEVITT AUTHORIZED REP                                                      Filing Status:
                               175 WATER STREE 18TH FLOOR                                                            Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591
                            Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12            Page 202 of 374


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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: JAII Management Company
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INSURANCE COMPANY ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 604           MICHELLE A LEVITT AUTHORIZED REP                                                      Filing Status:
                               175 WATER STREET 18TH FLOOR                                                           Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591

                                Debtor Name: Imperial Group, L.P.
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INS CO ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               C/O CHARTIS US
       Claim No: 605           ATTN MICHELLE A LEVITT                                                                Filing Status:
                               175 WATER STREET 18TH FL                                                              Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591

                                Debtor Name: Imperial Group Holding Corp. - 2
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INS CO ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS INC
       Claim No: 606           ATTN: MICHELLE A LEVITT                                                               Filing Status:
                               175 WATER ST 18TH FL                                                                  Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591
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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group Holding Corp. - 1
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INS CO ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 607           ATTN: MICHELLE A LEVITT                                                               Filing Status:
                               175 WATER ST 18TH FL                                                                  Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591

                                Debtor Name: Gunite Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INS CO ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 608           ATTN: MICHELLE A LEVITT                                                               Filing Status:
                               175 WATER ST 18TH FL                                                                  Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591

                                Debtor Name: Fabco Automotive Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INS CO ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 609           ATTN: MICHELLE A LEVITT                                                               Filing Status:
                               175 WATER ST 18TH FL                                                                  Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591
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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Erie Land Holding, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INS CO ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 610           MICHELLE A LEVITT                                                                     Filing Status:
                               175 WATER STREET 18TH FL                                                              Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: AIG LIFE INSURANCE CO ET AL
                                                                                                                     Last Date to File (govt):           04/06/10
                               CHARTIS US
       Claim No: 611           ATTN MICHELLE A LEVITT                                                                Filing Status:
                               175 WATER STREET 18TH FLOOR                                                           Docket Status:
                               NEW YORK, NY 10038                                                                    Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                          $0.00                                                               $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                           $0.00 (Unliquidated)                                                $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Disallowed per Omni 2 Order - Cross Debtor Dupl Clms filed 4.13.10 (Dkt 992); survived by Clm #591

                                Debtor Name: Gunite Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                               Creditor Name: MECHANICAL FIRE & ICE
                                                                                                                     Last Date to File (govt):           04/06/10
                               334 LAUREL ST
       Claim No: 612           MISHAWAKA, IN 46544-2218                                                              Filing Status:
                                                                                                                     Docket Status:
                                                                                                                     Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured
           Unsecured                                                     $1,230.22
            Priority
             Total                                                       $1,230.22
Description: Administrative - Please See Claim For Details.
Remarks:
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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name:
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: MCMAHON ASSOCIATES INC
                                                                                                                     Last Date to File (govt):           04/06/10
                                PO BOX 1025
       Claim No: 613            NEENAH, WI 54957-1025                                                                Filing Status:
                                                                                                                     Docket Status:
                                                                                                                     Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured
           Unsecured                                                       $861.34
            Priority                                                       $710.50
             Total                                                        $1,571.84
Description: Administrative - Please See Claim For Details.
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 614            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 615            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)
                            Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12            Page 206 of 374


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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 616            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 617            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 618            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)
                            Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12            Page 207 of 374


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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 619            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 620            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 621            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)
                            Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12            Page 208 of 374


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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 622            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 623            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 624            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)
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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 625            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN JENNIFER TONTZ ATTORNEY
       Claim No: 626            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN JENNIFER M TONTZ ATTORNEY
       Claim No: 627            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Please see claim for detail.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)
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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN JENNIFER M TONTZ ATTORNEY
       Claim No: 628            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                    Unliquidated                                                               $0.00
Description: Please see claim for detail.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN JENNIFER M TONTZ ATTORNEY
       Claim No: 629            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                    Unliquidated                                                               $0.00
Description: Please see claim for detail.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN JENNIFER M TONTZ ATTORNEY
       Claim No: 630            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                    Unliquidated                                                               $0.00
Description: Please see claim for detail.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)
                             Case 09-13449-BLS                  Doc 1321-1            Filed 02/14/12            Page 211 of 374


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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER M TONTZ, ATTORNEY
       Claim No: 631            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Please see claim for detail.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER M TONTZ, ATTORNEY
       Claim No: 632            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                                                                                             $0.00
             Total                                                    Unliquidated                                                               $0.00
Description: Please see claim for detail.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 633            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:            Amends Claim No:                                                                     Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                 Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)
                            Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12            Page 212 of 374


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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 634            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 635            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                     Last Date to File (govt):           04/06/10
                                ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 636            OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                1200 K STREET NW SUITE 340                                                           Docket Status:
                                WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:           Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                                                                                             $0.00
            Priority                                                          $0.00                                                              $0.00
             Total                                                            $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)
                             Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12            Page 213 of 374


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BNK01160                                                                                                                            10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                 Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                      Last Date to File (govt):           04/06/10
                                 ATTN: JENNIFER TONTZ, ATTORNEY
       Claim No: 637             OFFICE OF THE CHIEF COUNSEL                                                          Filing Status:
                                 1200 K STREET NW SUITE 340                                                           Docket Status:
                                 WASHINGTON, DC 20005-4026                                                            Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
               Class                                               Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                           $0.00                                                              $0.00
               Total                                                           $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Amd & repl by Claims 863-868; per Ord filed 11.20.09 (Dkt 258) & Omni 1 Order fld 4.13.10 (Dkt 989)

                                 Debtor Name: Gunite Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                 Creditor Name: FREE FLOW TECHNOLOGIES, LTD
                                                                                                                      Last Date to File (govt):           04/06/10
                                 C/O HOLSTROM & KENNEDY, PC
       Claim No: 638             ATTN: BRADLEY T KOCH                                                                 Filing Status:
                                 800 NORTH CHURCH ST                                                                  Docket Status:
                                 ROCKFORD, IL 61103                                                                   Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
               Class                                               Amount Claimed                                                  Amount Allowed
            Secured
           Unsecured                                                       $9,331.30
            Priority
               Total                                                       $9,331.30
Description:
Remarks:

                                 Debtor Name: Gunite Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                 Creditor Name: ROCK RIVER DISPOSAL SERVICES INC
                                                                                                                      Last Date to File (govt):           04/06/10
                                 C/O HOLMSTROM & KENNEDY PC
       Claim No: 639             ATTN: BRADLEY T KOCH                                                                 Filing Status:
                                 800 NORTH CHURCH ST                                                                  Docket Status:
                                 ROCKFORD, IL 61103                                                                   Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
               Class                                               Amount Claimed                                                  Amount Allowed
            Secured
           Unsecured                                                     $12,996.35
            Priority
               Total                                                     $12,996.35
Description:
Remarks:
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BNK01160                                                                                                   10-Feb-12       1:04 PM
                                U.S. Bankruptcy Court - District of Delaware
                                          Claims Register Report
                                        09-13449 ACCURIDE CORPORATION, ET AL.
                                                 Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Gunite Corporation
                                                                                             Last Date to File Claims:     11/30/09
                        Creditor Name: WILLIAM CHARLES ENVIRONMENTAL SVCS, LLC
                                                                                             Last Date to File (govt):     04/06/10
                        C/O HOLSTROM & KENNEDY PC
       Claim No: 640    ATTN: BRADLEY T KOCH                                                 Filing Status:
                        800 NORTH CHURCH ST                                                  Docket Status:
                        ROCKFORD, IL 61103                                                   Late:

        Claim Date:     Amends Claim No:                                                     Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                 Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                        $504.00
            Priority
               Total                                        $504.00
Description:
Remarks:

                        Debtor Name: Gunite Corporation
                                                                                             Last Date to File Claims:     11/30/09
                        Creditor Name: WINNEBAGO LANDFILL COMPANY, LLC
                                                                                             Last Date to File (govt):     04/06/10
                        A/K/A WINNEBAGO RECLAMATION SERVICES
       Claim No: 641    C/O HOLMSTROM & KENNEDY, BRADLEY T KOCH                              Filing Status:
                        800 N CHURCH ST                                                      Docket Status:
                        ROCKFORD, IL 61103                                                   Late:

        Claim Date:     Amends Claim No:                                                     Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                 Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                      $30,592.84
            Priority
               Total                                      $30,592.84
Description:
Remarks:

                        Debtor Name:
                                                                                             Last Date to File Claims:     11/30/09
                        Creditor Name: PRECISION GAGE COMPANY INC
                                                                                             Last Date to File (govt):     04/06/10
                        100 SHORE DR
       Claim No: 642    BURR RIDGE, IL 60527-5819                                            Filing Status:
                                                                                             Docket Status:
                                                                                             Late:

        Claim Date:     Amends Claim No:                                                     Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                 Duplicated By Claim No:
               Class                                 Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                      $16,665.00
            Priority
               Total                                      $16,665.00
Description:
Remarks:
                              Case 09-13449-BLS                  Doc 1321-1             Filed 02/14/12       Page 215 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: ROCKFORD-ETTCO-PROCUNIER
                                                                                                                  Last Date to File (govt):           04/06/10
                                 C/O TR CAPITAL, LLC
       Claim No: 643             ATTN: TERREL ROSS                                                                Filing Status:
                                 265 SUNRISE HIGHWAY, SUITE 42                                                    Docket Status:
                                 ROCKVILLE CENTRE, NY 11570                                                       Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        11/27/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                      $10,614.00                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                      $10,614.00                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Surviving Claim #644

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: ROCKFORD-ETTCO-PROCUNIER
                                                                                                                  Last Date to File (govt):           04/06/10
                                 c/o TR CAPITAL, LLC
       Claim No: 644             ATTN: TERREL ROSS                                                                Filing Status:
                                 265 SUNRISE HIGHWAY, SUITE 42                                                    Docket Status:
                                 ROCKVILLE CENTRE, NY 11570                                                       Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        11/27/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                      $10,614.00
            Priority
               Total                                                      $10,614.00
Description:
Remarks:        Survives Claim #643

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: CINTAS CORP #446
                                                                                                                  Last Date to File (govt):           04/06/10
                                 5100 26TH AVE
       Claim No: 645             ROCKFORD, IL 61109-1706                                                          Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        11/27/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                      $11,008.20
            Priority
               Total                                                      $11,008.20
Description:
Remarks:
                             Case 09-13449-BLS                Doc 1321-1           Filed 02/14/12   Page 216 of 374


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BNK01160                                                                                                               10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                  09-13449 ACCURIDE CORPORATION, ET AL.
                                                            Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Transportation Technologies Industries, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: RONALD PONCHEK
                                                                                                         Last Date to File (govt):     04/06/10
                                329 HANNAH AVE
       Claim No: 646            JOHNSTOWN, PA 15909-1241                                                 Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:            Amends Claim No:                                                         Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                            Amount Claimed                                        Amount Allowed
            Secured                                                   $80,210.00
           Unsecured
            Priority
               Total                                                  $80,210.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Imperial Group, L.P.
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: DYNAMIC SECURITY INC
                                                                                                         Last Date to File (govt):     04/06/10
                                PO BOX 830810
       Claim No: 647            BIRMINGHAM, AL 35283-0810                                                Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:            Amends Claim No:                                                         Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                            Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                  $11,271.20
            Priority
               Total                                                  $11,271.20
Description:
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: PIONEER METAL FINISHING LLC
                                                                                                         Last Date to File (govt):     04/06/10
                                PO BOX 28440
       Claim No: 648            GREEN BAY, WI 54324-0440                                                 Filing Status:
                                                                                                         Docket Status:
                                                                                                         Late:

         Claim Date:            Amends Claim No:                                                         Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                            Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                  $12,598.19
            Priority
               Total                                                  $12,598.19
Description:
Remarks:
                       Case 09-13449-BLS             Doc 1321-1              Filed 02/14/12   Page 217 of 374


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BNK01160                                                                                                         10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: BEST ENGINEERING LLC
                                                                                                   Last Date to File (govt):     04/06/10
                        C/O FAIR HARBOR CAPITAL, LLC
       Claim No: 649    ANSONIA FINANCE STATION                                                    Filing Status:
                        PO BOX 237037                                                              Docket Status:
                        NEW YORK, NY 10023                                                         Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                              $854.25
            Priority
               Total                                              $854.25
Description:
Remarks:

                        Debtor Name:
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: TRANSCORE 3801
                                                                                                   Last Date to File (govt):     04/06/10
                        C/O UNITED STATES DEBT RECOVERY III, LP
       Claim No: 650    940 SOUTHWOOD BI, SUITE 101                                                Filing Status:
                        INCLINE VILLAGE, NV 89451                                                  Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                              $193.00
            Priority
               Total                                              $193.00
Description:
Remarks:

                        Debtor Name: Gunite Corporation
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: LIEBOVICH BROS
                                                                                                   Last Date to File (govt):     04/06/10
                        C/O ASM CAPITAL LP
       Claim No: 651    7600 JERICHO TURNPIKE                                                      Filing Status:
                        SUITE 302                                                                  Docket Status:
                        WOODBURY, NY 11797                                                         Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $3,776.66
            Priority
               Total                                             $3,776.66
Description:
Remarks:
                              Case 09-13449-BLS                     Doc 1321-1           Filed 02/14/12   Page 218 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                      09-13449 ACCURIDE CORPORATION, ET AL.
                                                                   Judge Hon. Brendan Linehan Shannon
                                  Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                  Creditor Name: GORDON ROWE AS BANKRUPTCY TRUSTEE FOR
                                                                                                               Last Date to File (govt):           04/06/10
                                  c/o OAK POINT PARTNERS, INC.
       Claim No: 652              ATTN JANICE A. ALWIN                                                         Filing Status:
                                  PO BOX 8338                                                                  Docket Status:
                                  ROLLING MEADOWS, IL 60008                                                    Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/27/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                  Amount Claimed                                        Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                        $24,042.97                                                     $0.00
            Priority                                                                                                                       $0.00
               Total                                                        $24,042.97                                                     $0.00
Description:
Remarks:        Stipulated as paid per Dkt #1174 filed 11/15/10.

                                  Debtor Name: Gunite Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                  Creditor Name: DIVERSIFIED SERVICES FOR INDUSTRY
                                                                                                               Last Date to File (govt):           04/06/10
                                  ATTN ANGELA BROCK, IN-HOUSE COUNSEL
       Claim No: 653              C/O VONACHEN SERVICES INC                                                    Filing Status:
                                  8900 N PIONEER RD                                                            Docket Status:
                                  PEORIA, IL 61615-1522                                                        Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/27/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                        $13,198.00
            Priority
               Total                                                        $13,198.00
Description:
Remarks:

                                  Debtor Name: Imperial Group, L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                  Creditor Name: REINERT PAPER
                                                                                                               Last Date to File (govt):           04/06/10
                                  1431 COMMERCE BLVD
       Claim No: 654              DENNISON, TX 75020-1979                                                      Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/27/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                          $460.45
            Priority
               Total                                                          $460.45
Description:
Remarks:
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BNK01160                                                                                                         10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Accuride Corporation
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: SMITHERS SCIENTIFIC SERV
                                                                                                   Last Date to File (govt):     04/06/10
                        PO BOX 76172
       Claim No: 655    CLEVELAND, OH 44101-4755                                                   Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                              $460.00
            Priority
               Total                                              $460.00
Description:
Remarks:

                        Debtor Name: Accuride Corporation
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: JOSEPH R SCHAEFER
                                                                                                   Last Date to File (govt):     04/06/10
                        N5076 LEMKE RD
       Claim No: 656    CHILTON, WI 53014                                                          Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $1,457.00
            Priority
               Total                                             $1,457.00
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: SENTINEL FLUID CONTROLS
                                                                                                   Last Date to File (govt):     04/06/10
                        5702 OPPORTUNITY DR
       Claim No: 657    TOLEDO, OH 43612                                                           Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $3,941.03
            Priority
               Total                                             $3,941.03
Description:
Remarks:
                             Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12        Page 220 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: SWEDISH STEEL INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 WEST POINTE CORPORATE CNT ONE
       Claim No: 658             1550 CORAOPOLIS HGT RD #430                                                      Filing Status:
                                 MOON TOWNSHIP, PA 15108-2973                                                     Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                     $19,237.91
            Priority
               Total                                                     $19,237.91
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: HEWITT ASSOCIATES LLC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: GENERAL COUNSEL
       Claim No: 659             100 HALF DAY RD                                                                  Filing Status:
                                 LINCONSHIRE, IL 60069                                                            Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                     $87,368.00                                                  $23,757.00
            Priority                                                                                                                          $0.00
               Total                                                     $87,368.00                                                  $23,757.00
Description:
Remarks:        Claim amt modified and allowed per Omni 4 Order - Mod. Clms filed 4.13.10 (Dkt 991)

                                 Debtor Name: Accuride Erie L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: GREATER ERIE INDUSTRIAL
                                                                                                                  Last Date to File (govt):           04/06/10
                                 DEVELOPMENT CORPORATION
       Claim No: 660             5240 KNOWLEDGE PKWY                                                              Filing Status:
                                 ERIE, PA 16510-4658                                                              Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                      $33,402.70                                                           $0.00
           Unsecured                                                           $0.00                                                          $0.00
            Priority                                                     $27,249.57                                                   $27,249.57
               Total                                                     $60,652.27                                                  $27,249.57
Description: Please see claim for detail.
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. & Recl. Clms filed 4.13.10 (Dkt 990)
                              Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12     Page 221 of 374


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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: GREATER ERIE INDUSTRIAL
                                                                                                                 Last Date to File (govt):           04/06/10
                                 DEVELOPMENT CORPORATION
       Claim No: 661             5240 KNOWLEDGE PKWY                                                             Filing Status:
                                 ERIE, PA 16510-4658                                                             Docket Status:
                                                                                                                 Late:

         Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
         11/27/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                                Amount Claimed                                            Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                       $33,402.70                                                        $0.00
            Priority                                                                                                                         $0.00
               Total                                                       $33,402.70                                                        $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                 Debtor Name: Imperial Group, L.P.
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: SUPPLYONE WEYERS CAVE, INC
                                                                                                                 Last Date to File (govt):           04/06/10
                                 C/O WHARTON, ALDHIZER & WEAVER, PLC
       Claim No: 662             ATTN: STEPHAN W MILO, ESQ                                                       Filing Status:
                                 125 S AUGUSTA ST, STE 2000                                                      Docket Status:
                                 STAUNTON, VA 24401                                                              Late:

         Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
         11/27/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                                Amount Claimed                                            Amount Allowed
            Secured
           Unsecured                                                       $31,107.90
            Priority                                                       $14,314.37
               Total                                                       $45,422.27
Description: Administrative - Please See Claim For Details.
Remarks:

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: EATON HYDRAULICS LLC
                                                                                                                 Last Date to File (govt):           04/06/10
                                 EATON CORPORATION
       Claim No: 663             ATTN GLOBAL TRADE CREDIT                                                        Filing Status:
                                 1111 SUPERIOR AVE                                                               Docket Status:
                                 CLEVELAND, OH 44114                                                             Late:

         Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
         11/27/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                                Amount Claimed                                            Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                        $9,389.99                                                        $0.00
            Priority                                                                                                                         $0.00
               Total                                                        $9,389.99                                                        $0.00
Description:
Remarks:        Disallowed per Omni 4 Order - No Liability Claims - filed 4.13.10 (Dkt 991)
                       Case 09-13449-BLS           Doc 1321-1           Filed 02/14/12   Page 222 of 374


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BNK01160                                                                                                    10-Feb-12       1:04 PM
                                U.S. Bankruptcy Court - District of Delaware
                                          Claims Register Report
                                        09-13449 ACCURIDE CORPORATION, ET AL.
                                                  Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Fabco Automotive Corporation
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: EATON HYDRAULICS AEROQUIP
                                                                                              Last Date to File (govt):     04/06/10
                        EATON CORPORATION
       Claim No: 664    ATTN GLOBAL TRADE CREDIT                                              Filing Status:
                        1111 SUPERIOR AVE                                                     Docket Status:
                        CLEVELAND, OH 44114                                                   Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                 Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                          $59.81
            Priority
               Total                                          $59.81
Description:
Remarks:

                        Debtor Name:
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: SHOPKO EYECARE CENTER
                                                                                              Last Date to File (govt):     04/06/10
                        c/o UNITED STATES DEBT RECOVERY III, LP
       Claim No: 665    940 SOUTHWOOD BI, SUITE 101                                           Filing Status:
                        INCLINE VILLAGE, NV 89451                                             Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                 Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                        $2,021.47
            Priority
               Total                                        $2,021.47
Description:
Remarks:

                        Debtor Name: Accuride Corporation
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: LANGHENRY GILLEN & LUNDQUIST
                                                                                              Last Date to File (govt):     04/06/10
                        310 S COUNTY FARM RD SUITE A
       Claim No: 666    WHEATON, IL 60187-2409                                                Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                 Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                        $2,692.50
            Priority
               Total                                        $2,692.50
Description:
Remarks:
                       Case 09-13449-BLS             Doc 1321-1            Filed 02/14/12   Page 223 of 374


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BNK01160                                                                                                       10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Accuride Corporation
                                                                                                 Last Date to File Claims:     11/30/09
                        Creditor Name: LANGHENRY, GILLEN, LUNDQUIST & JOHNSON
                                                                                                 Last Date to File (govt):     04/06/10
                        310 S COUNTY FARM RD
       Claim No: 667    SUITE A                                                                  Filing Status:
                        WHEATON, IL 60187-2409                                                   Docket Status:
                                                                                                 Late:

        Claim Date:     Amends Claim No:                                                         Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                   Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                             $732.00
            Priority
               Total                                             $732.00
Description:
Remarks:

                        Debtor Name: Fabco Automotive Corporation
                                                                                                 Last Date to File Claims:     11/30/09
                        Creditor Name: WEST COAST
                                                                                                 Last Date to File (govt):     04/06/10
                        ATTN: CLIFF FREDERICKS
       Claim No: 668    3203 D WEST CAPITOL AVE                                                  Filing Status:
                        WEST SACRAMENTO, CA 95691-2181                                           Docket Status:
                                                                                                 Late:

        Claim Date:     Amends Claim No:                                                         Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                   Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                             $190.11
            Priority
               Total                                             $190.11
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                 Last Date to File Claims:     11/30/09
                        Creditor Name: DORNER COMPANY
                                                                                                 Last Date to File (govt):     04/06/10
                        8585 W BRADLEY RD
       Claim No: 669    MILWAUKEE, WI 53224-2813                                                 Filing Status:
                                                                                                 Docket Status:
                                                                                                 Late:

        Claim Date:     Amends Claim No:                                                         Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                   Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                             $193.97
            Priority
               Total                                             $193.97
Description:
Remarks:
                       Case 09-13449-BLS             Doc 1321-1            Filed 02/14/12   Page 224 of 374


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BNK01160                                                                                                       10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name:
                                                                                                 Last Date to File Claims:     11/30/09
                        Creditor Name: ZEBRA COMPUTERS INC
                                                                                                 Last Date to File (govt):     04/06/10
                        1600 S GOLD ST STE 4
       Claim No: 670    CENTRALIA, WA 98531-7901                                                 Filing Status:
                                                                                                 Docket Status:
                                                                                                 Late:

        Claim Date:     Amends Claim No:                                                         Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                   Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                             $439.91
            Priority
               Total                                             $439.91
Description:
Remarks:

                        Debtor Name:
                                                                                                 Last Date to File Claims:     11/30/09
                        Creditor Name: CONSOLIDATED ELECTRICAL DISTR
                                                                                                 Last Date to File (govt):     04/06/10
                        PO BOX 221229
       Claim No: 671    LOUISVILLE, KY 40252-1229                                                Filing Status:
                                                                                                 Docket Status:
                                                                                                 Late:

        Claim Date:     Amends Claim No:                                                         Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                   Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                         $12,458.45
            Priority
               Total                                         $12,458.45
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                 Last Date to File Claims:     11/30/09
                        Creditor Name: DANIEL FARRELL
                                                                                                 Last Date to File (govt):     04/06/10
                        325 S PARKWAY DR
       Claim No: 672    BRILLION, WI 54110-1322                                                  Filing Status:
                                                                                                 Docket Status:
                                                                                                 Late:

        Claim Date:     Amends Claim No:                                                         Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                     Duplicated By Claim No:
               Class                                   Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                         $10,617.81
            Priority
               Total                                         $10,617.81
Description:
Remarks:
                             Case 09-13449-BLS               Doc 1321-1          Filed 02/14/12   Page 225 of 374


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BNK01160                                                                                                             10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                 09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name:
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: WIL-KIL PEST CONTROL SERVICE
                                                                                                       Last Date to File (govt):     04/06/10
                                1828 E WISCONSIN AVE
       Claim No: 673            APPLETON, WI 54911-4039                                                Filing Status:
                                                                                                       Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                          Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $666.00
            Priority
               Total                                                   $666.00
Description:
Remarks:

                                Debtor Name: Accuride Erie L.P.
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: SARUM MANAGEMENT, INC
                                                                                                       Last Date to File (govt):     04/06/10
                                ON BEHALF OF MEB INVESTMENTS LTD
       Claim No: 674            ATTN: MICHAEL BELL                                                     Filing Status:
                                75 MARC DR                                                             Docket Status:
                                CUYAHOGA FALLS, OH 44223-2627                                          Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                          Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                               $785,500.00
            Priority
               Total                                               $785,500.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: DOMINION RETAIL
                                                                                                       Last Date to File (govt):     04/06/10
                                ATTN: KIMBERLY CULPEPPER
       Claim No: 675            PO BOX 298                                                             Filing Status:
                                PITTSBURGH, PA 15230-0298                                              Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                          Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $60.81
            Priority
               Total                                                    $60.81
Description:
Remarks:
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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: TIMOTHY D KENNEKE
                                                                                                                 Last Date to File (govt):           04/06/10
                                 PO BOX 87
       Claim No: 676             COLLINS, WI 54207                                                               Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
         11/27/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                                Amount Claimed                                            Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                       $3,900.00                                                         $0.00
            Priority                                                                                                                         $0.00
               Total                                                       $3,900.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Shareholder Clms - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: MILLER VENDING
                                                                                                                 Last Date to File (govt):           04/06/10
                                 MIKE SCHARF
       Claim No: 677             W399 RUSCH RD                                                                   Filing Status:
                                 BRILLION, WI 54110                                                              Docket Status:
                                                                                                                 Late:

         Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
         11/27/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                                Amount Claimed                                            Amount Allowed
            Secured
           Unsecured
            Priority                                                         $121.80
               Total                                                         $121.80
Description: Administrative - Please See Claim For Details.
Remarks:

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: ACCURATE MACHINE CO
                                                                                                                 Last Date to File (govt):           04/06/10
                                 1901 HYLAND AVE - PO BOX 16
       Claim No: 678             KAUKAUNA, WI 54130-0016                                                         Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:             Amends Claim No:                                                                Duplicates Claim No:
         11/27/2009              Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                                Amount Claimed                                            Amount Allowed
            Secured
           Unsecured                                                         $470.00
            Priority
               Total                                                         $470.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:
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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Bostrom Seating, Inc.
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: BILLY SMITH, JR
                                                                                                                 Last Date to File (govt):           04/06/10
                                ATTN: GINA COGGIN
       Claim No: 679            C/O RHEA, BOYD, RHEA & COGGIN                                                    Filing Status:
                                930 FORREST AVE                                                                  Docket Status:
                                GADSDEN, AL 35901                                                                Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                                                                                         $0.00
               Total                                                  Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: PATRICIA C CROCKER
                                                                                                                 Last Date to File (govt):           04/06/10
                                225 CO RD 70
       Claim No: 680            THORSBY, AL 35171                                                                Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                        $682.50
            Priority
               Total                                                        $682.50
Description:
Remarks:

                                Debtor Name: Imperial Group Holding Corp. - 1
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: CITY OF CHEHALIS
                                                                                                                 Last Date to File (govt):           04/06/10
                                1321 S MARKET ST
       Claim No: 681            CHEHALIS, WA 98532-3619                                                          Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                        $364.30
            Priority
               Total                                                        $364.30
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1               Filed 02/14/12   Page 228 of 374


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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: AUTOMOTIVE SUPPLY CO INC
                                                                                                                 Last Date to File (govt):           04/06/10
                                 123 S LINWOOD AVE
       Claim No: 682             APPLETON, WI 54912-4924                                                         Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

        Claim Date:              Amends Claim No:                                                                Duplicates Claim No:
        11/27/2009               Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                                Amount Claimed                                            Amount Allowed
            Secured
           Unsecured                                                           $25.00
            Priority
               Total                                                           $25.00
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: DANIEL LIVERNOIS
                                                                                                                 Last Date to File (govt):           04/06/10
                                 3317 N LYNN CT
       Claim No: 683             TRENTON, MI 48183-2301                                                          Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

        Claim Date:              Amends Claim No:                                                                Duplicates Claim No:
        11/27/2009               Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                                Amount Claimed                                            Amount Allowed
            Secured
           Unsecured
            Priority                                                       $11,375.00
               Total                                                       $11,375.00
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: NAVIASIA CONSULTING GROUP INC
                                                                                                                 Last Date to File (govt):           04/06/10
                                 ATTN: JOHN TOMASZEWSKI
       Claim No: 684             303 W MADISON ST                                                                Filing Status:
                                 SUITE 1325                                                                      Docket Status:
                                 CHICAGO, IL 60606-3309                                                          Late:

        Claim Date:              Amends Claim No:                                                                Duplicates Claim No:
        11/27/2009               Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                                Amount Claimed                                            Amount Allowed
            Secured                                                                $0.00                                                     $0.00
           Unsecured                                                       $53,020.46                                                        $0.00
            Priority                                                               $0.00                                                     $0.00
               Total                                                       $53,020.46                                                        $0.00
Description:
Remarks:        Claim deemed satisfied by stipulation, dkt 1090 dated 06.02.2010
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: NAVIASIA CONSULTING GROUP, INC
                                                                                                                 Last Date to File (govt):           04/06/10
                                 ATTN: JOHN TOMASZEWSKI
       Claim No: 685             500 DAVIS ST                                                                    Filing Status:
                                 STE 600                                                                         Docket Status:
                                 EVANSTON, IL 60201-4622                                                         Late:

        Claim Date:              Amends Claim No:                                                                Duplicates Claim No:
        11/27/2009               Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                                Amount Claimed                                            Amount Allowed
            Secured                                                                $0.00                                                     $0.00
           Unsecured                                                       $56,000.00                                                        $0.00
            Priority                                                               $0.00                                                     $0.00
               Total                                                       $56,000.00                                                        $0.00
Description:
Remarks:        Claim deemed satisfied by stipulation, dkt 1090 dated 06.02.2010

                                 Debtor Name: Imperial Group, L.P.
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: FLAT ROCK METAL INC
                                                                                                                 Last Date to File (govt):           04/06/10
                                 26601 W HURON RIVER DR
       Claim No: 686             PO BOX 1090                                                                     Filing Status:
                                 FLAT ROCK, MI 48134-0558                                                        Docket Status:
                                                                                                                 Late:

        Claim Date:              Amends Claim No:                                                                Duplicates Claim No:
        11/27/2009               Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                                Amount Claimed                                            Amount Allowed
            Secured
           Unsecured                                                        $1,100.70
            Priority
               Total                                                        $1,100.70
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: FIRST ENVIRONMENT INC
                                                                                                                 Last Date to File (govt):           04/06/10
                                 91 FULTON STREET
       Claim No: 687             BOONTON, NJ 07005-1941                                                          Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

        Claim Date:              Amends Claim No:                                                                Duplicates Claim No:
        11/27/2009               Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                                Amount Claimed                                            Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                        $5,850.57                                                        $0.00
            Priority                                                                                                                         $0.00
               Total                                                        $5,850.57                                                        $0.00
Description:
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                             Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                           Last Date to File Claims:           11/30/09
                                Creditor Name: PACCAR INC
                                                                                                           Last Date to File (govt):           04/06/10
                                C/O JEFFREY R FINE ESQ
       Claim No: 688            K&L GATES LLP                                                              Filing Status:
                                1717 MAIN ST STE 2800                                                      Docket Status:
                                DALLAS, TX 75201                                                           Late:

         Claim Date:            Amends Claim No:                                                           Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                       Duplicated By Claim No:
             Class                                                 Amount Claimed                                       Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                    Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Fabco Automotive Corporation
                                                                                                           Last Date to File Claims:           11/30/09
                                Creditor Name: NAVISTAR INC
                                                                                                           Last Date to File (govt):           04/06/10
                                C/O MICHAEL K MCCRORY ESQ
       Claim No: 689            BARNES & THORNBURG LLP                                                     Filing Status:
                                11 S MERIDIAN ST                                                           Docket Status:
                                INDIANAPOLIS, IN 46204                                                     Late:

         Claim Date:            Amends Claim No:                                                           Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                       Duplicated By Claim No:
             Class                                                 Amount Claimed                                       Amount Allowed
            Secured                                                         $63.23                                                     $0.00
           Unsecured                                                                                                                   $0.00
            Priority                                                                                                                   $0.00
             Total                                                          $63.23 (Unliquidated)                                      $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per Dkt 1104 dated June 25, 2010.

                                Debtor Name: Gunite Corporation
                                                                                                           Last Date to File Claims:           11/30/09
                                Creditor Name: NAVISTAR INC
                                                                                                           Last Date to File (govt):           04/06/10
                                C/O MICHAEL K MCCRORY ESQ
       Claim No: 690            BARNES & THORNBURG LLP                                                     Filing Status:
                                11 S MERIDIAN ST                                                           Docket Status:
                                INDIANAPOLIS, IN 46204                                                     Late:

         Claim Date:            Amends Claim No:                                                           Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                       Duplicated By Claim No:
             Class                                                 Amount Claimed                                       Amount Allowed
            Secured                                                    $522,840.54                                                     $0.00
           Unsecured                                                                                                                   $0.00
            Priority                                                                                                                   $0.00
             Total                                                     $522,840.54 (Unliquidated)                                      $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per Dkt 1106, filed June 25, 2010. Amended by Claim No. 1112
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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Distributing, LLC
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: NAVISTAR INC
                                                                                                            Last Date to File (govt):           04/06/10
                                C/O MICHAEL K MCCRORY ESQ
       Claim No: 691            BARNES & THORNBURG LLP                                                      Filing Status:
                                11 S MERIDIAN ST                                                            Docket Status:
                                INDIANAPOLIS, IN 46204                                                      Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                        Duplicated By Claim No:
             Class                                                  Amount Claimed                                       Amount Allowed
            Secured                                                       $4,896.91                                                     $0.00
           Unsecured                                                                                                                    $0.00
            Priority                                                                                                                    $0.00
             Total                                                        $4,896.91 (Unliquidated)                                      $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per Dkt 1108 filed June 25, 2010.

                                Debtor Name: AOT Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: NAVISTAR INC
                                                                                                            Last Date to File (govt):           04/06/10
                                C/O MICHAEL K MCCRORY ESQ
       Claim No: 692            BARNES & THORNBURG LLP                                                      Filing Status:
                                11 S MERIDIAN ST                                                            Docket Status:
                                INDIANAPOLIS, IN 46204                                                      Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                        Duplicated By Claim No:
             Class                                                  Amount Claimed                                       Amount Allowed
            Secured                                                        $243.64                                                      $0.00
           Unsecured                                                                                                                    $0.00
            Priority                                                                                                                    $0.00
             Total                                                         $243.64 (Unliquidated)                                       $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per Dkt 1110 filed June 25, 2010.

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: NAVISTAR INC
                                                                                                            Last Date to File (govt):           04/06/10
                                C/O MICHAEL K MCCRORY ESQ
       Claim No: 693            BARNES & THORNBURG LLP                                                      Filing Status:
                                11 S MERIDIAN ST                                                            Docket Status:
                                INDIANAPOLIS, IN 46204                                                      Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                        Duplicated By Claim No:
             Class                                                  Amount Claimed                                       Amount Allowed
            Secured                                                       $1,307.90                                                     $0.00
           Unsecured                                                                                                                    $0.00
            Priority                                                                                                                    $0.00
             Total                                                        $1,307.90 (Unliquidated)                                      $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per Dkt 1112 filed June 25, 2010.
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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                  Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Fabco Automotive Corporation
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: CLAIMS RECOVERY GROUP AS ASSIGNEE OF
                                                                                              Last Date to File (govt):     04/06/10
                        PACIFIC MATERIAL HANDLING SOLUTIONS INC
       Claim No: 694    CLAIMS RECOVERY GROUP                                                 Filing Status:
                        92 UNION AVE                                                          Docket Status:
                        CRESSKILL, NJ 07626                                                   Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                        $1,489.68
            Priority
               Total                                        $1,489.68
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: CLAIMS RECOVERY GROUP LLC AS ASSIGNEE OF
                                                                                              Last Date to File (govt):     04/06/10
                        FRED CONRADI DBA CONRADI'S LAWN
       Claim No: 695    MAINTENANCE                                                           Filing Status:
                        92 UNION AVE                                                          Docket Status:
                        CRESSKILL, NJ 07626                                                   Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                        $1,132.95
            Priority
               Total                                        $1,132.95
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: CLAIMS RECOVERY GROUP LLC AS ASSIGNEE OF
                                                                                              Last Date to File (govt):     04/06/10
                        FARO TECHNOLOGY INC
       Claim No: 696    92 UNION AVE                                                          Filing Status:
                        CRESSKILL, NJ 07626                                                   Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                        $4,000.00
            Priority
               Total                                        $4,000.00
Description:
Remarks:
                       Case 09-13449-BLS             Doc 1321-1              Filed 02/14/12   Page 233 of 374


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BNK01160                                                                                                         10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Bostrom Seating, Inc.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: CLAIMS RECOVERY GROUP LLC AS ASSIGNEE OF
                                                                                                   Last Date to File (govt):     04/06/10
                        FINISHING SOLUTIONS
       Claim No: 697    92 UNION AVE                                                               Filing Status:
                        CRESSKILL, NJ 07626                                                        Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $7,500.00
            Priority
               Total                                             $7,500.00
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: CLAIMS RECOVERY GROUP LLC AS ASSIGNEE OF
                                                                                                   Last Date to File (govt):     04/06/10
                        PACIFIC MATERIALS HANDLING SOLUTIONS
       Claim No: 698    92 UNION AVE                                                               Filing Status:
                        CRESSKILL, NJ 07626                                                        Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $1,981.75
            Priority
               Total                                             $1,981.75
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: BADGER LABORATORIES & ENGINEERING CO INC
                                                                                                   Last Date to File (govt):     04/06/10
                        501 W BELL ST
       Claim No: 699    NEENAH, WI 54956-4868                                                      Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/27/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $9,305.08
            Priority                                                $0.00
               Total                                             $9,305.08
Description:
Remarks:
                             Case 09-13449-BLS                  Doc 1321-1              Filed 02/14/12   Page 234 of 374


BNK01                                                                                                                       Page 234        of     374
BNK01160                                                                                                                    10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Erie L.P.
                                                                                                              Last Date to File Claims:     11/30/09
                                Creditor Name: ALFE CORPORATE GROUP
                                                                                                              Last Date to File (govt):     04/06/10
                                PO BOX 951500
       Claim No: 700            CLEVELAND, OH 44193-0017                                                      Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

         Claim Date:            Amends Claim No:                                                              Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                              Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                        $1,610.00
            Priority
               Total                                                        $1,610.00
Description:
Remarks:

                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                              Last Date to File Claims:     11/30/09
                                Creditor Name: HYPERGEN INC
                                                                                                              Last Date to File (govt):     04/06/10
                                356 SIMMONS DR SUITE 101
       Claim No: 701            CLOVERDALE, VA 24077-3142                                                     Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

         Claim Date:            Amends Claim No:                                                              Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                              Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                       $11,250.00
            Priority
               Total                                                       $11,250.00
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                              Last Date to File Claims:     11/30/09
                                Creditor Name: HUTCHINSON INDUSTRIES INC
                                                                                                              Last Date to File (govt):     04/06/10
                                ALSTON & BIRD LLP
       Claim No: 702            S. B. PLEUME, B. J. ROSE, D. A. WENDER                                        Filing Status:
                                101 S TRYON ST STE 4000                                                       Docket Status:
                                CHARLOTTE, NC 28280                                                           Late:

         Claim Date:            Amends Claim No:                                                              Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                              Amount Claimed                                           Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                                  Unliquidated
Description: Please see claim for detail.
Remarks:        Objection withdrawn per Omni 1 Order (Dkt 989) 04.13.10.
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12   Page 235 of 374


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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: FAIR HARBOR CAPITAL LLC AS ASSIGNEE OF
                                                                                                            Last Date to File (govt):           04/06/10
                                TBJ MACHINE SERVICES INC
       Claim No: 703            PO BOX 237037                                                               Filing Status:
                                NEW YORK, NY 10023                                                          Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured
            Priority                                                      $1,800.00
               Total                                                      $1,800.00
Description: Administrative - Please See Claim For Details.
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: FAIR HARBOR CAPITAL LLC AS ASSIGNEE OF
                                                                                                            Last Date to File (govt):           04/06/10
                                HBP INDUCTION LLC
       Claim No: 704            PO BOX 237037                                                               Filing Status:
                                NEW YORK, NY 10023                                                          Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                      $7,810.31
            Priority                                                        $908.25
               Total                                                      $8,718.56
Description: Administrative - Please See Claim For Details.
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: SNELL & WILMER LLP
                                                                                                            Last Date to File (govt):           04/06/10
                                ATTN JOHN G WESTON
       Claim No: 705            15 W SOUTH TEMPLE STE 1200                                                  Filing Status:
                                SALT LAKE CITY, UT 84101-1547                                               Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                    $137,255.32                                           $125,587.62
            Priority                                                                                                                    $0.00
               Total                                                    $137,255.32                                           $125,587.62
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)
                             Case 09-13449-BLS              Doc 1321-1           Filed 02/14/12   Page 236 of 374


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BNK01160                                                                                                             10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                 09-13449 ACCURIDE CORPORATION, ET AL.
                                                         Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: PACCAR INC
                                                                                                       Last Date to File (govt):     04/06/10
                                ATTN: JEFFREY R FINE ESQ
       Claim No: 706            C/O K&L GATES LLP                                                      Filing Status:
                                1717 MAIN ST STE 2800                                                  Docket Status:
                                DALLAS, TX 75201                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                         Amount Claimed                                         Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                              Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: LEHIGH SAFETY SHOE CO
                                                                                                       Last Date to File (govt):     04/06/10
                                PO BOX 371958
       Claim No: 707            NELSONVILLE, PA 15250-7958                                             Filing Status:
                                                                                                       Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                         Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                 $2,090.99
            Priority
               Total                                                 $2,090.99
Description:
Remarks:

                                Debtor Name:
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: SUMMIT ENERGY
                                                                                                       Last Date to File (govt):     04/06/10
                                10350 ORMSBY PARK PL STE 400
       Claim No: 708            LOUISVILLE, KY 40223-6179                                              Filing Status:
                                                                                                       Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                         Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                 $5,900.00
            Priority
               Total                                                 $5,900.00
Description:
Remarks:
                             Case 09-13449-BLS                Doc 1321-1            Filed 02/14/12   Page 237 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                  09-13449 ACCURIDE CORPORATION, ET AL.
                                                            Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Transportation Technologies Industries, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: UNITED STATES FIDELITY AND GUARANTY
                                                                                                          Last Date to File (govt):     04/06/10
                                COMPANY AND ITS AFFILIATES
       Claim No: 709            ATTN: CHANTEL PINNOCK, TRAVELERS                                          Filing Status:
                                ONE TOWER SQUARE, 5MN                                                     Docket Status:
                                HARTFORD, CT 06183                                                        Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                      Duplicated By Claim No:
             Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                        $0.00
            Priority
             Total                                                          $0.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: THE TRAVELERS INDEMNITY COMPANY AND
                                                                                                          Last Date to File (govt):     04/06/10
                                ITS AFFILIATES
       Claim No: 710            ATTN: CHANTEL PINNOCK                                                     Filing Status:
                                ONE TOWER SQUARE, 5MN                                                     Docket Status:
                                HARTFORD, CT 06183                                                        Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                      Duplicated By Claim No:
             Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                   Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: THE TRAVELERS INDEMNITY COMPANY
                                                                                                          Last Date to File (govt):     04/06/10
                                AND ITS AFFILIATES
       Claim No: 711            ATTN: CHANTEL PINNOCK                                                     Filing Status:
                                ONE TOWER SQUARE 5MN                                                      Docket Status:
                                HARTFORD, CT 06183                                                        Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                      Duplicated By Claim No:
             Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                     $2,500.00
           Unsecured
            Priority
             Total                                                      $2,500.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:
                            Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12   Page 238 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Gunite Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: UNIVERSAL PALLET SUPPLY INC
                                                                                                          Last Date to File (govt):     04/06/10
                               PO BOX 2885
       Claim No: 712           ELKHART, IN 46515-2885                                                     Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $51,968.10
            Priority                                                   $13,856.63
               Total                                                   $65,824.73
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: UNIVERSAL PALLET SUPPLY INC
                                                                                                          Last Date to File (govt):     04/06/10
                               54722 CHELSEA
       Claim No: 713           ELKHART, IN 46516-9709                                                     Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $10,080.75
            Priority
               Total                                                   $10,080.75
Description:
Remarks:

                               Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: JAY-EM AEROSPACE
                                                                                                          Last Date to File (govt):     04/06/10
                               MARC AVENUE CORP
       Claim No: 714           75 MARC DR                                                                 Filing Status:
                               CUYAHOGA FALLS, OH 44223-2627                                              Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/27/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $37,313.30
            Priority
               Total                                                   $37,313.30
Description:
Remarks:
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12        Page 239 of 374


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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: POWER/MATION DIVISION
                                                                                                                 Last Date to File (govt):           04/06/10
                                1310 ENERGY LANE
       Claim No: 715            ST PAUL, MN 55108                                                                Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                      $5,785.00                                                          $0.00
            Priority                                                                                                                         $0.00
               Total                                                      $5,785.00                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Gunite Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: MIDWEST SCALE
                                                                                                                 Last Date to File (govt):           04/06/10
                                JOHN DEBO
       Claim No: 716            1327 7TH ST                                                                      Filing Status:
                                ROCKFORD, IL 61108-4908                                                          Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                      $6,312.00
            Priority
               Total                                                      $6,312.00
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: DIANE CHRISTOPHER
                                                                                                                 Last Date to File (govt):           04/06/10
                                451 BANCROFT CT APT 9
       Claim No: 717            ROCKFORD, IL 61107-5136                                                          Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                      $6,500.00                                                          $0.00
               Total                                                      $6,500.00                                                          $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
                             Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12        Page 240 of 374


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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                             Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: MCGATHA, EMILY
                                                                                                                Last Date to File (govt):           04/06/10
                                PO BOX 405
       Claim No: 718            PIEDMONT, AL 36272-0405                                                         Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                            Duplicated By Claim No:
             Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                   $150,000.00                                                          $0.00
            Priority                                                                                                                        $0.00
             Total                                                     $150,000.00 (Unliquidated)                                           $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name:
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: LARRY C DENNING
                                                                                                                Last Date to File (govt):           04/06/10
                                1475 NICHOLSON ST
       Claim No: 719            ERIE, PA 16509-2020                                                             Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                            Duplicated By Claim No:
             Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                                                                                        $0.00
             Total                                                   Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name:
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: ELEANOR FISH
                                                                                                                Last Date to File (govt):           04/06/10
                                PO BOX 302
       Claim No: 720            WATERFORD, PA 16441-0302                                                        Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                            Duplicated By Claim No:
             Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                                                                                        $0.00
             Total                                                   Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12        Page 241 of 374


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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group Holding Corp. - 1
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: MICHAEL DILLARD
                                                                                                                 Last Date to File (govt):           04/06/10
                                289 RUNNING MEADOWS RD
       Claim No: 721            PORTLAND, TN 37148-4985                                                          Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                           $0.00                                                          $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                     $10,950.00                                                          $0.00
               Total                                                     $10,950.00                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: WHITLER LAWNCARE
                                                                                                                 Last Date to File (govt):           04/06/10
                                KEITH WHITLER
       Claim No: 722            1800 WOODLAND DR. HILLS                                                          Filing Status:
                                EVANSVILLE, IN 47725                                                             Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                      $2,200.00                                                          $0.00
               Total                                                      $2,200.00                                                          $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: WHITLER LAWN CARE
                                                                                                                 Last Date to File (govt):           04/06/10
                                1800 WOODLAND HILLS DR
       Claim No: 723            EVANSVILLE, IN 47725-8234                                                        Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                      $2,200.00                                                          $0.00
            Priority                                                                                                                         $0.00
               Total                                                      $2,200.00                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12        Page 242 of 374


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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name:
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: MANTE, TONY
                                                                                                                 Last Date to File (govt):           04/06/10
                                5332 COVINGTON RD
       Claim No: 724            FORT WAYNE, IN 46804-5870                                                        Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                                                                                         $0.00
               Total                                                  Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: ROBERT WHITE
                                                                                                                 Last Date to File (govt):           04/06/10
                                10023 BLILEY RD
       Claim No: 725            WATERFORD, PA 16441                                                              Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                        $792.95                                                          $0.00
            Priority                                                                                                                         $0.00
               Total                                                        $792.95                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: MICHAEL PERRY
                                                                                                                 Last Date to File (govt):           04/06/10
                                9425 LAKE PLEASANT RD
       Claim No: 726            ERIE, PA 16509-5757                                                              Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                       Unknown                                                            $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                      Unknown                                                            $0.00
               Total                                                  Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12        Page 243 of 374


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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: MORRIS D BENTON
                                                                                                                 Last Date to File (govt):           04/06/10
                                424 STATE ROUTE 1063
       Claim No: 727            DIXON, KY 42409-9519                                                             Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

        Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
        11/27/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                     $41,740.40                                                          $0.00
               Total                                                     $41,740.40                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name:
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: TIRE & RIM ASSC INC
                                                                                                                 Last Date to File (govt):           04/06/10
                                175 MONTROSE WEST AVE STE 150
       Claim No: 728            COPLEY, OH 44321-2792                                                            Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

        Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
        11/27/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                         $70.00                                                          $0.00
            Priority                                                                                                                         $0.00
               Total                                                         $70.00                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: DEBRA SMITH
                                                                                                                 Last Date to File (govt):           04/06/10
                                1830 BEECHWOOD AVE NE
       Claim No: 729            NORTH CANTON, OH 44720                                                           Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

        Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
        11/27/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                         $30.33                                                          $0.00
            Priority                                                                                                                         $0.00
               Total                                                         $30.33                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12        Page 244 of 374


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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: SCHAEFER, JOSEPH R
                                                                                                                 Last Date to File (govt):           04/06/10
                                N5076 LEMKE RD
       Claim No: 730            CHILTON, WI 53014-9341                                                           Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                        $135.00
            Priority
               Total                                                        $135.00
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: JOHN L. CHEEK
                                                                                                                 Last Date to File (govt):           04/06/10
                                453 DEANS BRANCH RD
       Claim No: 731            MARION, VA 24354                                                                 Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                                                                                         $0.00
               Total                                                  Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: JOHN SIGLER
                                                                                                                 Last Date to File (govt):           04/06/10
                                1711 POLLACK AVE
       Claim No: 732            EVANSVILLE, IN 47714-4220                                                        Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                          $0.00                                                          $0.00
               Total                                                          $0.00 (Unliquidated)                                           $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                                    Last Date to File Claims:           11/30/09
                                Creditor Name: EDWARD M VOGT
                                                                                                                    Last Date to File (govt):           04/06/10
                                1817 FAIRMONT PKWY
       Claim No: 733            ERIE, PA 16510-6222                                                                 Filing Status:
                                                                                                                    Docket Status:
                                                                                                                    Late:

         Claim Date:            Amends Claim No:                                                                    Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                Duplicated By Claim No:
               Class                                              Amount Claimed                                                 Amount Allowed
            Secured                                                                                                                             $0.00
           Unsecured                                                                                                                            $0.00
            Priority                                                          $0.00                                                             $0.00
               Total                                                          $0.00 (Unliquidated)                                              $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                    Last Date to File Claims:           11/30/09
                                Creditor Name: GREGORY JOYNER
                                                                                                                    Last Date to File (govt):           04/06/10
                                1208 HELM ST
       Claim No: 734            HENDERSON, KY 42420-3711                                                            Filing Status:
                                                                                                                    Docket Status:
                                                                                                                    Late:

         Claim Date:            Amends Claim No:                                                                    Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                Duplicated By Claim No:
               Class                                              Amount Claimed                                                 Amount Allowed
            Secured                                                                                                                             $0.00
           Unsecured                                                    $195,300.00                                                             $0.00
            Priority                                                                                                                            $0.00
               Total                                                    $195,300.00 (Unliquidated)                                              $0.00
Description: Please see claim for detail.
Remarks:        Survives Claim #835; Disallowed per Omni 1 Order - No Supp Doc Clms filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                    Last Date to File Claims:           11/30/09
                                Creditor Name: ROBERT DUCKWORTH
                                                                                                                    Last Date to File (govt):           04/06/10
                                4398 SAINT OLAF CIR
       Claim No: 735            HENDERSON, KY 42420-9461                                                            Filing Status:
                                                                                                                    Docket Status:
                                                                                                                    Late:

         Claim Date:            Amends Claim No:                                                                    Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                Duplicated By Claim No:
               Class                                              Amount Claimed                                                 Amount Allowed
            Secured                                                                                                                             $0.00
           Unsecured                                                    $133,200.00                                                             $0.00
            Priority                                                                                                                            $0.00
               Total                                                    $133,200.00                                                             $0.00
Description:
Remarks:        Survives Claim #855; Disallowed per Omni 1 Order - No Supp Doc Clms filed 04.13.10 (Dkt 989)
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                             Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group, L.P.
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: PACCAR INC
                                                                                                                Last Date to File (govt):           04/06/10
                                C/O JEFFREY R FINE ESQ
       Claim No: 736            K&L GATES LLP                                                                   Filing Status:
                                1717 MAIN ST STE 2800                                                           Docket Status:
                                DALLAS, TX 75201                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                            Duplicated By Claim No:
             Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                   Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name:
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: VNA ESCROW ACCT FBO VNA DIST
                                                                                                                Last Date to File (govt):           04/06/10
                                C/O CED - EVANSVILLE SUPPLY
       Claim No: 737            PO BOX 643167                                                                   Filing Status:
                                CINCINNATI, OH 45264-0566                                                       Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/28/2009             Amended By Claim No:                                                            Duplicated By Claim No:
             Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                    $18,884.27
            Priority
             Total                                                      $18,884.27 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name:
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: EVANSVILLE SUPPLY CO.
                                                                                                                Last Date to File (govt):           04/06/10
                                JIM ROBERTS
       Claim No: 738            C/O CED - EVANSVILLE SUPPLY                                                     Filing Status:
                                CINCINNATI, OH 45264-3167                                                       Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/28/2009             Amended By Claim No:                                                            Duplicated By Claim No:
             Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                                                                                        $0.00
             Total                                                   Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name:
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: ENGLEWOOD ELECTRIC
                                                                                                                 Last Date to File (govt):           04/06/10
                                F/B/O VNA DISTRIBUTORS
       Claim No: 739            PO BOX 643167                                                                    Filing Status:
                                CINCINNATI, OH 45264-3167                                                        Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/28/2009             Amended By Claim No:                                                             Duplicated By Claim No:
             Class                                                Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                                                                                         $0.00
             Total                                                    Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Surviving Claim #741

                                Debtor Name:
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: WILLIAMS SUPPLY INC
                                                                                                                 Last Date to File (govt):           04/06/10
                                VNA ESCROW ACCOUNT
       Claim No: 740            PO BOX 643167                                                                    Filing Status:
                                CINCINNATI, OH 45264-8887                                                        Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/28/2009             Amended By Claim No:                                                             Duplicated By Claim No:
             Class                                                Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                        $666.85
            Priority
             Total                                                          $666.85 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name:
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: ENGLEWOOD ELECTRIC
                                                                                                                 Last Date to File (govt):           04/06/10
                                F/B/O VNA DISTRIBUTORS
       Claim No: 741            PO BOX 643167                                                                    Filing Status:
                                ROCKFORD, OH 45264-3167                                                          Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/28/2009             Amended By Claim No:                                                             Duplicated By Claim No:
             Class                                                Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                      $4,655.83
            Priority
             Total                                                        $4,655.83 (Unliquidated)
Description: Please see claim for detail.
Remarks:       Survives Claim #739
                             Case 09-13449-BLS                  Doc 1321-1             Filed 02/14/12      Page 248 of 374


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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name:
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: VNA ESCROW ACCOUNT
                                                                                                                Last Date to File (govt):           04/06/10
                                F/B/O VNA DISTRIBUTORS
       Claim No: 742            CINCINNATI, OH 45264-0001                                                       Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/28/2009             Amended By Claim No:                                                            Duplicated By Claim No:
             Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                      $6,586.98
            Priority
             Total                                                        $6,586.98 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name:
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: VANGARD NATIONAL ALLIANCE
                                                                                                                Last Date to File (govt):           04/06/10
                                PO BOX 643167
       Claim No: 743            CINCINNATI, OH 45264-3167                                                       Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/28/2009             Amended By Claim No:                                                            Duplicated By Claim No:
             Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                                                                                        $0.00
             Total                                                    Unliquidated                                                          $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name:
                                                                                                                Last Date to File Claims:           11/30/09
                                Creditor Name: WABASH ELECTRIC SUPPLY
                                                                                                                Last Date to File (govt):           04/06/10
                                F/B/O VNA DISTRIBUTORS
       Claim No: 744            PO BOX 643167                                                                   Filing Status:
                                CINCINNATI, OH 45264-3167                                                       Docket Status:
                                                                                                                Late:

         Claim Date:            Amends Claim No:                                                                Duplicates Claim No:
         11/28/2009             Amended By Claim No:                                                            Duplicated By Claim No:
             Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                                                                                        $0.00
             Total                                                    Unliquidated                                                          $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Survives Claim #746
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12        Page 249 of 374


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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name:
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: WINKLE ELECTRIC COMPANY
                                                                                                                 Last Date to File (govt):           04/06/10
                                VANGUARD NATIONAL ALLIANCE INC
       Claim No: 745            PO BOX 643167                                                                    Filing Status:
                                CINCINNATI, OH 45264-3167                                                        Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/28/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                      $4,059.42
            Priority
               Total                                                      $4,059.42 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name:
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: WABASH ELECTRIC SUPPLY
                                                                                                                 Last Date to File (govt):           04/06/10
                                F/B/O VNA DISTRIBUTORS
       Claim No: 746            PO BOX 643167                                                                    Filing Status:
                                ELKHART, OH 45264-1907                                                           Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/28/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                      $3,690.20
            Priority
               Total                                                      $3,690.20 (Unliquidated)
Description: Please see claim for detail.
Remarks:        Survives Claim #744

                                Debtor Name: Gunite Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: FREEARK, HARVEY, MENDILLO, DENNIS, WULLE
                                                                                                                 Last Date to File (govt):           04/06/10
                                ATTN: MICHAEL P MURPHY
       Claim No: 747            115 W WASHINGTON ST                                                              Filing Status:
                                PO BOX 546                                                                       Docket Status:
                                BELLEVILLE, IL 62222-0546                                                        Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/28/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                        $187.50                                                          $0.00
            Priority                                                                                                                         $0.00
               Total                                                        $187.50                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: FREEARCK HARVEY MENDILLO DENNIS WULL
                                                                                                                 Last Date to File (govt):           04/06/10
                                 ATTN MICHAEL P MURPHY
       Claim No: 748             115 W WASHINGTON ST                                                             Filing Status:
                                 PO BOX 546                                                                      Docket Status:
                                 BELLEVILLE, IL 62222-0546                                                       Late:

        Claim Date:              Amends Claim No:                                                                Duplicates Claim No:
        11/28/2009               Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                                Amount Claimed                                            Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                       $13,042.30                                                        $0.00
            Priority                                                                                                                         $0.00
               Total                                                       $13,042.30                                                        $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: CELADON LOGISTICS SERVICES
                                                                                                                 Last Date to File (govt):           04/06/10
                                 ATTN CINDY FESSELMEYER
       Claim No: 749             9503 E 33RD ST                                                                  Filing Status:
                                 INDIANAPOLIS, IN 46235-4207                                                     Docket Status:
                                                                                                                 Late:

        Claim Date:              Amends Claim No:                                                                Duplicates Claim No:
        11/28/2009               Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                                Amount Claimed                                            Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                       $29,655.38                                                        $0.00
            Priority                                                                                                                         $0.00
               Total                                                       $29,655.38                                                        $0.00
Description:
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: FOX VALLEY HEAT TREAT
                                                                                                                 Last Date to File (govt):           04/06/10
                                 2110 HARRISON ST
       Claim No: 750             OSHKOSH, WI 54901-1977                                                          Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

        Claim Date:              Amends Claim No:                                                                Duplicates Claim No:
        11/28/2009               Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                                Amount Claimed                                            Amount Allowed
            Secured
           Unsecured                                                        $2,887.21
            Priority
               Total                                                        $2,887.21
Description:
Remarks:
                       Case 09-13449-BLS            Doc 1321-1          Filed 02/14/12   Page 251 of 374


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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                  Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Accuride Erie L.P.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: CHECKER INDUSTRIES CORP
                                                                                              Last Date to File (govt):     04/06/10
                        708 LAWN AVE
       Claim No: 751    SELLERSVILLE, PA 18960-1548                                           Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/28/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                        $1,375.00
            Priority
               Total                                        $1,375.00
Description:
Remarks:

                        Debtor Name:
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: SIERRA CHEMICAL CO INC
                                                                                              Last Date to File (govt):     04/06/10
                        4524 SOUTHLAKE PKWY PMB 101
       Claim No: 752    SUITE 34                                                              Filing Status:
                        HOOVER, AL 35244                                                      Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/28/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $237.29
            Priority
               Total                                         $237.29
Description:
Remarks:

                        Debtor Name:
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: COOK & FRANKE S C
                                                                                              Last Date to File (govt):     04/06/10
                        ATTN: JEFFREY SOKOL
       Claim No: 753    660 E MASON ST                                                        Filing Status:
                        MILWAUKEE, WI 53202-3877                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/28/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                        $1,165.69
            Priority
               Total                                        $1,165.69
Description:
Remarks:
                            Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12   Page 252 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: MOORE CONTROLS LLC
                                                                                                          Last Date to File (govt):     04/06/10
                               2290 BISHOP CIRCLE E
       Claim No: 754           DEXTER, MI 48130-1564                                                      Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/28/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $40,457.45
            Priority
               Total                                                   $40,457.45
Description:
Remarks:

                               Debtor Name:
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: SPECIALTY CARBIDE PRODS LLC
                                                                                                          Last Date to File (govt):     04/06/10
                               1330 EDDOWES RD STE 2
       Claim No: 755           WARMINSTER, PA 18974-1088                                                  Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/28/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $3,151.24
            Priority                                                     $742.72
               Total                                                    $3,893.96
Description: Administrative - Please See Claim For Details.
Remarks:

                               Debtor Name: Accuride Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: JAMES MCKINNEY
                                                                                                          Last Date to File (govt):     04/06/10
                               265 STATE ROUTE 818
       Claim No: 756           PRINCETON, KY 42445-9413                                                   Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/28/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $29,553.15
            Priority
               Total                                                   $29,553.15
Description:
Remarks:
                             Case 09-13449-BLS             Doc 1321-1           Filed 02/14/12   Page 253 of 374


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BNK01160                                                                                                            10-Feb-12       1:04 PM
                                        U.S. Bankruptcy Court - District of Delaware
                                                  Claims Register Report
                                                09-13449 ACCURIDE CORPORATION, ET AL.
                                                          Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Fabco Automotive Corporation
                                                                                                      Last Date to File Claims:     11/30/09
                                Creditor Name: INDUSTRIAL ELECTRICAL CO
                                                                                                      Last Date to File (govt):     04/06/10
                                C/O UNITED STATES DEBT RECOVERY III, LP
       Claim No: 757            940 SOUTHWOOD BI, SUITE 101                                           Filing Status:
                                INCLINE VILLAGE, NV 89451                                             Docket Status:
                                                                                                      Late:

        Claim Date:             Amends Claim No:                                                      Duplicates Claim No:
        11/28/2009              Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                         Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                $1,150.00
            Priority
               Total                                                $1,150.00
Description:
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                      Last Date to File Claims:     11/30/09
                                Creditor Name: ROCKFORD INDUSTRIAL WELDING
                                                                                                      Last Date to File (govt):     04/06/10
                                PO BOX 5404
       Claim No: 758            ROCKFORD, IL 61125-0404                                               Filing Status:
                                                                                                      Docket Status:
                                                                                                      Late:

        Claim Date:             Amends Claim No:                                                      Duplicates Claim No:
        11/28/2009              Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                         Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                $6,240.37
            Priority
               Total                                                $6,240.37
Description:
Remarks:        Survives Claim #766

                                Debtor Name:
                                                                                                      Last Date to File Claims:     11/30/09
                                Creditor Name: LEBANON CHEMICAL INC
                                                                                                      Last Date to File (govt):     04/06/10
                                533 BADDOUR PARKWAY
       Claim No: 759            LEBANON, TN 37087-2221                                                Filing Status:
                                                                                                      Docket Status:
                                                                                                      Late:

        Claim Date:             Amends Claim No:                                                      Duplicates Claim No:
        11/28/2009              Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                         Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                $1,751.17
            Priority
               Total                                                $1,751.17
Description:
Remarks:
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BNK01160                                                                                                         10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Gunite Corporation
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: MORING
                                                                                                   Last Date to File (govt):     04/06/10
                        JOHN F MITCHELL
       Claim No: 760    50 W DOUGLS ST                                                             Filing Status:
                        STE 1004                                                                   Docket Status:
                        FREEPORT, IL 61032-4136                                                    Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/28/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                         $28,079.72
            Priority
               Total                                         $28,079.72
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: CINTAS FIRE PROTECTION
                                                                                                   Last Date to File (govt):     04/06/10
                        N56W13605 SILVER SPRING DR
       Claim No: 761    MENOMONEE FALLS, WI 53051-6127                                             Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/28/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $3,194.95
            Priority
               Total                                             $3,194.95
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: ALPHA RESOURCES INC
                                                                                                   Last Date to File (govt):     04/06/10
                        PO BOX 199
       Claim No: 762    STEVENSVILLE, MI 49127-0199                                                Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/28/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                              $515.17
            Priority
               Total                                              $515.17
Description:
Remarks:
                             Case 09-13449-BLS                 Doc 1321-1           Filed 02/14/12   Page 255 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                       09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: SAM L FAZIO & BERNADETTE FAZIO
                                                                                                          Last Date to File (govt):     04/06/10
                                1206 ST JOHN ST
       Claim No: 763            ERIE, CO 80516                                                            Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/28/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                     $481.98
               Total                                                     $481.98
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: ROBINSON & COLE
                                                                                                          Last Date to File (govt):     04/06/10
                                280 TRUMBULL ST
       Claim No: 764            HARTFORD, CT 06103-3609                                                   Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/28/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $12,469.99
            Priority
               Total                                                   $12,469.99
Description:
Remarks:        Obj w/d per Order 5/12/10 (Dkt 1068)

                                 Debtor Name: Accuride Erie L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: R L HOLLIDAY CO
                                                                                                          Last Date to File (govt):     04/06/10
                                525 MCNEILLY RD
       Claim No: 765            PITTSBURGH, PA 15226-2503                                                 Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         11/28/2009             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                     $440.00
               Total                                                     $440.00
Description: Administrative - Please See Claim For Details.
Remarks:
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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: ROCKFORD INDUSTRIAL WELDING
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 5404
       Claim No: 766             ROCKFORD, IL 61125-0404                                                          Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         11/28/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $6,240.37                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $6,240.37                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Surviving Claim #758

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: SHIRLEY HOWELL
                                                                                                                  Last Date to File (govt):           04/06/10
                                 1400 CLAY ST
       Claim No: 767             HENDERSON, KY 42420-4206                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         11/30/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                   Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: MARY HOWELL
                                                                                                                  Last Date to File (govt):           04/06/10
                                 1400 CLAY ST
       Claim No: 768             HENDERSON, KY 42420-4206                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         11/30/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                   Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)
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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: SAMPSON PEGEE
                                                                                                                 Last Date to File (govt):           04/06/10
                                802 CHESHIRE CT
       Claim No: 769            APT 3                                                                            Filing Status:
                                FREEPORT, IL 61032-4566                                                          Docket Status:
                                                                                                                 Late:

        Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
        11/30/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                    $313,000.00                                                          $0.00
            Priority                                                                                                                         $0.00
               Total                                                    $313,000.00                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: BRIAN J URBANEK
                                                                                                                 Last Date to File (govt):           04/06/10
                                C/O SUN CAPITAL PARNERS INC
       Claim No: 770            5200 TOWN CENTER CIRCLE STE 600                                                  Filing Status:
                                BOCA RATON, FL 33486                                                             Docket Status:
                                                                                                                 Late:

        Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
        11/30/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                      $3,116.85
            Priority
               Total                                                      $3,116.85
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: THOMAS V TAYLOR, JR
                                                                                                                 Last Date to File (govt):           04/06/10
                                C/O SUN CAPITAL PARTNERS INC
       Claim No: 771            5200 TOWN CENTER CIRCLE STE 600                                                  Filing Status:
                                BOCA RATON, FL 33486                                                             Docket Status:
                                                                                                                 Late:

        Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
        11/30/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                      $3,116.85
            Priority
               Total                                                      $3,116.85
Description:
Remarks:
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BNK01160                                                                                                    10-Feb-12       1:04 PM
                                U.S. Bankruptcy Court - District of Delaware
                                          Claims Register Report
                                        09-13449 ACCURIDE CORPORATION, ET AL.
                                                 Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Accuride Corporation
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: JASON H NEIMARK
                                                                                              Last Date to File (govt):     04/06/10
                        C/O SUN CAPITAL PARTNERS INC
       Claim No: 772    5200 TOWN CENTER CIRCLE STE 600                                       Filing Status:
                        BOCA RATON, FL 33486                                                  Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/30/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                 Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                        $3,116.85
            Priority
               Total                                        $3,116.85
Description:
Remarks:

                        Debtor Name: Accuride Corporation
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: DONALD C MUELLER
                                                                                              Last Date to File (govt):     04/06/10
                        C/O SUN CAPITAL PARTNERS INC
       Claim No: 773    5200 TOWN CENTER CIRCLE STE 600                                       Filing Status:
                        BOCA RATON, FL 33486                                                  Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/30/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                 Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                        $3,116.85
            Priority
               Total                                        $3,116.85
Description:
Remarks:

                        Debtor Name: Accuride Corporation
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: MICHAEL E ALGER
                                                                                              Last Date to File (govt):     04/06/10
                        C/O SUN CAPITAL PARTNERS INC
       Claim No: 774    5200 TOWN CENTER CIRCLE STE 600                                       Filing Status:
                        BOCA RATON, FL 33486                                                  Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        11/30/2009      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                 Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                        $3,116.85
            Priority
               Total                                        $3,116.85
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 259 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: LANE PUNCH CORPORATION
                                                                                                               Last Date to File (govt):           04/06/10
                                 281 LANE PARKWAY
       Claim No: 775             SALISBURY, NC 28146-9745                                                      Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/30/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $4,502.04
            Priority
               Total                                                        $4,502.04
Description:
Remarks:

                                 Debtor Name: Imperial Group, L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: BERGH, RICHARD
                                                                                                               Last Date to File (govt):           04/06/10
                                 C/O SCHROETER, GOLDMARK & BENDER
       Claim No: 776             500 CENTRAL BLDG                                                              Filing Status:
                                 810 THIRD AVENUE                                                              Docket Status:
                                 SEATTLE, WA 98104-1655                                                        Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/30/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                      $250,000.00
            Priority                                                        $9,750.00
               Total                                                      $259,750.00
Description:
Remarks:        Obection withdrawn per Order (Dkt 990) 04.13.10

                                 Debtor Name: Imperial Group, L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: NORTHGATE INVESTORS LLC
                                                                                                               Last Date to File (govt):           04/06/10
                                 ACCOUNT RECEIVABLES
       Claim No: 777             ATTN: LEE PARADISE                                                            Filing Status:
                                 PO BOX 426                                                                    Docket Status:
                                 JOELTON, TN 37080-0426                                                        Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/30/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                       $14,125.22                                                      $0.00
            Priority                                                            $0.00                                                      $0.00
               Total                                                       $14,125.22                                                      $0.00
Description:
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)
                             Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12            Page 260 of 374


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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: DTE ENERGY (DETROIT EDISON & MICHIGAN
                                                                                                                      Last Date to File (govt):           04/06/10
                                CONSOLIDATED GAS)
       Claim No: 778            ONE ENERGY PLAZA, 2160 WCB                                                            Filing Status:
                                DETROIT, MI 48226                                                                     Docket Status:
                                                                                                                      Late:

        Claim Date:             Amends Claim No:                                                                      Duplicates Claim No:
        11/30/2009              Amended By Claim No:                                                                  Duplicated By Claim No:
               Class                                              Amount Claimed                                                   Amount Allowed
            Secured
           Unsecured                                                     $3,418.64
            Priority
               Total                                                     $3,418.64
Description:
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: FLUID POWER ENGINEERING CO
                                                                                                                      Last Date to File (govt):           04/06/10
                                C/O UNITED STATES DEBT RECOVERY III, LP
       Claim No: 779            940 SOUTHWOOD BI, SUITE 101                                                           Filing Status:
                                INCLINE VILLAGE, NV 89451                                                             Docket Status:
                                                                                                                      Late:

        Claim Date:             Amends Claim No:                                                                      Duplicates Claim No:
        11/30/2009              Amended By Claim No:                                                                  Duplicated By Claim No:
               Class                                              Amount Claimed                                                   Amount Allowed
            Secured
           Unsecured                                                       $740.00
            Priority
               Total                                                       $740.00
Description:
Remarks:

                                Debtor Name: Fabco Automotive Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: FAIRFIELD MFG COMPANY
                                                                                                                      Last Date to File (govt):           04/06/10
                                2309 CONCORD RD
       Claim No: 780            LAFAYETTE, IN 47909-2707                                                              Filing Status:
                                                                                                                      Docket Status:
                                                                                                                      Late:

        Claim Date:             Amends Claim No:                                                                      Duplicates Claim No:
        11/30/2009              Amended By Claim No:                                                                  Duplicated By Claim No:
               Class                                              Amount Claimed                                                   Amount Allowed
            Secured                                                                                                                               $0.00
           Unsecured                                                    $63,236.07                                                       $17,547.10
            Priority                                                                                                                              $0.00
               Total                                                    $63,236.07                                                       $17,547.10
Description:
Remarks:        Amended by Claim # 1079; Clm amt red.and allowed per Omni 3 Order-Mod. Clms filed 4.13.10 (Dkt 990)
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BNK01160                                                                                                                 10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                           Last Date to File Claims:     11/30/09
                                Creditor Name: NSC INC SOFTWARE SOLUTIONS
                                                                                                           Last Date to File (govt):     04/06/10
                                ERIC NIES
       Claim No: 781            428 W RYAN ST                                                              Filing Status:
                                BRILLION, WI 54110-1038                                                    Docket Status:
                                                                                                           Late:

         Claim Date:            Amends Claim No:                                                           Duplicates Claim No:
         11/30/2009             Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                     $4,887.50
            Priority
               Total                                                     $4,887.50
Description:
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                           Last Date to File Claims:     11/30/09
                                Creditor Name: MARY JONES
                                                                                                           Last Date to File (govt):     04/06/10
                                520 7TH ST
       Claim No: 782            HENDERSON, KY 42420-2840                                                   Filing Status:
                                                                                                           Docket Status:
                                                                                                           Late:

         Claim Date:            Amends Claim No:                                                           Duplicates Claim No:
         11/30/2009             Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                         Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                                Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Imperial Group, L.P.
                                                                                                           Last Date to File Claims:     11/30/09
                                Creditor Name: AMERICAN SALVAGE & RECYCLING
                                                                                                           Last Date to File (govt):     04/06/10
                                MARK COPP
       Claim No: 783            PO BOX 67                                                                  Filing Status:
                                PONDER, TX 76259-0067                                                      Docket Status:
                                                                                                           Late:

         Claim Date:            Amends Claim No:                                                           Duplicates Claim No:
         11/30/2009             Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                         Amount Allowed
            Secured
           Unsecured
            Priority                                                     $4,000.00
               Total                                                     $4,000.00
Description: Administrative - Please See Claim For Details.
Remarks:
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BNK01160                                                                                                                             10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Erie L.P.
                                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: CLARK-MCKIBBEN SAFETY PROD INC
                                                                                                                       Last Date to File (govt):           04/06/10
                                ATTN: SCOTT BARNES- JACK MCKIBB
       Claim No: 784            PO BOX 3244                                                                            Filing Status:
                                ERIE, PA 16508-0244                                                                    Docket Status:
                                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                                       Duplicates Claim No:
         11/30/2009             Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                              Amount Claimed                                                    Amount Allowed
            Secured
           Unsecured                                                     $13,966.88
            Priority                                                     $10,136.99
               Total                                                     $24,103.87
Description: Administrative - Please See Claim For Details.
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: GREGORY SCHAER
                                                                                                                       Last Date to File (govt):           04/06/10
                                C/O JOSEPH P SORCE
       Claim No: 785            GOLDBERG WEISMAN CAIRO                                                                 Filing Status:
                                1 E WACKER DR, STE 3800                                                                Docket Status:
                                CHICAGO, IL 60601                                                                      Late:

         Claim Date:            Amends Claim No:                                                                       Duplicates Claim No:
         11/30/2009             Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                              Amount Claimed                                                    Amount Allowed
            Secured
           Unsecured                                                  $4,000,000.00
            Priority
               Total                                                  $4,000,000.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:        Amended by claim #1043; Survives Clm #848; Exp per Order 5/12/10 (Dkt 1069). Surviving Claim # 1043.

                                Debtor Name: Fabco Automotive Corporation
                                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: PACIFIC GAS & ELECTRIC COMPANY
                                                                                                                       Last Date to File (govt):           04/06/10
                                BARBARA GREEN, BANKRUPTCY UNIT
       Claim No: 786            PO BOX 8329                                                                            Filing Status:
                                STOCKTON, CA 95208                                                                     Docket Status:
                                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                                       Duplicates Claim No:
         11/30/2009             Amended By Claim No:                                                                   Duplicated By Claim No:
               Class                                              Amount Claimed                                                    Amount Allowed
            Secured                                                                                                                                $0.00
           Unsecured                                                     $18,567.42                                                       $14,928.40
            Priority                                                                                                                               $0.00
               Total                                                     $18,567.42                                                       $14,928.40
Description:
Remarks:        Claim amt modified and allowed per Omni 4 Order - Mod. Clms filed 4.13.10 (Dkt 991)
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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name:
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: TEAM HARDINGER TRANSPORTATION
                                                                                                          Last Date to File (govt):     04/06/10
                               1314 W 18TH ST
       Claim No: 787           ERIE, PA 16502-1517                                                        Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/30/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $28,396.04
            Priority
               Total                                                   $28,396.04
Description:
Remarks:

                               Debtor Name:
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: ERIE WAREHOUSE CO
                                                                                                          Last Date to File (govt):     04/06/10
                               1258 WEST 18TH STREET
       Claim No: 788           ERIE, PA 16502-1515                                                        Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/30/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $1,545.65
            Priority
               Total                                                    $1,545.65
Description:
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: GELHAR, AF CO INC
                                                                                                          Last Date to File (govt):     04/06/10
                               PO BOX 126
       Claim No: 789           FAIRWATER, WI 53931-0126                                                   Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         11/30/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                    $5,714.93
               Total                                                    $5,714.93
Description: Administrative - Please See Claim For Details.
Remarks:
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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: JAMES T & BONNIE DELIE
                                                                                                                 Last Date to File (govt):           04/06/10
                                C/O STUTSMAN & MULVANEY
       Claim No: 790            1300 CASSOPOLIS ST                                                               Filing Status:
                                P O BOX 1337                                                                     Docket Status:
                                ELKART, IN 46515-1337                                                            Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/30/2009             Amended By Claim No:                                                             Duplicated By Claim No:
             Class                                                Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                    $250,000.00
            Priority
             Total                                                      $250,000.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:       Survives Claim #791

                                Debtor Name: Gunite Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: JAMES T DELIE AND BONNIE DELIE
                                                                                                                 Last Date to File (govt):           04/06/10
                                C/O DOUGLAS A. MULVANY, ATTORNEY AT LAW
       Claim No: 791            1300 CASSOPOLIS ST                                                               Filing Status:
                                P.O. BOX 1337                                                                    Docket Status:
                                ELKHART, IN 46515-1337                                                           Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/30/2009             Amended By Claim No:                                                             Duplicated By Claim No:
             Class                                                Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                    $250,000.00                                                          $0.00
            Priority                                                                                                                         $0.00
             Total                                                      $250,000.00 (Unliquidated)                                           $0.00
Description: Please see claim for detail.
Remarks:       Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Surviving Claim #790

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: GT DEVELOPMENT
                                                                                                                 Last Date to File (govt):           04/06/10
                                425 C ST NW STE 100
       Claim No: 792            AUBURN, WA 98001-3906                                                            Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/30/2009             Amended By Claim No:                                                             Duplicated By Claim No:
             Class                                                Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                      $5,936.41
            Priority                                                     $34,540.00
             Total                                                       $40,476.41
Description: Administrative - Please See Claim For Details.
Remarks:
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BNK01160                                                                                                      10-Feb-12       1:04 PM
                                U.S. Bankruptcy Court - District of Delaware
                                          Claims Register Report
                                        09-13449 ACCURIDE CORPORATION, ET AL.
                                                 Judge Hon. Brendan Linehan Shannon
                        Debtor Name:
                                                                                                Last Date to File Claims:     11/30/09
                        Creditor Name: AMCOL CORP
                                                                                                Last Date to File (govt):     04/06/10
                        21435 DEQUINDRE
       Claim No: 793    HAZEL PARK, MI 48030                                                    Filing Status:
                                                                                                Docket Status:
                                                                                                Late:

        Claim Date:     Amends Claim No:                                                        Duplicates Claim No:
        11/30/2009      Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                 Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                           $326.06
            Priority
               Total                                           $326.06
Description:
Remarks:

                        Debtor Name: Accuride Corporation
                                                                                                Last Date to File Claims:     11/30/09
                        Creditor Name: CHARLES E MITCHELL RENTSCHLER
                                                                                                Last Date to File (govt):     04/06/10
                        2375 NORTH 1050 E
       Claim No: 794    HARTSVILLE, IN 47244                                                    Filing Status:
                                                                                                Docket Status:
                                                                                                Late:

        Claim Date:     Amends Claim No:                                                        Duplicates Claim No:
        11/30/2009      Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                 Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                         $49,970.51
            Priority
               Total                                         $49,970.51
Description:
Remarks:

                        Debtor Name: Accuride Corporation
                                                                                                Last Date to File Claims:     11/30/09
                        Creditor Name: JOHN D DURRERT JR
                                                                                                Last Date to File (govt):     04/06/10
                        777 HERMOSA WAY
       Claim No: 795    MENLO PARK, CA 94025                                                    Filing Status:
                                                                                                Docket Status:
                                                                                                Late:

        Claim Date:     Amends Claim No:                                                        Duplicates Claim No:
        11/30/2009      Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                 Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                        $152,055.47
            Priority
               Total                                        $152,055.47
Description:
Remarks:
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12        Page 266 of 374


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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: DONALD JOHNSON JR
                                                                                                                 Last Date to File (govt):           04/06/10
                                781 EMERALD BARBOR DR
       Claim No: 796            LONGBOAT KEY, FL 34228-1609                                                      Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/30/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                     $39,776.92
            Priority
               Total                                                     $39,776.92
Description:
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: GEORGE DEAL III
                                                                                                                 Last Date to File (govt):           04/06/10
                                915 W WOLF AVE
       Claim No: 797            ELKHART, IN 46516-2343                                                           Filing Status:
                                                                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/30/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                                                                                         $0.00
            Priority                                                          $0.00                                                          $0.00
               Total                                                          $0.00 (Unliquidated)                                           $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                Creditor Name: MARTIN F MCCARTHY & DEBORAH B MCCARTHY
                                                                                                                 Last Date to File (govt):           04/06/10
                                JTWROS
       Claim No: 798            9410 DIN EIDYN DRIVE                                                             Filing Status:
                                DUBLIN, OH 43017                                                                 Docket Status:
                                                                                                                 Late:

         Claim Date:            Amends Claim No:                                                                 Duplicates Claim No:
         11/30/2009             Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                              Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                        $124.26
            Priority
               Total                                                        $124.26
Description:
Remarks:
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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: CERAMTEC AG
                                                                                                                  Last Date to File (govt):           04/06/10
                                 HAUPTSTRAßE 56
       Claim No: 799             73061 EBERSBACH GERMANY                                                          Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/01/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                        $1,253.69                                                         $0.00
               Total                                                        $1,253.69                                                         $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: THOMAS YATES
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PATRICK M YATES POA
       Claim No: 800             2570 TARGHEE ST                                                                  Filing Status:
                                 FREEPORT, WI 53711-5493                                                          Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/01/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                           $50.00
            Priority
               Total                                                           $50.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                 Debtor Name: Accuride Erie L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: TJ WHIPPLE CONSTRUCTION
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: TIM WHIPPLE
       Claim No: 801             PO BOX 8131                                                                      Filing Status:
                                 ERIE, PA 16506-0131                                                              Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/01/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $40,802.00                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $40,802.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
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BNK01160                                                                                                      10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name:
                                                                                                Last Date to File Claims:     11/30/09
                        Creditor Name: SIGNODE-EASTERN OPERATIONS
                                                                                                Last Date to File (govt):     04/06/10
                        PO BOX 95733
       Claim No: 802    CHICAGO, IL 60694-5733                                                  Filing Status:
                                                                                                Docket Status:
                                                                                                Late:

        Claim Date:     Amends Claim No:                                                        Duplicates Claim No:
        12/01/2009      Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                   Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                         $10,566.24
            Priority
               Total                                         $10,566.24
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                Last Date to File Claims:     11/30/09
                        Creditor Name: AP WESTSHORE INC
                                                                                                Last Date to File (govt):     04/06/10
                        12238 NEWBURGH RD
       Claim No: 803    LIVONIA, MI 48150-1046                                                  Filing Status:
                                                                                                Docket Status:
                                                                                                Late:

        Claim Date:     Amends Claim No:                                                        Duplicates Claim No:
        12/01/2009      Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                   Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                         $40,019.29
            Priority
               Total                                         $40,019.29
Description:
Remarks:

                        Debtor Name: Accuride Erie L.P.
                                                                                                Last Date to File Claims:     11/30/09
                        Creditor Name: HOFFMAN RIGGERS INC
                                                                                                Last Date to File (govt):     04/06/10
                        1221 WALNUT ST
       Claim No: 804    ERIE, PA 16501-1524                                                     Filing Status:
                                                                                                Docket Status:
                                                                                                Late:

        Claim Date:     Amends Claim No:                                                        Duplicates Claim No:
        12/01/2009      Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                   Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                         $83,315.00
            Priority
               Total                                         $83,315.00
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 269 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: WELLMAN PRODUCTS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 74261
       Claim No: 805             CLEVELAND, OH 44194-1818                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/01/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $33,600.52                                                $13,043.62
            Priority                                                                                                                          $0.00
               Total                                                       $33,600.52                                                $13,043.62
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: ALL-PHASE ELECTRIC SUPPLY CO
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 450
       Claim No: 806             LIMA, OH 45802                                                                   Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/01/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $728.69                                                         $0.00
            Priority                                                          $807.03                                                         $0.00
               Total                                                        $1,535.72                                                         $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Imperial Group, L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: QUALITY INDUSTRIES INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 BOX 7016
       Claim No: 807             LAVERGNE, TN 37086                                                               Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/01/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                       $13,027.65                                                         $0.00
               Total                                                       $13,027.65                                                         $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12   Page 270 of 374


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BNK01160                                                                                                                    10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: MATTHEW B ALLEN
                                                                                                              Last Date to File (govt):           04/06/10
                                 PO BOX 590249
       Claim No: 808             NEWTON CENTRE, MA 02459                                                      Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        12/01/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                        $7,053.13                                                     $0.00
            Priority                                                                                                                      $0.00
               Total                                                        $7,053.13                                                     $0.00
Description:
Remarks:        Disalled per Omni 1 Order - Late Filed Clms & S/H Clms- filed 4.13.10 (Dkt 989)

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: FISHER DYNAMICS
                                                                                                              Last Date to File (govt):           04/06/10
                                 PO BOX 77000/ DEPT 77173
       Claim No: 809             DETROIT, MI 48277-1650                                                       Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        12/01/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                        $1,268.75
            Priority
               Total                                                        $1,268.75
Description:
Remarks:

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: JAY MCCAIN
                                                                                                              Last Date to File (govt):           04/06/10
                                 JAY'S CUSTOM MACHINE
       Claim No: 810             PO BOX 88                                                                    Filing Status:
                                 PIEDMONT, AL 36272-0088                                                      Docket Status:
                                                                                                              Late:

        Claim Date:              Amends Claim No:                                                             Duplicates Claim No:
        12/01/2009               Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                          $300.00
            Priority
               Total                                                          $300.00
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 271 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: BAYSHORE TRUCK EQUIPMENT CO
                                                                                                                  Last Date to File (govt):           04/06/10
                                 267 S VASCO RD
       Claim No: 811             LIVERMORE, CA 94551-9203                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/01/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $1,653.26
            Priority                                                          $255.00
               Total                                                        $1,908.26
Description: Administrative - Please See Claim For Details.
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: ESTATE OF FELIX BASS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 C/O INGE BASS
       Claim No: 812             3231 HARLEY DR                                                                   Filing Status:
                                 MARLTON, NJ 08053                                                                Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/01/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $5,400.00                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $5,400.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: INTEGRA TELECOM
                                                                                                                  Last Date to File (govt):           04/06/10
                                 1201 NE LLOYD BLVD
       Claim No: 813             SUITE 500                                                                        Filing Status:
                                 PORTLAND, OR 92732                                                               Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/01/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $269.56                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $269.56                                                         $0.00
Description:
Remarks:        Disallowed per Omni 2 Order - Late Filed Claims filed 4.13.10 (Dkt 992)
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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: BRUCE KLABUNDE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 2239 FAIRVIEW AV
       Claim No: 814             EASTON, PA 18042                                                                 Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/01/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $113.00                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $113.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Fabco Automotive Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: CUTTER LUMBER COMPANY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: TODD SAMUELS
       Claim No: 815             10 RICKENBACKER CIR                                                              Filing Status:
                                 LIVERMORE, CA 94551-7211                                                         Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/01/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $2,138.25
            Priority
               Total                                                        $2,138.25
Description:
Remarks:

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: PIEDMONT FOUNDRY SUPPLY INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 87
       Claim No: 816             CLOVERDATE, VA 24077-0087                                                        Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/01/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                          $424.00
            Priority
               Total                                                          $424.00
Description:
Remarks:
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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Imperial Group, L.P.
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: PACIFIC MAT HANDLING SOLUTIONS
                                                                                               Last Date to File (govt):     04/06/10
                        c/o CLAIMS RECOVERY GROUP LLC
       Claim No: 817    92 UNION AVENUE                                                        Filing Status:
                        CRESSKILL, NJ 07626                                                    Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        12/01/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                   Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $1,981.75
            Priority
               Total                                         $1,981.75
Description:
Remarks:

                        Debtor Name: Fabco Automotive Corporation
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: PACIFIC MATERIAL HANDLING SOLUTIONS INC
                                                                                               Last Date to File (govt):     04/06/10
                        c/o CLAIMS RECOVERY GROUP LLC
       Claim No: 818    92 UNION AVENUE                                                        Filing Status:
                        CRESSKILL, NJ 07626                                                    Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        12/01/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                   Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $1,489.68
            Priority
               Total                                         $1,489.68
Description:
Remarks:

                        Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: QTEC CONSULTING
                                                                                               Last Date to File (govt):     04/06/10
                        4459 WEBER RD
       Claim No: 819    ST LOUIS, MO 63123-6718                                                Filing Status:
                                                                                               Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        12/01/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                   Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $1,565.00
            Priority
               Total                                         $1,565.00
Description:
Remarks:
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: UNUM LIFE INSURANCE COMPANY OF AMERICA
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: HEATHER SULLIVAN, ADV SR PARALEGAL
       Claim No: 820             UNUM                                                                             Filing Status:
                                 2211 CONGRESS ST C-495                                                           Docket Status:
                                 PORTLAND, ME 04122                                                               Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/01/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                        $9,594.29                                                         $0.00
               Total                                                        $9,594.29                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: A TO Z AUTO PARTS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 701 WEST MAIN
       Claim No: 821             DECATUR, TX 76234-1203                                                           Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/01/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $167.03                                                         $0.00
            Priority                                                          $107.45                                                         $0.00
               Total                                                          $274.48                                                         $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: TERRENCE J KEATING
                                                                                                                  Last Date to File (govt):           04/06/10
                                 1199 HUNTER BLVD
       Claim No: 822             BOONVILLE, IN 47601                                                              Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/01/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                            $0.00                                                         $0.00
               Total                                                            $0.00 (Unliquidated)                                          $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)
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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: EARLE M JORGENSEN CO
                                                                                                               Last Date to File (govt):           04/06/10
                                 ATTN: JEFF TAKU
       Claim No: 823             31100 WIEGMAN RD                                                              Filing Status:
                                 HAYWARD, CA 94544-7850                                                        Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/01/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                      $7,560.39
            Priority
               Total                                                      $7,560.39
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: RONALD MOORE
                                                                                                               Last Date to File (govt):           04/06/10
                                 284 WHARNCLIFFE RD S
       Claim No: 824             LONDON ON N6J2L5 CANADA                                                       Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/01/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                       Unknown                                                         $0.00
               Total                                                   Unliquidated                                                        $0.00
Description: Please see claim for detail.
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                 Debtor Name:
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: LOUIS BILINOVICH JR
                                                                                                               Last Date to File (govt):           04/06/10
                                 3048 BAUGHMAN RD
       Claim No: 825             CLINTON, OH 44203                                                             Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/01/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                      $5,000.00                                                        $0.00
            Priority                                                                                                                       $0.00
               Total                                                      $5,000.00                                                        $0.00
Description:
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)
                             Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12     Page 276 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: DONALD CRANNELL
                                                                                                               Last Date to File (govt):           04/06/10
                                 9659 MARK RD
       Claim No: 826             ERIE, PA 16509-6103                                                           Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/01/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                                                                                       $0.00
               Total                                                   Unliquidated                                                        $0.00
Description: Please see claim for detail.
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                 Debtor Name: Accuride Erie L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: ROTO-ROOTER SERVICE
                                                                                                               Last Date to File (govt):           04/06/10
                                 C/O UNITED STATES DEBT RECOVERY III, LP
       Claim No: 827             940 SOUTHWOOD BI, SUITE 101                                                   Filing Status:
                                 INCLINE VILLAGE, NV 89451                                                     Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/01/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                      $1,048.50
            Priority
               Total                                                      $1,048.50
Description:
Remarks:

                                 Debtor Name:
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: BEAVER PAPER & PACKAGING
                                                                                                               Last Date to File (govt):           04/06/10
                                 1605 INDIAN BROOK WAY, STE 300
       Claim No: 828             NORCROSS, GA 30093-2681                                                       Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/01/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                      $4,883.75                                                        $0.00
            Priority                                                                                                                       $0.00
               Total                                                      $4,883.75                                                        $0.00
Description:
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)
                       Case 09-13449-BLS             Doc 1321-1              Filed 02/14/12   Page 277 of 374


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                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: HA INTERNATIONAL LLC
                                                                                                   Last Date to File (govt):     04/06/10
                        22668 NETWORK PL
       Claim No: 829    CHICAGO, IL 60673-1226                                                     Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/23/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $4,002.01
            Priority
               Total                                             $4,002.01
Description:
Remarks:

                        Debtor Name: Accuride
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: MCMASTER CARR
                                                                                                   Last Date to File (govt):     04/06/10
                        9630 NORWALK
       Claim No: 830    SANTA FE SPRINGS, CA 90670                                                 Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/16/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                              $507.09
            Priority
               Total                                              $507.09
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: GLOBAL ENGINEERING DOCUMENTS
                                                                                                   Last Date to File (govt):     04/06/10
                        15 INVERNESS WAY E
       Claim No: 831    ENGLEWOOD, CO 80112-5710                                                   Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        11/30/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                               $30.00
            Priority
               Total                                               $30.00
Description:
Remarks:
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12   Page 278 of 374


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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: VICTORY PACKAGING LP
                                                                                                            Last Date to File (govt):           04/06/10
                                3555 TIMMONS LN
       Claim No: 832            HOUSTON, TX 77027                                                           Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/30/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                     $39,615.13                                            $15,987.83
            Priority                                                                                                                    $0.00
               Total                                                     $39,615.13                                            $15,987.83
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)

                                Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: AIRGAS GREAT LAKES
                                                                                                            Last Date to File (govt):           04/06/10
                                6055 ROCKSIDE WOODS BLVD
       Claim No: 833            INDEPENDENCE, OH 44131                                                      Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/30/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                        $296.10
            Priority
               Total                                                        $296.10
Description:
Remarks:

                                Debtor Name: Accuride Erie L.P.
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: AIRGAS GREAT LAKES
                                                                                                            Last Date to File (govt):           04/06/10
                                6055 ROCKSIDE WOODS BLVD
       Claim No: 834            INDEPENDENCE, OH 44131                                                      Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
        11/30/2009              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                              Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                         $10.59
            Priority
               Total                                                         $10.59
Description:
Remarks:
                              Case 09-13449-BLS                  Doc 1321-1             Filed 02/14/12       Page 279 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: GREGORY JOYNER
                                                                                                                  Last Date to File (govt):           04/06/10
                                 1208 HELM ST
       Claim No: 835             HENDERSON, KY 42420-3711                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                     $195,300.00                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                     $195,300.00                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Surviving Claim #734

                                 Debtor Name: Accuride
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: RIGHT MANAGEMENT INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 1818 MARKET ST 33RD FLOOR
       Claim No: 836             PHILADELPHIA, PA 19103                                                           Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                      $42,000.00
            Priority
               Total                                                      $42,000.00
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: MCMASTER-CARRS SUPPLY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 4355
       Claim No: 837             CHICAGO, IL 60680                                                                Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        11/17/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                       $6,503.74
            Priority
               Total                                                       $6,503.74
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12      Page 280 of 374


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BNK01160                                                                                                                       10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: OHIO EDISON
                                                                                                                 Last Date to File (govt):           04/06/10
                                 OHIO EDISON COMPANY
       Claim No: 838             BANKRUPTCY DEPT                                                                 Filing Status:
                                 6896 MILLER RD RM 204                                                           Docket Status:
                                 BRECKSVILLE, OH 44141                                                           Late:

        Claim Date:              Amends Claim No:                                                                Duplicates Claim No:
        11/23/2009               Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                       $7,986.07                                                  $7,849.39
            Priority                                                                                                                         $0.00
               Total                                                       $7,986.07                                                  $7,849.39
Description:
Remarks:        Claim amt reduced and allowed per Omni 3 Order - Mod. Clms filed 4.13.10 (Dkt 990)

                                 Debtor Name: Accuride Corporation
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: ATMOS ENERGY/MID-STATES DIVISION
                                                                                                                 Last Date to File (govt):           04/06/10
                                 A DIVISION OF ATMOS ENERGY CORP
       Claim No: 839             ATTN BANKRUPTCY GROUP                                                           Filing Status:
                                 PO BOX 650205                                                                   Docket Status:
                                 DALLAS, TX 75265-0205                                                           Late:

        Claim Date:              Amends Claim No:                                                                Duplicates Claim No:
        11/10/2009               Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured                                                                                                                          $0.00
           Unsecured                                                      $11,098.35                                                         $0.00
            Priority                                                                                                                         $0.00
               Total                                                      $11,098.35                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Surviving Claim #57

                                 Debtor Name: Accuride Corporation (Imperial Group)
                                                                                                                 Last Date to File Claims:           11/30/09
                                 Creditor Name: GDF SUEZ ENERGY RESOURCES NA INC
                                                                                                                 Last Date to File (govt):           04/06/10
                                 ATTN CHRIS JONES
       Claim No: 840             1990 POST OAK BLVD STE 1900                                                     Filing Status:
                                 HOUSTON, TX 77056                                                               Docket Status:
                                                                                                                 Late:

        Claim Date:              Amends Claim No:                                                                Duplicates Claim No:
        11/24/2009               Amended By Claim No:                                                            Duplicated By Claim No:
               Class                                               Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                      $39,514.36
            Priority
               Total                                                      $39,514.36
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 281 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: ACCU-CHEK INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 8385 STATE ROAD 64
       Claim No: 841             GEORGETOWN, IN 47122-9058                                                     Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/24/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $3,260.68
            Priority
               Total                                                        $3,260.68
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: SCHENKER INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 965 NORFOLK SQ
       Claim No: 842             NORFOLK, VA 23502                                                             Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/24/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                       $12,246.33                                                      $0.00
            Priority                                                                                                                       $0.00
               Total                                                       $12,246.33                                                      $0.00
Description:
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)

                                 Debtor Name: Imperial Group, L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: CONNER INDUSTRIES
                                                                                                               Last Date to File (govt):           04/06/10
                                 3800 SANDSHELL DR SUITE 235
       Claim No: 843             FORT WORTH, TX 76137-2429                                                     Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/24/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $5,517.90
            Priority
               Total                                                        $5,517.90
Description:
Remarks:
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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Fabco Automotive Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: DAWLEN CORPORATION
                                                                                                                Last Date to File (govt):           04/06/10
                                 PO BOX 884
       Claim No: 844             JACKSON, MI 49204                                                              Filing Status:
                                                                                                                Docket Status:
                                                                                                                Late:

        Claim Date:              Amends Claim No:                                                               Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                        $2,952.00
            Priority
               Total                                                        $2,952.00
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: W W GRAINGER INC
                                                                                                                Last Date to File (govt):           04/06/10
                                 7300 N MELVINA
       Claim No: 845             M240                                                                           Filing Status:
                                 NILES, IL 60714                                                                Docket Status:
                                                                                                                Late:

        Claim Date:              Amends Claim No:                                                               Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                        $4,188.16
            Priority
               Total                                                        $4,188.16
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: XEROX CORP
                                                                                                                Last Date to File (govt):           04/06/10
                                 ATTN VANESSA ADAMS
       Claim No: 846             1301 RIDGEVIEW DRIVE 450                                                       Filing Status:
                                 LEWISVILLE, TX 75057                                                           Docket Status:
                                                                                                                Late:

        Claim Date:              Amends Claim No:                                                               Duplicates Claim No:
        12/02/2009               Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                Amount Claimed                                           Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                      $18,513.68                                                        $0.00
            Priority                                                                                                                        $0.00
               Total                                                      $18,513.68                                                        $0.00
Description:
Remarks:        Disallowed per Omni 2 Order - Late Filed Claims filed 4.13.10 (Dkt 992)
                              Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12      Page 283 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: PRAXAIR DISTRIBUTION INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 C/O RMS BANKRUPTCY RECOVERY SERVICES
       Claim No: 847             PO BOX 5126                                                                      Filing Status:
                                 TIMONIUM, MD 21094                                                               Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         11/13/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                          $157.86
            Priority
               Total                                                          $157.86
Description:
Remarks:

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: GREGORY SCHAER
                                                                                                                  Last Date to File (govt):           04/06/10
                                 C/O GOLDBERG WEISMAN CAIRO
       Claim No: 848             ATTN: JOSEPH P SORCE                                                             Filing Status:
                                 1 E WACKER DRIVE SUITE 3800                                                      Docket Status:
                                 CHICAGO, IL 60601                                                                Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         11/30/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                    $4,000,000.00                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                    $4,000,000.00 (Unliquidated)                                          $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Surviving Claim #785

                                 Debtor Name: Gunite EMI Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: VICTORY PACKAGING LP
                                                                                                                  Last Date to File (govt):           04/06/10
                                 C/O EULER HERMES ACI
       Claim No: 849             AGENT OF VICTORY PACKAGING LP                                                    Filing Status:
                                 800 RED BROOK BLVD                                                               Docket Status:
                                 OWINGS MILLS, MD 21117                                                           Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         11/19/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $14,165.65                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $14,165.65                                                         $0.00
Description:
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)
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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: PRAXAIR DISTRIBUTION INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 C/O RMS BANKRUPTCY RECOVERY SERVICES
       Claim No: 850             PO BOX 5126                                                                   Filing Status:
                                 TIMONIUM, MD 21094                                                            Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/13/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                        $3,968.49                                               $1,864.86
            Priority                                                                                                                       $0.00
               Total                                                        $3,968.49                                               $1,864.86
Description:
Remarks:        Claim amt modified and allowed per Omni 4 Order - Mod. Clms filed 4.13.10 (Dkt 991)

                                 Debtor Name: Imperial Group, L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: VICTORY PACKAGING, LP
                                                                                                               Last Date to File (govt):           04/06/10
                                 C/O EULER HERMES ACI
       Claim No: 851             AGENT OF VICTORY PACKAGING, LP                                                Filing Status:
                                 800 RED BROOK BOULEVARD                                                       Docket Status:
                                 OWINGS MILLS, MD 21117                                                        Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/16/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                        $8,386.00                                                      $0.00
            Priority                                                                                                                       $0.00
               Total                                                        $8,386.00                                                      $0.00
Description:
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)

                                 Debtor Name: Imperial Group, L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: MCVANTAGE PACKAGING LLC
                                                                                                               Last Date to File (govt):           04/06/10
                                 EULER HERMES ACI
       Claim No: 852             AGENT OF MCVANTAGE PACKAGING LLC                                              Filing Status:
                                 800 RED BROOK BOULEVARD                                                       Docket Status:
                                 OWINGS MILLS, MD 21117                                                        Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/16/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                       $42,140.62
            Priority
               Total                                                       $42,140.62
Description:
Remarks:
                              Case 09-13449-BLS                  Doc 1321-1             Filed 02/14/12       Page 285 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Imperial Group, L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: LINDE LLC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN ED HYLAND - REV MGT 1E
       Claim No: 853             575 MOUNTAIN AVE                                                                 Filing Status:
                                 MURRAY HILL, NJ 07974                                                            Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        11/10/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                      $29,140.28
            Priority
               Total                                                      $29,140.28
Description:
Remarks:

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: DAWLEN CORPORATION
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 884
       Claim No: 854             JACKSON, MI 49204                                                                Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured
           Unsecured                                                     $225,260.01
            Priority
               Total                                                     $225,260.01
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: ROBERT DUCKWORTH
                                                                                                                  Last Date to File (govt):           04/06/10
                                 4398 SAINT OLAF CIR
       Claim No: 855             HENDERSON, KY 42420-9461                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        11/25/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                     $133,200.00                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                     $133,200.00                                                          $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Duplicate Clms filed 4.13.10 (Dkt 989); Surviving Claim #735
                       Case 09-13449-BLS             Doc 1321-1          Filed 02/14/12   Page 286 of 374


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BNK01160                                                                                                     10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Bostrom Seating, Inc.
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: LORD CORP
                                                                                               Last Date to File (govt):     04/06/10
                        MATERIALS DIVISION
       Claim No: 856    PO BOX 281707                                                          Filing Status:
                        ATLANTA, GA 30384-0699                                                 Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        12/02/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                         $9,127.80
            Priority
               Total                                         $9,127.80
Description:
Remarks:

                        Debtor Name: Imperial Group, L.P.
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: LORD CORPORATION
                                                                                               Last Date to File (govt):     04/06/10
                        PO BOX 281707
       Claim No: 857    ATLANTA, GA 30384-1707                                                 Filing Status:
                                                                                               Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        12/02/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                         $2,280.00
            Priority
               Total                                         $2,280.00
Description:
Remarks:

                        Debtor Name:
                                                                                               Last Date to File Claims:     11/30/09
                        Creditor Name: EVANSVILLE IN WATERWORKS DEPT
                                                                                               Last Date to File (govt):     04/06/10
                        1 N W ML KING JR BLVD ROOM 104
       Claim No: 858    EVANSVILLE, IN 47740-0667                                              Filing Status:
                                                                                               Docket Status:
                                                                                               Late:

        Claim Date:     Amends Claim No:                                                       Duplicates Claim No:
        12/02/2009      Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                  Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                          $224.30
            Priority
               Total                                          $224.30
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12      Page 287 of 374


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BNK01160                                                                                                                           10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                                     Last Date to File Claims:           11/30/09
                                 Creditor Name: EVANSVILLE IN WATERWORKS DEPT
                                                                                                                     Last Date to File (govt):           04/06/10
                                 1 NW MARTIN LUTHER KING JR BLVD RM 104
       Claim No: 859             EVANSVILLE, IN 47740-0001                                                           Filing Status:
                                                                                                                     Docket Status:
                                                                                                                     Late:

         Claim Date:             Amends Claim No:                                                                    Duplicates Claim No:
         12/02/2009              Amended By Claim No:                                                                Duplicated By Claim No:
               Class                                                Amount Claimed                                                Amount Allowed
            Secured
           Unsecured                                                           $33.51
            Priority
               Total                                                           $33.51
Description:
Remarks:

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                     Last Date to File Claims:           11/30/09
                                 Creditor Name: FASTENAL
                                                                                                                     Last Date to File (govt):           04/06/10
                                 PO BOX 978
       Claim No: 860             WINONA, MN 55987-0978                                                               Filing Status:
                                                                                                                     Docket Status:
                                                                                                                     Late:

         Claim Date:             Amends Claim No:                                                                    Duplicates Claim No:
         12/02/2009              Amended By Claim No:                                                                Duplicated By Claim No:
               Class                                                Amount Claimed                                                Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                           $10.82                                                            $0.00
            Priority                                                          $483.62                                                            $0.00
               Total                                                          $494.44                                                            $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                     Last Date to File Claims:           11/30/09
                                 Creditor Name: DIAMOND FOREST RESOURCES
                                                                                                                     Last Date to File (govt):           04/06/10
                                 PO BOX 108
       Claim No: 861             CLEARFIELD, KY 40313-0108                                                           Filing Status:
                                                                                                                     Docket Status:
                                                                                                                     Late:

         Claim Date:             Amends Claim No:                                                                    Duplicates Claim No:
         12/02/2009              Amended By Claim No:                                                                Duplicated By Claim No:
               Class                                                Amount Claimed                                                Amount Allowed
            Secured                                                                                                                              $0.00
           Unsecured                                                       $20,505.60                                                            $0.00
            Priority                                                       $10,252.80                                                            $0.00
               Total                                                       $30,758.40                                                            $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Disall per Omni 1 Ord-Dupli Clms; Lt Filed Clms filed 04.13.10 (Dkt 989); Surviving Claim 862
                             Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12        Page 288 of 374


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BNK01160                                                                                                                            10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: DIAMOND FORREST RESOURCES
                                                                                                                      Last Date to File (govt):           04/06/10
                                PO BOX 108
       Claim No: 862            CLEARFIELD, KY 40313-0108                                                             Filing Status:
                                                                                                                      Docket Status:
                                                                                                                      Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         12/02/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                 Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                               $0.00
           Unsecured                                                      $20,505.60                                                              $0.00
            Priority                                                      $10,252.80                                                              $0.00
             Total                                                        $30,758.40                                                              $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Survives Claim #861; Disallow per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                Debtor Name: All Debtors
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN JENNIFER TONTZ ATTORNEY
       Claim No: 863            OFFICE OF THE CHIEF COUNSEL                                                           Filing Status:
                                1200 K STREET NW SUITE 340                                                            Docket Status:
                                WASHINGTON, DC 20005-4026                                                             Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         12/02/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                 Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                           $0.00                                                              $0.00
             Total                                                             $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim Withdrawn per PBGC Letter dated June 14, 2010; Claims 863-868 Amend Claims 614-637 per Dkt 989

                                Debtor Name: All Debtors
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN JENNIFER TONTZ ATTORNEY
       Claim No: 864            OFFICE OF THE CHIEF COUNSEL                                                           Filing Status:
                                1200 K STREET NW SUITE 340                                                            Docket Status:
                                WASHINGTON, DC 20005-4026                                                             Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         12/02/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
             Class                                                 Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                           $0.00                                                              $0.00
             Total                                                             $0.00 (Unliquidated)                                               $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim Withdrawn per PBGC Letter dated June 14, 2010; Claims 863-868 Amend Claims 614-637 per Dkt 989
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                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: All Debtors
                                                                                                                      Last Date to File Claims:           11/30/09
                               Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                      Last Date to File (govt):           04/06/10
                               ATTN JENNIFER TONTZ ATTORNEY
       Claim No: 865           OFFICE OF THE CHIEF COUNSEL                                                            Filing Status:
                               1200 K STREET NW SUITE 340                                                             Docket Status:
                               WASHINGTON, DC 20005-4026                                                              Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         12/02/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                               Amount Claimed                                                    Amount Allowed
            Secured                                                                                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                       $0.00                                                                  $0.00
             Total                                                         $0.00 (Unliquidated)                                                   $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim Withdrawn per PBGC Letter dated June 14, 2010; Claims 863-868 Amend Claims 614-637 per Dkt 989

                               Debtor Name: All Debtors
                                                                                                                      Last Date to File Claims:           11/30/09
                               Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                      Last Date to File (govt):           04/06/10
                               ATTN JENNIFER TONTZ ATTORNEY
       Claim No: 866           OFFICE OF THE CHIEF COUNSEL                                                            Filing Status:
                               1200 K STREET NW SUITE 340                                                             Docket Status:
                               WASHINGTON, DC 20005-4026                                                              Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         12/02/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                               Amount Claimed                                                    Amount Allowed
            Secured                                                                                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                       $0.00                                                                  $0.00
             Total                                                         $0.00 (Unliquidated)                                                   $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim Withdrawn per PBGC Letter dated June 14, 2010; Claims 863-868 Amend Claims 614-637 per Dkt 989

                               Debtor Name: Accuride Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                               Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                      Last Date to File (govt):           04/06/10
                               ATTN JENNIFER TONTZ ATTORNEY
       Claim No: 867           OFFICE OF THE CHIEF COUNSEL                                                            Filing Status:
                               1200 K STREET NW SUITE 340                                                             Docket Status:
                               WASHINGTON, DC 20005-4026                                                              Late:

         Claim Date:           Amends Claim No:                                                                       Duplicates Claim No:
         12/02/2009            Amended By Claim No:                                                                   Duplicated By Claim No:
             Class                                               Amount Claimed                                                    Amount Allowed
            Secured                                                                                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                       $0.00                                                                  $0.00
             Total                                                         $0.00 (Unliquidated)                                                   $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim Withdrawn per PBGC Letter dated June 14, 2010; Claims 863-868 Amend Claims 614-637 per Dkt 989
                             Case 09-13449-BLS                  Doc 1321-1             Filed 02/14/12              Page 290 of 374


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BNK01160                                                                                                                              10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: All Debtors
                                                                                                                        Last Date to File Claims:           11/30/09
                                Creditor Name: PENSION BENEFIT GUARANTY CORPORATION
                                                                                                                        Last Date to File (govt):           04/06/10
                                ATTN JENNIFER TONTZ ATTORNEY
       Claim No: 868            OFFICE OF THE CHIEF COUNSEL                                                             Filing Status:
                                1200 K STREET NW SUITE 340                                                              Docket Status:
                                WASHINGTON, DC 20005-4026                                                               Late:

         Claim Date:            Amends Claim No:                                                                        Duplicates Claim No:
         12/02/2009             Amended By Claim No:                                                                    Duplicated By Claim No:
             Class                                                Amount Claimed                                                     Amount Allowed
            Secured                                                                                                                                 $0.00
           Unsecured                                                                                                                                $0.00
            Priority                                                          $0.00                                                                 $0.00
             Total                                                            $0.00 (Unliquidated)                                                  $0.00
Description: Administrative - Please See Claim For Details.
Remarks:       Claim Withdrawn per PBGC Letter dated June 14, 2010; Claims 863-868 Amend Claims 614-637 per Dkt 989

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                                        Last Date to File Claims:           11/30/09
                                Creditor Name: UNITED STEELWORKERS
                                                                                                                        Last Date to File (govt):           04/06/10
                                ATTN ROBERT D CLARK
       Claim No: 869            FIVE GATEWAY CENTER SUITE 807                                                           Filing Status:
                                PITTSBURGH, PA 15222                                                                    Docket Status:
                                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                                        Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                    Duplicated By Claim No:
             Class                                                Amount Claimed                                                     Amount Allowed
            Secured                                                                                                                                 $0.00
           Unsecured                                                                                                                                $0.00
            Priority                                                  $1,620,000.00                                                                 $0.00
             Total                                                    $1,620,000.00 (Unliquidated)                                                  $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per stipulation 5/12/2010 (Dkt 1070)

                                Debtor Name: Accuride Corporation
                                                                                                                        Last Date to File Claims:           11/30/09
                                Creditor Name: UNITED STEELWORKERS
                                                                                                                        Last Date to File (govt):           04/06/10
                                ATTN ROBERT D CLARK
       Claim No: 870            FIVE GATEWAY CENTER SUITE 807                                                           Filing Status:
                                PITTSBURGH, PA 15222                                                                    Docket Status:
                                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                                        Duplicates Claim No:
         11/27/2009             Amended By Claim No:                                                                    Duplicated By Claim No:
             Class                                                Amount Claimed                                                     Amount Allowed
            Secured                                                                                                                                 $0.00
           Unsecured                                                                                                                                $0.00
            Priority                                                  $1,620,000.00                                                                 $0.00
             Total                                                    $1,620,000.00 (Unliquidated)                                                  $0.00
Description: Please see claim for detail.
Remarks:       Objection adjourned per Omni 3 Order (Dkt 990) 04.13.10.; Claim w/d per stip 5/12/2010 (Dkt 1070)
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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Accuride Erie L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: ECS&R
                                                                                                          Last Date to File (govt):     04/06/10
                               ATTN: ERICKSON J DONNACHIE
       Claim No: 871           3237 US HIGHWAY 19                                                         Filing Status:
                               COCHRANTON, PA 16314-3821                                                  Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         12/03/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                    $8,770.06
            Priority
               Total                                                    $8,770.06
Description:
Remarks:

                               Debtor Name: Accuride Erie L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: ROSLER METAL FINISHING USA, LLC
                                                                                                          Last Date to File (govt):     04/06/10
                               ATTN: TONY VANGENDT
       Claim No: 872           1550 DENSO                                                                 Filing Status:
                               BATTLE CREEK, MI 49015                                                     Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         12/03/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                   $22,380.82
            Priority
               Total                                                   $22,380.82
Description:
Remarks:

                               Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                               Creditor Name: MOTOR PROPANE SERVICE INC
                                                                                                          Last Date to File (govt):     04/06/10
                               5050 CENTER RD
       Claim No: 873           MANITOWOC, WI 54220-9713                                                   Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:           Amends Claim No:                                                           Duplicates Claim No:
         12/03/2009            Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                     $550.86
               Total                                                     $550.86
Description: Administrative - Please See Claim For Details.
Remarks:
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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: CONRADE KNIER
                                                                                                                  Last Date to File (govt):           04/06/10
                                 9396 SCHALK LN
       Claim No: 874             CRANDON, WI 54520-9076                                                           Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/03/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $5,000.00                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $5,000.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: THOMAS BENYA
                                                                                                                  Last Date to File (govt):           04/06/10
                                 217 DELTA DR
       Claim No: 875             JOHNSTOWN, PA 15904-1878                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/03/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                    Unliquidated                                                          $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: FOX VALLEY METROLOGY LTD
                                                                                                                  Last Date to File (govt):           04/06/10
                                 3125 MEDALIST DR
       Claim No: 876             OSHKOSH, WI 54902-7121                                                           Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/03/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                           $84.00
            Priority
               Total                                                           $84.00
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 293 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: TEXAS PIPE AND SUPPLY CO
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 200331
       Claim No: 877             HOUSTON, TX 77216-0331                                                           Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/03/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $5,292.41
            Priority
               Total                                                        $5,292.41
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: KATHY HILL
                                                                                                                  Last Date to File (govt):           04/06/10
                                 1184 COOSA DR
       Claim No: 878             GADSDEN, AL 35901-6651                                                           Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/03/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                    Unliquidated                                                          $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: BLUEWATER THERMAL SERVICES
                                                                                                                  Last Date to File (govt):           04/06/10
                                 75 E LAKE ST
       Claim No: 879             NORTHLAKE, IL 60164                                                              Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/03/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $14,327.50                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $14,327.50                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: RODNEY BARNETT
                                                                                                               Last Date to File (govt):           04/06/10
                                 1611 REGINA LN
       Claim No: 880             ROCKFORD, IL 61102-3037                                                       Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/03/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                                                                                       $0.00
               Total                                                   Unliquidated                                                        $0.00
Description: Please see claim for detail.
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: BARBARA RAGEN
                                                                                                               Last Date to File (govt):           04/06/10
                                 2431 LAKEVIEW DR
       Claim No: 881             SUAMICO, WI 54173                                                             Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/03/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                        $156.40                                                        $0.00
               Total                                                        $156.40                                                        $0.00
Description:
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: BARBARA RAGEN
                                                                                                               Last Date to File (govt):           04/06/10
                                 2431 LAKEVIEW DR
       Claim No: 882             SUAMICO, WI 54173                                                             Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/03/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                         $76.50                                                        $0.00
               Total                                                         $76.50                                                        $0.00
Description:
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)
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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: BARBARA WOCHOS
                                                                                                               Last Date to File (govt):           04/06/10
                                 2481 LAKEVIEW DR
       Claim No: 883             SUAMICO, WI 54173                                                             Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
        12/03/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                         $34.00                                                        $0.00
               Total                                                         $34.00                                                        $0.00
Description:
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                 Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: HESS ENGINEERING INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 PO BOX 673516
       Claim No: 884             DETROIT, MI 48267-1451                                                        Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
        12/03/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                      $8,123.43
            Priority
               Total                                                      $8,123.43
Description:
Remarks:

                                 Debtor Name:
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: SANDRA MOORE
                                                                                                               Last Date to File (govt):           04/06/10
                                 1142 LEET RD
       Claim No: 885             NILES, MI 49120-9460                                                          Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
        12/03/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                     $50,000.00                                                        $0.00
               Total                                                     $50,000.00                                                        $0.00
Description:
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)
                             Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12           Page 296 of 374


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BNK01160                                                                                                                            10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                 Creditor Name: WILLIAM NANTZ
                                                                                                                      Last Date to File (govt):           04/06/10
                                 3137 GREEN RIVER RD
       Claim No: 886             HENDERSON, KY 42420-2107                                                             Filing Status:
                                                                                                                      Docket Status:
                                                                                                                      Late:

         Claim Date:             Amends Claim No:                                                                     Duplicates Claim No:
         12/03/2009              Amended By Claim No:                                                                 Duplicated By Claim No:
               Class                                               Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                                                                                              $0.00
               Total                                                   Unliquidated                                                               $0.00
Description: Please see claim for detail.
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                 Debtor Name: Imperial Group, L.P.
                                                                                                                      Last Date to File Claims:           11/30/09
                                 Creditor Name: DEPARTMENT OF THE TREASURY - IRS
                                                                                                                      Last Date to File (govt):           04/06/10
                                 CENTRALIZED INSOLVENCY OPERATION
       Claim No: 887             PO BOX 7346                                                                          Filing Status:
                                 PHILADELPHIA, PA 19101-7346                                                          Docket Status:
                                                                                                                      Late:

         Claim Date:             Amends Claim No:                                                                     Duplicates Claim No:
         12/02/2009              Amended By Claim No:                                                                 Duplicated By Claim No:
               Class                                               Amount Claimed                                                  Amount Allowed
            Secured
           Unsecured                                                       $7,962.15                                                              $0.00
            Priority                                                      $16,579.38                                                              $0.00
               Total                                                      $24,541.53                                                              $0.00
Description:
Remarks:        Withdrawn per letter April 6, 2010. Amends claim #31 Omni Order #1 04.13.10 (Dkt 989)

                                 Debtor Name:
                                                                                                                      Last Date to File Claims:           11/30/09
                                 Creditor Name: TERRY L JACKSON
                                                                                                                      Last Date to File (govt):           04/06/10
                                 1142 LEET RD
       Claim No: 888             NILES, MI 49120-9460                                                                 Filing Status:
                                                                                                                      Docket Status:
                                                                                                                      Late:

         Claim Date:             Amends Claim No:                                                                     Duplicates Claim No:
         12/03/2009              Amended By Claim No:                                                                 Duplicated By Claim No:
               Class                                               Amount Claimed                                                  Amount Allowed
            Secured                                                                                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                      $50,000.00                                                              $0.00
               Total                                                      $50,000.00                                                              $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Doc and Late Filed Claims filed 04.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 297 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: PRIORITY CARE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 c/o ASM CAPITAL LP
       Claim No: 889             7600 JERICHO TURNPIKE                                                            Filing Status:
                                 SUITE 302                                                                        Docket Status:
                                 WOODBURY, NY 11797                                                               Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/04/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                       $11,493.00
            Priority
               Total                                                       $11,493.00
Description:
Remarks:

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: ALLOR MANUFACTURING COMPANY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 1540
       Claim No: 890             BRIGHTON, MI 48116-5340                                                          Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/04/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $1,810.00
            Priority
               Total                                                        $1,810.00
Description:
Remarks:

                                 Debtor Name: Fabco Automotive Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: INDUSTRIAL TOOLING SOLUTIONS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN KELLY O'KEEFE
       Claim No: 891             11680 BRITTMOORE PARK DR                                                         Filing Status:
                                 HOUSTON, TX 77041-6917                                                           Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/04/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                           $314.00                                                         $0.00
           Unsecured                                                          $314.00                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $628.00                                                         $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: CASIMIR T SZWAST
                                                                                                               Last Date to File (govt):           04/06/10
                                 1019 ROCKVILLE RD
       Claim No: 892             SOUTH FORK, PA 15956-3509                                                     Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/04/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                                                                                       $0.00
               Total                                                   Unliquidated                                                        $0.00
Description: Please see claim for detail.
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: ANNETTE JAMES
                                                                                                               Last Date to File (govt):           04/06/10
                                 57967 KREIGHBAUM ST
       Claim No: 893             ELKHART, IN 46517-1151                                                        Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/04/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                                                                                       $0.00
               Total                                                   Unliquidated                                                        $0.00
Description: Please see claim for detail.
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: MR JAMES MERKNER
                                                                                                               Last Date to File (govt):           04/06/10
                                 2401 NW 27TH LN
       Claim No: 894             GAINESVILLE, FL 32605                                                         Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/04/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                      $25,000.00                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                                                                                       $0.00
               Total                                                     $25,000.00                                                        $0.00
Description:
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 299 of 374


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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: NIGEL CAMPBELL
                                                                                                                  Last Date to File (govt):           04/06/10
                                 19106 ARROWHEAD STREET
       Claim No: 895             CLEVELAND, OH 44119-2147                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/04/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                         Unknown                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                        Unknown                                                           $0.00
               Total                                                    Unliquidated                                                          $0.00
Description: Please see claim for detail.
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: AMERICAN STRIKING TOOLS INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 5409 SWANSON CT
       Claim No: 896             ROSCOE, IL 61073-7174                                                            Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/04/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                           $195.65
           Unsecured
            Priority
               Total                                                          $195.65 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: THOMAS MENCER
                                                                                                                  Last Date to File (govt):           04/06/10
                                 5350 LOUISVILLE RD LOT 1408
       Claim No: 897             BOWLING GREEN, KY 42101-7204                                                     Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/07/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                          $489.03                                                         $0.00
               Total                                                          $489.03                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
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BNK01160                                                                                                                    10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name:
                                                                                                              Last Date to File Claims:           11/30/09
                                Creditor Name: SANDERS MCLAURIN
                                                                                                              Last Date to File (govt):           04/06/10
                                1133 BUFFALO RD
       Claim No: 898            ERIE, PA 16503-2315                                                           Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

         Claim Date:            Amends Claim No:                                                              Duplicates Claim No:
         12/07/2009             Amended By Claim No:                                                          Duplicated By Claim No:
             Class                                                Amount Claimed                                           Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                                                                                      $0.00
            Priority                                                                                                                      $0.00
             Total                                                    Unliquidated                                                        $0.00
Description: Please see claim for detail.
Remarks:       Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                              Last Date to File Claims:           11/30/09
                                Creditor Name: JAMMIE E SIPE
                                                                                                              Last Date to File (govt):           04/06/10
                                7346 CROWN DR APT 53
       Claim No: 899            FAIRLAWN, VA 24141-8865                                                       Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

         Claim Date:            Amends Claim No:                                                              Duplicates Claim No:
         12/07/2009             Amended By Claim No:                                                          Duplicated By Claim No:
             Class                                                Amount Claimed                                           Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                                                                                      $0.00
            Priority                                                          $0.00                                                       $0.00
             Total                                                            $0.00 (Unliquidated)                                        $0.00
Description: Please see claim for detail.
Remarks:       Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                              Last Date to File Claims:           11/30/09
                                Creditor Name: LOUIS ALLEN
                                                                                                              Last Date to File (govt):           04/06/10
                                PO BOX 431
       Claim No: 900            PROVIDENCE, KY 42450-0431                                                     Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

         Claim Date:            Amends Claim No:                                                              Duplicates Claim No:
         12/07/2009             Amended By Claim No:                                                          Duplicated By Claim No:
             Class                                                Amount Claimed                                           Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                                                                                      $0.00
            Priority                                                          $0.00                                                       $0.00
             Total                                                            $0.00 (Unliquidated)                                        $0.00
Description: Please see claim for detail.
Remarks:       Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)
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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Imperial Group, L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: THE HGH CONSULTING GRP DBA THE SALT GRP
                                                                                                                  Last Date to File (govt):           04/06/10
                                 C/O STEPHEN B SCHULTE ESQ
       Claim No: 901             820 MAIN ST SUITE 100                                                            Filing Status:
                                 KERRVILLE, TX 78028                                                              Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/07/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $25,998.24                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $25,998.24                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: IMPERIAL GROUP
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: SUMNER COUNTY TRUSTEE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 355 BELVEDERE DR N ROOM #107
       Claim No: 902             GALLATIN, TN 37066                                                               Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/07/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured
            Priority                                                       $76,406.47
               Total                                                       $76,406.47 (Unliquidated)
Description: Please see claim for detail.
Remarks:        Amended by Claim # 1109 - Survives Claim #103 Omni Order #1 04.13.10 (Dkt 989)

                                 Debtor Name: Imperial Group, L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: STEEL WAREHOUSE CO INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 535 WEST FORREST HILL AVE
       Claim No: 903             OAK CREEK, WI 53154                                                              Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/07/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                       $15,449.16
            Priority
               Total                                                       $15,449.16
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 302 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                       09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: PACKAGING RESEARCH & DESIGN
                                                                                                                  Last Date to File (govt):           04/06/10
                                 CORPORATION
       Claim No: 904             PO BOX 678                                                                       Filing Status:
                                 MADISON, MS 39130-0678                                                           Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/07/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $543.90                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $543.90                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: TRI STATE FASTENERS INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 91376
       Claim No: 905             CHATTANOOGA, TN 37412                                                            Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/07/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $3,722.39
            Priority
               Total                                                        $3,722.39
Description:
Remarks:        Objection adjourned until 05.12.2010

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: DAWES RIGGING & CRANE RENTAL INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 44080
       Claim No: 906             MILWAUKEE, WI 53214-7080                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/07/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $1,324.61
            Priority
               Total                                                        $1,324.61
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 303 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: DST INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 44080
       Claim No: 907             MILWAUKEE, WI 53214-7080                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/07/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                          $400.00
            Priority
               Total                                                          $400.00
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: DONALD A BUSSE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 21118 US HWY 10
       Claim No: 908             REEDSVILLE, WI 54230                                                             Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/07/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                    Unliquidated                                                          $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: DAVID WRIGHT
                                                                                                                  Last Date to File (govt):           04/06/10
                                 W 11668 TAPPEN COULEE RD
       Claim No: 909             BLAIR, WI 54616                                                                  Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/07/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $560.00                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $560.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 304 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: CASTROL INDUSTRIAL NORTH AMERICA INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 12294 COLLECTIONS CENTER DR
       Claim No: 910             CHICAGO, IL 60693-1022                                                           Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/07/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $5,389.72
            Priority
               Total                                                        $5,389.72
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: WILLIAM C & CLAUDIA L HAMILTON TTEES
                                                                                                                  Last Date to File (govt):           04/06/10
                                 WILLIAM & CLAUDIA HAMILTON REV TRUST
       Claim No: 911             DTD 06-19-2007                                                                   Filing Status:
                                 40 HILLCREST                                                                     Docket Status:
                                 PONCA CITY, OK 74604-4833                                                        Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/07/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $2,357.90                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $2,357.90                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: THE ADAM-HILL COMPANY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: MIKE KOHL
       Claim No: 912             142 UTAH AVE                                                                     Filing Status:
                                 SO SAN FRANCISCO, CA 94080-6713                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/08/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                          $290.00
            Priority
               Total                                                          $290.00
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 305 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: MEDGROUP
                                                                                                                  Last Date to File (govt):           04/06/10
                                 3913 DARROW RD
       Claim No: 913             SUITE 1                                                                          Filing Status:
                                 STOW, OH 44224-2621                                                              Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/08/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $518.00                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $518.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: ACC PLANNED SERVICE INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 2085 W PACKARD ST
       Claim No: 914             APPLETON, WI 54914-3165                                                          Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/08/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $10,106.09                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $10,106.09                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Imperial Group, L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: BOYD CORPORATION
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: ANJELA NAND
       Claim No: 915             600 SOUTH MCCLURE RD                                                             Filing Status:
                                 MODESTO, CA 95357                                                                Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/08/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $2,832.22
            Priority                                                        $1,731.07
               Total                                                        $4,563.29
Description: Administrative - Please See Claim For Details.
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1              Filed 02/14/12   Page 306 of 374


BNK01                                                                                                                         Page 306              of     374
BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: BELLSOUTH TELECOMMUNICATIONS INC
                                                                                                                Last Date to File (govt):           04/06/10
                                 % JAMES GRUDUS ESQ
       Claim No: 916             AT&T SERVICES INC                                                              Filing Status:
                                 ONE AT&T WAY ROOM 3A218                                                        Docket Status:
                                 BEDMINSTER, NJ 07921                                                           Late:

        Claim Date:              Amends Claim No:                                                               Duplicates Claim No:
        12/09/2009               Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                Amount Claimed                                           Amount Allowed
            Secured                                                             $0.00                                                       $0.00
           Unsecured                                                        $2,817.79                                                       $0.00
            Priority                                                            $0.00                                                       $0.00
               Total                                                        $2,817.79                                                       $0.00
Description:
Remarks:        Disallowed per Omni 2 Order - Late Filed Claims filed 4.13.10 (Dkt 992)

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: BELLSOUTH TELECOMMUNICATIONS INC
                                                                                                                Last Date to File (govt):           04/06/10
                                 % JAMES GRUDUS ESQ
       Claim No: 917             AT&T SERVICES INC                                                              Filing Status:
                                 ONE AT&T WAY ROOM 3A218                                                        Docket Status:
                                 BEDMINSTER, NJ 07921                                                           Late:

        Claim Date:              Amends Claim No:                                                               Duplicates Claim No:
        12/09/2009               Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                Amount Claimed                                           Amount Allowed
            Secured                                                             $0.00                                                       $0.00
           Unsecured                                                        $1,701.74                                                       $0.00
            Priority                                                            $0.00                                                       $0.00
               Total                                                        $1,701.74                                                       $0.00
Description:
Remarks:        Disallowed per Omni 2 Order - Late Filed Claims filed 4.13.10 (Dkt 992)

                                 Debtor Name: Fabco Automotive Corporation
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: CONTINENTAL MACHINE WORKS
                                                                                                                Last Date to File (govt):           04/06/10
                                 ATTN: SCOTTY KELL
       Claim No: 918             1104 57TH AVE                                                                  Filing Status:
                                 OAKLAND, CA 94621-4428                                                         Docket Status:
                                                                                                                Late:

        Claim Date:              Amends Claim No:                                                               Duplicates Claim No:
        12/09/2009               Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                        $4,172.05
            Priority
               Total                                                        $4,172.05
Description:
Remarks:
                             Case 09-13449-BLS                 Doc 1321-1           Filed 02/14/12   Page 307 of 374


BNK01                                                                                                                   Page 307        of     374
BNK01160                                                                                                                10-Feb-12       1:04 PM
                                         U.S. Bankruptcy Court - District of Delaware
                                                   Claims Register Report
                                                  09-13449 ACCURIDE CORPORATION, ET AL.
                                                             Judge Hon. Brendan Linehan Shannon
                                Debtor Name:
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: RABEN TIRE CO INC
                                                                                                          Last Date to File (govt):     04/06/10
                                PO BOX 4835
       Claim No: 919            EVANSVILLE, IN 47724-0835                                                 Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

        Claim Date:             Amends Claim No:                                                          Duplicates Claim No:
        12/09/2009              Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                            Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                   $11,209.91
            Priority
               Total                                                   $11,209.91
Description:
Remarks:        Amends claim #378 - Omni Order #1 04.13.10 (Dkt 989)

                                Debtor Name: Imperial Group, L.P.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: RO-LAB AMERICAN RUBBER
                                                                                                          Last Date to File (govt):     04/06/10
                                PO BOX 450
       Claim No: 920            TRACY, CA 95378-0450                                                      Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

        Claim Date:             Amends Claim No:                                                          Duplicates Claim No:
        12/09/2009              Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                            Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                    $1,197.80
            Priority
               Total                                                    $1,197.80
Description:
Remarks:

                                Debtor Name:
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: VALLEY SCALE SERVICE INC
                                                                                                          Last Date to File (govt):     04/06/10
                                2299 WOODALE AVE
       Claim No: 921            GREEN BAY, WI 54313-8909                                                  Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

        Claim Date:             Amends Claim No:                                                          Duplicates Claim No:
        12/09/2009              Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                            Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                     $616.00
            Priority
               Total                                                     $616.00
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12   Page 308 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Truck Components, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: SECRETARY OF STATE
                                                                                                               Last Date to File (govt):           04/06/10
                                 213 STATE CAPITOL
       Claim No: 922             SPRINGFIELD, IL 62756-0001                                                    Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        12/09/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                      $122,139.68                                                      $0.00
               Total                                                      $122,139.68                                                      $0.00
Description:
Remarks:        Disallowed per Omni 3 Order - No Liability Claims - filed 4.13.10 (Dkt 990)

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: GE BETZ INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 ATTN JOE HALSTEAD
       Claim No: 923             4636 SOMERTON ROAD                                                            Filing Status:
                                 TREVOSE, PA 19053                                                             Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        11/19/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                        $1,394.50
            Priority
               Total                                                        $1,394.50
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: FINNEGAN, HENDERSON, FARABOW
                                                                                                               Last Date to File (govt):           04/06/10
                                 GARRETT & DUNNER LLP
       Claim No: 924             DEPT 6059                                                                     Filing Status:
                                 WASHINGTON, DC 20042-8747                                                     Docket Status:
                                                                                                               Late:

        Claim Date:              Amends Claim No:                                                              Duplicates Claim No:
        12/01/2009               Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                                Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                       $31,956.95
            Priority
               Total                                                       $31,956.95
Description:
Remarks:
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12           Page 309 of 374


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BNK01160                                                                                                                            10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: TEST AMERICA LABORATORIES INC
                                                                                                                      Last Date to File (govt):           04/06/10
                                ATTN MARSHA HEMMERICH
       Claim No: 925            4101 SHUFFEZ STREET NW                                                                Filing Status:
                                NORTH CANTON, OH 44720                                                                Docket Status:
                                                                                                                      Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         11/18/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
               Class                                              Amount Claimed                                                   Amount Allowed
            Secured                                                                                                                               $0.00
           Unsecured                                                     $13,603.65                                                               $0.00
            Priority                                                                                                                              $0.00
               Total                                                     $13,603.65                                                               $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - No Supporting Documentation Claims filed 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: JOHN A DONOFRIO SUMMIT CO FISCAL OFFICER
                                                                                                                      Last Date to File (govt):           04/06/10
                                C/O REGINA M VANVOROUS
       Claim No: 926            220 SOUTH BALCH STREET SUITE 118                                                      Filing Status:
                                AKRON, OH 44302-1606                                                                  Docket Status:
                                                                                                                      Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         12/07/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
               Class                                              Amount Claimed                                                   Amount Allowed
            Secured                                                                                                                               $0.00
           Unsecured                                                                                                                              $0.00
            Priority                                                          $0.00                                                               $0.00
               Total                                                          $0.00 (Unliquidated)                                                $0.00
Description: Please see claim for detail.
Remarks:        Amended by Claim # 1080; Disallow per Omni 1 Order - No Supp Doc Clms; Lt Filed Clms filed 04.13.10

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                                      Last Date to File Claims:           11/30/09
                                Creditor Name: WISCONSIN LIFT TRUCK
                                                                                                                      Last Date to File (govt):           04/06/10
                                3125 INTERTECH DR
       Claim No: 927            BROOKFIELD, WI 53045                                                                  Filing Status:
                                                                                                                      Docket Status:
                                                                                                                      Late:

         Claim Date:            Amends Claim No:                                                                      Duplicates Claim No:
         12/07/2009             Amended By Claim No:                                                                  Duplicated By Claim No:
               Class                                              Amount Claimed                                                   Amount Allowed
            Secured
           Unsecured                                                     $14,334.62
            Priority
               Total                                                     $14,334.62
Description:
Remarks:
                             Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12     Page 310 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Fabco Automotive Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: GARNER HEAT TREAT INC
                                                                                                               Last Date to File (govt):           04/06/10
                                 ATTN: RAY ETHERTON
       Claim No: 928             10001 DENNY ST                                                                Filing Status:
                                 OAKLAND, CA 94603-3003                                                        Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/11/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                        $264.18                                                        $0.00
            Priority                                                        $264.18                                                        $0.00
               Total                                                        $528.36                                                        $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: ADAM W PERRY
                                                                                                               Last Date to File (govt):           04/06/10
                                 1116 ROUNDTREE DR
       Claim No: 929             GALLATIN, TN 37066-8279                                                       Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/11/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                      $1,000.00                                                        $0.00
            Priority                                                                                                                       $0.00
               Total                                                      $1,000.00                                                        $0.00
Description:
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: DYNA-KLEEN OF ROCKFORD
                                                                                                               Last Date to File (govt):           04/06/10
                                 2723 KILBURN AVE
       Claim No: 930             ROCKFORD, IL 61105-3204                                                       Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/11/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                      $6,130.00
            Priority
               Total                                                      $6,130.00
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 311 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: WEB COURT REPORTS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 C/O ASM CAPITAL LP
       Claim No: 931             7600 JERICHO TURNPIKE                                                            Filing Status:
                                 SUITE 302                                                                        Docket Status:
                                 WOODBURY, NY 11797                                                               Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/11/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $8,450.00
            Priority
               Total                                                        $8,450.00
Description:
Remarks:

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: CORPORATE FACILITIES MANAGEMENT
                                                                                                                  Last Date to File (govt):           04/06/10
                                 JAY SPRATLING
       Claim No: 932             PO BOX 2452                                                                      Filing Status:
                                 BIRMINGHAM, AL 35201-2452                                                        Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/14/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $17,611.35                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $17,611.35                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: CORPORATE FACILTIES MANAGEMENT
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 2452
       Claim No: 933             BIRMINGHAM, AL 35201-2452                                                        Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/14/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $17,611.35                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $17,611.35                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12       Page 312 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Erie L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: AMERICAN SOLUTION FOR BUSINESS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 1450
       Claim No: 934             MINNEAPOLIS, MN 55485-7794                                                       Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/14/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                      $14,272.18                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                      $14,272.18                                                          $0.00
Description:
Remarks:        Objection adjourned until 05.12.2010; claim withdrawn per correspondence received 05.18.10

                                 Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: AMERICAN SOLUTION FOR BUSINESS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 1450
       Claim No: 935             MINNEAPOLIS, MN 55485-7794                                                       Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/14/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $2,776.67                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $2,776.67                                                          $0.00
Description:
Remarks:        Objection adjourned until 05.12.2010; Claim withdrawn per correspondence received 05.18.10

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: AMERICAN SOLUTION FOR BUSINESS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 1450
       Claim No: 936             MINNEAPOLIS, MN 55485-7794                                                       Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/14/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                         $109.71                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                         $109.71                                                          $0.00
Description:
Remarks:        Objection adjourned until 05.12.2010; Claim withdrawn per correspondence received 05.18.10
                             Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12        Page 313 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: AMERICAN SOLUTIONS FOR BUSINES
                                                                                                                  Last Date to File (govt):           04/06/10
                                 NW#7794
       Claim No: 937             PO BOX 1450                                                                      Filing Status:
                                 MINNEAPOLIS, MN 55485-1450                                                       Docket Status:
                                                                                                                  Late:

        Claim Date:             Amends Claim No:                                                                  Duplicates Claim No:
        12/14/2009              Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $48.88                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $48.88                                                          $0.00
Description:
Remarks:        Objection adjourned until 05.12.2010; Claim withdrawn per correspondence received 05.18.10

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: AMERICAN SOLUTIONS FOR BUSINESS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 NW #7794
       Claim No: 938             PO BOX 1450                                                                      Filing Status:
                                 MINNEAPOLIS, MN 55485-1450                                                       Docket Status:
                                                                                                                  Late:

        Claim Date:             Amends Claim No:                                                                  Duplicates Claim No:
        12/14/2009              Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                         $100.28                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                         $100.28                                                          $0.00
Description:
Remarks:        Objection adjourned until 05.12.2010; Claim withdrawn per correspondence received 05.18.10

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: AMERICAN SOLUTIONS FOR BUSINESS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 NW#7794
       Claim No: 939             PO BOX 1450                                                                      Filing Status:
                                 MINNEAPOLIS, MN 55485-1450                                                       Docket Status:
                                                                                                                  Late:

        Claim Date:             Amends Claim No:                                                                  Duplicates Claim No:
        12/14/2009              Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $48.30                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $48.30                                                          $0.00
Description:
Remarks:        Objection adjourned until 05.12.2010; Claim withdrawn per correspondence received 05.18.10
                             Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12        Page 314 of 374


BNK01                                                                                                                           Page 314              of     374
BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Imperial Group, L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: AMERICAN SOLUTIONS FOR BUSINESS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 NW#7794
       Claim No: 940             PO BOX 1450                                                                      Filing Status:
                                 MINNEAPOLIS, MN 55485-1450                                                       Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         12/14/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                         $145.37                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                         $145.37                                                          $0.00
Description:
Remarks:        Objection adjourned until 05.12.2010; Claim withdrawn per correspondence received 05.18.10

                                 Debtor Name: Fabco Automotive Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: AMERICAN SOLUTIONS FOR BUSINESS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 NW#7794
       Claim No: 941             PO BOX 1450                                                                      Filing Status:
                                 MINNEAPOLIS, MN 55485-1450                                                       Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         12/14/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                         $106.00                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                         $106.00                                                          $0.00
Description:
Remarks:        Objection adjourned until 05.12.2010; Claim withdrawn per correspondence received 05.18.10

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: ANTHONY DEPTULA
                                                                                                                  Last Date to File (govt):           04/06/10
                                 104 S ADAMS #3
       Claim No: 942             HENDERSON, KY 42420                                                              Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:            Amends Claim No:                                                                  Duplicates Claim No:
         12/14/2009             Amended By Claim No:                                                              Duplicated By Claim No:
               Class                                               Amount Claimed                                              Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                   Unliquidated                                                           $0.00
Description: Please see claim for detail.
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)
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BNK01160                                                                                                         10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                          09-13449 ACCURIDE CORPORATION, ET AL.
                                                   Judge Hon. Brendan Linehan Shannon
                        Debtor Name:
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: ALLIED BOLT & SCREW CO
                                                                                                   Last Date to File (govt):     04/06/10
                        11111 DENTON DR
       Claim No: 943    PO BOX 29322                                                               Filing Status:
                        DALLAS, TX 75229-0322                                                      Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        12/14/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $3,525.95
            Priority
               Total                                             $3,525.95
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: ASSOCIATED SALES & BAG CO
                                                                                                   Last Date to File (govt):     04/06/10
                        PO BOX 3036
       Claim No: 944    MILWAUKEE, WI 53201-3036                                                   Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        12/14/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $1,411.38
            Priority
               Total                                             $1,411.38
Description:
Remarks:

                        Debtor Name: Brillion Iron Works, Inc.
                                                                                                   Last Date to File Claims:     11/30/09
                        Creditor Name: ZEMAN TOOL
                                                                                                   Last Date to File (govt):     04/06/10
                        W228 N575 WESTMOUND DR
       Claim No: 945    WAUKESHA, WI 53186                                                         Filing Status:
                                                                                                   Docket Status:
                                                                                                   Late:

        Claim Date:     Amends Claim No:                                                           Duplicates Claim No:
        12/14/2009      Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                   Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                             $2,350.00
            Priority
               Total                                             $2,350.00
Description:
Remarks:
                             Case 09-13449-BLS                   Doc 1321-1            Filed 02/14/12     Page 316 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: JOHN JENSON
                                                                                                               Last Date to File (govt):           04/06/10
                                 N2432 CRESTWOOD RD
       Claim No: 946             ANTIGO, WI 54409-8964                                                         Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/14/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                                                                                       $0.00
               Total                                                   Unliquidated                                                        $0.00
Description: Please see claim for detail.
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: MELVIN NEWSOME
                                                                                                               Last Date to File (govt):           04/06/10
                                 1825 SCHOOL ST
       Claim No: 947             ROCKFORD, IL 61101-5609                                                       Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/14/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                      $1,902.00                                                        $0.00
            Priority                                                                                                                       $0.00
               Total                                                      $1,902.00                                                        $0.00
Description:
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                 Creditor Name: FIRE GUARD FIRE EQUIP CO
                                                                                                               Last Date to File (govt):           04/06/10
                                 #7 RENDALIA RD
       Claim No: 948             ANNISTON, AL 36207                                                            Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         12/15/2009             Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                               Amount Claimed                                           Amount Allowed
            Secured
           Unsecured                                                        $255.24
            Priority
               Total                                                        $255.24
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 317 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Fabco Automotive Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: AMERICAN PRECISION SPRING CO.
                                                                                                                  Last Date to File (govt):           04/06/10
                                 1513 ARBUCKLE CT
       Claim No: 949             SANTA CLARA, CA 95054-3401                                                       Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/15/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $996.02                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $996.02                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Fabco Automotive Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: MERIT GEAR CORPORATION
                                                                                                                  Last Date to File (govt):           04/06/10
                                 810 HUDSON ST
       Claim No: 950             ANTIGO, WI 54409-2247                                                            Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/15/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $2,078.69                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $2,078.69                                                         $0.00
Description:
Remarks:        Disallowed per Omni 2 Order - Late Filed Claims filed 4.13.10 (Dkt 992)

                                 Debtor Name: Imperial Group, L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: H & O DIE SUPPLY INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 7200 INTERSTATE 20
       Claim No: 951             KENNEDALE, TX 76060-5000                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/15/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $854.03                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $854.03                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 318 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: GOSIGER WEST
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: ROBERT
       Claim No: 952             2334 E VALENCIA DR                                                               Filing Status:
                                 FULLERTON, CA 92831-4904                                                         Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/15/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $33,927.48                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $33,927.48                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: JOHN & BARBARA BEHNKE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 215 S PARKWAY
       Claim No: 953             BRILLION, WI 54110                                                               Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/16/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $3,325.00
            Priority
               Total                                                        $3,325.00
Description:
Remarks:

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: ANX EBUSINESS CORP
                                                                                                                  Last Date to File (govt):           04/06/10
                                 DEPT 77007
       Claim No: 954             PO BOX 77000                                                                     Filing Status:
                                 SOUTHFIELD, MI 48277-2000                                                        Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/16/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $7,104.15                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $7,104.15                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                     Doc 1321-1            Filed 02/14/12   Page 319 of 374


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BNK01160                                                                                                                      10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: ACCURIDE D/B/A IMPERIAL GROUP
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: RUBBERMAID COMMERCIAL PRODUCTS DIV OF
                                                                                                                Last Date to File (govt):           04/06/10
                                 RUBBERMAID INC SUBS OF NEWELL RUBBERMAID
       Claim No: 955             ATTN GARY POPP                                                                 Filing Status:
                                 29 E STEPHENSON ST IM6032                                                      Docket Status:
                                 FREEPORT, IL 61032                                                             Late:

         Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
         12/16/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                 Amount Claimed                                          Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                         $715.30                                                        $0.00
            Priority                                                                                                                        $0.00
               Total                                                         $715.30                                                        $0.00
Description:
Remarks:        Disallowed per Omni 2 Order - Late Filed Claims filed 4.13.10 (Dkt 992)

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: STATE OF MICHIGAN DEPT OF TREASURY
                                                                                                                Last Date to File (govt):           04/06/10
                                 ATTN JULIUS O CURLING ASST ATTY GENERAL
       Claim No: 956             CADILLAC PLACE SUITE 10-200                                                    Filing Status:
                                 3030 W GRAND BLVD                                                              Docket Status:
                                 DETROIT, MI 48202                                                              Late:

         Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
         12/16/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                 Amount Claimed                                          Amount Allowed
            Secured
           Unsecured                                                      $30,000.00                                                        $0.00
            Priority                                                                                                                        $0.00
               Total                                                      $30,000.00 (Unliquidated)                                         $0.00
Description: Please see claim for detail.
Remarks:        Claim withdrawn per letter dated January 27, 2010

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                Last Date to File Claims:           11/30/09
                                 Creditor Name: STATE OF MICHIGAN DEPT OF TREASURY
                                                                                                                Last Date to File (govt):           04/06/10
                                 ATTN JULIUS O CURLING ASST ATTY GENERAL
       Claim No: 957             CADILLAC PLACE SUITE 10-200                                                    Filing Status:
                                 3030 W GRAND BLVD                                                              Docket Status:
                                 DETROIT, MI 48202                                                              Late:

         Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
         12/16/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                                 Amount Claimed                                          Amount Allowed
            Secured                                                                                                                         $0.00
           Unsecured                                                                                                                        $0.00
            Priority                                                     $153,474.06                                                        $0.00
               Total                                                     $153,474.06 (Unliquidated)                                         $0.00
Description: Please see claim for detail.
Remarks:        Claim withdrawn per letter dated January 27, 2010
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 320 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                       09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: YRC INC F/K/A ROADWAY EXPRESS INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN JOHN F KOSTELNIK EST
       Claim No: 958             FRANTZ WARD LLP                                                                  Filing Status:
                                 2500 KEY CENTER 127 PUBLIC SQUARE                                                Docket Status:
                                 CLEVELAND, OH 44114                                                              Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/17/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $8,100.31                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $8,100.31                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: CHOICE ONE COMMUNICATIONS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 5 WALL ST
       Claim No: 959             BURLINGTON, MA 01803                                                             Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/15/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                             $0.00                                                         $0.00
           Unsecured                                                        $1,212.52                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $1,212.52                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: GE FANUC INTELLIGENT PLATFORMS INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN MICHAEL B BACH ESQ
       Claim No: 960             25 WHITNEY DR STE 106                                                            Filing Status:
                                 MILFORD, OH 45150-8400                                                           Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/09/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $6,492.48
            Priority
               Total                                                        $6,492.48
Description:
Remarks:        Objection adjourned until 05.12.2010
                             Case 09-13449-BLS                   Doc 1321-1           Filed 02/14/12   Page 321 of 374


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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Erie L.P.
                                                                                                            Last Date to File Claims:           11/30/09
                                 Creditor Name: SIEMENS INDUSTRY INC
                                                                                                            Last Date to File (govt):           04/06/10
                                 FKA SIEMENS ENERGY & AUTOMATION INC
       Claim No: 961             ATTN LEIGH-ANNE BEST                                                       Filing Status:
                                 1345 RIDGELAND PARKWAY STE 116                                             Docket Status:
                                 ALPHARETTA, GA 30004                                                       Late:

        Claim Date:              Amends Claim No:                                                           Duplicates Claim No:
        12/10/2009               Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                               Amount Claimed                                        Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                      $3,068.70                                                     $0.00
            Priority                                                                                                                    $0.00
               Total                                                      $3,068.70                                                     $0.00
Description:
Remarks:        Claim withdrawn per Dkt No. 1108 filed June 25, 2010.

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                            Last Date to File Claims:           11/30/09
                                 Creditor Name: ASHLAND INC
                                                                                                            Last Date to File (govt):           04/06/10
                                 ATTN COLLECTION DEPT
       Claim No: 962             PO BOX 2219                                                                Filing Status:
                                 COLUMBUS, OH 43216                                                         Docket Status:
                                                                                                            Late:

        Claim Date:              Amends Claim No:                                                           Duplicates Claim No:
        12/10/2009               Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                               Amount Claimed                                        Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                    $30,856.44                                                      $0.00
            Priority                                                                                                                    $0.00
               Total                                                    $30,856.44                                                      $0.00
Description:
Remarks:        Claim withdrawn per Dkt No. 1110 filed June 25, 2010.

                                 Debtor Name: Accuride Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                 Creditor Name: TOYOTA MOTOR CREDIT CORPORATION (TMCC)
                                                                                                            Last Date to File (govt):           04/06/10
                                 19001 S WESTERN AVENUE WF21
       Claim No: 963             TORRANCE, CA 90501                                                         Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

        Claim Date:              Amends Claim No:                                                           Duplicates Claim No:
        12/11/2009               Amended By Claim No:                                                       Duplicated By Claim No:
               Class                                               Amount Claimed                                        Amount Allowed
            Secured                                                          $0.00                                                      $0.00
           Unsecured                                                       $678.90                                                      $0.00
            Priority                                                         $0.00                                                      $0.00
               Total                                                       $678.90                                                      $0.00
Description:
Remarks:        Claim withdrawn per Dkt No. 1112 filed June 25, 2010.
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 322 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: COMMONWEALTH EDISON CO
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN BANKRUPTCY SECTION
       Claim No: 964             3 LINCOLN CENTER                                                                 Filing Status:
                                 OAKBROOK TERRACE, IL 60181                                                       Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/11/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $64,891.15                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $64,891.15                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: STURGIS IRON & METAL CO INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 C/O SMITH HAUGHEY RICE & ROEGGE
       Claim No: 965             ATTN RONALD A SCHUKNECHT                                                         Filing Status:
                                 101 N PARK ST #100                                                               Docket Status:
                                 TRAVERSE CITY, MI 49684                                                          Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/14/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                      $364,130.10
            Priority
               Total                                                      $364,130.10
Description:
Remarks:        Obj w/d per Omni 1 Order (Dkt 989) 4.13.10; Adj per Omni 3 Order (Dkt 990) 4.13.10

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: INDIANAPOLIS POWER & LIGHT COMPANY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 C/O LACHELLE D STEPP
       Claim No: 966             8520 ALLISON POINTE BLVD SUITE 200                                               Filing Status:
                                 INDIANAPOLIS, IN 46250                                                           Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/15/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $2,125.99                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $2,125.99                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 323 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: EHRLICH PEST CONTROL
                                                                                                                  Last Date to File (govt):           04/06/10
                                 HENRY FOX
       Claim No: 967             PO 13848                                                                         Filing Status:
                                 READING, PA 19612                                                                Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/10/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $1,114.80                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $1,114.80                                                         $0.00
Description:
Remarks:        Disallow per Omni 1 Order - No Supp Docu Clms; Late Filed Clms filed 04.13.10 (Dkt 989)

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: SPRADLING INTERNATIONAL INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 1668
       Claim No: 968             PELHAM, AL 35124-5668                                                            Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/18/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $1,702.67
            Priority
               Total                                                        $1,702.67
Description:
Remarks:

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: OTT'S FRICTION SUPPLY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 201 N COLUMBIA BLVD
       Claim No: 969             PORTLAND, OR 97217-1003                                                          Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/18/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $30,067.84                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $30,067.84                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 324 of 374


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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: REDMER STRATEGIC PRODUCTS &
                                                                                                                  Last Date to File (govt):           04/06/10
                                 SERVICES INC
       Claim No: 970             13425 S BAUER RD                                                                 Filing Status:
                                 EAGLE, MI 48822-9717                                                             Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/18/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $8,347.67
            Priority
               Total                                                        $8,347.67
Description:
Remarks:

                                 Debtor Name: Fabco Automotive Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: G L HUYETT
                                                                                                                  Last Date to File (govt):           04/06/10
                                 EXIT 49, G L EXPRESSWAY
       Claim No: 971             PO BOX 232                                                                       Filing Status:
                                 MINNEAPOLIS, KS 67467-0232                                                       Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/18/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $371.52                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $371.52                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: MIDWEST FINISHING SYSTEMS INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 1040 COTTONWOOD AVE STE 100
       Claim No: 972             HARTLAND, WI 53029-8348                                                          Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/18/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                          $363.65
            Priority
               Total                                                          $363.65
Description:
Remarks:
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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: PPMI CONSTRUCTION COMPANY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 5201 MIDDLE MOUNT VERNON RD
       Claim No: 973             EVANSVILLE, IN 47712-3711                                                        Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/21/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $2,270.00                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $2,270.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Imperial Group, L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: INDUSTRIAL CHEMICALS INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 2042 MONTREAT DR
       Claim No: 974             BIRMINGHAM, AL 35216-4002                                                        Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/21/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $7,430.33
            Priority
               Total                                                        $7,430.33
Description:
Remarks:        Amends Claim # 168

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: THE HGH CONSULTING GROUP DBA
                                                                                                                  Last Date to File (govt):           04/06/10
                                 THE SALT GROUP
       Claim No: 975             C/O STEPHEN B SCHULTE ESQ                                                        Filing Status:
                                 820 MAIN STREET STE 100                                                          Docket Status:
                                 KERRVILLE, TX 78028                                                              Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/21/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $50,676.57                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $50,676.57                                                         $0.00
Description:
Remarks:        Disallow per Omni 1 & 3 Orders - filed 4.13.10 (Dkt 989 &990)
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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: TOYOTA MOTOR CREDIT CORPORATION (TMCC)
                                                                                                                  Last Date to File (govt):           04/06/10
                                 19001 S WESTERN AVENUE WF21
       Claim No: 976             TORRANCE, CA 90501                                                               Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/11/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                             $0.00                                                         $0.00
           Unsecured                                                        $6,378.20                                                         $0.00
            Priority                                                            $0.00                                                         $0.00
               Total                                                        $6,378.20                                                         $0.00
Description:
Remarks:        Disallowed per Omni 2 Order - Late Filed Claims filed 4.13.10 (Dkt 992)

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: SAIA MOTOR FREIGHT LINE, INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN CREDIT DEPT
       Claim No: 977             PO BOX A STATION 1                                                               Filing Status:
                                 HOUMA, LA 70363-0275                                                             Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/22/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $1,423.84                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $1,423.84                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: LIVERMORE LAWRENCE PROPERTIES L P
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 635
       Claim No: 978             FREMONT, CA 94537-0635                                                           Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/22/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $10,309.07                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $10,309.07                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: CITY OF ELKHART
                                                                                                                  Last Date to File (govt):           04/06/10
                                 WATER DEPARTMENT
       Claim No: 979             C/O JOHNNY W ULMER, DEPUTY CITY ATTORNEY                                         Filing Status:
                                 229 S SECOND ST                                                                  Docket Status:
                                 ELKHART, IN 46516                                                                Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/23/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $1,119.55
            Priority
               Total                                                        $1,119.55
Description:
Remarks:        Objection withdrawn per Omni 1 Order (Dkt 989) 04.13.10.

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: WEATHERFORD ENGINEERED CHEMISTRY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN WILLIAM G LOWERRE
       Claim No: 980             525 POST OAK BLVD                                                                Filing Status:
                                 HOUSTON, TX 77027                                                                Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/17/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $1,938.48                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $1,938.48                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: FEDEX CUSTOMER INFORMATION SERVICE AS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ASSIGNEE OF FEDEX EXPRESS/FEDEX GROUND
       Claim No: 981             ATTN REVENUE RECOVERY BANKRUPTCY                                                 Filing Status:
                                 3965 AIRWAYS BLVD MODULE G 3RD FL                                                Docket Status:
                                 MEMPHIS, TN 38116                                                                Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/18/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $1,474.02                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $1,474.02                                                         $0.00
Description:
Remarks:        Disallowed per Omni 2 Order - Late Filed Claims filed 4.13.10 (Dkt 992)
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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: LARRY K ROGERS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 4 OAKBOURNE CT
       Claim No: 982             BURDENTOWN, NJ 08505                                                             Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/24/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                           $25.00                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                           $25.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: RYZEX RE-MARKETING INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 94467
       Claim No: 983             DEPT 100                                                                         Filing Status:
                                 SEATTLE, WA 98124-6767                                                           Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/24/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $4,101.00
            Priority
               Total                                                        $4,101.00
Description:
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: BELLSOUTH ADVERTISING & PUBLISHING
                                                                                                                  Last Date to File (govt):           04/06/10
                                 AT&T DBA BELLSOUTH ADVERTISING &
       Claim No: 984             PUBLISHING                                                                       Filing Status:
                                 600 N POINT PKWY                                                                 Docket Status:
                                 ALPHARETTA, GA 30005                                                             Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/24/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                             $0.00                                                         $0.00
           Unsecured                                                          $183.25                                                         $0.00
            Priority                                                            $0.00                                                         $0.00
               Total                                                          $183.25                                                         $0.00
Description:
Remarks:        Disallowed per Omni 2 Order - Late Filed Claims filed 4.13.10 (Dkt 992)
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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: WELDER'S SUPPLY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 JERRY YOUNG
       Claim No: 985             111 BARRET PL.                                                                   Filing Status:
                                 BELOIT, WI 53511-4401                                                            Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/28/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $4,699.43                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $4,699.43                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: BAY DIESEL & A/C INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 1127 4TH ST NORTHEAST
       Claim No: 986             RED BAY, AL 35582-3793                                                           Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/28/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $3,058.56
            Priority
               Total                                                        $3,058.56
Description:
Remarks:

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: MARJO PLASTICS COMPANY INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 1081 CHERRY
       Claim No: 987             PLYMOUTH, MI 48170-1304                                                          Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/29/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                        $5,910.82
            Priority
               Total                                                        $5,910.82
Description:
Remarks:
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BNK01160                                                                                                             10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                 09-13449 ACCURIDE CORPORATION, ET AL.
                                                          Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: T & A LOCKSMITH
                                                                                                       Last Date to File (govt):     04/06/10
                                C/O UNITED STATES DEBT RECOVERY III, LP
       Claim No: 988            940 SOUTHWOOD BI, SUITE 101                                            Filing Status:
                                INCLINE VILLAGE, NV 89451                                              Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         12/29/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                         Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                  $431.96
            Priority
               Total                                                  $431.96
Description:
Remarks:

                                Debtor Name: Fabco Automotive Corporation
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: MAHL TOOL TEK, INC
                                                                                                       Last Date to File (govt):     04/06/10
                                ATTN: DAN MAHL
       Claim No: 989            PO BOX 2520                                                            Filing Status:
                                MILL VALLEY, CA 94942-2520                                             Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         12/30/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                         Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                 $1,146.23
            Priority
               Total                                                 $1,146.23
Description:
Remarks:

                                Debtor Name: BRUCE A STROMME
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: OZAUKEE COUNTY CHILD SUPPORT
                                                                                                       Last Date to File (govt):     04/06/10
                                1201 S SPRING ST PO BOX 994
       Claim No: 990            PORT WASHINGTON, WI 53074-0994                                         Filing Status:
                                                                                                       Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         12/30/2009             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                         Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                                $11,998.67
            Priority                                                $11,998.67
               Total                                                $23,997.34
Description: Please see claim for detail.
Remarks:
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BNK01160                                                                                                    10-Feb-12       1:04 PM
                                 U.S. Bankruptcy Court - District of Delaware
                                           Claims Register Report
                                         09-13449 ACCURIDE CORPORATION, ET AL.
                                                  Judge Hon. Brendan Linehan Shannon
                        Debtor Name: Imperial Group, L.P.
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: ELLIOTT ELECTRIC
                                                                                              Last Date to File (govt):     04/06/10
                        PO BOX 913 JERRY
       Claim No: 991    BRIDGEPORT, TX 76426                                                  Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        01/04/2010      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                        $1,790.19
            Priority
               Total                                        $1,790.19
Description:
Remarks:

                        Debtor Name:
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: TRI CITY GLASS & DOOR
                                                                                              Last Date to File (govt):     04/06/10
                        100 W NORTHLAND AVE
       Claim No: 992    APPLETON, WI 54911                                                    Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        01/04/2010      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                         $105.00
            Priority
               Total                                         $105.00
Description:
Remarks:

                        Debtor Name:
                                                                                              Last Date to File Claims:     11/30/09
                        Creditor Name: K+S SERVICES
                                                                                              Last Date to File (govt):     04/06/10
                        DEPT 78246
       Claim No: 993    PO BOX 78000                                                          Filing Status:
                        DETROIT, MI 48278-3877                                                Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        01/04/2010      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                        $4,543.67
            Priority
               Total                                        $4,543.67
Description:
Remarks:
                             Case 09-13449-BLS                      Doc 1321-1         Filed 02/14/12   Page 332 of 374


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BNK01160                                                                                                                   10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Bostrom Seating, Inc.
                                                                                                             Last Date to File Claims:           11/30/09
                                Creditor Name: STATE OF MICHIGAN DEPT OF TREASURY
                                                                                                             Last Date to File (govt):           04/06/10
                                ATTN JULIUS O CURLING ASST ATTY GENERAL
       Claim No: 994            CADILLAC PLACE STE 10-200                                                    Filing Status:
                                3030 W GRAND BLVD                                                            Docket Status:
                                DETROIT, MI 48202                                                            Late:

         Claim Date:            Amends Claim No:                                                             Duplicates Claim No:
         01/04/2010             Amended By Claim No:                                                         Duplicated By Claim No:
             Class                                                   Amount Claimed                                       Amount Allowed
            Secured                                                                                                                      $0.00
           Unsecured                                                       $1,000.00                                                     $0.00
            Priority                                                                                                                     $0.00
             Total                                                         $1,000.00 (Unliquidated)                                      $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per letter dated 2/16/2010

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                             Last Date to File Claims:           11/30/09
                                Creditor Name: STATE OF MICHIGAN DEPARTMENT OF TREASURY
                                                                                                             Last Date to File (govt):           04/06/10
                                ATTN JULIUS O CURLING ASST ATTY GENERAL
       Claim No: 995            CADILLAC PLACE STE 10-200                                                    Filing Status:
                                3030 W GRAND BLVD                                                            Docket Status:
                                DETROIT, MI 48202                                                            Late:

         Claim Date:            Amends Claim No:                                                             Duplicates Claim No:
         01/04/2010             Amended By Claim No:                                                         Duplicated By Claim No:
             Class                                                   Amount Claimed                                       Amount Allowed
            Secured                                                                                                                      $0.00
           Unsecured                                                                                                                     $0.00
            Priority                                                       $5,113.87                                                     $0.00
             Total                                                         $5,113.87 (Unliquidated)                                      $0.00
Description: Please see claim for detail.
Remarks:       Claim Withdrawn Per Letter Date 2/16/2010.

                                Debtor Name: Gunite Corporation
                                                                                                             Last Date to File Claims:           11/30/09
                                Creditor Name: STATE OF MICHIGAN DEPARTMENT OF TREASURY
                                                                                                             Last Date to File (govt):           04/06/10
                                ATTN JULIUS O CURLING ASST ATTY GENERAL
       Claim No: 996            CADILLAC PLACE STE 10-200                                                    Filing Status:
                                3030 W GRAND BLVD                                                            Docket Status:
                                DETROIT, MI 48202                                                            Late:

         Claim Date:            Amends Claim No:                                                             Duplicates Claim No:
         01/04/2010             Amended By Claim No:                                                         Duplicated By Claim No:
             Class                                                   Amount Claimed                                       Amount Allowed
            Secured                                                                                                                      $0.00
           Unsecured                                                       $3,000.00                                                     $0.00
            Priority                                                                                                                     $0.00
             Total                                                         $3,000.00 (Unliquidated)                                      $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per letter dated February 16, 2010
                              Case 09-13449-BLS                      Doc 1321-1         Filed 02/14/12   Page 333 of 374


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BNK01160                                                                                                                    10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: STATE OF MICHIGAN DEPARTMENT OF TREASURY
                                                                                                              Last Date to File (govt):           04/06/10
                                 ATTN JULIUS O CURLING ASST ATTY GENERAL
       Claim No: 997             CADILLAC PLACE STE 10-200                                                    Filing Status:
                                 3030 W GRAND BLVD                                                            Docket Status:
                                 DETROIT, MI 48202                                                            Late:

         Claim Date:             Amends Claim No:                                                             Duplicates Claim No:
         01/04/2010              Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                  Amount Claimed                                       Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                                                                                      $0.00
            Priority                                                       $15,341.60                                                     $0.00
               Total                                                       $15,341.60 (Unliquidated)                                      $0.00
Description: Please see claim for detail.
Remarks:        Claim withdrawn per letter dated February 16, 2010

                                 Debtor Name: Gunite Corporation
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: TECHNICAL EQUIPMENT
                                                                                                              Last Date to File (govt):           04/06/10
                                 NW 7968-06
       Claim No: 998             PO BOX 1450                                                                  Filing Status:
                                 CINCINNATI, MN 55485-8100                                                    Docket Status:
                                                                                                              Late:

         Claim Date:             Amends Claim No:                                                             Duplicates Claim No:
         01/07/2010              Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                        $1,380.00
            Priority
               Total                                                        $1,380.00
Description:
Remarks:

                                 Debtor Name: Accuride Erie L.P.
                                                                                                              Last Date to File Claims:           11/30/09
                                 Creditor Name: TECHNICAL EQUIPMENT
                                                                                                              Last Date to File (govt):           04/06/10
                                 10165 INTERNATIONAL BLVD
       Claim No: 999             CINCINNATTI, OH 45246-4840                                                   Filing Status:
                                                                                                              Docket Status:
                                                                                                              Late:

         Claim Date:             Amends Claim No:                                                             Duplicates Claim No:
         01/07/2010              Amended By Claim No:                                                         Duplicated By Claim No:
               Class                                                  Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                        $3,000.00
            Priority
               Total                                                        $3,000.00
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 334 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: POLYESTER FIBERS LLC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 310
      Claim No: 1000             CONOVER, NC 28613                                                                Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         01/07/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $758.39                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $758.39                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: INDIANA DEPARTMENT OF REVENUE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 BANKRUPTCY SECTION N-240
      Claim No: 1001             100 N SENATE AVE                                                                 Filing Status:
                                 INDIANAPOLIS, IN 46204                                                           Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/17/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                           $727.50
           Unsecured                                                            $0.00
            Priority                                                            $0.00
               Total                                                          $727.50
Description:
Remarks:

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: INDIANA DEPARTMENT OF STATE REVENUE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 BANKRUPTCY SECTION
      Claim No: 1002             100 N SENATE AVE ROOM N203                                                       Filing Status:
                                 INDIANAPOLIS, IN 46204                                                           Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/17/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured
            Priority                                                          $150.01
               Total                                                          $150.01
Description: Administrative - Please See Claim For Details.
Remarks:
                             Case 09-13449-BLS                  Doc 1321-1           Filed 02/14/12       Page 335 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                             Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                Creditor Name: INDIANA DEPARTMENT OF REVENUE
                                                                                                               Last Date to File (govt):           04/06/10
                                BANKRUPTCY SECTION N -240
      Claim No: 1003            100 N SENATE AVE                                                               Filing Status:
                                INDIANAPOLIS, IN 46204                                                         Docket Status:
                                                                                                               Late:

        Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
        12/17/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                             Amount Claimed                                             Amount Allowed
            Secured                                                      $1,915.71                                                         $0.00
           Unsecured                                                     $8,162.24                                                         $0.00
            Priority                                                    $25,698.73                                                         $0.00
               Total                                                    $35,776.68                                                         $0.00
Description:
Remarks:        Disall per Omni 1 Order-Amend & Suprsd Clms-filed 4.13.10 (Dkt 989); Amend by Clm 1048.

                                Debtor Name: Gunite Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                Creditor Name: TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
                                                                                                               Last Date to File (govt):           04/06/10
                                C/O OFFICE OF THE ATTORNEY GENERAL
      Claim No: 1004            BANKRUPTCY - COLLECTIONS DIVISION                                              Filing Status:
                                PO BOX 12548, CAPITOL STATION                                                  Docket Status:
                                AUSTIN, TX 78711-2548                                                          Late:

        Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
        12/30/2009              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                             Amount Claimed                                             Amount Allowed
            Secured
           Unsecured
            Priority                                                    $29,755.30
               Total                                                    $29,755.30
Description:
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                               Last Date to File Claims:           11/30/09
                                Creditor Name: FOX VALLEY SPRING CO
                                                                                                               Last Date to File (govt):           04/06/10
                                N915 CRAFTSMEN DR
      Claim No: 1005            GREENVILLE, WI 54942-8682                                                      Filing Status:
                                                                                                               Docket Status:
                                                                                                               Late:

        Claim Date:             Amends Claim No:                                                               Duplicates Claim No:
        01/11/2010              Amended By Claim No:                                                           Duplicated By Claim No:
               Class                                             Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                     $1,340.10
            Priority
               Total                                                     $1,340.10
Description:
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 336 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: PROFESSIONAL PRICING SOCIETY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 3535 ROSWELL RD STE 59
      Claim No: 1006             MARIETTA, GA 30062-8828                                                          Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         01/11/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                             $0.00                                                         $0.00
           Unsecured                                                          $400.00                                                         $0.00
            Priority                                                            $0.00                                                         $0.00
               Total                                                          $400.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: KINDT - COLLINS CO
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 72037
      Claim No: 1007             CLEVELAND, OH 44192-0002                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         01/12/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                          $142.88
            Priority
               Total                                                          $142.88
Description:
Remarks:

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: MYRON CONDER
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 62
      Claim No: 1008             LEWISBURG, KY 42256-0062                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         01/12/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                      $165,580.00                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                      $165,580.00 (Unliquidated)                                          $0.00
Description: Please see claim for detail.
Remarks:        Exp per Order 5/12/10 (Dkt 1069)
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: DAUBER COMPANY INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 577 N 18TH RD
      Claim No: 1009             TONICA, IL 61370-9423                                                            Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        01/13/2010               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured                                                       $58,858.54
            Priority
               Total                                                       $58,858.54
Description:
Remarks:

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: TPC WIRE & CABLE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 4570 PAYSPHERE CIRCLE
      Claim No: 1010             INDEPENDENCE, IL 60674                                                           Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        01/14/2010               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $5,833.72                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $5,833.72                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: MSC INDUSTRIAL SUPPLY COMPANY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: LEGAL DEPARTMENT
      Claim No: 1011             75 MAXESS ROAD                                                                   Filing Status:
                                 MELVILLE, NY 11747                                                               Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/28/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $4,617.33                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $4,617.33                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 338 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Fabco Automotive Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: MSC INDUSTRIAL SUPPLY COMPANY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: LEGAL DEPARTMENT
      Claim No: 1012             75 MAXESS ROAD                                                                   Filing Status:
                                 MELVILLE, NY 11747                                                               Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/28/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $1,356.87                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $1,356.87                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: MSC INDUSTRIAL SUPPLY COMPANY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: LEGAL DEPARTMENT
      Claim No: 1013             75 MAXESS ROAD                                                                   Filing Status:
                                 MELVILLE, NY 11747                                                               Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/28/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $2,101.33                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $2,101.33                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: IMPERIAL GROUP
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: MSC INDUSTRIAL SUPPLY COMPANY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: LEGAL DEPARTMENT
      Claim No: 1014             75 MAXESS ROAD                                                                   Filing Status:
                                 MELVILLE, NY 11747                                                               Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        12/28/2009               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $2,403.92                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $2,403.92                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 339 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: IMPERIAL GROUP
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: MSC INDUSTRIAL SUPPLY COMPANY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: LEGAL DEPARTMENT
      Claim No: 1015             75 MAXESS ROAD                                                                   Filing Status:
                                 MELVILLE, NY 11747                                                               Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/28/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $2,893.25                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $2,893.25                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: ECOLAB INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 655 LONE OAK DR BLDG A1
      Claim No: 1016             EAGAN, MN 55121                                                                  Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/28/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $1,987.04                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $1,987.04                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation Lead
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: PENNSYLVANIA DEPARTMENT OF REVENUE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 BANKRUPTCY DIVISION
      Claim No: 1017             PO BOX 280946                                                                    Filing Status:
                                 HARRISBURG, PA 17128-0946                                                        Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         01/07/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                         $3,586.00
           Unsecured                                                            $0.00
            Priority                                                          $179.44
               Total                                                        $3,765.44 (Unliquidated)
Description: Please see claim for detail.
Remarks:        Survives Claim #1035.
                             Case 09-13449-BLS               Doc 1321-1           Filed 02/14/12   Page 340 of 374


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BNK01160                                                                                                              10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                 09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Bostrom Seating, Inc.
                                                                                                        Last Date to File Claims:     11/30/09
                                Creditor Name: PENNSYLVANIA DEPARTMENT OF REVENUE
                                                                                                        Last Date to File (govt):     04/06/10
                                BANKRUPTCY DIVISION
      Claim No: 1018            PO BOX 280946                                                           Filing Status:
                                HARRISBURG, PA 17128-0946                                               Docket Status:
                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                        Duplicates Claim No:
         01/07/2010             Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                          Amount Claimed                                         Amount Allowed
            Secured                                                  $63,510.00
           Unsecured                                                      $0.00
            Priority                                                   $150.00
               Total                                                 $63,660.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:        Survives Claim #1036.

                                Debtor Name: Accuride Erie L.P.
                                                                                                        Last Date to File Claims:     11/30/09
                                Creditor Name: PENNSYLVANIA DEPARTMENT OF REVENUE
                                                                                                        Last Date to File (govt):     04/06/10
                                BANKRUPTCY DIVISION
      Claim No: 1019            PO BOX 280946                                                           Filing Status:
                                HARRISBURG, PA 19128-0946                                               Docket Status:
                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                        Duplicates Claim No:
         12/28/2009             Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                          Amount Claimed                                         Amount Allowed
            Secured                                                       $0.00
           Unsecured                                                      $0.00
            Priority                                                  $2,093.95
               Total                                                  $2,093.95
Description:
Remarks:        Survives Claim #1039.

                                Debtor Name: Gunite Corporation
                                                                                                        Last Date to File Claims:     11/30/09
                                Creditor Name: PENNSYLVANIA DEPARTMENT OF REVENUE
                                                                                                        Last Date to File (govt):     04/06/10
                                BANKRUPTCY DIVISION
      Claim No: 1020            PO BOX 280946                                                           Filing Status:
                                HARRISBURG, PA 17128-0946                                               Docket Status:
                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                        Duplicates Claim No:
         12/28/2009             Amended By Claim No:                                                    Duplicated By Claim No:
               Class                                          Amount Claimed                                         Amount Allowed
            Secured                                                  $18,026.00
           Unsecured                                                      $0.00
            Priority                                                   $150.00
               Total                                                 $18,176.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:        Survives Claim #1037.
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 341 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: CONSUMERS ENERGY COMPANY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: MICHAEL G WILSON (P33263)
      Claim No: 1021             ONE ENERGY PLAZA                                                                 Filing Status:
                                 JACKSON, MI 49201                                                                Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/22/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $137.80                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $137.80                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: AKW General Partner L.L.C.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: PENNSYLVANIA DEPARTMENT OF REVENUE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 BANKRUPTCY DIVISION
      Claim No: 1022             PO BOX 280946                                                                    Filing Status:
                                 HARRISBURG, PA 17128-0946                                                        Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/28/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                             $0.00
           Unsecured                                                        $3,861.00
            Priority                                                      $113,578.00
               Total                                                      $117,439.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:        Survives Claim #1038.

                                 Debtor Name: Brillion Iron Works
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: MSC INDUSTRIAL SUPPLY COMPANY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: LEGAL DEPARTMENT
      Claim No: 1023             75 MAXESS ROAD                                                                   Filing Status:
                                 MELVILLE, NY 11747                                                               Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         12/22/2009              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $2,533.03                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $2,533.03                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 342 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: PITNEY BOWES CREDIT CORPORATION
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: RECOVERY DEPT
      Claim No: 1024             27 WATERVIEW DR                                                                  Filing Status:
                                 SHELTON, CT 06484-4361                                                           Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        01/05/2010               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $1,000.00                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $1,000.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 2 Order - Late Filed Claims filed 4.13.10 (Dkt 992)

                                 Debtor Name: Accuride Erie L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: SIEMENS INDUSTRY, INC (F/K/A SIEMENS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ENERGY & AUTOMATION, INC)
      Claim No: 1025             ATTN: LEIGH-ANNE BEST                                                            Filing Status:
                                 1345 RIDGELAND PARKWAY, STE 116                                                  Docket Status:
                                 ALPHARETTA, GA 30004                                                             Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        01/06/2010               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $10,008.76                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $10,008.76                                                         $0.00
Description:
Remarks:        Amends Claim #961; Disallowed per Omni 2 Order - Late Filed Claims filed 4.13.10 (Dkt 992)

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: CUMBERLAND ELECTRIC MEMBERSHIP CORP INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 3300
      Claim No: 1026             CLARKSVILLE, TN 37043                                                            Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        01/06/2010               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $78,378.07                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $78,378.07                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 343 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: RONALD ROSE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 3106 N 50 W
      Claim No: 1027             LA PORTE, IN 46350-3994                                                          Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         01/19/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                            $75.26                                                         $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                           $75.26                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Fabco Automotive Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: US CUSTOMS AND BORDER PROTECTION
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN REVENUE DIVISION BANKRUPTCY TEAM
      Claim No: 1028             6650 TELECOM DR SUITE 100                                                        Filing Status:
                                 INDIANAPOLIS, IN 46278                                                           Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         01/19/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                            $0.00                                                         $0.00
               Total                                                            $0.00 (Unliquidated)                                          $0.00
Description: Please see claim for detail.
Remarks:

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: US CUSTOMS AND BORDER PROTECTION
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN REVENUE DIVISION BANKRUPTCY TEAM
      Claim No: 1029             6650 TELECOM DR SUITE 100                                                        Filing Status:
                                 INDIANAPOLIS, IN 46278                                                           Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         01/19/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured
            Priority                                                            $0.00
               Total                                                            $0.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 344 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: US CUSTOMS AND BORDER PROTECTION
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN REVENUE DIVISION BANKRUPTCY TEAM
      Claim No: 1030             6650 TELECOM DR SUITE 100                                                        Filing Status:
                                 INDIANAPOLIS, IN 46278                                                           Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         01/19/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured
            Priority                                                            $0.00
               Total                                                            $0.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: US CUSTOMS AND BORDER PROTECTION
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN REVENUE DIVSION BANKRUPTCY TEAM
      Claim No: 1031             6650 TELECOM DR SUITE 100                                                        Filing Status:
                                 INDIANAPOLIS, IN 46278                                                           Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         01/19/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                            $0.00                                                         $0.00
               Total                                                            $0.00 (Unliquidated)                                          $0.00
Description: Please see claim for detail.
Remarks:        Withdrawn per Docket No. 1245, filed 7/5/2011

                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: ENVIRONMENTAL SCIENCE CORP
                                                                                                                  Last Date to File (govt):           04/06/10
                                 12065 LEBANON RD
      Claim No: 1032             MT JULIET, TN 37122-2508                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         01/25/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $309.00                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $309.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 345 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: GKN ARMSTRONG WHEELS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 5453 6TH AVENUE
      Claim No: 1033             PO BOX 48                                                                        Filing Status:
                                 ARMSTRONG, IA 50514-0048                                                         Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         01/26/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $4,229.65                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $4,229.65                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: COUNTY OF DENTON
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN: MICHAEL REED
      Claim No: 1034             MCCREARY VESELKA BRAGG & ALLEN PC                                                Filing Status:
                                 700 JEFFREY WAY SUITE 100, PO BOX 1269                                           Docket Status:
                                 ROUND ROCK, TX 78680                                                             Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         02/02/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                         $6,176.44                                                         $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $6,176.44                                                         $0.00
Description:
Remarks:        Expunged per order 5/12/10 (Dkt 1069); Surviving Claim # 41

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: PENNSYLVANIA DEPARTMENT OF REVENUE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 BANKRUPTCY DIVISION
      Claim No: 1035             PO BOX 280946                                                                    Filing Status:
                                 HARRISBURG, PA 17128-0946                                                        Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         02/02/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                         $3,586.00                                                         $0.00
           Unsecured                                                             $0.00                                                        $0.00
            Priority                                                          $179.44                                                         $0.00
               Total                                                        $3,765.44 (Unliquidated)                                          $0.00
Description: Please see claim for detail.
Remarks:        Claim exp per order 5/12/10 (Dkt 1069); Surviving Claim #1017.
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BNK01160                                                                                                                    10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Bostrom Seating, Inc.
                                                                                                              Last Date to File Claims:           11/30/09
                                Creditor Name: PENNSYLVANIA DEPARTMENT OF REVENUE
                                                                                                              Last Date to File (govt):           04/06/10
                                BANKRUPTCY DIVISION
      Claim No: 1036            PO BOX 280946                                                                 Filing Status:
                                HARRISBURG, PA 17128-0946                                                     Docket Status:
                                                                                                              Late:

         Claim Date:            Amends Claim No:                                                              Duplicates Claim No:
         02/02/2010             Amended By Claim No:                                                          Duplicated By Claim No:
             Class                                                Amount Claimed                                           Amount Allowed
            Secured                                                      $63,510.00                                                       $0.00
           Unsecured                                                            $0.00                                                     $0.00
            Priority                                                        $150.00                                                       $0.00
             Total                                                       $63,660.00 (Unliquidated)                                        $0.00
Description: Please see claim for detail.
Remarks:       Claim exp per order 5/12/10 (Dkt 1069); Surviving Claim #1018.

                                Debtor Name: Gunite Corporation
                                                                                                              Last Date to File Claims:           11/30/09
                                Creditor Name: PENNSYLVANIA DEPARTMENT OF REVENUE
                                                                                                              Last Date to File (govt):           04/06/10
                                BANKRUPTCY DIVISION
      Claim No: 1037            PO BOX 280946                                                                 Filing Status:
                                HARRISBURG, PA 17128-0946                                                     Docket Status:
                                                                                                              Late:

         Claim Date:            Amends Claim No:                                                              Duplicates Claim No:
         02/02/2010             Amended By Claim No:                                                          Duplicated By Claim No:
             Class                                                Amount Claimed                                           Amount Allowed
            Secured                                                      $18,026.00                                                       $0.00
           Unsecured                                                            $0.00                                                     $0.00
            Priority                                                        $150.00                                                       $0.00
             Total                                                       $18,176.00 (Unliquidated)                                        $0.00
Description: Please see claim for detail.
Remarks:       Claim exp per order 5/12/10 (Dkt 1069); Surviving Claim #1020.

                                Debtor Name: AKW General Partner L.L.C.
                                                                                                              Last Date to File Claims:           11/30/09
                                Creditor Name: PENNSYLVANIA DEPARTMENT OF REVENUE
                                                                                                              Last Date to File (govt):           04/06/10
                                BANKRUPTCY DIVISION
      Claim No: 1038            PO BOX 280946                                                                 Filing Status:
                                HARRISBURG, PA 17128-0946                                                     Docket Status:
                                                                                                              Late:

         Claim Date:            Amends Claim No:                                                              Duplicates Claim No:
         02/02/2010             Amended By Claim No:                                                          Duplicated By Claim No:
             Class                                                Amount Claimed                                           Amount Allowed
            Secured                                                             $0.00                                                     $0.00
           Unsecured                                                      $3,861.00                                                       $0.00
            Priority                                                    $113,578.00                                                       $0.00
             Total                                                      $117,439.00 (Unliquidated)                                        $0.00
Description: Please see claim for detail.
Remarks:       Claim exp per order 5/12/10 (Dkt 1069); Surviving Claim #1022.
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 347 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Erie L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: PENNSYLVANIA DEPARTMENT OF REVENUE
                                                                                                                  Last Date to File (govt):           04/06/10
                                 BANKRUPTCY DIVISION
      Claim No: 1039             PO BOX 280946                                                                    Filing Status:
                                 HARRISBURG, PA 17128-0946                                                        Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         02/02/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                              $0.00                                                        $0.00
           Unsecured                                                             $0.00                                                        $0.00
            Priority                                                        $2,093.95                                                         $0.00
               Total                                                        $2,093.95                                                         $0.00
Description:
Remarks:        Claim exp per order 5/12/10 (Dkt 1069); Surviving Claim #1019.

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: JOSEPH T RYERSON & SON INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                 RYERSON
      Claim No: 1040             ATTN: KYMBERLI LYLES                                                             Filing Status:
                                 4400 PEACHTREE INDUSTRIAL BLVD                                                   Docket Status:
                                 NORCROSS, GA 30071                                                               Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         02/02/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                    $2,506,046.97                                                         $0.00
               Total                                                    $2,506,046.97                                                         $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: ATMOS ENERGY/MID-STATES DIVISION
                                                                                                                  Last Date to File (govt):           04/06/10
                                 A DIV OF ATMOS ENERGY CORPORATION
      Claim No: 1041             ATTN: BANKRUPTCY GROUP                                                           Filing Status:
                                 PO BOX 650205                                                                    Docket Status:
                                 DALLAS, TX 75265-0205                                                            Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         02/02/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                       $11,098.35                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                       $11,098.35                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12     Page 348 of 374


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BNK01160                                                                                                                          10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                                    Last Date to File Claims:           11/30/09
                                 Creditor Name: D&B LAWN SERVICE
                                                                                                                    Last Date to File (govt):           04/06/10
                                 DANNY MADDOX
      Claim No: 1042             PO BOX 755                                                                         Filing Status:
                                 JACKSONVILLE, AL 36265-0755                                                        Docket Status:
                                                                                                                    Late:

         Claim Date:             Amends Claim No:                                                                   Duplicates Claim No:
         02/02/2010              Amended By Claim No:                                                               Duplicated By Claim No:
               Class                                                Amount Claimed                                               Amount Allowed
            Secured                                                                                                                             $0.00
           Unsecured                                                                                                                            $0.00
            Priority                                                                                                                            $0.00
               Total                                                    Unliquidated                                                            $0.00
Description: Please see claim for detail.
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Gunite Corporation
                                                                                                                    Last Date to File Claims:           11/30/09
                                 Creditor Name: GREGORY SCHAER
                                                                                                                    Last Date to File (govt):           04/06/10
                                 C/O THEODORE J TACCONELLI ESQ
      Claim No: 1043             FERRY JOSEPH & PEARCE PA                                                           Filing Status:
                                 PO BOX 1351                                                                        Docket Status:
                                 WILMINGTON, DE 19899                                                               Late:

         Claim Date:             Amends Claim No:                                                                   Duplicates Claim No:
         02/02/2010              Amended By Claim No:                                                               Duplicated By Claim No:
               Class                                                Amount Claimed                                               Amount Allowed
            Secured
           Unsecured                                                       $50,000.00
            Priority
               Total                                                       $50,000.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:        Amends Claim #785; Objection withdrawn per Omni 1 Order (Dkt 989) 04.13.10. Survives Claim #785.

                                 Debtor Name: Accuride
                                                                                                                    Last Date to File Claims:           11/30/09
                                 Creditor Name: MH EQUIPMENT
                                                                                                                    Last Date to File (govt):           04/06/10
                                 PO BOX 50
      Claim No: 1044             MOSSVILLE, IL 61552                                                                Filing Status:
                                                                                                                    Docket Status:
                                                                                                                    Late:

         Claim Date:             Amends Claim No:                                                                   Duplicates Claim No:
         01/26/2010              Amended By Claim No:                                                               Duplicated By Claim No:
               Class                                                Amount Claimed                                               Amount Allowed
            Secured                                                                                                                             $0.00
           Unsecured                                                       $30,286.85                                                           $0.00
            Priority                                                                                                                            $0.00
               Total                                                       $30,286.85                                                           $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                     Doc 1321-1              Filed 02/14/12   Page 349 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                      09-13449 ACCURIDE CORPORATION, ET AL.
                                                                  Judge Hon. Brendan Linehan Shannon
                                  Debtor Name: Transportation Technologies Industries, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                  Creditor Name: CANON FINANCIAL SERVICES INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                  ATTN SCOTT H MARCUS ESQ
      Claim No: 1045              SCOTT H MARCUS & ASSOCIATES                                                     Filing Status:
                                  121 JOHNSON RD                                                                  Docket Status:
                                  TURNERSVILLE, NJ 08012                                                          Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        01/15/2010               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                  Amount Claimed                                           Amount Allowed
            Secured                                                          $23,434.14                                                       $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                         $23,434.14                                                       $0.00
Description:
Remarks:        Settled per stipulation (Dkt#1151) per payment of $11,000 in satisfaction of Claim.

                                  Debtor Name: AOT Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                  Creditor Name: OHIO BUREAU OF WORKERS' COMPENSATION
                                                                                                                  Last Date to File (govt):           04/06/10
                                  LEGAL DIVISION BANKRUPTCY UNIT
      Claim No: 1046              PO BOX 15567                                                                    Filing Status:
                                  COLUMBUS, OH 43215-0567                                                         Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        01/14/2010               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                  Amount Claimed                                           Amount Allowed
            Secured
           Unsecured
            Priority                                                          $7,785.94
               Total                                                          $7,785.94
Description:
Remarks:

                                  Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                  Creditor Name: AMCOR SUNCLIPSE NORTH AMERICA INC
                                                                                                                  Last Date to File (govt):           04/06/10
                                  DBA KENT H LANDSBERG CO
      Claim No: 1047              6600 VALLEY VIEW ST                                                             Filing Status:
                                  BUENA PARK, CA 90620                                                            Docket Status:
                                                                                                                  Late:

        Claim Date:              Amends Claim No:                                                                 Duplicates Claim No:
        01/25/2010               Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                  Amount Claimed                                           Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $1,048.53                                                       $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $1,048.53                                                       $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                             Case 09-13449-BLS                Doc 1321-1              Filed 02/14/12   Page 350 of 374


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BNK01160                                                                                                                  10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                  09-13449 ACCURIDE CORPORATION, ET AL.
                                                            Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                            Last Date to File Claims:     11/30/09
                                Creditor Name: INDIANA DEPARTMENT OF REVENUE
                                                                                                            Last Date to File (govt):     04/06/10
                                BANKRUPTCY SECTION N-240
      Claim No: 1048            100 N SENATE AVE                                                            Filing Status:
                                INDIANAPOLIS, IN 46204                                                      Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         01/28/2010             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                            Amount Claimed                                           Amount Allowed
            Secured                                                       $1,915.71
           Unsecured                                                        $98.34
            Priority                                                      $2,212.49
               Total                                                      $4,226.54
Description:
Remarks:        Amends Claim # 1003 - Omni Order #1 04.13.10 (Dkt 989)

                                Debtor Name: Accuride Corporation
                                                                                                            Last Date to File Claims:     11/30/09
                                Creditor Name: FRANCHISE TAX BOARD
                                                                                                            Last Date to File (govt):     04/06/10
                                BANKRUPTCY SECTION MS A340
      Claim No: 1049            PO BOX 2952                                                                 Filing Status:
                                SACRAMENTO, CA 95812-2952                                                   Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         01/26/2010             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                            Amount Claimed                                           Amount Allowed
            Secured                                                           $0.00
           Unsecured                                                          $0.00
            Priority                                                      $4,183.00
               Total                                                      $4,183.00
Description:
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                            Last Date to File Claims:     11/30/09
                                Creditor Name: PENNSYLVANIA DEPARTMENT OF REVENUE
                                                                                                            Last Date to File (govt):     04/06/10
                                BANKRUPTCY DIVISION
      Claim No: 1050            PO BOX 280946                                                               Filing Status:
                                HARRISBURG, PA 17128-0946                                                   Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         01/12/2010             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                            Amount Claimed                                           Amount Allowed
            Secured                                                           $0.00
           Unsecured                                                     $73,838.52
            Priority                                                          $0.00
               Total                                                     $73,838.52 (Unliquidated)
Description: Please see claim for detail.
Remarks:
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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Imperial Group, L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: OVERTON CARBIDE TOOL & ENG
                                                                                                                  Last Date to File (govt):           04/06/10
                                 2155 MCCLAIN DR
      Claim No: 1051             FRANKLIN, IN 46131-7573                                                          Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         02/08/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                 Amount Claimed                                            Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $8,620.00                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $8,620.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: ALLEN COUNTY TREASURER
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 2540
      Claim No: 1052             FORT WAYNE, IN 46801-2540                                                        Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         02/08/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                 Amount Claimed                                            Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                          $405.04                                                         $0.00
               Total                                                          $405.04 (Unliquidated)                                          $0.00
Description: Please see claim for detail.
Remarks:        Claim Withdrawn per Docket #1298, filed 12-15-2011

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: AUTOMOTIVE QUALITY & LOGISTICS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 703150
      Claim No: 1053             PLYMOUTH, MI 48170                                                               Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         02/12/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                 Amount Claimed                                            Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                        $9,564.50                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $9,564.50                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 352 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Accuride Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: COUNTY OF DENTON
                                                                                                                  Last Date to File (govt):           04/06/10
                                 ATTN MICHAEL REED
      Claim No: 1054             700 JEFFREY WAY SUITE 100                                                        Filing Status:
                                 PO BOX 1269                                                                      Docket Status:
                                 ROUND ROCK, TX 78680                                                             Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         02/12/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                             $0.00
           Unsecured
            Priority                                                        $6,485.26
               Total                                                        $6,485.26 (Unliquidated)
Description: Administrative - Please See Claim For Details.
Remarks:

                                 Debtor Name: Gunite Corporation
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: GRAPHIC PRODUCTS
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 4030
      Claim No: 1055             BEAVERTON, OR 97076-4030                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         02/13/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $148.75                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $148.75                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Imperial Group, L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: RICK GANN, CIRCUIT CLERK
                                                                                                                  Last Date to File (govt):           04/06/10
                                 904 HIGHWAY 52 BYP E
      Claim No: 1056             LAFAYETTE, TN 37083-1024                                                         Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         02/13/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                          $233.50                                                         $0.00
            Priority                                                                                                                          $0.00
               Total                                                          $233.50                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)
                              Case 09-13449-BLS                   Doc 1321-1                Filed 02/14/12   Page 353 of 374


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BNK01160                                                                                                                        10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name:
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: BILLY GOODMAN II
                                                                                                                  Last Date to File (govt):           04/06/10
                                 63488 W FISH LAKE RD
      Claim No: 1057             STURGIS, MI 49091-9643                                                           Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         02/18/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                                                                                           $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                       $17,500.00                                                         $0.00
               Total                                                       $17,500.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: MICHELS POWER
                                                                                                                  Last Date to File (govt):           04/06/10
                                 PO BOX 1719
      Claim No: 1058             FOND DU LAC, WI 54936-1719                                                       Filing Status:
                                                                                                                  Docket Status:
                                                                                                                  Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         02/18/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured                                                         $3,195.00                                                         $0.00
           Unsecured                                                                                                                          $0.00
            Priority                                                                                                                          $0.00
               Total                                                        $3,195.00                                                         $0.00
Description:
Remarks:        Disallowed per Omni 1 Order - Late Filed Claims - filed 4.13.10 (Dkt 989)

                                 Debtor Name: Accuride Erie L.P.
                                                                                                                  Last Date to File Claims:           11/30/09
                                 Creditor Name: STATE OF MICHIGAN DEPT OF TREASURY
                                                                                                                  Last Date to File (govt):           04/06/10
                                 C/O JULIUS O CURLING
      Claim No: 1059             CADILLAC PLACE STE 10-200                                                        Filing Status:
                                 3030 W GRAND BLVD                                                                Docket Status:
                                 DETROIT, MI 48202                                                                Late:

         Claim Date:             Amends Claim No:                                                                 Duplicates Claim No:
         02/20/2010              Amended By Claim No:                                                             Duplicated By Claim No:
               Class                                                Amount Claimed                                             Amount Allowed
            Secured
           Unsecured
            Priority                                                        $2,355.63
               Total                                                        $2,355.63 (Unliquidated)
Description: Administrative - Please See Claim For Details.
Remarks:        Amended by Claim # 1059
                             Case 09-13449-BLS                    Doc 1321-1             Filed 02/14/12   Page 354 of 374


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BNK01160                                                                                                                     10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                                 Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Erie L.P.
                                                                                                               Last Date to File Claims:           11/30/09
                                Creditor Name: STATE OF MICHIGAN DEPT OF TREASURY
                                                                                                               Last Date to File (govt):           04/06/10
                                C/O JULIUS O CURLING
      Claim No: 1060            CADILLAC PLACE STE 10-200                                                      Filing Status:
                                3030 W GRAND BLVD                                                              Docket Status:
                                DETROIT, MI 48202                                                              Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         02/20/2010             Amended By Claim No:                                                           Duplicated By Claim No:
             Class                                                  Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                           $278.08                                                     $0.00
             Total                                                             $278.08 (Unliquidated)                                      $0.00
Description: Allowed Debtor: Accuride Erie L.P. Please see claim for detail.
Remarks:       Claim withdrawn per notice received 02.08.11

                                Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                Creditor Name: STATE OF MICHIGAN DEPT OF TREASURY
                                                                                                               Last Date to File (govt):           04/06/10
                                C/O JULIUS O CURLING
      Claim No: 1061            CADILLAC PLACE STE 10-200                                                      Filing Status:
                                3030 W GRAND BLVD                                                              Docket Status:
                                DETROIT, MI 48202                                                              Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         02/20/2010             Amended By Claim No:                                                           Duplicated By Claim No:
             Class                                                  Amount Claimed                                          Amount Allowed
            Secured                                                                                                                        $0.00
           Unsecured                                                                                                                       $0.00
            Priority                                                           $735.00                                                     $0.00
             Total                                                             $735.00 (Unliquidated)                                      $0.00
Description: Please see claim for detail.
Remarks:       Claim withdrawn per Notice dated April 14, 2010

                                Debtor Name: Accuride Corporation
                                                                                                               Last Date to File Claims:           11/30/09
                                Creditor Name: HARTFORD FIRE INS CO AS ASSIGNEE OF
                                                                                                               Last Date to File (govt):           04/06/10
                                HARTFORD SPECIALTY COMPANY
      Claim No: 1062            BANKRUPTCY UNIT T-1-55                                                         Filing Status:
                                HARTFORD PLAZA                                                                 Docket Status:
                                HARTFORD, CT 06115                                                             Late:

         Claim Date:            Amends Claim No:                                                               Duplicates Claim No:
         02/05/2010             Amended By Claim No:                                                           Duplicated By Claim No:
             Class                                                  Amount Claimed                                          Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                     Unliquidated
Description: Please see claim for detail.
Remarks:
                             Case 09-13449-BLS               Doc 1321-1          Filed 02/14/12   Page 355 of 374


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BNK01160                                                                                                             10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group, L.P.
                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: CITY OF DENTON
                                                                                                       Last Date to File (govt):           04/06/10
                                ATTN TONI REEDY, LEGAL SECRETARY
      Claim No: 1063            215 EAST MCKINNEY STREET                                               Filing Status:
                                DENTON, TX 76201                                                       Docket Status:
                                                                                                       Late:

        Claim Date:             Amends Claim No:                                                       Duplicates Claim No:
        02/27/2010              Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                          Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                 $7,248.62
            Priority
               Total                                                 $7,248.62
Description:
Remarks:

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: LANDSTAR RANGER, INC.
                                                                                                       Last Date to File (govt):           04/06/10
                                13410 SUTTON PARK DRIVE SOUTH
      Claim No: 1064            JACKSONVILLE, FL 32224                                                 Filing Status:
                                                                                                       Docket Status:
                                                                                                       Late:

        Claim Date:             Amends Claim No:                                                       Duplicates Claim No:
        02/23/2010              Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                          Amount Claimed                                        Amount Allowed
            Secured                                                                                                                $0.00
           Unsecured                                                 $5,250.00                                                     $0.00
            Priority                                                                                                               $0.00
               Total                                                 $5,250.00                                                     $0.00
Description:
Remarks:        Exp per Order 5/12/10 (Dkt 1069)

                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: MCC CORPORATION
                                                                                                       Last Date to File (govt):           04/06/10
                                (FKA MONACO COACH CORPORATION)
      Claim No: 1065            C/O GEORGE L MILLER CH 7 BANKRUPTCY TTEE                               Filing Status:
                                1628 JOHN F KENNEDY BLVD SUITE 950                                     Docket Status:
                                PHILADELPHIA, PA 19103                                                 Late:

        Claim Date:             Amends Claim No:                                                       Duplicates Claim No:
        03/04/2010              Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                          Amount Claimed                                        Amount Allowed
            Secured                                                                                                                $0.00
           Unsecured                                                  $500.00                                                      $0.00
            Priority                                                                                                               $0.00
               Total                                                  $500.00                                                      $0.00
Description:
Remarks:        Exp per Order 5/12/10 (Dkt 1069)
                             Case 09-13449-BLS              Doc 1321-1           Filed 02/14/12   Page 356 of 374


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BNK01160                                                                                                             10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                          Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group, L.P.
                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: CITY OF DENTON
                                                                                                       Last Date to File (govt):           04/06/10
                                ATTN: TONI REEDY, LEGAL SECRETARY
      Claim No: 1066            215 E MCKINNEY ST                                                      Filing Status:
                                DENTON, TX 76201                                                       Docket Status:
                                                                                                       Late:

        Claim Date:             Amends Claim No:                                                       Duplicates Claim No:
        03/04/2010              Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                          Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                 $7,248.62
            Priority
               Total                                                 $7,248.62
Description:
Remarks:

                                Debtor Name: GUNITE EMI CORPORATION
                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: EULER HERMES ACI
                                                                                                       Last Date to File (govt):           04/06/10
                                ASSIGNEE OF VICTORY PACKAGING LP
      Claim No: 1067            800 RED BROOK BLVD                                                     Filing Status:
                                OWINGS MILLS, MD 21117                                                 Docket Status:
                                                                                                       Late:

        Claim Date:             Amends Claim No:                                                       Duplicates Claim No:
        03/01/2010              Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                          Amount Claimed                                        Amount Allowed
            Secured                                                                                                                $0.00
           Unsecured                                                $14,165.65                                                     $0.00
            Priority                                                                                                               $0.00
               Total                                                $14,165.65                                                     $0.00
Description:
Remarks:        Exp per Order 5/12/10 (Dkt 1069)

                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: PHSI PURE WATER FINANCE
                                                                                                       Last Date to File (govt):           04/06/10
                                120 E LAKE STREET #401
      Claim No: 1068            SANDPOINT, ID 83864                                                    Filing Status:
                                                                                                       Docket Status:
                                                                                                       Late:

        Claim Date:             Amends Claim No:                                                       Duplicates Claim No:
        03/02/2010              Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                          Amount Claimed                                        Amount Allowed
            Secured                                                                                                                $0.00
           Unsecured                                                $20,446.79                                                     $0.00
            Priority                                                                                                               $0.00
               Total                                                $20,446.79                                                     $0.00
Description:
Remarks:        Exp per Order 5/12/10 (Dkt 1069)
                             Case 09-13449-BLS               Doc 1321-1           Filed 02/14/12   Page 357 of 374


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BNK01160                                                                                                              10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                  09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                        Last Date to File Claims:     11/30/09
                                Creditor Name: PA TREASURY DEPARTMENT
                                                                                                        Last Date to File (govt):     04/06/10
                                ATTN PROOF OF CLAIM
      Claim No: 1069            PO BOX 8500-53473                                                       Filing Status:
                                PHILADELPHIA, PA 19178-3473                                             Docket Status:
                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                        Duplicates Claim No:
         03/11/2010             Amended By Claim No:                                                    Duplicated By Claim No:
             Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                 Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                        Last Date to File Claims:     11/30/09
                                Creditor Name: PA TREASURY DEPARTMENT
                                                                                                        Last Date to File (govt):     04/06/10
                                ATTN PROOF OF CLAIM
      Claim No: 1070            PO BOX 8500-53473                                                       Filing Status:
                                PHILADELPHIA, PA 19178-3473                                             Docket Status:
                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                        Duplicates Claim No:
         03/11/2010             Amended By Claim No:                                                    Duplicated By Claim No:
             Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                 Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Accuride Erie L.P.
                                                                                                        Last Date to File Claims:     11/30/09
                                Creditor Name: PA TREASURY DEPARTMENT
                                                                                                        Last Date to File (govt):     04/06/10
                                ATTN PROOF OF CLAIM
      Claim No: 1071            PO BOX 8500-53473                                                       Filing Status:
                                PHILADELPHIA, PA 19178-3473                                             Docket Status:
                                                                                                        Late:

         Claim Date:            Amends Claim No:                                                        Duplicates Claim No:
         03/11/2010             Amended By Claim No:                                                    Duplicated By Claim No:
             Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                 Unliquidated
Description: Please see claim for detail.
Remarks:
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BNK01160                                                                                                             10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: PA TREASURY DEPARTMENT
                                                                                                       Last Date to File (govt):           04/06/10
                                ATTN PROOF OF CLAIM
      Claim No: 1072            PO BOX 8500-53473                                                      Filing Status:
                                PHILADELPHIA, PA 19178-3473                                            Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         03/11/2010             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                          Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                              Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: PA TREASURY DEPARTMENT
                                                                                                       Last Date to File (govt):           04/06/10
                                ATTN PROOF OF CLAIM
      Claim No: 1073            PO BOX 8500-53473                                                      Filing Status:
                                PHILADELPHIA, PA 19178-3463                                            Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         03/11/2010             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                          Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                              Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: ADT SECURITY SERVICES
                                                                                                       Last Date to File (govt):           04/06/10
                                ADT SECURITY SERVICES INC
      Claim No: 1074            14200 E EXPOSITION AVE                                                 Filing Status:
                                AURORA, CO 80012                                                       Docket Status:
                                                                                                       Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         03/09/2010             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                          Amount Claimed                                        Amount Allowed
            Secured                                                                                                                $0.00
           Unsecured                                                 $5,490.31                                                     $0.00
            Priority                                                                                                               $0.00
               Total                                                 $5,490.31                                                     $0.00
Description:
Remarks:        Exp per Order 5/12/10 (Dkt 1069)
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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: PHSI PURE WATER FINANCE
                                                                                                       Last Date to File (govt):           04/06/10
                                120 E LAKE ST # 401
      Claim No: 1075            SANDPOINT, ID 83864                                                    Filing Status:
                                                                                                       Docket Status:
                                                                                                       Late:

        Claim Date:             Amends Claim No:                                                       Duplicates Claim No:
        03/11/2010              Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                           Amount Claimed                                       Amount Allowed
            Secured                                                                                                                $0.00
           Unsecured                                                 $1,950.00                                                     $0.00
            Priority                                                                                                               $0.00
               Total                                                 $1,950.00                                                     $0.00
Description:
Remarks:        Exp per Order 5/12/10 (Dkt 1069)

                                Debtor Name: Accuride Henderson, Limited Liability Corporation
                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: PROFESSIONAL CONSULTANTS INC
                                                                                                       Last Date to File (govt):           04/06/10
                                DAVE RETTBERG
      Claim No: 1076            112 INGLE ST                                                           Filing Status:
                                EVANSVILLE, IN 47708                                                   Docket Status:
                                                                                                       Late:

        Claim Date:             Amends Claim No:                                                       Duplicates Claim No:
        03/16/2010              Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                           Amount Claimed                                       Amount Allowed
            Secured                                                                                                                $0.00
           Unsecured                                                 $4,394.30                                                     $0.00
            Priority                                                                                                               $0.00
               Total                                                 $4,394.30                                                     $0.00
Description:
Remarks:        Exp per Order 5/12/10 (Dkt 1069)

                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:           11/30/09
                                Creditor Name: OHIO DEPARTMENT OF TAXATION
                                                                                                       Last Date to File (govt):           04/06/10
                                ATTN: REBECCA DAUM
      Claim No: 1077            ATTORNEY GENERAL-BCY DIVISION                                          Filing Status:
                                30 E BROAD ST, 23RD FL                                                 Docket Status:
                                COLUMBUS, OH 43216                                                     Late:

        Claim Date:             Amends Claim No:                                                       Duplicates Claim No:
        03/19/2010              Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                           Amount Claimed                                       Amount Allowed
            Secured
           Unsecured
            Priority                                                $46,937.12
               Total                                                $46,937.12
Description:
Remarks:
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BNK01160                                                                                                            10-Feb-12       1:04 PM
                                        U.S. Bankruptcy Court - District of Delaware
                                                  Claims Register Report
                                                09-13449 ACCURIDE CORPORATION, ET AL.
                                                         Judge Hon. Brendan Linehan Shannon
                               Debtor Name: Imperial Group, L.P.
                                                                                                      Last Date to File Claims:     11/30/09
                               Creditor Name: CITY OF DENTON
                                                                                                      Last Date to File (govt):     04/06/10
                               ATTN: TONI REEDY, LEGAL SECRETARY
      Claim No: 1078           215 EAST MCKINNEY STREET                                               Filing Status:
                               DENTON, TX 76201                                                       Docket Status:
                                                                                                      Late:

        Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
        03/04/2010             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                         Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                $7,248.62
            Priority
               Total                                                $7,248.62
Description:
Remarks:

                               Debtor Name: Fabco Automotive Corporation
                                                                                                      Last Date to File Claims:     11/30/09
                               Creditor Name: FAIRFIELD MFG COMPANY
                                                                                                      Last Date to File (govt):     04/06/10
                               2309 CONCORD RD
      Claim No: 1079           LAFAYETTE, IN 47909-2707                                               Filing Status:
                                                                                                      Docket Status:
                                                                                                      Late:

        Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
        03/25/2010             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                         Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                               $17,547.10
            Priority
               Total                                               $17,547.10
Description:
Remarks:        Amends Claim # 780

                               Debtor Name: Accuride Erie L.P.
                                                                                                      Last Date to File Claims:     11/30/09
                               Creditor Name: SUMMIT CO TREASURER
                                                                                                      Last Date to File (govt):     04/06/10
                               JOHN A DONOFRIO
      Claim No: 1080           175 S MAIN ST                                                          Filing Status:
                               AKRON, OH 44308-1306                                                   Docket Status:
                                                                                                      Late:

        Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
        03/25/2010             Amended By Claim No:                                                   Duplicated By Claim No:
               Class                                         Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                $9,424.66
               Total                                                $9,424.66
Description:
Remarks:        Amends Claim # 926
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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                  09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: STATE OF WISCONSIN-DEPT OF NATURAL
                                                                                                         Last Date to File (govt):     04/06/10
                                RESOURCES
      Claim No: 1081            DEPT OF JUSTICE, DEBRA L REMINGTON AAG                                   Filing Status:
                                PO BOX 7857                                                              Docket Status:
                                MADISON, WI 53707-7857                                                   Late:

         Claim Date:            Amends Claim No:                                                         Duplicates Claim No:
         03/26/2010             Amended By Claim No:                                                     Duplicated By Claim No:
             Class                                             Amount Claimed                                         Amount Allowed
            Secured
           Unsecured                                              $4,790,920.00
            Priority
             Total                                                $4,790,920.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: OHIO BUREAU OF WORKERS' COMPENSATION
                                                                                                         Last Date to File (govt):     04/06/10
                                LEGAL DIVISION BANKRUPTCY UNIT
      Claim No: 1082            PO BOX 15567                                                             Filing Status:
                                COLUMBUS, OH 43215-0567                                                  Docket Status:
                                                                                                         Late:

         Claim Date:            Amends Claim No:                                                         Duplicates Claim No:
         03/22/2010             Amended By Claim No:                                                     Duplicated By Claim No:
             Class                                             Amount Claimed                                         Amount Allowed
            Secured
           Unsecured
            Priority                                                     $561.01
             Total                                                       $561.01 (Unliquidated)
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                         Last Date to File Claims:     11/30/09
                                Creditor Name: OHIO BUREAU OF WORKERS COMPENSATION
                                                                                                         Last Date to File (govt):     04/06/10
                                LEGAL DIVISION BANKRUPTCY UNIT
      Claim No: 1083            PO BOX 15567                                                             Filing Status:
                                COLUMBUS, OH 43215-0567                                                  Docket Status:
                                                                                                         Late:

         Claim Date:            Amends Claim No:                                                         Duplicates Claim No:
         03/22/2010             Amended By Claim No:                                                     Duplicated By Claim No:
             Class                                             Amount Claimed                                         Amount Allowed
            Secured
           Unsecured
            Priority                                                 $52,321.79
             Total                                                   $52,321.79 (Unliquidated)
Description: Please see claim for detail.
Remarks:
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BNK01160                                                                                                                10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                             Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                          Last Date to File Claims:           11/30/09
                                Creditor Name: FLORENCE FILTER CORPORATION
                                                                                                          Last Date to File (govt):           04/06/10
                                530 W MANVILLE ST
      Claim No: 1084            COMPTON, CA 90220-5510                                                    Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         03/22/2010             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured                                                                                                                   $0.00
           Unsecured                                                     $149.26                                                      $0.00
            Priority                                                                                                                  $0.00
               Total                                                     $149.26                                                      $0.00
Description:
Remarks:        Amends Claim #29; Exp per Order 5/12/10 (Dkt 1069)

                                Debtor Name: Gunite Corporation
                                                                                                          Last Date to File Claims:           11/30/09
                                Creditor Name: CANON BUSINESS SOLUTIONS
                                                                                                          Last Date to File (govt):           04/06/10
                                425 N MARTINGALE ROAD
      Claim No: 1085            SCHAUMBURG, IL 60173                                                      Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         03/18/2010             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured                                                                                                                   $0.00
           Unsecured                                                    $2,335.08                                                     $0.00
            Priority                                                                                                                  $0.00
               Total                                                    $2,335.08                                                     $0.00
Description:
Remarks:        Exp per Order 5/12/10 (Dkt 1069)

                                Debtor Name: Imperial Group, L.P.
                                                                                                          Last Date to File Claims:           11/30/09
                                Creditor Name: TREASURER OF VIRGINIA
                                                                                                          Last Date to File (govt):           04/06/10
                                DEPARTMENT OF THE TREASURY
      Claim No: 1086            DIVISION OF UNCLAIMED PROPERTY                                            Filing Status:
                                PO BOX 2478                                                               Docket Status:
                                RICHMOND, VA 23218-2478                                                   Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         03/30/2010             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority
               Total                                                 Unliquidated
Description: Please see claim for detail.
Remarks:
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BNK01160                                                                                                             10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                 09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Imperial Group Holding Corp. - 2
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: TREASURER OF VIRGINIA
                                                                                                       Last Date to File (govt):     04/06/10
                                DEPARTMENT OF THE TREASURY
      Claim No: 1087            DIVISION OF UNCLAIMED PROPERTY                                         Filing Status:
                                PO BOX 2478                                                            Docket Status:
                                RICHMOND, VA 23218-2478                                                Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         03/30/2010             Amended By Claim No:                                                   Duplicated By Claim No:
             Class                                            Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Imperial Group Holding Corp. - 1
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: TREASURER OF VIRGINIA
                                                                                                       Last Date to File (govt):     04/06/10
                                DEPARTMENT OF THE TREASURY
      Claim No: 1088            DIVISION OF UNCLAIMED PROPERTY                                         Filing Status:
                                PO BOX 2478                                                            Docket Status:
                                RICHMOND, VA 23218-2478                                                Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         03/30/2010             Amended By Claim No:                                                   Duplicated By Claim No:
             Class                                            Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: TREASURER OF VIRGINIA
                                                                                                       Last Date to File (govt):     04/06/10
                                DEPARTMENT OF THE TREASURY
      Claim No: 1089            DIVISION OF UNCLAIMED PROPERTY                                         Filing Status:
                                PO BOX 2478                                                            Docket Status:
                                RICHMOND, VA 23218-2478                                                Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         03/30/2010             Amended By Claim No:                                                   Duplicated By Claim No:
             Class                                            Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                Unliquidated
Description: Please see claim for detail.
Remarks:
                             Case 09-13449-BLS               Doc 1321-1             Filed 02/14/12   Page 364 of 374


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BNK01160                                                                                                                10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                  09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Brillion Iron Works, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: TREASURER OF VIRGINIA
                                                                                                          Last Date to File (govt):     04/06/10
                                DEPARTMENT OF THE TREASURY
      Claim No: 1090            DIVISION OF UNCLAIMED PROPERTY                                            Filing Status:
                                PO BOX 2478                                                               Docket Status:
                                RICHMOND, VA 23218-2478                                                   Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         03/30/2010             Amended By Claim No:                                                      Duplicated By Claim No:
             Class                                             Amount Claimed                                          Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                   Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Bostrom Specialty Seating, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: TREASURER OF VIRGINIA
                                                                                                          Last Date to File (govt):     04/06/10
                                DEPARTMENT OF THE TREASURY
      Claim No: 1091            DIVISION OF UNCLAIMED PROPERTY                                            Filing Status:
                                PO BOX 2478                                                               Docket Status:
                                RICHMOND, VA 23218-2478                                                   Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         03/30/2010             Amended By Claim No:                                                      Duplicated By Claim No:
             Class                                             Amount Claimed                                          Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                   Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                          Last Date to File Claims:     11/30/09
                                Creditor Name: TREASURER OF VIRGINIA
                                                                                                          Last Date to File (govt):     04/06/10
                                DEPARTMENT OF THE TREASURY
      Claim No: 1092            DIVISION OF UNCLAIMED PROPERTY                                            Filing Status:
                                PO BOX 2478                                                               Docket Status:
                                RICHMOND, VA 23218-2478                                                   Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         03/30/2010             Amended By Claim No:                                                      Duplicated By Claim No:
             Class                                             Amount Claimed                                          Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                   Unliquidated
Description: Please see claim for detail.
Remarks:
                             Case 09-13449-BLS              Doc 1321-1           Filed 02/14/12   Page 365 of 374


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                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                 09-13449 ACCURIDE CORPORATION, ET AL.
                                                          Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Bostrom Holdings, Inc.
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: TREASURER OF VIRGINIA
                                                                                                       Last Date to File (govt):     04/06/10
                                DEPARTMENT OF THE TREASURY
      Claim No: 1093            DIVISION OF UNCLAIMED PROPERTY                                         Filing Status:
                                PO BOX 2478                                                            Docket Status:
                                RICHMOND, VA 23218-2478                                                Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         03/30/2010             Amended By Claim No:                                                   Duplicated By Claim No:
             Class                                            Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Accuride Corporation
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: TREASURER OF VIRGINIA
                                                                                                       Last Date to File (govt):     04/06/10
                                DEPARTMENT OF THE TREASURY
      Claim No: 1094            DIVISION OF UNCLAIMED PROPERTY                                         Filing Status:
                                PO BOX 2478                                                            Docket Status:
                                RICHMOND, VA 23218-2478                                                Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         03/30/2010             Amended By Claim No:                                                   Duplicated By Claim No:
             Class                                            Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                Unliquidated
Description: Please see claim for detail.
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                       Last Date to File Claims:     11/30/09
                                Creditor Name: OFFICE OF THE ATTORNEY GENERAL, STATE OF
                                                                                                       Last Date to File (govt):     04/06/10
                                ATTN ROSEMARIE CAZEAU CHIEF
      Claim No: 1095            ENVIRONMENTAL BUREAU                                                   Filing Status:
                                69 W WASHINGTON ST STE 1800                                            Docket Status:
                                CHICAGO, IL 60602-3018                                                 Late:

         Claim Date:            Amends Claim No:                                                       Duplicates Claim No:
         04/01/2010             Amended By Claim No:                                                   Duplicated By Claim No:
             Class                                            Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority
             Total                                                Unliquidated
Description: Please see claim for detail.
Remarks:
                             Case 09-13449-BLS                   Doc 1321-1             Filed 02/14/12               Page 366 of 374


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BNK01160                                                                                                                                10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                                          Last Date to File Claims:           11/30/09
                                 Creditor Name: MIRON CONSTRUCTION CO INC
                                                                                                                          Last Date to File (govt):           04/06/10
                                 BOX 23910
      Claim No: 1096             GREEN BAY, WI 54305-3910                                                                 Filing Status:
                                                                                                                          Docket Status:
                                                                                                                          Late:

         Claim Date:             Amends Claim No:                                                                         Duplicates Claim No:
         04/02/2010              Amended By Claim No:                                                                     Duplicated By Claim No:
               Class                                               Amount Claimed                                                      Amount Allowed
            Secured                                                                                                                                   $0.00
           Unsecured                                                      $91,735.73                                                                  $0.00
            Priority                                                                                                                                  $0.00
               Total                                                      $91,735.73                                                                  $0.00
Description:
Remarks:        Amends Claim # 342; Exp per Order 5/12/10 (Dkt 1069)

                                 Debtor Name: Imperial Group, L.P.
                                                                                                                          Last Date to File Claims:           11/30/09
                                 Creditor Name: TENNESSEE DEPARTMENT OF REVENUE
                                                                                                                          Last Date to File (govt):           04/06/10
                                 C/O ATTORNEY GENERAL
      Claim No: 1097             PO BOX 20207                                                                             Filing Status:
                                 NASHVILLE, TN 37202-0207                                                                 Docket Status:
                                                                                                                          Late:

         Claim Date:             Amends Claim No:                                                                         Duplicates Claim No:
         04/05/2010              Amended By Claim No:                                                                     Duplicated By Claim No:
               Class                                               Amount Claimed                                                      Amount Allowed
            Secured                                                                                                                                   $0.00
           Unsecured                                                                                                                                  $0.00
            Priority                                                     $139,275.73                                                                  $0.00
               Total                                                     $139,275.73 (Unliquidated)                                                   $0.00
Description: Please see claim for detail.
Remarks:        Amends Claim # 25; Claim withdrawn per the Order approving Stipulation filed 7/22/2010 (Dkt 1119).

                                 Debtor Name: Imperial Group, L.P.
                                                                                                                          Last Date to File Claims:           11/30/09
                                 Creditor Name: TENNESSEE DEPARTMENT OF REVENUE
                                                                                                                          Last Date to File (govt):           04/06/10
                                 C/O ATTORNEY GENERAL
      Claim No: 1098             PO BOX 20207                                                                             Filing Status:
                                 NASHVILLE, TN 37202-0207                                                                 Docket Status:
                                                                                                                          Late:

         Claim Date:             Amends Claim No:                                                                         Duplicates Claim No:
         04/05/2010              Amended By Claim No:                                                                     Duplicated By Claim No:
               Class                                               Amount Claimed                                                      Amount Allowed
            Secured                                                                                                                                   $0.00
           Unsecured                                                                                                                                  $0.00
            Priority                                                     $108,484.30                                                                  $0.00
               Total                                                     $108,484.30 (Unliquidated)                                                   $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Amends Claim # 26; Claim withdrawn per the Order approving Stipulation filed 7/22/2010 (Dkt 1119).
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                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                     09-13449 ACCURIDE CORPORATION, ET AL.
                                                                Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                          Last Date to File Claims:           11/30/09
                                 Creditor Name: TENNESSEE DEPARTMENT OF REVENUE
                                                                                                                          Last Date to File (govt):           04/06/10
                                 C/O ATTORNEY GENERAL
      Claim No: 1099             PO BOX 20207                                                                             Filing Status:
                                 NASHVILLE, TN 37202-0207                                                                 Docket Status:
                                                                                                                          Late:

         Claim Date:             Amends Claim No:                                                                         Duplicates Claim No:
         04/05/2010              Amended By Claim No:                                                                     Duplicated By Claim No:
               Class                                                Amount Claimed                                                     Amount Allowed
            Secured                                                                                                                                   $0.00
           Unsecured                                                                                                                                  $0.00
            Priority                                                        $6,885.22                                                                 $0.00
               Total                                                        $6,885.22                                                                 $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Amends Claim # 24; Claim withdrawn per the Order approving Stipulation filed 7/22/2010 (Dkt 1119).

                                 Debtor Name: Accuride Corporation
                                                                                                                          Last Date to File Claims:           11/30/09
                                 Creditor Name: TENNESSEE DEPARTMENT OF REVENUE
                                                                                                                          Last Date to File (govt):           04/06/10
                                 C/O ATTORNEY GENERAL
      Claim No: 1100             PO BOX 20207                                                                             Filing Status:
                                 NASHVILLE, TN 37202-0207                                                                 Docket Status:
                                                                                                                          Late:

         Claim Date:             Amends Claim No:                                                                         Duplicates Claim No:
         04/05/2010              Amended By Claim No:                                                                     Duplicated By Claim No:
               Class                                                Amount Claimed                                                     Amount Allowed
            Secured                                                                                                                                   $0.00
           Unsecured                                                                                                                                  $0.00
            Priority                                                       $65,901.21                                                                 $0.00
               Total                                                       $65,901.21                                                                 $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Claim withdrawn per the Order approving Stipulation filed 7/22/2010 (Dkt 1119).

                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                          Last Date to File Claims:           11/30/09
                                 Creditor Name: JOHN MESHELL
                                                                                                                          Last Date to File (govt):           04/06/10
                                 ATTN: MICHAEL J MESTAYER
      Claim No: 1101             601 POYDRAS STREET SUITE 2750                                                            Filing Status:
                                 NEW ORLEANS, LA 70130-6029                                                               Docket Status:
                                                                                                                          Late:

         Claim Date:             Amends Claim No:                                                                         Duplicates Claim No:
         04/08/2010              Amended By Claim No:                                                                     Duplicated By Claim No:
               Class                                                Amount Claimed                                                     Amount Allowed
            Secured
           Unsecured                                                  $10,000,000.00
            Priority
               Total                                                  $10,000,000.00
Description:
Remarks:        Amends Claim # 89
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BNK01160                                                                                                                                10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Bostrom Seating, Inc.
                                                                                                                          Last Date to File Claims:           11/30/09
                                 Creditor Name: DEPARTMENT OF THE TREASURY - IRS
                                                                                                                          Last Date to File (govt):           04/06/10
                                 CENTRALIZED INSOLVENCY OPERATION
      Claim No: 1102             PO BOX 7346                                                                              Filing Status:
                                 PHILADELPHIA, PA 19101-7346                                                              Docket Status:
                                                                                                                          Late:

         Claim Date:             Amends Claim No:                                                                         Duplicates Claim No:
         04/13/2010              Amended By Claim No:                                                                     Duplicated By Claim No:
               Class                                               Amount Claimed                                                      Amount Allowed
            Secured
           Unsecured                                                       $4,440.30
            Priority                                                       $8,915.73
               Total                                                      $13,356.03
Description:
Remarks:        Amends Claim # 35

                                 Debtor Name: Gunite Corporation
                                                                                                                          Last Date to File Claims:           11/30/09
                                 Creditor Name: TENNESSEE DEPT OF REVENUE
                                                                                                                          Last Date to File (govt):           04/06/10
                                 C/O ATTORNEY GENERAL
      Claim No: 1103             PO BOX 20207                                                                             Filing Status:
                                 NASHVILLE, TN 37202-0207                                                                 Docket Status:
                                                                                                                          Late:

         Claim Date:             Amends Claim No:                                                                         Duplicates Claim No:
         04/05/2010              Amended By Claim No:                                                                     Duplicated By Claim No:
               Class                                               Amount Claimed                                                      Amount Allowed
            Secured                                                                                                                                   $0.00
           Unsecured                                                                                                                                  $0.00
            Priority                                                       $6,147.46                                                                  $0.00
               Total                                                       $6,147.46                                                                  $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Amends Claim # 28; Claim withdrawn per the Order approving Stipulation filed 7/22/2010 (Dkt 1119).

                                 Debtor Name: Accuride Corporation
                                                                                                                          Last Date to File Claims:           11/30/09
                                 Creditor Name: TECPRO CORP
                                                                                                                          Last Date to File (govt):           04/06/10
                                 3555 ATLANTA INDUSTRIAL PKWY
      Claim No: 1104             ATLANTA, GA 30331-1001                                                                   Filing Status:
                                                                                                                          Docket Status:
                                                                                                                          Late:

         Claim Date:             Amends Claim No:                                                                         Duplicates Claim No:
         04/06/2010              Amended By Claim No:                                                                     Duplicated By Claim No:
               Class                                               Amount Claimed                                                      Amount Allowed
            Secured
           Unsecured                                                      $71,171.44
            Priority
               Total                                                      $71,171.44
Description:
Remarks:        Amends Claim # 292
                             Case 09-13449-BLS                  Doc 1321-1              Filed 02/14/12   Page 369 of 374


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BNK01160                                                                                                                    10-Feb-12             1:04 PM
                                          U.S. Bankruptcy Court - District of Delaware
                                                    Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Erie L.P.
                                                                                                              Last Date to File Claims:           11/30/09
                                Creditor Name: STATE OF MICHIGAN DEPARTMENT OF TREASURY
                                                                                                              Last Date to File (govt):           04/06/10
                                C/O ASSISTANT ATTORNEY GENERAL
      Claim No: 1105            CADILLAC PLACE STE 10-200                                                     Filing Status:
                                3030 W GRAND BLVD                                                             Docket Status:
                                DETROIT, MI 48202                                                             Late:

         Claim Date:            Amends Claim No:                                                              Duplicates Claim No:
         04/21/2010             Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                              Amount Claimed                                           Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                                                                                      $0.00
            Priority                                                        $5,079.61                                                     $0.00
               Total                                                        $5,079.61 (Unliquidated)                                      $0.00
Description: Allowed Debtor: Accuride Erie L.P. Administrative - Please See Claim For Details.
Remarks:        Amends Claim # 1059; Claim withdrawn per notice 02.08.11

                                Debtor Name: Accuride Corporation
                                                                                                              Last Date to File Claims:           11/30/09
                                Creditor Name: KENTUCKY DEPARTMENT OF REVENUE
                                                                                                              Last Date to File (govt):           04/06/10
                                LEGAL BRANCH - BANKRUPTCY SECTION
      Claim No: 1106            ATTN MICHAEL HORNBACK                                                         Filing Status:
                                PO BOX 5222                                                                   Docket Status:
                                FRANKFORT, KY 40602-0491                                                      Late:

         Claim Date:            Amends Claim No:                                                              Duplicates Claim No:
         04/15/2010             Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                              Amount Claimed                                           Amount Allowed
            Secured
           Unsecured
            Priority                                                       $68,830.18
               Total                                                       $68,830.18
Description:
Remarks:

                                Debtor Name:
                                                                                                              Last Date to File Claims:           11/30/09
                                                                                                              Last Date to File (govt):           04/06/10
      Claim No: 1107                                                                                          Filing Status:
                                                             CLAIM NUMBER VOIDED
                                                                                                              Docket Status:
                                                                                                              Late:

         Claim Date:            Amends Claim No:                                                              Duplicates Claim No:
                                Amended By Claim No:                                                          Duplicated By Claim No:
               Class                                              Amount Claimed                                           Amount Allowed
            Secured                                                                                                                       $0.00
           Unsecured                                                                                                                      $0.00
            Priority                                                                                                                      $0.00
               Total
Description:
Remarks:
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BNK01160                                                                                                                  10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Gunite Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: US BANCORP BUSINESS EQUIPMENT FINANCE
                                                                                                            Last Date to File (govt):           04/06/10
                                GROUP, ATTN BANKRUPTCY DEPARTMENT
      Claim No: 1108            1310 MADRID STREET SUITE 100                                                Filing Status:
                                MARSHALL, MN 56258                                                          Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         04/27/2010             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                                Amount Claimed                                       Amount Allowed
            Secured                                                      $55,292.53
           Unsecured
            Priority
               Total                                                     $55,292.53
Description:
Remarks:

                                Debtor Name: IMPERIAL GROUP
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: SUMNER COUNTY TRUSTEE
                                                                                                            Last Date to File (govt):           04/06/10
                                355 BELVEDERE DR N RM 107
      Claim No: 1109            GALLATIN, TN 37066-3179                                                     Filing Status:
                                                                                                            Docket Status:
                                                                                                            Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         03/24/2010             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                                Amount Claimed                                       Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                                                                                    $0.00
            Priority                                                          $0.00                                                     $0.00
               Total                                                          $0.00                                                     $0.00
Description:
Remarks:        Amends Claim # 902

                                Debtor Name: Accuride Corporation
                                                                                                            Last Date to File Claims:           11/30/09
                                Creditor Name: NAVISTAR INC
                                                                                                            Last Date to File (govt):           04/06/10
                                ATTN MICHAEL K MCCRORY & MARK R OWENS
      Claim No: 1110            BARNES & THORNBURG LLP                                                      Filing Status:
                                11 SOUTH MERIDIAN STREET                                                    Docket Status:
                                INDIANAPOLIS, IN 46204                                                      Late:

         Claim Date:            Amends Claim No:                                                            Duplicates Claim No:
         05/04/2010             Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                                Amount Claimed                                       Amount Allowed
            Secured                                                                                                                     $0.00
           Unsecured                                                                                                                    $0.00
            Priority                                                    $512,387.60                                                     $0.00
               Total                                                    $512,387.60                                                     $0.00
Description: Administrative - Please See Claim For Details.
Remarks:        Claim withdrawn per Dkt 1102 dated June 25, 2010.
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BNK01160                                                                                                                10-Feb-12             1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                   09-13449 ACCURIDE CORPORATION, ET AL.
                                                              Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                          Last Date to File Claims:           11/30/09
                                Creditor Name: YRC INC
                                                                                                          Last Date to File (govt):           04/06/10
                                ATTN BRETT D FALLON
       Claim No: 1111           500 DELAWARE AVENUE STE 1500                                              Filing Status:
                                PO BOX 2306                                                               Docket Status:
                                WILMINGTON, DE 19899-2306                                                 Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         05/04/2010             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                                   $50,366.04
               Total                                                   $50,366.04
Description: Administrative - Please See Claim For Details.
Remarks:

                                Debtor Name: Gunite Corporation
                                                                                                          Last Date to File Claims:           11/30/09
                                Creditor Name: NAVISTAR INC
                                                                                                          Last Date to File (govt):           04/06/10
                                MICHAEL MCCRORY/ETHEL BADAWI
       Claim No: 1112           BARNES & THORNBURG LLP                                                    Filing Status:
                                11 S MERIDIAN STREET                                                      Docket Status:
                                INDIANAPOLIS, IN 46204                                                    Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         05/07/2010             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured                                                   $767,471.66                                                     $0.00
           Unsecured                                                                                                                  $0.00
            Priority                                                                                                                  $0.00
               Total                                                  $767,471.66 (Unliquidated)                                      $0.00
Description: Please see claim for detail.
Remarks:        Amends Claim No. 690. Claim withdrawn per Dkt 1106 dated June 25, 2010

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                          Last Date to File Claims:           11/30/09
                                Creditor Name: LANDSTAR RANGER INC
                                                                                                          Last Date to File (govt):           04/06/10
                                13410 SUTTON PARK DR S
       Claim No: 1113           JACKSONVILLE, FL 32224                                                    Filing Status:
                                                                                                          Docket Status:
                                                                                                          Late:

         Claim Date:            Amends Claim No:                                                          Duplicates Claim No:
         05/11/2010             Amended By Claim No:                                                      Duplicated By Claim No:
               Class                                             Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                                        $0.00
            Priority
               Total                                                        $0.00
Description:
Remarks:
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BNK01160                                                                                                                   10-Feb-12             1:04 PM
                                           U.S. Bankruptcy Court - District of Delaware
                                                     Claims Register Report
                                                    09-13449 ACCURIDE CORPORATION, ET AL.
                                                               Judge Hon. Brendan Linehan Shannon
                                 Debtor Name: Brillion Iron Works, Inc.
                                                                                                             Last Date to File Claims:           11/30/09
                                 Creditor Name: ILLINOIS DEPT OF EMPLOYMENT SECURITY
                                                                                                             Last Date to File (govt):           04/06/10
                                 BANKRUPTCY UNIT 10TH FLOOR
      Claim No: 1114             33 S STATE ST                                                               Filing Status:
                                 CHICAGO, IL 60603                                                           Docket Status:
                                                                                                             Late:

         Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
         05/24/2010              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                                 Amount Claimed                                       Amount Allowed
            Secured                                                           $0.00
           Unsecured                                                          $0.00
            Priority                                                        $415.57
               Total                                                        $415.57 (Unliquidated)
Description: Administrative - Please See Claim For Details.
Remarks:

                                 Debtor Name: Accuride Cuyahoga Falls, Inc.
                                                                                                             Last Date to File Claims:           11/30/09
                                 Creditor Name: OHIO BUREAU OF WORKERS' COMPENSATION
                                                                                                             Last Date to File (govt):           04/06/10
                                 LEGAL DIVISION BANKRUPTCY UNIT
      Claim No: 1115             PO BOX 15567                                                                Filing Status:
                                 COLUMBUS, OH 43215-0567                                                     Docket Status:
                                                                                                             Late:

         Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
         06/11/2010              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                                 Amount Claimed                                       Amount Allowed
            Secured                                                                                                                      $0.00
           Unsecured                                                                                                                     $0.00
            Priority                                                       $9,270.24                                                     $0.00
               Total                                                       $9,270.24                                                     $0.00
Description:
Remarks:        Claim withdrawn per Dkt 1101 filed June 22, 2010.

                                 Debtor Name: Accuride Corporation
                                                                                                             Last Date to File Claims:           11/30/09
                                 Creditor Name: NEW YORK STATE DEPARTMENT OF
                                                                                                             Last Date to File (govt):           04/06/10
                                 TAXATION AND FINANCE
      Claim No: 1116             ATTN: BANKRUPTCY SECTION                                                    Filing Status:
                                 PO BOX 5300                                                                 Docket Status:
                                 ALBANY, NY 12205-0300                                                       Late:

         Claim Date:             Amends Claim No:                                                            Duplicates Claim No:
         03/22/2010              Amended By Claim No:                                                        Duplicated By Claim No:
               Class                                                 Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                        $119.50
            Priority                                                        $325.17
               Total                                                        $444.67
Description:
Remarks:
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BNK01160                                                                                                    10-Feb-12             1:04 PM
                                U.S. Bankruptcy Court - District of Delaware
                                          Claims Register Report
                                        09-13449 ACCURIDE CORPORATION, ET AL.
                                                 Judge Hon. Brendan Linehan Shannon
                        Debtor Name:
                                                                                              Last Date to File Claims:           11/30/09
                                                                                              Last Date to File (govt):           04/06/10
      Claim No: 1117                                                                          Filing Status:
                                                CLAIM NUMBER VOIDED
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
                        Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                 Amount Claimed                                        Amount Allowed
            Secured                                                                                                       $0.00
           Unsecured                                                                                                      $0.00
            Priority                                                                                                      $0.00
               Total
Description:
Remarks:

                        Debtor Name:
                                                                                              Last Date to File Claims:           11/30/09
                        Creditor Name: CLASSIC PARTY RENTALS
                                                                                              Last Date to File (govt):           04/06/10
                        3103 E BROADWAY ROAD SUITE 400
      Claim No: 1118    PHOENIX, AZ 85040                                                     Filing Status:
                                                                                              Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        03/22/2011      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                 Amount Claimed                                        Amount Allowed
            Secured
           Unsecured                                        $8,549.33
            Priority
               Total                                        $8,549.33
Description:
Remarks:

                        Debtor Name: Accuride Corporation
                                                                                              Last Date to File Claims:           11/30/09
                        Creditor Name: OHIO BUREAU OF WORKERS' COMPENSATION
                                                                                              Last Date to File (govt):           04/06/10
                        LEGAL DIVISION BANKRUPTCY UNIT
      Claim No: 1119    PO BOX 15567                                                          Filing Status:
                        COLUMBUS, OH 43215-0567                                               Docket Status:
                                                                                              Late:

        Claim Date:     Amends Claim No:                                                      Duplicates Claim No:
        03/18/2011      Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                 Amount Claimed                                        Amount Allowed
            Secured
           Unsecured
            Priority                                         $707.83
               Total                                         $707.83
Description:
Remarks:
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BNK01160                                                                                                            10-Feb-12       1:04 PM
                                            U.S. Bankruptcy Court - District of Delaware
                                                      Claims Register Report
                                                 09-13449 ACCURIDE CORPORATION, ET AL.
                                                           Judge Hon. Brendan Linehan Shannon
                                Debtor Name: Accuride Corporation
                                                                                                      Last Date to File Claims:     11/30/09
                                Creditor Name: ESTES EXPRESS LINES
                                                                                                      Last Date to File (govt):     04/06/10
                                3901 W BROAD ST
       Claim No: 1120           RICHMOND, VA 23230                                                    Filing Status:
                                                                                                      Docket Status:
                                                                                                      Late:

         Claim Date:            Amends Claim No:                                                      Duplicates Claim No:
         04/01/2011             Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                          Amount Claimed                                       Amount Allowed
            Secured
           Unsecured                                                  $239.51
            Priority
               Total                                                  $239.51
Description:
Remarks:

                                Debtor Name: Bostrom Seating, Inc.
                                                                                                      Last Date to File Claims:     11/30/09
                                Creditor Name: PENNSYLVANIA DEPARTMENT OF REVENUE
                                                                                                      Last Date to File (govt):     04/06/10
                                BANKRUPTCY DIVISION
       Claim No: 1121           PO BOX 280946                                                         Filing Status:
                                HARRISBURG, PA 17128-0946                                             Docket Status:
                                                                                                      Late:

         Claim Date:            Amends Claim No:                                                      Duplicates Claim No:
         12/09/2011             Amended By Claim No:                                                  Duplicated By Claim No:
               Class                                          Amount Claimed                                       Amount Allowed
            Secured                                                     $0.00
           Unsecured                                                    $0.00
            Priority                                                  $150.00
               Total                                                  $150.00 (Unliquidated)
Description: Please see claim for detail.
Remarks:
